                        Case 24-10245-JTD
183 DEGREES STRATEGIC SOLUTIONS LLC           DocSURGERY
                                     20TH STREET   219 Filed     03/28/24
                                                           CENTER, LLC      Page   1 of 226
                                                                              305 PLASTIC SURGERY
RAJ ROYCHOUDHURY                     IVANA SCHMALZ                            ALYSSA BACALLAO
1157 S CHANTERELLA DR                1301 20TH STREET, SUITE 140              564 SW 42ND AVE, 3RD FL
SAN RAMON, CA 94582                  SANTA MONICA, CA 90404                   CORAL GABLES, FL 33134




360 PLASTIC SURGERY                    3D HUBS MANUFACTURING INC              3D SYSTEMS, INC
ATTN: ACCOUNTS PAYABLE                 PO BOX 850108                          ATTN: ACCOUNTS PAYABLE
8301 SHOAL CREEK BLVD                  MINNEAPOLIS, MN 55485                  333 THREE D SYSTEMS CIR
AUSTIN, TX 78757                                                              ROCKHILL, SC 29730




436 BEVERLY HILLS, LLC                 5TH AVE MILLENNIUM AESTH SURG          5TOUCH SOLUTIONS INC DBA EVENTMOBI
LUIS ROSALES                           ORDER CONFIRMATION                     207 QUEENS QUAY WEST, SUITE 320
436 N. BEDFORD DR, SUITE 102           1125 FIFTH AVENUE                      TORONTO, ON M5J 1A7
BEVERLY HILLS, CA 90210                NEWYORK, NY 10128                      CANADA




8020 CONSULTING LLC                    A NEW YOU PLASTIC SURGERY              A WRIGHT PATH, INC
6303 OWENSMOUTH AVE.                   DONNA MCKALIP                          850 BEAVER GRADE ROAD
10TH FLOOR                             4944 W 95TH ST                         SUITE 101
WOODLAND HILLS, CA 91367               OAK LAWN, IL 60453                     MOON TOWNSHIP, PA 15108




A&A SHEET METAL PRODUCTS DBA           A. JOHN VANDERZEE, MD                  A. JOSHUA HALPERN, MD.
SECURALL                               ADDRESS ON FILE                        ADDRESS ON FILE
5122 B STATE ROAD 39
LA PORTE, IN 46350




A. JOSHUA HALPERN, MD.                 AAPS                                   AARON D. GORIN, M.D.
ADDRESS ON FILE                        500 CUMMINGS CENTER, SUITE 4400        ADDRESS ON FILE
                                       BEVERLY, MA 01915




AARON D. SMITH, M.D.                   AARON KOSINS, MD                       AASMC
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




ABB INC                                ABBINGH, LLC DBA PANACEA PLASTIC       ABBY CULVER, MD
FOR ABB INC                            SURGERY                                ADDRESS ON FILE
PO BOX 88868                           1366 WELLBROOK CIRCLE NE, SUITE B
CHICAGO, IL 60695                      CONYERS, GA 30012




ABC-AMEGA, INC                         ABDELAZIZ ATWEZ, MD                    ABDI, NASTEHO
500 SENECA STREET, SUITE 400           ADDRESS ON FILE                        ADDRESS ON FILE
BUFFALO, NY 14204




ABHAY GUPTA                            ABHAY GUPTA, M.D.                      ABM PARKING SERVICES
ADDRESS ON FILE                        ADDRESS ON FILE                        14141 SOUTHWEST FRWY, SUITE 400
                                                                              SUGAR LAND, TX 77478
ABM PARKING SERVICES      Case 24-10245-JTD    Doc 219 Filed 03/28/24
                                       ABM PARKING                               Page  2 of 226
                                                                                   ABN AMROCC (0695)
3337 MICHELSON DR, SUITE CN-730        ONE LIBERTY PLAZA 7TH FLOOR                 ATT PROXY DEPT
IRVINE, CA 92612                       NEW YORK, NY 10006                          175 W. JACKSON BLVD
                                                                                   STE 2050
                                                                                   CHICAGO, IL 60605



ABRAMOV, TAMAR NATALIE                   ABRAZO ARROWHEAD CAMPUS                   ABUFANAS, HANAN
ADDRESS ON FILE                          DEBRA ROGERS                              ADDRESS ON FILE
                                         PO BOX 81169
                                         PHOENIX, AZ 85069-1169




AC HOTEL IRVINE AKA PHG IRVINE PARK PL   ACADIAN SKINCARE AND LASER CENTER         ACCELERATED ANALYTICAL INC
2532 DUPONT DR                           BRIDGET HEBERT                            9075 W. HEATHER AVE.
IRVINE, CA 92612                         1000 W. PINHOOK ROAD, SUITE 201C          MILWAUKEE, WI 53224
                                         LAFAYETTE, LA 70503




ACCESS SURGICAL CENTER                   ACCOUNTEMPS                               ACCRETAL, LLC
PHILLIPS                                 PO BOX 743295                             SYLVIA WILDAUER
3205 FIRE ROAD                           SAN FRANCISCO, CA 94160-3484              70 HORSESHOE PT
EGG HARBOR TOWNSHIP, NJ 08234                                                      PHOENIXVILLE, PA 19460-4659




ACCURATE AESTHETICS PLASTIC SURGERY      ACCU-SEAL                                 ACPS SPA & REJUVENATION CENTER
PC                                       225 BINGHAM DRIVE, SUITE B                MEGAN MARTELL
JILL KEAVENEY                            SAN MARCOS, CA 92069                      12727 KIMBERLEY LN, STE 300
1 WASHINGTON STREET                                                                HOUSTON, TX 77024-4050
SUITE 301
WELLESLEY, MA 02481


ADAIR COMMERCIAL FLOORING INC            ADAM J. RUBINSTEIN, MD                    ADAM R. KOLKER, M.D.
16601 WEST GLENDALE DRIVE                ADDRESS ON FILE                           ADDRESS ON FILE
NEW BERLIN, WI 53151




ADAM SCHAFFNER, M.D.                     ADAMS PLASTIC SURGERY                     ADAMS, CLAIRE
ADDRESS ON FILE                          GAYE DUMAS                                ADDRESS ON FILE
                                         2300 E 30TH STREET, BLDG B, SUITE 103
                                         FARMINGTON, NM 87401




ADAMS, KEVIN                             ADAPTMD, LLC                              ADCS CLINICS, LLC
ADDRESS ON FILE                          2711 N SEPULVEDA 223                      SUSANNA CHAVARRIA
                                         2711 N SEPULVEDA 223                      1151 SOUTHHALL LANE, SUITE 300
                                         MANHATTAN BEACH, CA 90266                 MAITLAND, FL 32751




ADCS CLINICS, LLC                        ADCS CLINICS, LLC                         ADDISON GROUP
TAMMY RHODES                             TAMMY RHODES                              7076 SOLUTIONS CENTER
151 SOUTHHALL LN, STE 300                151 SOUTHHALL LN, STE 300                 CHICAGO, IL 60606
MAITLAND, FL 32705                       MAITLAND, FL 32751




ADELPHI UNIVERSITY                       ADMET INC                                 ADOBE INC
ONE SOUTH AVENUE                         51 MORGAN DRIVE                           345 PARK AVE
GARDEN CITY, NY 11530                    NORWOOD, MA 02062                         SAN JOSE, CA 95110
ADP, LLC                Case 24-10245-JTD
                                     ADP, LLC Doc 219       Filed 03/28/24   Page  3 REDACTED]
                                                                               [NAME of 226
1 ADP BLVD                             PO BOX 31001-1874                       ADDRESS ON FILE
ROSELAND, NJ 07068                     PASADENA, CA 91110




[NAME REDACTED]                        ADRIANNA CLARK                          [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




ADVANCED AESTHETIC SURGERY, PC         ADVANCED AESTHETICS                     ADVANCED AMBULATORY SURGICAL
RACHEL LOWE                            KELLY PROFFIT                           CENTER
711 CANTON ROAD                        14001 MCAULEY BLVD. SUITE 150           LILY GARNAND
SUITE 400                              OKLAHOMA CITY, OK 73134                 3710 W 135TH ST
MARIETTA, GA 30060                                                             LEAWOOD, KS 66224



ADVANCED CONCEPTS IN PLASTIC SURGERY   ADVANCED COSMETIC SURGERY               ADVANCED COSMETIC SURGERY
LINDA STRUNK                           LACEY BERNETTE X3                       LIZ WILSON
423 TREELINE PARK, SUITE 300           4749 W 134TH ST.                        14340 METCALF AVE
SAN ANTONIO, TX 78209                  LEAWOOD, KS 66209                       OVERLAND PARK, KS 66223




ADVANCED COSMETIC SURGERY              ADVANCED DERMASURGERY ASSOCIATES        ADVANCED DERMASURGERY ASSOCIATES
MCKENZIE ALEXANDER                     GAIL WYATT                              SILVIA LUNA
29 ROCKY SLOPE RD                      2570 JUSTIN ROAD, SUITE 160             7445 LAS COLINAS BLVD
GREENVILLE, SC 29607                   HIGHLAND VILLAGE, TX 75077              IRVING, TX 75063




ADVANCED DERMATOLOGY & SKIN CANCER     ADVANCED DERMATOLOGY AND LASER          ADVANCED DERMATOLOGY OF SOUTHEAST
CNTER                                  INSTITUTE                               MO
NANCY HAYES                            OF SEATTLE                              JEANNA HULL
1444 E. STEARNS ST.                    SARA TITUS                              2116 MEGAN DRIVE, SUITE 102
FAYETTEVILLE, AR 72703                 4915 25TH AVE NE, SUITE 207W            CAPE GIRARDEAU, MO 63701
                                       SEATTLE, WA 98105


ADVANCED DERMATOLOGY                   ADVANCED EAR, NOSE AND THROAT           ADVANCED INSTITUTE FOR PLASTIC
INVOICES                               ASSOCIATES                              SURGERY
34213 PACIFIC COAST HIGHWAY            SCOTT MCCUTCHEON                        ATTN: ACCOUNTS PAYABLE
DANA POINT, CA 92629                   960 JOHNSON FERRY ROAD, SUITE 200       27345 JEFFERSON AVE
                                       ATLANTA, GA 30342                       TEMECULA, CA 92590



ADVANCED INSTITUTE FOR PLASTIC         ADVANCED PLASTIC SURGERY INSTITUTE      ADVANCED PLASTIC SURGERY, LLC
SURGERY                                1482 EAST WILLIAMS FIELD RD.            2440 M STREET NW, SUITE 507
CRISTINA FIORENTINO                    STE B101                                WASHINGTON, DC 20037
27345 JEFFERSON AVENUE                 GILBERT, AZ 85295
TEMECULA, CA 92590



ADVANCED PLASTIC SURGERY, LLC          ADVANCED PLASTIC SURGERY, PC            ADVANCED SURGICAL ARTS CENTER
LEEANNE DECKER                         MELINDA TOBIAS                          BRENDA MEES
2440 M STREET NW, SUITE 507            3855 BURTON STREET SE, SUITE A          3913 LOCKPORT STREET
WASHINGTON, DC 20037                   GRAND RAPIDS, MI 49546                  BISMARCK, ND 58503




ADVANCED SURGICAL OF NORTH TEXAS       ADVARRA, INC                            ADVARRA, INC
DEANNA DUFFY                           6100 MERRIWEATHER DRIVE, STE 600        PO BOX 74008070
7668 W. ELDORADO PKWY, SUITE 200       COLUMBIA, MD 21044                      CHICAGO, IL 60674
MCKINNEY, TX 75070
                           Case 24-10245-JTD
ADVENTHEALTH SHAWNEE MISSION                     Doc 219
                                        ADVENTHEALTH   SYSTEMFiled 03/28/24    Page  4 of 226
                                                                                 ADVENTIST HEALTH
JULIE BAKER                             ATTN: ACCOUNTS PAYABLE                   FELICIA MCGHEE
902 INSPIRATION AVE, SUITE 9100         902 INSPIRATION AVE, SUITE 9100          PO BOX 16800
ALTAMONTE SPRINGS, FL 32714             ALTAMONTE SPRINGS, FL 32714              PORTLAND, OR 97292




ADVENTIST HEALTH                         ADVENTIST HEALTHCARE, INC.              ADVOCATE HEALTHCARE
INVOICING                                EDITH ADO                               TODD BAKER
PO BOX 619085                            PO BOX 10010                            P.O. BOX 3367
ROSEVILLE, CA 95661                      GAITHERSBURG, MD 20898                  DOWNERS GROVE, IL 60515




AEGIS LABORATORY SOLUTIONS               AEIS (0756)                             AERI
12715 257TH AVE                          ATT GREG WRAALSTAD/PROXY MGR            3184 AIRWAY AVE. BLDG. A
TREVOR, WI 53179                         901 3RD AVE SOUTH                       COSTA MESA, CA 92626
                                         MINNEAPOLIS, MN 55474




AERONET WORLDWIDE DBA AERONET INC        AEROTEK, INC                            AESTHETIC & LASER PLASTIC SURGERY
42 CORPORATE PARK SUITE 100              PO BOX 198531                           CENTER
IRVINE, CA 92606                         ATLANTA, GA 30384                       ARSHA YOUSEFI
                                                                                 502 MAPLE AVENUE W
                                                                                 VIENNA, VA 22180



AESTHETIC & RECONSTRUCTIVE PLASTIC       AESTHETIC ARTISTRY SURGICAL & MED       AESTHETIC DERMATOLOGY & LASER
SURG                                     CNTR                                    CENTER
JEREMY PYLE                              ESTHER WALKER                           TIFFANY SHAFFSTALL
2304 WESVILL COURT, SUITE 360            1841 IRON POINT RD                      3055 W. ORANGE AVENUE SUITE 207
RALEIGH, NC 27607                        FOLSOM, CA 95630                        ANAHEIM, CA 92804



AESTHETIC FACIAL PLASTIC SURGERY, PLLC   AESTHETIC MDR                           AESTHETIC PLASTIC & RECONSTRUCTIVE
JULIE DAVIES                             ADDRESS ON FILE                         SURG
1810 116TH AVE NE, SUITE 102                                                     ANNETTE HOULE
BELLEVUE, WA 98004                                                               776 LONGMEADOW STREET
                                                                                 LONGMEADOW, MA 01106



AESTHETIC PLASTIC SURGERY                AESTHETIC PLASTIC SURGERY, PC           AESTHETIC PLASTIC SURGICAL INSTITUTE
244 COUNTRY CLUB RD.                     ATTN: ACCOUNTS PAYABLE                  31852 PACIFIC COAST HWY, STE 401
EUGENE, OR 97401                         833 NORTHERN BLVD, SUITE 160            LAGUNA BEACH, CA 92651
                                         GREAT NECK, NY 11021




AESTHETIC RECONSTRUCTIVE THERAPIES       AESTHETIC SURGERY ASSOCIATES            AESTHETIC SURGERY CENTRE, PLLC
PHYLLIS DELUCIA-TREFURT                  ATTN: ACCOUNTS PAYABLE                  SABRINA ESCOLTA
1 WEST RIDGEWOOD AVE                     800 W. CENTRAL TX EXPRESSWAY, SUITE     2202 S CEDAR ST, SUITE 100
PARAMUS, NJ 07652                        100                                     TACOMA, WA 98405
                                         HARKER HEIGHTS, TX 76548



AESTHETIC SURGERY EDUCATION &            AESTHETIC SURGERY OF CHARLOTTE PLLC     AESTHETIC SURGERY OF CHARLOTTE
RESEARCH FOUNDATION                      6450 BANNINGTON RD.                     ATTN: ACCOUNTS PAYABLE
11262 MONARCH SREET                      CHARLOTTE, NC 28226                     6450 BANNINGTON RD
GARDEN GROVE, CA 92841                                                           CHARLOTTE, NC 28226




AESTHETIC SURGERY OF CHARLOTTE           AESTHETIC SURGICAL ASSOCIATES           AESTHETIC SURGICAL IMAGES
TERRI DIAZ                               KIMBERLY PERDOMO                        TRACEE HENKE
11835 SOUTHMORE DRIVE, SUITE 202         3223 8TH STREET, SUITE 200              8900 W DODGE RD
CHARLOTTE, NC 28277                      METAIRIE, LA 70002                      OMAHA, NE 68114
                        Case 24-10245-JTD
AESTHETICA PLASTIC SURGERY                    DocCENTER,
                                     AESTHETIQUE   219 LLC
                                                         Filed 03/28/24     Page  5 of 226
                                                                              AESTHETX
CHRIS CROFTS                         MARYANN HENNESSEY                        MARIJANE VALDEZ
385 WEST 600 NORTH                   10 MAIN STREET S                         380 S. BASCOM AVENUE, SUITE 100
LINDON, UT 84042                     SOUTHBURY, CT 06488                      CAMPBELL, CA 95008




AFFILIATES IN PLASTIC SURGERY, LLC    AGATHEN, ALISHA                         AGRANAT, DAVID
MOLLY HEWITSON                        ADDRESS ON FILE                         ADDRESS ON FILE
4660 KENMORE AVENUE, SUITE 220
ALEXANDRIA, VA 22304




AGUILAR, ALEXIS                       AGUSTA PLASTIC SURGERY                  AHERN RENTALS, INC
ADDRESS ON FILE                       569 FURYS FERRY RD                      PO BOX 271390
                                      MARTINEZ, GA 30907                      LAS VEGAS, NV 89127




AHMAD AHMADI, M.D                     AHMAD SAAD, M.D.                        AHMC HEALTHCARE, INC.
ADDRESS ON FILE                       ADDRESS ON FILE                         DEANETTE YUN
                                                                              500 E. MAIN STREET
                                                                              ALHAMBRA, CA 91801




AIG                                   [NAME REDACTED]                         AIM BROKERAGE SERVICES LLC
1271 AVENUE OF THE AMERICAS           ADDRESS ON FILE                         7774 S 10TH ST
NEW YORK, NY 10020                                                            OAK CREEK, WI 53154




[NAME REDACTED]                       AIRGAS, INC                             AIRSEA PACKING
ADDRESS ON FILE                       PO BOX 734445                           40-35 22ND STREET
                                      CHICAGO, IL 60673                       LONG ISLAND CITY, NY 11101




AIR-TITE PRODUCTS CO, INC             AIRWAYS 9779 LLC                        AIRWAYS OFFICE PROPERTY GROUP LLC
565 CENTRAL DRIVE SUITE 101           C/O SARA INVESTMENT REAL ESTATE LLC     1955 ATWOOD AVENUE
VIRGINIA BEACH, VA 23454              1955 ATWOOD AVENUE                      MADISON, WI 53704
                                      MADISON, WI 53740




AIT WORLDWIDE LOGISTICS, INC          [NAME REDACTED]                         AKKARY SURGERY CENTER
701 N. ROHLWING ROAD                  ADDRESS ON FILE                         AMANDA SMOOT
ITASCA, IL 60143                                                              1100 FORT PIERPONT DRIVE, SUITE 101
                                                                              MORGANTOWN, WV 26508




AL COHN, M.D., P.C.                   AL COHN, M.D., P.C.                     ALABAMA DEPARTMENT OF LABOR
ADDRESS ON FILE                       ADDRESS ON FILE                         649 MONROE ST
                                                                              MONTGOMERY, AL 36131




ALABAMA DEPARTMENT OF PUBLIC HEALTH   ALABAMA DEPARTMENT OF PUBLIC HEALTH     ALABAMA DEPT OF REVENUE
PO BOX 30317                          THE RSA TOWER                           BUSINESS PRIVILEGE TAX SECTION
MONTGOMERY, AL 36130-3017             201 MONROE ST                           PO BOX 327320
                                      MONTGOMERY, AL 36104                    MONTGOMERY, AL 36132
ALABAMA DEPT OF REVENUECase 24-10245-JTD
                                    ALABAMA Doc   219 Filed 03/28/24
                                             MEDICAID                               Page  6 of SECURITIES
                                                                                      ALABAMA  226        COMMISSION
SALES AND USE TAX DIVISION          501 DEXTER AVENUE                                 PO BOX 304700
PO BOX 327790                       MONTGOMERY, AL 36104                              MONTGOMERY, AL 36130-4700
MONTGOMERY, AL 36132




ALABAMA SECURITIES COMMISSION             [NAME REDACTED]                             ALAN M. KISNER, M.D.
RSA DEXTER AVE BLDG                       ADDRESS ON FILE                             ADDRESS ON FILE
445 DEXTER AVE
STE 1200
MONTGOMERY, AL 36104



ALASKA CENTER FOR EAR, NOSE & THROAT      ALASKA DEPARTMENT OF HEALTH AND             ALASKA DEPT OF LABOR AND
AUDRA MCKELLAR                            HUMAN                                       WORKFORCE DEVELOPMENT
3841 PIPER STREET, SUITE 230              COMMISSIONER                                PO BOX 111149
ANCHORAGE, AK 99508                       HEIDI HEDBERG                               JUNEAU, AK 99811
                                          3601 C ST, STE 902
                                          ANCHORAGE, AK 99503


ALASKA DIVISION OF BANKING & SECURITIES   ALASKA DIVISION OF BANKING & SECURITIES     ALASKA NATIVE TRIBAL HEALTH
550 W 7TH AVE                             PO BOX 110807                               CONSORTIUM
STE 1850                                  JUNEAU, AK 99811-0807                       JANET ALEN WILSON
ANCHORAGE, AK 99501                                                                   4000 AMBASSADOR DR.
                                                                                      ANCHORAGE, AK 99508



ALASKA REGIONAL HOSPITAL                  ALASKA REGIONAL HOSPITAL                    ALASKA SURGERY CENTER
BECKY HADLEY                              PHILIP RUIZ                                 ATTN: ACCOUNTS PAYABLE
1120 W SPORTSPLEX DR                      1151 ENTERPRISE DRIVE, SUITE 100            1230 NORTHWAY DR
KAYSVILLE, UT 84037                       COPPELL, TX 75019                           ANCHORAGE, AK 99508




ALASKA SURGERY CENTER                     ALBANY MEDICAL CENTER                       ALBANY MEDICAL COLLEGE
LINDA HOEHNE                              ATTN: ACCOUNTS PAYABLE                      47 NEW SCOTLAND AVENUE
4100 LAKE OTIS PARKWAY                    43 NEW SCOTLAND AVENUE                      ALBANY, NY 12208
ANCHORAGE, AK 99508                       ALBANY, NY 12208




ALBERT W. CHOW, M.D.                      ALBERTA HEALTH SERVICES                     [NAME REDACTED]
ADDRESS ON FILE                           ATTN: ACCOUNTS PAYABLE                      ADDRESS ON FILE
                                          PO BOX 1600
                                          EDMONTON, AB T5J 2N9
                                          CANADA



ALENTOWN INTERNATIONAL, S.A.              ALEX CHEAH, MD                              ALEXA CURTIS
717 N. HARWOOD, SUITE 3400                ADDRESS ON FILE                             ADDRESS ON FILE
DALLAS, TX 75201




ALEXANDER W CASDIN                        ALEXANDRIA TRAINER                          ALEXES HAZEN, MD
ADDRESS ON FILE                           ADDRESS ON FILE                             ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                             ALFRED ANTONETTI, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                             ADDRESS ON FILE
ALI A QURESHI, MD      Case 24-10245-JTD     DocDO219
                                    ALI R ABTAHI,  MSC Filed 03/28/24   Page   7 of 226
                                                                          ALI, DEKO
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




ALI, HAWEYA                          ALI, REEM                            [NAME REDACTED]
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                      ALICIA CERVANTES                     [NAME REDACTED]
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                      [NAME REDACTED]                      ALISSA RODRIGUEZ GARCIA
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                      ALL THINGS MELY                      ALLAN W. PERRY, JR., M.D.
ADDRESS ON FILE                      18838 APPLETREE HILL LN              ADDRESS ON FILE
                                     HOUSTON, TX 77084




ALLDRED, DANIEL                      ALLE, RUPENDRANATH                   ALLEGHENY HEALTH NETWORK
ADDRESS ON FILE                      ADDRESS ON FILE                      ATTN: AP
                                                                          PO BOX 890420
                                                                          CAMP HILL, PA 17089-0420




ALLEGHENY HEALTH NETWORK             ALLEGIS GROUP HOLDINGS, INC DBA      ALLIANCE ADVISORS LLC
JAMIE A                              AEROTEK                              200 BROADACRES DR, 3RD FLOOR
P.O BOX 6772                         PO BOX 198531                        BLOOMFIELD, NJ 07003
PITTSBURGH, PA 15212                 ATLANTA, GA 30384-8531




ALLIANCE IN RECONSTRUCTIVE SURGERY   ALLIED PHYSICIANS SURGERY CENTER     ALLINA HEALTH SYSTEM
FOUND                                NANCY GATES                          ERICA WATSON
3401 LEE PARKWAY 1504                53990 CARMICHAEL DR, STE 100         P. O. BOX 1583
DALLAS, TX 75219                     SOUTH BEND, IN 46635                 MINNEAPOLIS, MN 55440




[NAME REDACTED]                      ALLURE PLASTIC & RECONSTRUCTIVE      [NAME REDACTED]
ADDRESS ON FILE                      SURGERY                              ADDRESS ON FILE
                                     SHANNON MARTIN
                                     907 E. 18TH STREET, SUITE 340
                                     TIFTON, GA 31794
ALLYSON DEZIEL, MD      Case 24-10245-JTD
                                     ALLYSON Doc
                                             DOLL 219         Filed 03/28/24   Page  8 of
                                                                                 ALOHA    226 CENTER
                                                                                       SURGICAL
ADDRESS ON FILE                         ADDRESS ON FILE                          VANESSA ANN DAMO
                                                                                 239 HOOHANA ST
                                                                                 KAHULUI, HI 96732-2452




ALPHAGRAPHICS                           ALPHALAB, INC                            ALPINE DERMATOLOGY CLINIC
1058 EAST WASHINGTON AVE.               3005 S 300 W                             MICHAELIN JACOBSON
MADISON, WI 53703                       SALT LAKE CITY, UT 84115                 1049 SUMMERS DRIVE
                                                                                 REXBURG, ID 83440




ALPINE PLASTIC & RECON SURGERY          ALPINE REWARDS LLC                       ALTA BATES SUMMIT MED CENTER
MICHELLE PALMER                         145 CORTE MADERA TOWN CENTER 458         ATTN: AP
5405 SOUTH 500 EAST, SUITE 101          CORTE MADERA, CA 94925                   350 HAWTHORNE AVENUE
OGDEN, UT 84405                                                                  OAKLAND, CA 94609




ALTER DOMUS, INC DBA CORTLAND CAPITAL   ALTON MEMORIAL HOSPITAL                  ALTUS HOUSTON HOSPITAL
CORTLAND CAPITAL MARKET SERVICES LLC    ATTN: ACCOUNTS RECEIVABLE                ATTN: ACCOUNTS PAYABLE
225 WEST WASHINGTON ST, 9TH FL          4249 CLAYTON AVE, STE 310                11233 SHADOW CREEK PKWY, STE 313
CHICAGO, IL 60606                       ALTON, IL 63110                          PEARLAND, TX 77584-7367




[NAME REDACTED]                         [NAME REDACTED]                          AMANDA LEE
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         AMANDA PEREZ CLAVON                      [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                          AMAZON WEB SERVICES, INC
ADDRESS ON FILE                         ADDRESS ON FILE                          PO BOX 84023
                                                                                 SEATTLE, WA 98124




AMAZON-COM SALES, INC                   [NAME REDACTED]                          [NAME REDACTED]
PO BOX 035184                           ADDRESS ON FILE                          ADDRESS ON FILE
SEATTLE, WA 98124




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                          AMBULATORY SURG CTR OF OLD BRIDGE
ADDRESS ON FILE                         ADDRESS ON FILE                          JANETH ATIEH
                                                                                 400 PERRINE RD
                                                                                 OLD BRIDGE, NJ 08857-2483
                      CaseINC
AMCOR HEALTHCARE PACKAGING, 24-10245-JTD    Doc 219
                                    AMELIA AESTHETICS       Filed 03/28/24    Page 9 of
                                                                                AMELIA   226
                                                                                       AESTHETICS
24815 NETWORK PLACE                 ADDRESS ON FILE                             ADDRESS ON FILE
CHICAGO, IL 60673




AMELIA AESTHETICS                      AMERICA SAMOA DEPARTMENT OF HEALTH       AMERICAN ASSOCIATION FOR HAND
LOUISE FLOYD                           1 FAGAALU RD                             SURGERY
2304 WESVILL COURT, SUITE 360          PAGU PAGU, AS 96799                      500 CUMMINGS CENTER, SUITE 4400
RALEIGH, NC 27607                                                               BEVERLY, MA 01915




AMERICAN COLLEGE OF OSTEOPATHIC        AMERICAN COLLEGE OF OSTEOPATHIC          AMERICAN INSTITUTE FOR PLASTIC
SURGEONS                               SURGEONS                                 SURGERY
1680 DUKE STREET, SUITE 500            ACOS EXHIBITS DEPARTMENT                 MICKEY BRANDON
ALEXANDRIA, VA 22314                   PO BOX 600                               6020 WEST PLANO PKWY
                                       WHITE MARSH, MD 21162                    PLANO, TX 75093



AMERICAN PAPER & PACKAGING             AMERICAN POLARIZERS INC                  AMERICAN SOCIETY FOR
N 112 W18810 MEQUON ROAD               141 SOUTH 7TH STREET                     RECONSTRUCTIVE MICROSURGERY
GERMANTOWN, WI 53022                   READING, PA 19602                        20 NORTH MICHIGAN AVE, SUITE 700
                                                                                CHICAGO, IL 60602




AMERICAN SOCIETY OF PLASTIC SURGEONS   AMERICAN SOCIETY OF PLASTIC SURGEONS     AMERICAN SURGICAL ARTS
ASPS FINANCE DEPT.                     PO BOX 4008                              EVELYN ALZHEIMER
444 EAST ALGONQUIN ROAD                CAROL STREAM, IL 60122                   199 MULLICA HILL ROAD
ARLINGTON HEIGHTS, IL 60005                                                     MULLICA HILL, NJ 08062




AMERICAN-BRAZILIAN AESTHETIC MEETING   AMERIKEN DIE SUPPLY, INC                 AMETEK ARIZONA INSTRUMENTS, LLC
ATTENTION: TRACEE LOLOFIE              618 N EDGEWOOD AVENUE                    DBA AMETEK BROOKF.
5445 S HIGHLAND DR                     WOOD DALE, IL 60191                      3375 N DELAWARE ST
SALT LAKE CITY, UT 84117                                                        CHANDLER, AZ 85225




AMEX                                   AMG PLASTIC SURGERY                      AMI TECHNOLOGIES LTD
BOX 96001                              13454 SUNRISE VALLEY DR, STE 130         ATTN CEO
LOS ANGELES, CA 90096-8000             HERDON, VA 20171                         22 HANGER STR
                                                                                PO BOX 1255
                                                                                HOD HASHARON 45200 ISRAEL



AMI TECHNOLOGIES, LTD                  AMI TECHNOLOGIES, LTD                    AMI TECHNOLOGIES, LTD
ANTHONY REYES                          CARMIT LEVI                              ELIZABETH GOMEZ
230-39 INTRNL AIRPORT CENTER BLVD      22 HANAGER STR, PO BOX 1255              4000 REDONDO BEACH AVE, 103
STE 1000                               HOD HASHARON 45200                       REDONDO BEACH, CA 90278-1109
SPRINGFIELD GARDENS, NY 11413          ISRAEL



AMI TECHNOLOGIES, LTD                  AMIN, AVEEN                              AMIR HAMZAH, MOHAMAD ZUBAIR
TALI SCHACHTER                         ADDRESS ON FILE                          ADDRESS ON FILE
13 HIGH STREET
BRANSTON
LINCOLN LN4 1NB UNITED KINGDOM



AMIR TAHERNIA, M.D.                    AMODEO CREATIVE LLC                      AMPBBA22PLASTIC
ADDRESS ON FILE                        2519 EXPOSITION PL                       BRIANA GUERTLER
                                       LOS ANGELES, CA 90018                    6686 S HIGHLAND DR
                                                                                SALT LAKE CITY, UT 84121
AMPBBA22PLASTIC            Case 24-10245-JTD   Doc 219
                                         AMPBBA22PLASTIC            Filed 03/28/24   Page 10 of 226
                                                                                       AMPHENOL THERMOMETRICS INC
LYSANDRA TELLO                            SIERRA WALTON                                28690 NETWORK PLACE
3500 MAPLE AVE, STE 1600                  7001 S. 900E, SUITE 100                      CHICAGO, IL 60673
DALLAS, TX 75219                          MIDVALE, UT 84047




AMUCHIE, FLOYD                            AMY ACHEE                                    AMY BANDY, D.O.
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                              [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                              [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                              [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                           ANAHEIM REGIONAL MEDICAL CENTER              [NAME REDACTED]
ADDRESS ON FILE                           BARBARA VALLON                               ADDRESS ON FILE
                                          1111 W LA PALMA AVE
                                          ANAHEIM, CA 92801




ANDERSON, ARIC                            ANDERSON, CALEB                              ANDERSON, CHRISTY
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




ANDERSON, JUSTIN                          ANDERSON, KIM                                ANDOVER AMBULATORY SURGERY CENTER
ADDRESS ON FILE                           ADDRESS ON FILE                              MIKE MASSEY
                                                                                       1124 W 21ST ST, STE 100
                                                                                       ANDOVER, KS 67002




ANDOVER PLASTIC SURGERY                   ANDRE ABOOLIAN, M.D                          ANDRE MARSHALL, MD
SHELLY EARLY                              ADDRESS ON FILE                              ADDRESS ON FILE
555 TURNPIKE STREET
SUITE 52
NORTH ANDOVER, MA 01845



[NAME REDACTED]                           [NAME REDACTED]                              [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE
ANDREA M. DOYLE, M.D.   Case 24-10245-JTD    Doc 219
                                      [NAME REDACTED]         Filed 03/28/24   Page 11REDACTED]
                                                                                 [NAME of 226
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANDRES SARRAGA, M.D.                   ANDRES TALEISNIK, M.D.                    ANDRES TALEISNIK, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANDREW BARNETT, M.D.                   ANDREW D. SMITH, M.D.                     ANDREW H. ROSENTHAL, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANDREW M. WOLIN, M.D.                  ANDREW MCALLISTER, DO                     ANDREW P. AMUNATEGUI, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANDREW PEREDO, MD, PC                  ANDREW REGER LLC                          ANDREW SMITH MD
ADDRESS ON FILE                        1 S BRIDGE ST                             ADDRESS ON FILE
                                       CHRISTIANA, PA 17509




ANDREW TRUSSLER, M.D.                  ANDREW TRUSSLER, MD                       ANDREW WOLFE, MD
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANDREWS INSTITUTE ASC LLC              [NAME REDACTED]                           [NAME REDACTED]
JESSICA LAGE                           ADDRESS ON FILE                           ADDRESS ON FILE
1040 GULF BREEZE PKWY STE 100
GULF BREEZE, FL 32563




[NAME REDACTED]                        [NAME REDACTED]                           ANGELA CHAMPION, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANGELA CHAMPION, M.D.                  [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




ANGELA KEEN, M.D.                      [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE
ANGELA PRESCOTT, MD     Case 24-10245-JTD    Doc 219
                                      [NAME REDACTED]       Filed 03/28/24   Page 12 of
                                                                               ANGELO   226
                                                                                      TORRES
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




ANH LEE, M.D., P.A.                    ANI TAJIRIAN, M.D.                      ANITA PATEL, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




ANMED HEALTH                           ANN ARBOR PLASTIC SURGERY               [NAME REDACTED]
MICHELLE MILLER                        2320 WASHTENAW AVE                      ADDRESS ON FILE
800 N. FANT STREET                     ANN ARBOR, MI 48104
ANDERSON, SC 29621




ANNA FIERRO                            [NAME REDACTED]                         ANNA I. WOOTEN, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                         ANNA WIDMYER, MD
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




ANNAPOLIS DERMATOLOGY CENTER           ANNAPOLIS DERMATOLOGY CENTER            ANNAPOLIS PLASTIC SURGERY
ANGIE WEIBLEY                          LISA WILKENS                            JUDY BRANDLAND
71 OLD MILL BOTTOM ROAD N.             5310 HARVEST HILL ROAD, SUITE 290       2002 MEDICAL PKWY, SUITE 230
ANNAPOLIS, MD 21409                    DALLAS, TX 75230                        ANNAPOLIS, MD 21401




ANNE ARUNDEL MEDICAL GROUP             ANNE ARUNDEL MEDICAL GROUP              ANNE M. NICKODEM, MD, PC.
MELODY BRUNS                           SUSAN HULL                              ADDRESS ON FILE
2000 MEDICAL PARKWAY, SUITE 200        1997 ANNAPOLIS EXCHANGE, SUITE 520
ANNAPOLIS, MD 21401                    ANNAPOLIS, MD 21401




ANNE PELED                             ANNE PELED, M.D.                        ANNE PELED, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        ANSHU GUPTA, M.D.                       ANSHU GUPTA, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE
                       Case 24-10245-JTD
ANTELOPE VALLEY HOSPITAL             ANTHEM Doc    219 BLUE
                                             BLUE CROSS    Filed 03/28/24
                                                               SHIELD       Page 13 ofLOMBARDI,
                                                                              ANTHONY  226      M.D.
KARINA JACOBS                        120 MONUMENT CIRCLE                       ADDRESS ON FILE
1600 WEST AVENUE J                   INDIANAPOLIS, IN 46204-3632
LANCASTER, CA 93534




ANTHONY N. DARDANO, D.O.                 [NAME REDACTED]                       ANTON PAAR USA, INC
ADDRESS ON FILE                          ADDRESS ON FILE                       10215 TIMBER RIDGE DR
                                                                               ASHLAND, VA 23005




ANU KUMARI, FNU                          ANUREET BAJAJ, M.D.                   ANZUBRIDGE, LLC
ADDRESS ON FILE                          ADDRESS ON FILE                       3104 E CAMELBACK RD, 847
                                                                               PHOENIX, AZ 85016




AON CONSULTING                           AON CONSULTING                        AP DERM
29695 NETWORK PLACE                      P.O. BOX 100137                       BARBARA DENEAULT
CHICAGO, IL 60673                        PASADENA, CA 91189                    27 VILLAGE SQUARE
                                                                               CHELMSFORD, MA 01824




APEX DERMATOLOGY                         APEX/ETRADE (0158/0385)               APPLE INC
MANDI PERLIN                             C/O BROADRIDGE SECS PROCESSING        ONE APPLE PARK WAY
32144 AGOURA ROAD, SUITE 112             YASMINE CASSEUS, 2 GATEWAY CTR        CUPERTINO, CA 95014
WESTLAKE VILLAGE, CA 91361               283-299 MARKET ST - 16TH FL
                                         NEWARK, NJ 07102



APPLE INC                                APPLE RUBBER PRODUCTS INC             APPLIED MANUFACTURING TECHNOLOGIES,
PO BOX 846095                            310 ERIE STREET                       INC
DALLAS, TX 75284                         LANCASTER, NY 14086                   DBA AMTEC INC
                                                                               1464 N HUNDLEY ST
                                                                               ANAHEIM, CA 92806



APPLIED TRAINING SYSTEMS INC             APRES PLASTIC SURGERY                 [NAME REDACTED]
DEPT. LA 24891                           SARAH BAIG                            ADDRESS ON FILE
PASADENA, CA 91185                       140 NW 14TH AVE
                                         PORTLAND, OR 97206-2601




APS INSTITUTE OF SOUTH FLORIDA           APTITUDE LLC                          AQUA MEDICAL SPA
JENNIFER DELGADO                         VIZIENT, INC                          DANIELLE FLYNN
8415 SW 24TH ST, STE 202                 75 REMITTANCE DRIVE,SUITE 1798        PO BOX 2423
MIAMI, FL 33155                          CHICAGO, IL 60675                     FORT WALTON BEACH, FL 32549-2423




AR. DEPT OF FINANCE AND ADMINISTRATION   ARABELLA HOSPITALITY ESPANA SLU       ARACELI SARAI HEISLER
OFFICE OF STATE REVENUE ADMIN.           CAMI DE SON VIDA 38                   ADDRESS ON FILE
1509 W 7TH ST                            PALMA DE MALLORCA 07013
LITTLE ROCK, AR 72201                    SPAIN




ARAS D. TIJUNELIS, M.D.                  ARAS D. TIJUNELIS, M.D.               ARASH MOMENI, MD
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE
ARASH MORADZADEH, M.D. Case 24-10245-JTD     Doc 219CORPORATION
                                     ARBON EQUIPMENT    Filed 03/28/24   Page 14AMAIRANI
                                                                           ARCE, of 226
ADDRESS ON FILE                      25464 NETWORK PLACE                   ADDRESS ON FILE
                                     CHICAGO, IL 60673




ARCHIBALD S. MILLER, III, M.D.       ARENZ, JESSICA                        ARGUIJO, GABRIELLA
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




ARI HYMAN, MD                        ARIEL N. RAD, M.D., PH.D.             ARIEL OURIAN, MD
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




ARISE AUSTIN MEDICAL CENTER          ARISTOCRAT PLASTIC SURGERY            ARISTOCRAT PLASTIC SURGERY
ARIA MCCASTER                        N HARSTER                             PAM SKLAR
3003 BEE CAVES RD, STE 100           560 NORTHERN BLVD, SUITE 109          SUITE 109
AUSTIN, TX 78746-5550                GREAT NECK, NY 11021                  560 NORTHERN BLVD.
                                                                           GREAT NECK, NY 11021-5100



ARIZONA DEPARTMENT OF HEALTH         ARIZONA DEPARTMENT OF REVENUE         ARIZONA DEPT OF REVENUE
SERVICES                             PO BOX 29085                          1600 W. MONROE
150 N 18TH AVE                       PHOENIX, AZ 85038-9009                PHOENIX, AZ 85007-2650
PHOENIX, AZ 85007




ARIZONA DERMATOLOGY GROUP            ARIZONA FACIAL PLASTICS               ARIZONA PREMIER PLASTIC SURGERY
GIGI KRAMER                          ATTN: ACCOUNTS PAYABLE                WHITNEY BRADLEY
830 AINSWORTH DRIVE                  4602 N. 16TH STREET, SUITE 301        8415 N PIMA RD, STE 280
PRESCOTT, AZ 86314                   PHOENIX, AZ 85016                     SCOTTSDALE, AZ 85258-4480




ARKANSAS CHILDRENS HOSPITAL          ARKANSAS DEPARTMENT OF HEALTH         ARKANSAS DEPT OF LABOR
TRACEY MITCHELL                      4815 W. MARKHAM                       900 W CPAITAL AVE
1 CHILDRENS WAY                      LITTLE ROCK, AR 72205-3867            SUITE 400
LITTLE ROCK, AR 72202                                                      LITTLE ROCK, AR 72201




ARKANSAS DIV OF MEDICAL SERVICES     ARKANSAS METHODIST MEDICAL CTR        ARKANSAS ORAL & MAXILLOFACIAL
P.O. BOX 1437; SLOT S401             ATTN: ACCOUNTS PAYABLE                SURGERY
LITTLE ROCK, AR 72203-1437           900 W KINGSHIGHWAY PO BOX 339         DONNA HILL
                                     PARAGOULD, AR 72451                   200 MCAULEY COURT
                                                                           HOT SPRINGS, AR 71913



ARKANSAS SECURITIES DEPARTMENT       ARMEN VARTANY, MD                     ARSHAD MUZAFFAR, MD
1 COMMERCE WAY, STE 402              ADDRESS ON FILE                       ADDRESS ON FILE
LITTLE ROCK, AR 72202




ARSHAD MUZAFFAR, MD                  ARTESIA PLASTIC SURGERY               ARTHUR G. HANDAL, M.D.
ADDRESS ON FILE                      SAMANTHA BECKER                       ADDRESS ON FILE
                                     6044 MAIN ST , STE 106
                                     WILLIAMSVILLE, NY 14224
ARTHUR J. DEBAISE, M.D.   Case 24-10245-JTD
                                        ARTISAN Doc  219
                                                PLASTIC     Filed 03/28/24
                                                        SURGERY               Page 15 ofPLASTIC
                                                                                ARTISAN   226 SURGERY
ADDRESS ON FILE                           LANEY WRIGHT                          MELIHA ARSLANAGIC
                                          6154 US ROUTE 30, SUITE 100           5670 PEACHTREE DUNWOODY RD, SUITE 820
                                          GREENSBURG, PA 15601                  ATLANTA, GA 30342




ARTISAN PLASTIC SURGERY                   ARTNEIS LLC                           ARTURO ARMENTA, M.D.
STEPHEN JOHNS                             655 MADISON AVE 11TH FLOOR            ADDRESS ON FILE
463 BRUSH RUN ROAD, SUITE 200             NEW YORK, NY 10065
GREENSBURG, PA 15601




ARYAL, SAILENDRA                          ASAAD H. SAMRA                        ASANTE ASHLAND COMMUNITY HOSPITAL
ADDRESS ON FILE                           ADDRESS ON FILE                       ASANTE AP
                                                                                731 BLACK OAK DR., SUITE 101
                                                                                MEDFORD, OR 97504




ASANTE HEALTH SYSTEM                      ASCENSION HEALTH ALLIANCE             ASCENSION HEALTH
LINDA LOOGMAN                             GRP, LLC ATTN:ACCTG MGR SYS OF        TAMICA LOVE
731 BLACK OAK DR, SUITE 101               4600 EDMUNDSON ROAD                   PO BOX 5926
MEDFORD, OR 97504                         SAINT LOUIS, MO 63134                 TUCSON, AZ 85703




ASCENSION SAINT THOMAS MIDTOWN            ASCENSION SAINT THOMAS RUTHERFORD     ASCENSION ST. MARYS HOSPITAL OZAUKEE
JEANETTE NEAL                             ATTN: ACCOUNTS PAYABLE                MARGARET STANISLAWSKI
PO BOX 33902                              PO BOX 33902                          13111 N PORT WASHINGTON RD
INDIANAPOLIS, IN 46203                    INDIANAPOLIS, IN 46203                MEQUON, WI 53097




ASCENTIST ASC MERRIAM LLC                 ASCENTIST PHYSICIANS GROUP LLC        ASCENTIST PHYSICIANS GROUP LLC
CASSANDRA OWENS                           4860 COLLEGE BLVD SUITE 201           LORI MYERS
PO BOX 7016                               OVERLAND PARK, KS 66211               3340 NE RALPH POWELL RD, STE B
EDMOND, OK 73083                                                                LEES SUMMIT, MO 64064-2368




ASCENTIST PHYSICIANS GROUP LLC            ASHLAND SURGERY CENTER                [NAME REDACTED]
STEPHANIE ANDERSON                        TORI SMALLEY                          ADDRESS ON FILE
4860 COLLEGE BLVD, STE 201                658 N MAIN STREET
OVERLAND PARK, MO 66211                   ASHLAND, OR 97520




[NAME REDACTED]                           ASHLEY E. GORDON, MD.                 [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                       ADDRESS ON FILE




ASHLEY HALL                               [NAME REDACTED]                       [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                           ASHLEY STEINBERG PLASTIC SURGERY      [NAME REDACTED]
ADDRESS ON FILE                           PLLC                                  ADDRESS ON FILE
                                          ADDRESS ON FILE
ASHLEY ZARLIN                Case 24-10245-JTD    Doc 219
                                           [NAME REDACTED]        Filed 03/28/24   Page 16REDACTED]
                                                                                     [NAME of 226
ADDRESS ON FILE                             ADDRESS ON FILE                          ADDRESS ON FILE




ASPEN SURGERY CENTER                        ASPIRA PLASTIC SURGERY                   ASPIRE PLASTIC SURGERY & MED
JENNIFER STEWART                            TAMMY GARRAMONE                          7735 W. JEFDERSON BLVD
133 LA CASA VIA, SUITE 150                  3207 RR 620 SOUTH                        FORT WAYNE, IN 46804
WALNUT CREEK, CA 94598                      AUSTIN, TX 78738




ASPIRUS PLASTIC SURGERY                     ASSAY TECHNOLOGY INC                     ASSOCIATED PLASTIC SURG - IL
TERA HINTZ                                  1382 STEALTH ST                          ATTN: ACCOUNTS PAYABLE
ASPIRUS CLINICS, INC                        LIVERMORE, CA 94551                      880 W CENTRAL ROAD
PO BOX 1847                                                                          SUITE 3100
WAUSAU, WI 54402-1847                                                                ARLINGTON HEIGHTS, IL 60005-2366



ASSOCIATED PLASTIC SURGEONS PC              ASSOCIATED SURGICAL CENTER               ASSOCIATES IN PLASTIC AND
JESSICA KARL                                JARRED CLEMENTS                          RECONSTRUCTIVE
11501 GRANADA LANE                          129 W RAND RD                            SURGERY PC
LEAWOOD, KS 66211                           ARLINGTON HEIGHTS, IL 60004-3142         ASHLEY WINTERS
                                                                                     3404 NAVAJO DRIVE
                                                                                     CHATTANOOGA, TN 37411


ASSOCIATES IN PLASTIC SURGERY BR            ASSOCIATES IN PLASTIC SURGERY PLLC       ASSOCIATES IN PLASTIC SURGERY, INC.
SAMANTHA RAMERO                             BARBARA SANDERS                          SUSAN MCANDREWS
8425 CUMBERLAND PLACE                       4001 KRESGE WAY, SUITE 220               1037 FIRST COLONIAL RD
BATON ROUGE, LA 70810                       LOUISVILLE, KY 40207                     VIRGINIA BEACH, VA 23454




ASTON CARTER, INC                           ASTON CARTER, INC                        ASTRIA SUNNYSIDE HOSPITAL
7312 PARKWAY DRIVE                          PO BOX 7410408                           ATTN: AP
HANOVER, MD 21076                           CHICAGO, IL 60674                        PO BOX 719
                                                                                     SUNNYSIDE, WA 98944




AT&T MOBILITY                               AT&T                                     AT-BAY
2600 CAMINO RAMON                           208 S. AKARD STREET                      1 POST STREET
SAN RAMON, CA 94563                         DALLAS, TX 75202                         14TH FLOOR
                                                                                     SAN FRANCISCO, CA 94104




ATELLOS SOLUTION LLC                        ATHENA CLINICS INTERNATIONAL             ATHENIX - CENTRAL VALLEY AREA
17875 VON KARMAN AVE. SUITE 150             1319 PUNAHOU ST 1070                     ATTN: ACCOUNTS PAYABLE
IRVINE, CA 92614                            HONOLULU, HI 96826                       7015 N MAPLE AVE, STE 102
                                                                                     AUSTIN, TX 78714




ATHENIX - CENTRAL VALLEY AREA               ATHENIX - LOS ANGELES AREA               ATHENIX - LOS ANGELES AREA
MARINA TORRES                               ATTN: ACCOUNTS PAYABLE                   STEPHANIE ALVAREZ
65 ENTERPRISE STE 125                       150 E COLORADO BLVD, STE 102             65 ENTERPRISE STE 125
ALISO VIEJO, CA 92656-2706                  PASADENA, CA 91105-3708                  ALISO VIEJO, CA 92656




ATHENIX - ORANGE COUNTY AREA                ATHENIX - ORANGE COUNTY AREA             ATHENIX - PORTLAND AREA
ATTN: ACCOUNTS PAYABLE                      DAWN LEIVA                               ATTN: ACCOUNTS PAYABLE
113 WATERWORKS WAY, STE 300                 65 ENTERPRISE STE 125                    17885 NW EVERGREEN PKWY, STE 110
IRVINE, CA 92618-3174                       ALISO VIEJO, CA 92656-2706               BEAVERTON, OR 97006-7494
ATHENIX - PORTLAND AREA Case 24-10245-JTD
                                      ATHENIX Doc 219       Filed 03/28/24    Page 17 of 226
                                                                                ATHENIX
JENNIFER GARDNER                      CHRISTIE ROBERTS                          CRAIG YARWOOD
65 ENTERPRISE STE 125                 65 ENTERPRISE, SUITE 125                  113 WATERWORKS WAY, SUITE 300
ALISO VIEJO, OR 92656-2706            ALISO VIEJO, CA 92656                     IRVINE, CA 92618




ATHENIX                                ATHENIX                                  ATHENIX
DAWN LEVIA                             MOLLIE SELF                              RAQUEL VANDERMOLEN
113 WATERWORKS WAY SUITE 300           65 ENTERPRISE STE 125                    113 WATERWORKS WAY, SUITE 300
IRVINE, CA 92618                       ALISO VIEJO, CA 92656-2706               IRVINE, CA 92618




ATHLEO L. CAMBRE, M.D.                 ATLANTA PLASTIC SURGERY                  ATLANTIC CENTER FOR COSMETIC SURGERY
ADDRESS ON FILE                        MINDI HART                               MINDY SETSER
                                       975 JOHNSON FERRY ROAD                   3855 PLEASANT HILL ROAD, SUITE 300
                                       ATLANTA, GA 30342                        DULUTH, GA 30096




ATLANTIC HEALTH SYSTEM                 ATLANTIC HEALTH SYSTEM                   ATLANTIC PLASTIC SURGERY
ANNIE HILL                             DEBORAH PALMIERI                         ASHLEY ROBINSON
ACCOUNTS PAYABLE                       100 MADISON AVENUE                       100 GRIFFIN ROAD, SUITE B
MORRISTOWN, NJ 07960                   MORRISTOWN, NJ 07960                     PORTSMOUTH, NH 03801




ATLANTICARE                            ATLASSIAN PTY LTD                        ATLASSIAN
LISA SUTTON                            32151 COLLECTIONS CENTER DRIVE           350 BUSH STREET, 13TH FLOOR
PO BOX 633                             CHICAGO, IL 60693                        SAN FRANCISCO, CA 94104
POMONA, NJ 08240




ATRIUM HEALTH SUPPLY CHAIN ALLIANCE    ATRIUM INSIGHT INC                       [NAME REDACTED]
ATTN: RENEE REAM                       PO BOX 231399                            ADDRESS ON FILE
PO BOX 35126                           ENCINITAS, CA 92023
CHARLOTTE, NC 28235




AUBURN MED SPA                         AUDIE L. MURPHY MEMORIAL VA HOSPITAL     AUDITBOARD, INC
WHITNEY JONES                          CAROLINA RAMIREZ                         12900 PARK PLAZA DR.
1935 E. GLENN AVENUE, SUITE 201        7400 MERTON MINTER BLVD                  SUITE 200
AUBURN, AL 36830                       SAN ANTONIO, TX 78240                    CERRITOS, CA 90703




[NAME REDACTED]                        AUDREY RATNAGOPAL                        AUGUSTA HEALTH
ADDRESS ON FILE                        ADDRESS ON FILE                          TERRI CAMPBELL
                                                                                PO BOX 1000
                                                                                FISHERSVILLE, VA 22939




[NAME REDACTED]                        [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                        MARY ANN WOELFLING                       ADDRESS ON FILE
                                       70 MEDICAL CENTER CIR, SUITE 203
                                       FISHERSVILLE, VA 22939




AUGUSTA ROAD AESTHETICS                AURA ADVANCED SKIN CARE & PLASTIC        AURAGEN AESTHETICS LLC
STEPHANIE MOSCARITOLO                  SURG                                     11 DELLBROOK RD
8 MCPHERSON LN                         NICOLE                                   WESTON, MA 2493
GREENVILLE, SC 29605                   2595 CANYON BLVD 360
                                       BOULDER, CO 80302
AURAGEN AESTHETICS LLC Case 24-10245-JTD
                                     AURORA Doc
                                             HEALTH219
                                                     CARE Filed 03/28/24     Page 18 of
                                                                               AURORA   226 CENTER
                                                                                      HEALTH
11 DELLBROOK ROAD                    WENDY SKARE                               ATTN: ACCOUNTS PAYABLE
WESTON, MA 02493                     PO BOX 343930                             PO BOX 343930
                                     MILWAUKEE, WI 53234                       MILWAUKEE, WI 53234




AURORA ST. LUKES MEDICAL CENTER       AURORA WEST ALLIS MEDICAL CENTER         AUSTIN COSMETIC SURGERY CENTER PLLC
ATTN: ACCOUNTS PAYABLE                ATTN: ACCOUNTS PAYABLE                   JULIE CULIN
PO BOX 343930                         PO BOX 3367                              2905 SAN GABRIEL STREET, SUITE 100
MILWAUKEE, WI 53234                   DOWNERS GROVE, IL 60515                  AUSTIN, TX 78705




AUSTIN PLASTIC SURGERY INSTITUTE      AUSTIN WESTON CENTER FOR COSMETIC        AUTHEMENT
AMY AUSTIN                            SURG                                     C/O BENTLEY & MORE LLP
4701 BEE CAVES RD, STE 202            SHIMA KARIMI                             GREGORY BENTLET & FARNAZ SALESSI
AUSTIN, TX 78746-5366                 1825 SAMUEL MORSE DR, STE B              4931 BIRCH STREET
                                      RESTON, VA 20190                         NEWPORT BEACH, CA 92660



AUTOMATIONDIRECT-COM INC              [NAME REDACTED]                          AVALARA, INC
3505 HUTCHINSON RD                    ADDRESS ON FILE                          DEPT CH 16781
CUMMING, GA 30040                                                              PALATINE, IL 60055




AVALON SURGERY CENTER                 AVANT PLASTIC SURGERY, INC.              AVENTURA HOSPITAL
JUANITA RIOS                          COURTNEY ROBINSON                        PATRICIA VELASQUEZ
435 ARDEN AVE, STE 520                9090 BURTON WAY                          200 WADSWORTH DR
GLENDALE, CA 91203                    BEVERLY HILLS, CA 90211                  RICHMOND, VA 23236




AVIENT COLORANTS USA LLC              AVORS MEDICAL GROUP                      AVRON LIPSCHITZ, MD
33587 WALKER ROAD                     MARISSA HENDRIX                          ADDRESS ON FILE
AVON LAKE, OH 44012                   42135 10TH STREET W., SUITE 101
                                      LANCASTER, CA 93534




AW PLASTIC SURGERY                    AXOS CLEARING (0052)                     AYDIN PLASTIC SURGERY
TAYLOR BOSSIE                         ATT CORPORATE ACTIONS DEPT               ROSE TORRES
500 MARKET STREET, SUITE 1B           1200 LANDMARK CTR, STE. 800              140 NORTH ROUTE 17, SUITE 200
PORTSMOUTH, NH 03801                  OMAHA, NE 68102-1916                     PARAMUS, NJ 07652




AZAD PLASTIC SURGERY                  AZEVEDO, ALEXANDER                       AZEVEDO, DANIEL
SARAH AZAD                            ADDRESS ON FILE                          ADDRESS ON FILE
2340 GLENWOOD DR
WINTER PARK, FL 32792-3314




AZITA MADJIDI, M.D.                   AZIYO BIOLOGICS INC                      B. AVIVA PREMINGER, M.D.
ADDRESS ON FILE                       ATTN COURTNEY GUYER, VP & GENARL MGR     ADDRESS ON FILE
                                      12510 PROSPERITY DR, STE 370
                                      SILVER SPRING, MD 20904




BAKER & MCKENZIE LLP                  BAKER & MCKENZIE LLP                     BAKER & MCKENZIE LLP
452 FIFTH AVENUE                      JAMES BLANK                              JAMES BLANK
NEW YORK, NY 10018                    300 EAST RANDOLPH STREET                 P.O. BOX 23753
                                      SUITE 5000                               CHICAGO, IL 60673
                                      CHICAGO, IL 60601
BAKER & MCKENZIE LLP    Case 24-10245-JTD    Doc 219
                                      BAKER GORDON      Filed 03/28/24
                                                   EDUCATIONAL SYMPOSIUM Page 19 of
                                                                           BALCER,   226
                                                                                   NICHOLAS
P.O. BOX 23753                         ATTN: MARY FELPETO                   ADDRESS ON FILE
CHICAGO, IL 60673                      3225 AVIATION AVE, SUITE 100
                                       COCONUT GROVE, FL 33133




BALDONE REINA DERMATOLOGY              BALIKIAN FACIAL PLASTIC SURGERY      BALL CHAIN MANUFACTURING CO INC
STEPHANIE MOGA                         SHIRLEY KUNKEL                       741 SOUTH FULTON AVENUE
150 LAKEVIEW CIRCLE                    25220 HANCOCK AVENUE, SUITE 115      MOUNT VERNON, NY 10550
COVINGTON, LA 70433                    MURRIETA, CA 92562




BALLAD HEALTH -                        BALLARD SPAHR LLP                    BALSAMO, ANGELIA
BRISTOL REGIONAL MEDICAL CENTER        1735 MARKET STREET, 51ST FLOOR       ADDRESS ON FILE
DONNA ANDERSON                         PHILADELPHIA, PA 19103
PO BOX 659
KINGSPORT, TN 37662



BALSAMO, ANGELO                        BALTIC CONSULTING PLLC               BALTIMORE WASHINGTON MEDICAL CENTER
ADDRESS ON FILE                        1105 N EVERGREEN ST                  ERIN KLOSTERMAN
                                       SPOKANE, WA 99201                    PO BOX 31243
                                                                            SALT LAKE CITY, UT 84131




[NAME REDACTED]                        BANGOR PLASTIC & HAND SURGERY        BANK OF NEW YORK MELLON (0901)
ADDRESS ON FILE                        CATHERINE COLE                       ATT EVENT CREATION
                                       55 BROADWAY                          500 GRANT ST
                                       BANGOR, ME 04401                     ROOM 151-1700
                                                                            PITTSBURGH, PA 15258



BANK OF THE WEST                       BANK OF THE WEST                     BANNER HEALTH SYSTEM
1625 W FOUNTAINHEAD PKWY               2527 CAMINO RAMON                    TERESA FIERRUS
AZ-FTN-10C-A, AZ-FTN-10C-A             SAN RAMON, CA 94583                  PO BOX 2977
TEMPE, AZ 85282                                                             PHOENIX, AZ 85062




BANZA, PAPY                            BAO L. PHAN, M.D.                    BAPTIST EYE SURGEONS, PLLC
ADDRESS ON FILE                        ADDRESS ON FILE                      CHRISTY VOLK
                                                                            4528 CHAPMAN HIGHWAY
                                                                            KNOXVILLE, TN 37920




BAPTIST HEALTH SOUTH FLORIDA           BAPTIST HEALTH                       BAPTIST HEALTHCARE
ANDREW SANDERS                         ATTN: ACCOUNTS PAYABLE               ATTN: ACCOUNTS PAYABLE
8900 N KENDALL DRIVE                   PO BOX 8516                          BU 10100, PO BOX 458032
MIAMI, FL 33176                        LITTLE ROCK, AR 72215                WESTLAKE, OH 44145




BAPTIST HEALTHCARE                     BAPTIST HOSPITAL PENSACOLA           BAPTIST HOSPITAL PENSACOLA
PATRICIA SUTHERLAND                    ATTN: AP                             SHARON JEFFRIES
1740 NICHOLASVILLE RD                  PO BOX 17500                         1000 W. MORENO STREET
LEXINGTON, KY 40503                    PENSACOLA, FL 32522                  PENSACOLA, FL 32501




BAPTIST HOSPITAL SYSTEMS               BAPTIST ST. ANTHONYS HLTH SYS        [NAME REDACTED]
RAY SUMRALL                            ATTN: AP DEPARTMENT                  ADDRESS ON FILE
350 N. HUMPHREYS BLVD.                 ATTN: ACCOUNTS PAYABLE
MEMPHIS, TN 38120                      PO BOX 9872
                                       AMARILLO, TX 79105
BARBARA E. HOWARD, M.D. Case 24-10245-JTD    Doc 219
                                      [NAME REDACTED]     Filed 03/28/24   Page 20REDACTED]
                                                                             [NAME of 226
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                        BARBARA PERSONS, M.D.                 BARBARINO SURGICAL ARTS
ADDRESS ON FILE                        ADDRESS ON FILE                       KIERA REILLY
                                                                             1916 CUEVA DE ORO
                                                                             AUSTIN, TX 78746-7722




BARBARINO SURGICAL ARTS                BARBER CENTER FOR PLASTIC SURGERY     BARBIERI, ALAN
ROXIE SMITH                            P.O. BOX 13089                        ADDRESS ON FILE
1601 PACIFIC COAST HIGHWAY SUITE 150   GREENSBORO, NC 27415
HERMOSA BEACH, CA 90254




BARCLAYS CAPITAL (8455)                BARCLAYS CAPITAL INC. (0229)          BARCODES LLC DBA BARCODES, INC.
ATT CORPORATE ACTIONS/REORG            ATT CORPORATE ACTIONS/REORG           PO BOX 95637
745 7TH AV, 3RD FL                     745 7TH AV, 3RD FL                    CHICAGO, IL 60694
NEW YORK, NY 10019                     NEW YORK, NY 10019




BARNES, JAMES                          BARRY PRESS, MD, FACS                 BARRY ROSEN
ADDRESS ON FILE                        ADDRESS ON FILE                       ADDRESS ON FILE




BARRY S HANDLER, MD                    BARTLETT,PRINGLE & WOLFE LLP          BARTON-HUTCHERSON, INC.
ADDRESS ON FILE                        1123 CHAPALA STREET                   LYNN CAMPANARO
                                       SANTA BARBARA, CA 93101               14935 RAMOS PLACE
                                                                             PACIFIC PALISADES, CA 90272




BASCOM SURGERY CENTER                  BASU PLASTIC SURGERY                  BATON ROUGE GENERAL MEDICAL CENTER
TARA PUNG                              ROSINA PHILLIPS                       ALICIA JARREAU
3803 S. BASCOM AVE, SUITE 106          8730 MEMORIAL DRIVE                   PO BOX 1166
CAMPBELL, CA 95008                     HOUSTON, TX 77024                     BATON ROUGE, LA 70821




BAXTER REGIONAL MEDICAL CENTER         BAY ALARM COMPANY                     BAY AREA HOSPITAL
SHELBY JENSEN                          PO BOX 51041                          BOBBY M
624 HOSPITAL DR                        LOS ANGELES, CA 90051                 1775 THOMPSON RD
MOUNTAIN HOME, AR 72653                                                      COOS BAY, OR 97420




BAY AREA PLASTIC SURGERY ASSOCIATES,   BAY AREA SURG SPECIALIST SERV         BAY CARE HEALTH SYSTEM
PC                                     YVONNE DEL BENE                       AVI NAGY
ATTN: ACCOUNTS PAYABLE                 2637 SHADELANDS DR                    2985 DREW ST
2860 DAUPHIN STREET, SUITE A           WALNUT CREEK, CA 94598-2512           CLEARWATER, FL 33759-3012
MOBILE, AL 36606



BAY MEDICAL SACRED HEART HEALTH        BAYCARE HEALTH SYSTEM                 BAYLOR & WHITE SURGICAL HOSPITAL
SYSTEM                                 DBA BAYCARE INTEGRATED SERV           AT FORT WORTH
MICHELE SANDERS                        7802 E TELECOM PKWY                   MICHAELA WILSON
PO BOX 59515                           TAMPA, FL 33607                       1800 PARK PLACE AVE.
PANAMA CITY, FL 32412                                                        FORT WORTH, TX 76110
                       Case
BAYLOR MEDICAL CENTER AT     24-10245-JTD
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                                      BAYLOR SCOTT & WHITEFiled 03/28/24
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                                                                             BAYLOR   226
                                                                                    SURGICARE AT NORTH DALLAS
STEPHANIE RIOS                        WORTH                                   JEANNE MUCHA
2727 E LEMMON AVE                     SUSAN TOLAND                            12230 COIT ROAD, SUITE 200
DALLAS, TX 75204                      750 12TH AVE                            DALLAS, TX 75251
                                      FORT WORTH, TX 76104



BAYLOR U. MEDICAL CENTER              BAYSTATE MEDICAL CENTER                 BAYVIEW PLASTIC SURGERY
AP SUPPORT                            SHARON WUORI                            EMILY BERGLUND
3500 GASTON AVENUE                    P.O. BOX 6245                           4700 PT FOSDICK DR, STE 208
DALLAS, TX 75246                      SPRINGFIELD, MA 01101-6245              GIG HARBOR, WA 98335




BEACHWOOD PLASTIC SURGERY             BEACON HEALTH SYSTEM, INC               BEACON RESOURCES, LLC
KATIE SULLIVAN                        ATTN: AP                                20750 VENTURA BLVD, SUITE 300
3618 PARK EAST DRIVE                  615 N MICHIGAN ST                       WOODLAND HILLS, CA 91364
BEACHWOOD, OH 44122                   SOUTH BEND, IN 46601




BEAIRD DERMATOLOGY                    BEARWOOD PLASTIC SURGERY                BEAUDOT, BEVERLY
CHRISTINE DUCE                        LAURIE HAVICE                           ADDRESS ON FILE
4885 HOFFMAN BLVD, SUITE 407          3031 HIGHWAY 81 N
HOFFMAN ESTATES, IL 60192             ANDERSON, SC 29621




BEAUTIFY AT AMS                       BEAUTY THROUGH SCIENCE - USA LLC        BEAUTYFIX PLASTIC SURGERY
MARIA SARKISSIAN                      2325 LIME KILN, LANE SUITE C            DANIELLE RUSSO
830 N. ASHLAND AVE UNIT 1             LOUISVILLE, KY 40222                    201 E 69TH ST, 2C
CHICAGO, IL 60622                                                             NEW YORK, NY 10021




BECKER PLASTIC SURGERY                [NAME REDACTED]                         [NAME REDACTED]
TONYA HOPFAUF                         ADDRESS ON FILE                         ADDRESS ON FILE
1500 INTERCHANGE AVENUE
SUITE 100
BISMARCK, ND 58501



BEEBE HEALTHCARE                      BEEBE MEDICAL CENTER                    BEEN FACIAL PLASTICS
DEBBIE CONNORS                        ATTN: ACCOUNTS PAYABLE                  ATTN: ACCOUNTS PAYABLE
431C SAVANNAH RD                      440 MARKET ST                           2800 KESLINGER ROAD, SUITE 110
LEWES, DE 19958-1460                  LEWES, DE 19958                         GENEVA, IL 60134




BEGHOU CONSULTING, LLC                BEGHOU CONSULTING, LLC                  BEJARANO, PETER
RAVI SINGH                            RAVI SINGH                              ADDRESS ON FILE
1880 OAK AVENUE                       PO BOX 0452
SUITE 200                             EVANSTON, IL 60204
EVANSTON, IL 60201



BEKELE, ABEBE                         BELARAY DERMATOLOGY                     BELCO PACKAGING SYSTEMS, INC
ADDRESS ON FILE                       RACHEL ELLIS                            910 S MOUNTAIN AVE
                                      358 S OYSTER BAY RD                     MONROVIA, CA 91016
                                      HICKSVILLE, NY 11801




BELECARA                              BELLA DERMA VAIL DERM, PLLC             BELLADERMA COSMETIC SURGERY&SKIN
ADDRESS ON FILE                       DARRIEN ALLISON                         CARE
                                      PO BOX 2736                             4520 EXECUTIVE DRIVE, SUITE 105
                                      EDWARDS, CO 81632                       SAN DIEGO, CA 92121
BELLEVUE HAND SURGERY Case 24-10245-JTD     Doc 219
                                    BELOSI, LISA           Filed 03/28/24   Page
                                                                              BEN22 of 226M.D.
                                                                                 CHILDERS,
1200 112TH AVE NE, SUITE C-210      ADDRESS ON FILE                           ADDRESS ON FILE
BELLEVUE, WA 98004




BEND SURGERY CENTER                   BENEFIS HEALTH SYSTEM                   BENEFIS HEALTH SYSTEM
ATTN: ACCOUNTS PAYABLE                ARLENE LAROCQUE                         CARRIE LINDSTRAND
PO BOX 6329                           PO BOX 5013                             500 15TH AVE SOUTH
BEND, OR 97708                        GREAT FALLS, MT 59403                   GREAT FALLS, MT 59405




BENJAMIN C. CHU, M.D.                 BENJAMIN J. COUSINS, M.D.               BENJAMIN MASER, MD
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




BENJAMIN SCHULTZ, MD                  BENNETT, OLIVER                         BENNETT, OLIVER
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




BENSON TIMMONS, MD.                   BENTEC MEDICAL OPCO,LLC                 BENTLEY & MORE LLP
ADDRESS ON FILE                       P.O. BOX 207670                         4931 BIRCH STREET
                                      DALLAS, TX 75320                        NEWPORT BEACH, CA 92660




BENTLEY & MORE LLP                    BERGER & MONTAGUE PC IOLTA-PA           BERKELEY RESEARCH GROUP, LLC
C/O CLARK HILL LLP, ATTN: CAROLYN     1818 MARKET STREET, SUITE 3600          2200 POWELL STREET, SUITE 1200
TAYLOR                                PHILADELPHIA, PA 19103                  EMERYVILLE, CA 94608
ONE AMERICAN PLAZA,
600 W BROADWAY STE 500
SAN DIEGO, CA 92101


BERKELEY RESEARCH GROUP, LLC          BERKEY, WILLIAM                         BERKS AMBULATORY SURGERY CENTER
PO BOX 676158                         ADDRESS ON FILE                         LOUISE MCGINLEY
DALLAS, TX 75267                                                              50 COMMERCE DR
                                                                              WYOMISSING, PA 19610




BERKS ENT SURGICAL ASSOCIATES, INC.   BERKSHIRE MEDICAL CENTER                BERLET PLASTIC SURGERY
GAIL KAUCHER                          ANDREA OVERBAUGH                        ATTN: ACCOUNTS PAYABLE
1 GRANITE POINT DR, SUITE 300         PO BOX 4339                             908 POMPTON AVENUE, SUITE A-1
WYOMISSING, PA 19610                  PITTSFIELD, MA 01202                    CEDAR GROVE, NJ 07009




BERNABE VAZQUEZ, MD, FACS             [NAME REDACTED]                         BERNARD KOPCHINSKI, MD
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




BERNARDINO MENDEZ, MD                 BERNARDINO MENDEZ, MD                   BERNSTEIN MANUFACTURING INC.
ADDRESS ON FILE                       ADDRESS ON FILE                         DBA NORTH EAST CUTTIN
                                                                              29 INDUSTRIAL PARK DR
                                                                              DOVER, NH 03820
BEST IMPRESSIONS PLASTICCase 24-10245-JTD
                        SURGERY              Doc 219
                                      [NAME REDACTED]         Filed 03/28/24    Page 23ISRAEL
                                                                                  BETH   of 226
                                                                                              DEACONESS HOSPITAL -
OLIVIA JULIANO                        ADDRESS ON FILE                              NEEDHAM
1050 DEKALB PIKE                                                                   ANDREW DONATO
BLUE BELL, PA 19422                                                                148 CHESTNUT ST
                                                                                   NEEDHAM, MA 02492



BETH ISRAEL DEACONESS HOSPITAL -          BETH ISRAEL MEDICAL CENTER               BETH ISRAEL MEDICAL CENTER
NEEDHAM                                   ATTN: ACCOUNTS PAYABLE                   MICHELE BRETON
ATTN: ACCOUNTS PAYABLE                    PO BOX 792, COOPER STATION               PO BOX 15704
148 CHESTNUT ST.                          NEW YORK, NY 10276                       BOSTON, MA 02215
NEEDHAM, MA 02492



[NAME REDACTED]                           [NAME REDACTED]                          BETTENCOURT, DEBORAH
ADDRESS ON FILE                           ADDRESS ON FILE                          ADDRESS ON FILE




BEVERLY HILLS CENTER - COHEN & TALEI      BEVERLY HILLS OPERATORY INC              BEVERLY HILLS PLASTIC SURGERY GROUP
ATTN: ACCOUNTS PAYABLE                    ADDRESS ON FILE                          MORI SATVATI
465 N ROXBURY DR, STE 750                                                          436 N BEDFORD DR, SUITE 214
BEVERLY HILLS, CA 90210-4210                                                       BEVERLY HILLS, CA 90210




BEVERLY HILLS PLASTIC SURGERY, INC.       BEYOND BENEFITS LIFE SCIENCES TRUST      BFPS PC
ZIVA DOOSTAN                              9171 TOWNE CENTRE DRIVE, SUITE 100       LISA FINI
9454 WILSHIRE BLVD, SUITE 108             SAN DIEGO, CA 92122                      2 TOWN PLACE, STE 110
BEVERLY HILLS, CA 90212                                                            BRYN MAWR, PA 19010-3420




BIESCHKE, SARAH                           BIG SKY IMAGING CONSULTANTS, LLC         BIG SKY SURGERY CENTER
ADDRESS ON FILE                           2900 12TH AVE N SUITE 3E                 KIMBERLY WAGGONER
                                          BILLINGS, MT 59101                       2833 FORT MISSOULA RD
                                                                                   MISSOULA, MT 59804-7408




BILL KORTESIS                             BILLINGS DERMATOLOGY & AESTHETICS        BILLINGS PLASTIC SURGERY
ADDRESS ON FILE                           MICHELLE QUALLS                          MICHELLE WEB
                                          2294 GRANT ROAD                          2510 17TH STREET WEST
                                          BILLINGS, MT 59102                       BILLINGS, MT 59102




BIOCOM CALIFORNIA                         BIOLOGICS CONSULTING GROUP INC           BIRDDOG LIGHTING
10996 TORREYANA RD, SUITE 200             1317 KING STREET                         1490 HARPER PUCKETT RD
SAN DIEGO, CA 92121                       SUITE 300                                BOZEMAN, MT 59718
                                          ALEXANDRIA, VA 22314




BIXLY INC.                                BJC HEALTH SYSTEM                        BJC HEALTH SYSTEM
2727 N. GROVE INDUSTRIAL DR., SUITE 105   LYNN HESPEN                              TERESA HITZ
FRESNO, CA 93727                          4353 CLAYTON AVE, RM 166                 4249 CLAYTON AVE, STE 310
                                          SAINT LOUIS, MO 63110                    SAINT LOUIS, MO 63110




BLACK DIAMOND NETWORKS INC                BLACKHAWK PLASTIC SURGERY                BLACKLINE SYSTEMS, INC
23 MAIN ST                                AMY BECKHAM                              21300 VICTORY BLVD., 12TH FLOOR
ANDOVER, MA 01810                         3600 BALCKHAWK PLAZA                     WOODLAND HILLS, CA 91367
                                          DANVILLE, CA 94506
                      Case 24-10245-JTD
BLACKSTONE VALLEY SURGICARE               DocBENJAMIN
                                    BLACKWOOD,  219 Filed 03/28/24          Page 24 of 226
                                                                              BLAGOJEVIC, TANJA
ASHLEY RICHARDSON                   ADDRESS ON FILE                            ADDRESS ON FILE
1526 ATWOOD AVENUE
JOHNSTON, RI 02919




BLAINE PLASTIC SURGERY              BLAKE SPARKS, MD                           BLANCHARD VALLEY HEALTH
DANIELLE ENGEL                      ADDRESS ON FILE                            CONNOR WALLENHORST
775 PARK AVENUE, SUITE 205                                                     1900 S MAIN ST
HUNTINGTON, NY 11743                                                           FINDLAY, OH 45840-1214




BLAU MEDICAL, PLLC                  BLESSING HEALTH SYSTEM                     BLOCK, RENE
JULIA DUNCAN                        LISA KERKER                                ADDRESS ON FILE
119 BRADLEY AVE                     PO BOX 7005
WHITE PLAINS, NY 10607              QUINCY, IL 62305




BLOOM NETWORK LLC, THE              BLOOM PLASTIC SURGERY                      BLOOMFIELD HILLS SURGICAL CENTER
2275 E. 4500 S.                     TINA HOLTZMAN                              SHALISHA HAMMOND
HOLLADAY, UT 84117                  1 E DELAWARE PL, STE 501                   359 ENTERPRISE CT
                                    CHICAGO, IL 60611                          BLOOMFIELD HILLS, MI 48302




BLOUNT MEMORIAL PHYSICIANS GROUP    BLU DIGITAL CONSULTING, LLC                BLUBETA
PAM WALKER                          42 RUE DU CHATEAU                          2700 N MIAMI AVE, 1008
266 JOULE STREET                    ALISO VIEJO, CA 92656                      MIAMI, FL 33127
ALCOA, TN 37701




BLUE RIDGE PLASTIC SURGERY GROUP    BLUE WATER PLASTIC SURGERY                 BLUE WATER PLASTIC SURGERY
LETA COUNCILL                       ASHLEYN A                                  SERENITY REINERT
141 DOCTORS DRIVE                   10941 RAVEN RIDGE RD, SUITE 101            10941 RAVEN RIDGE RD, SUITE 103
BOONE, NC 28607                     RALEIGH, NC 27614                          RALEIGH, NC 27614




BLUSHARK DIGITAL LLC                BMHCC                                      BMO BANK NA
500 PENN STREET NE FIRST FLOOR, 2   ATTN: AP                                   320 SOUTH CANAL STREET
WASHINGTON, DC 20002                350 N HUMPHREYS BLVD                       CHICAGO, IL 60606
                                    MEMPHIS, TN 38120




BMO BANK NA                         BMO NESBITT BURNS /CDS (5043)              BNP PARIBAS, NY BRANCH (2147)
P.O. BOX 7167                       ATT PHUTHORN PENIKETT                      ATT PROXY DEPT
PASADENA, CA 91109                  250 YONGE ST., 14TH FL                     525 WASHINGTON BLVD
                                    TORONTO, ON M5B 2M8                        9TH FL
                                    CANADA                                     JERSEY CITY, NJ 07310



BNP/CUST (2787)                     BOARD OF REGENTS OF THE UNIVERSITY OF      BOARD OF REGENTS OF THE UNIVERSITY OF
ATT PROXY DEPT                      OKLAHOMA HEALTH SCIENCES CTR               OKLAHOMA HEALTH SCIENCES CTR
525 WASHINGTON BLVD                 DARLA BROWN                                MARY SHEETS
9TH FL                              825 NE 10TH ST, STE 1700                   825 NE 10TH ST, STE 1700
JERSEY CITY, NJ 07310               OKLAHOMA CITY, OK 73104                    OKLAHOMA CITY, OK 73104



BOCA RATON REGIONAL HOSPITAL        BOCA RATON REGIONAL HOSPITAL               BODYAESTHETIC RESEARCH CENTER, INC.
ATTN: AP                            REBECCA PAGES                              969 NORTH MASON ROAD, STE 170
BAPTIST HEALTH SOUTH FLORIDA        800 MEADOWS RD                             CREVE COEUR, MO 63141
8900 N KENDALL DR                   BOCA RATON, FL 33486
MIAMI, FL 33176
BOFA SECS (0161)        Case 24-10245-JTD     Doc
                                      BOFA SECS     219 Filed 03/28/24
                                                 (5143)                  Page 25SECS
                                                                           BOFA   of 226
                                                                                     (5198)
ATT PROXY DEPT                        ATT PROXY DEPT                        ATT PROXY DEPT
C/O MERRILL LYNCH CORP ACTIONS        C/O MERRILL LYNCH CORP ACTIONS        C/O MERRILL LYNCH CORP ACTIONS
4804 DEER LAKE DR. E.                 4804 DEER LAKE DR. E.                 4804 DEER LAKE DR. E.
JACKSONVILLE, FL 32246                JACKSONVILLE, FL 32246                JACKSONVILLE, FL 32246



BON SECOURS HEALTH SYSTEM            BON SECOURS HEALTH SYSTEM              BON SECOURS HEALTH SYSTEM
CHRIS HILTON                         MELISSA HALL                           SUSAN BARLET
PO BOX 5203                          PO BOX 6189                            24 MEMORIAL MEDICAL DRIVE
CINCINNATI, MD 45201                 ELLICOTT CITY, MD 21042                GREENVILLE, SC 29605




BONILLA, ANA                         BONILLA, ERIKA                         BONNESS COSMETIC SURGERY
ADDRESS ON FILE                      ADDRESS ON FILE                        SHANE MORRIS
                                                                            1405 CAPITAL DR, STE C219
                                                                            PEWAUKEE, WI 53072




[NAME REDACTED]                      BONNIE BALDWIN, MD                     BOONE PRINTING AND GRAPHICS
ADDRESS ON FILE                      ADDRESS ON FILE                        70 S. KELLOGG AVE.
                                                                            GOLETA, CA 93117




BORSTING, LLC                        BORTNICK PLASTIC SURGICAL ARTS         BOSE YALAMANCHI, M.D.
ATTN: ACCOUNTS PAYABLE               ATTN: AP DEPARTMENT                    ADDRESS ON FILE
9450 SW GEMINI DR, PMB 98694         11550 GRANADA ST.
BEND, OR 97701                       LEAWOOD, KS 66211




BOSE YALAMANCHI, M.D.                BOSTIC, YAMEKIA                        BOSTON MEDICAL CENTER
ADDRESS ON FILE                      ADDRESS ON FILE                        CARMEN SETO
                                                                            PO BOX 199180
                                                                            BOSTON, MA 02119




BOSTON PLASTIC SURGERY               BOTTLE TREE PICTURES LLC               BOULDER COMMUNITY HOSPITAL
JILL KIFF                            177 HUNTINGTON AVE STE 1703 79056      MARK MOLL
2300 CROWN COLONY DRIVE, SUITE 101   BOSTON, MA 02115                       PO BOX 9019
QUINCY, MA 02169                                                            BOULDER, CO 80301




BOULDER MEDICAL CENTER, PC           BOULDER PLASTIC SURGERY                BOULDER PLASTIC SURGERY
ATTN: ACCOUNTS PAYABLE               HEIDI DAVIS                            KIMBERLY PAXTON
2750 BROADWAY ST                     2525 4TH STREET, SUITE 202             SUITE 202
BOULDER, CO 80304-3573               BOULDER, CO 80304                      2525 4TH STREET
                                                                            BOULDER, CO 80304-4014



BOURGEOIS FREEL PLASTIC SURGERY      BOWEN, GABRYANA                        BOYD BIOMEDICAL, INC
LINDSAY REGAN                        ADDRESS ON FILE                        501 PLEASANT STREET
8777 BLUEBONNET BLVD, STE A                                                 LEE, MA 01238
BATON ROUGE, LA 70810




BOYD MOVE MANAGEMENT, INC            BRACAMONTES, KRISTINE                  BRAD HUBBARD, M.D.
406 N. NOPAL ST                      ADDRESS ON FILE                        ADDRESS ON FILE
SANTA BARBARA, CA 93103
BRAD M GANDOLFI, MD      Case 24-10245-JTD
                                       BRADLEYDoc 219 MD
                                              CALOBRACE, Filed 03/28/24    Page 26 ofEISEMANN,
                                                                             BRADLEY   226     MD
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




BRADLEY GREENE, M.D.                    BRADLEY, MARCUS                       BRAIN AND SPINE SURGEONS OF NY
ADDRESS ON FILE                         ADDRESS ON FILE                       KRISTIN PITKIN
                                                                              4 WESTCHESTER PARK DR., 4TH FLOOR
                                                                              WEST HARRISON, NY 10604




BRAINSHARK, INC                         BRAND MODEL & TALENT AGENCY, INC      [NAME REDACTED]
130 TURNER STREET                       601 N BAKER                           ADDRESS ON FILE
WALTHAM, MA 02453                       SANTA ANA, CA 92703




[NAME REDACTED]                         BRANDON ELNEKAVEH, MD                 BRANDON REGIONAL MEDICAL CTR
ADDRESS ON FILE                         ADDRESS ON FILE                       ATTN: ACCOUNTS PAYABLE
                                                                              PO BOX 75630
                                                                              RICHMOND, VA 23236




BRANDON REYNOLDS, MD                    BRANDON RICHLAND, MD                  [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                         BRANDY STOEVER                        BRAUN, JOANN
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




BRAUN, MARK                             BRAUN, PATRICIA                       BRAVE COALITION FOUNDATION
ADDRESS ON FILE                         ADDRESS ON FILE                       14439 NW MILITARY, SET 108
                                                                              PMB 506
                                                                              SAN ANTONIO, TX 78231




BRAZOSPORT REGIONAL HEALTH SYSTEM       BREAST BODY BEAUTY, LLC               BREAST BODY BEAUTY, LLC
KATHY DAVIS                             ASHANTE LEE                           GINA CARTER
194 ABNER JACKSON PKWY                  6205 RIVERSIDE DRIVE                  2550 WINDY HILL ROAD, SUITE 312
LAKE JACKSON, TX 77566                  SANDY SPRINGS, GA 30328               MARIETTA, GA 30067




BREAST CANCER ANGELS                    BREAST CANCER ASSISTANCE              BRECKENRIDGE SURGERY CENTER
P.O. BOX 340                            GROUP OF MONTEREY COUNTY              STEPHANIE GARCIA
LOS ALAMITOS, CA 90720                  3771 RIO ROAD SUITE 108               3201 E PRESIDENT GEORGE BUSH HWY STE
                                        (P.O. BOX 221582)                     100
                                        CARMEL, CA 93923                      RICHARDSON, TX 75082-3568



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE
BRENT ROBINSON, MD       Case 24-10245-JTD    Doc
                                       BRENTLEY    219 MDFiled 03/28/24
                                                TAYLOR,                   Page 27BAKER,
                                                                            BRETT of 226MD
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BRETT, CHRISTOPHER                      BREUNER, LOUIS                      BREVARD COSMETIC SURGERY GROUP
ADDRESS ON FILE                         ADDRESS ON FILE                     MORGAN SHROBLE
                                                                            280 N SYKES CREEK BLVD, SUITE A
                                                                            MERRITT ISLAND, FL 32953




BRIAN COX, M.D.                         BRIAN DICKINSON, M.D.               BRIAN HWANG, MD
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BRIAN J. PARKER, M.D.                   BRIAN J. PARKER, M.D.               BRIAN K. BRZOWSKI, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BRIAN KINNEY, MD.                       BRIAN PORSHINSKY, MD                BRIAN S. GLATT, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BRIAN WILLOUGHBY, M.D.                  [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                         BRIGHTSIDE SURGICAL                 [NAME REDACTED]
ADDRESS ON FILE                         BOB WINANDY                         ADDRESS ON FILE
                                        401 N 9TH ST
                                        BISMARCK, ND 58501




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                     BROADRIDGE ICS
ADDRESS ON FILE                         ADDRESS ON FILE                     PO BOX 416423
                                                                            BOSTON, MA 02241
                       Case 24-10245-JTD
BROCK TRANSPORTATION, LLC            BRONSON Doc  219 HOSPITAL
                                              METHODIST  Filed 03/28/24       Page 28 of 226
                                                                                BRONXCARE HEALTH SYSTEM GRAND
3025 INDEPENDENCE DR C               JAN CAMPBELL                               CONCOURSE
LIVERMORE, CA 94551                  PO BOX 4001                                ADREANA GOMEZ
                                     KALAMAZOO, MI 49003                        1276 FULTON AVE
                                                                                BRONX, NY 10456



[NAME REDACTED]                        [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                        BROOKHAVEN AESTHETIC INSTITUTE           BROOKWOOD BAPTIST HEALTH
ADDRESS ON FILE                        LYDIA BOHANAN                            KIMAGATHA ROBLES
                                       1418 DRESDEN DR, SUITE 120               PO BOX 518
                                       ATLANTA, GA 30319                        CHESTERTON, IN 46304-0518




BROOKWOOD BAPTIST HEALTH               BROTHERS BUSINESS INTERIORS, LLC         BROWARD PLASTIC SURGERY,PA
PAM PHILLIPS                           400 S 5TH STREET                         VALERIE CADE
PO BOX 598513                          MILWAUKEE, WI 53204                      2818 E. OAKLAND PARK BLVD.
HOMEWOOD, AL 35259                                                              FORT LAUDERDALE, FL 33306




BROWN BROS HARRIMAN & CO(0010)         BROWN PLASTIC SURGERY                    BROWN, DANIELLE
ATT CORPORATE ACTIONS / VAULT          CAROLYN BROWN                            ADDRESS ON FILE
140 BROADWAY                           1579 STRAITS TURNPIKE
NEW YORK, NY 10005                     MIDDLEBURY, CT 06762




BROWN, JOSIAH                          BROWNSTEIN & CRANE SURGICAL SERVICES     BROWNSTEIN & CRANE SURGICAL SERVICES
ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE                   JEN LIEU
                                       4407 BEE CAVES RD, STE 612               208 PENNSYLVANIA AVE, SUITE 207
                                       AUSTIN, TX 78746                         SAN FRANCISCO, CA 94107




BROWNSTEIN & CRANE SURGICAL SERVICES   BRUCE BYRNE, MD                          BRUCE GENTER, M.D.
JUDY VANMAASDAM                        ADDRESS ON FILE                          ADDRESS ON FILE
575 SIR FRANCIS DRAKE BLVD, SUITE 1
GREENBRAE, CA 94904




BRUCE GENTER, M.D.                     BRUCE KADZ, M.D                          BRUCE RANDOLPH WEBBER DBA THE
ADDRESS ON FILE                        ADDRESS ON FILE                          OREGON CLI
                                                                                9155 SW BARNES RD. SUITE 532
                                                                                PORTLAND, OR 97225




BRUCE V. LATTYAK, M.D.                 BRUCE VAN NATTA, MD                      BRUGGEMAN PLASTIC SURGERY &
ADDRESS ON FILE                        ADDRESS ON FILE                          AESTHETICS
                                                                                CHERIE BRUGGEMAN
                                                                                14155 N. 83RD AVE, SUITE 147
                                                                                PEORIA, AZ 85381



BRUGGEMAN PLASTIC SURGERY AND          BRUNER AESTHETICS                        BRUNO BROWN PLASTIC SURGERY
AESTHETICS                             LAURIE HAVICE                            JANET JANET
14155 N 83RD AVE                       7 LINWA BLVD.                            5454 WISCONSIN AVE, SUITE 1210
SUITE 147                              ANDERSON, SC 29621                       CHEVY CHASE, MD 20815
PEORIA, AZ 85381
                       Case 24-10245-JTD
BRUNO PLASTIC SURGERY, P.C.                   Doc 219
                                       BRUNO, MARINA         Filed 03/28/24   Page 29 MEDICAL
                                                                                BRYAN of 226 CENTER
DANIELLE BRUNO                         ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE
50 GLENMAURA NATIONAL BLVD., SUITE 103                                          ATTN: ACCOUNTS PAYABLE
MOOSIC, PA 18507                                                                1600 S. 48TH STREET
                                                                                LINCOLN, NE 68506



BRYAN PYFER, MD                         BRYLEN TECHNOLOGIES INC                 BRYN MAWR HOSPITAL
ADDRESS ON FILE                         275 ORANGE AVE. A                       ATTN: ACCOUNTS PAYABLE
                                        GOLETA, CA 93117                        P.O. BOX 12601
                                                                                WYNNEWOOD, PA 19096-2601




BRYN MAWR SKIN & CANCER INST            BRYSON G RICHARDS                       BRYSON RICHARDS, M.D.
BERN STAVOLA                            ADDRESS ON FILE                         ADDRESS ON FILE
919 CONESTOGA ROAD, BLDG 2, SUITE 106
BRYN MAWR, PA 19010




BSA HOSPITAL                            BSW MEDICAL CENTER - AUSTIN             BSW PLASTIC - DALLAS
ATTN: ACCOUNTS PAYABLE                  CUSTOMER SERVICE                        JACQUELINE GRAY
PO BOX 9872                             3500 GASTON AVE                         3600 GASTON AVE, STE 1055 WADLEY
AMARILLO, TX 07905                      DALLAS, TX 75246-2017                   TOWER
                                                                                DALLAS, TX 75246-1910



BUCKHEAD FACIAL PLASTIC SURGERY         BUCKHEAD PLASTIC SURGERY                BUCKINGHAM CENTER FOR FACIAL
LACEY HARRISON                          DENISE WESTBROOK                        PLASTIC SURG
1218 W. PACES FERRY ROAD, SUITE 108     4684 ROSWELL ROAD                       KELLY LUDERA
ATLANTA, GA 30327                       SUITE B                                 2745 BEE CAVES ROAD, SUITE 101
                                        ATLANTA, GA 30342                       AUSTIN, TX 78746



BUCKLEY, JENIFER                        BUGLINO PLASTIC SURGERY                 BUILDING SERVICE, INC.
ADDRESS ON FILE                         AMY KAUFMAN                             W222 N630 CHEANEY RD
                                        226 MUTTONTOWN RD                       WAUKESHA, WI 53186
                                        SYOSSET, NY 11791




BULLING METAL WORKS INC                 BURGESS PLASTIC SURGERY                 BURGOS, LIZANET
459 HESTER ST                           DEBBIE PEDERSEN                         ADDRESS ON FILE
SAN LEANDRO, CA 94577                   16865 BOONES FERRY ROAD
                                        SUITE 101
                                        LAKE OSWEGO, OR 97035



BURLESON RESEARCH TECHNOLOGIES          BURT FAIBISOFF, MD                      BUTLER MEMORIAL HOSPITAL
120 FIRST FLIGHT LANE                   ADDRESS ON FILE                         RICK MCKAIN
MORRISVILLE, NC 27560                                                           ONE HOSPITAL WAY
                                                                                BUTLER, PA 16001




BUTTERFLY NETWORK INC                   BUTTERFLY NETWORK                       BUTZ, THOMAS
11 MADISON SQUARE NORTH                 ATTN: ACCOUNTS PAYABLE                  ADDRESS ON FILE
7TH FLOOR                               530 OLD WHITFIELD ST
NEW YORK, NY 10010                      GUILFORD, CT 06437




BUTZ, TOM                               C STREET ADVISORY GROUP                 C. DENNIS BUCKO, MD
ADDRESS ON FILE                         641 LEXINGTON AVENUE, 14 FL             ADDRESS ON FILE
                                        NEW YORK, NY 10022
C. ROBERTO PALMA, MD PA Case 24-10245-JTD
                                      C.N.A. Doc 219        Filed 03/28/24   Page  30 of 226
                                                                               C.N.A.
ADDRESS ON FILE                       1455 FRAZEE ROAD                         500 COLONIAL CENTER PARKWAY
                                      SUITE 300                                LAKE MARY, FL 32746
                                      SAN DIEGO, CA 92108




CABAN, LAURA                           CABELL HUNTINGTON HOSPITAL, INC.        CABRERA, REBECA
ADDRESS ON FILE                        CARISSA RAMEY                           ADDRESS ON FILE
                                       1340 HAL GREER BLVD
                                       HUNTINGTON, WV 25701




CADENCE HEALTH                         CADIA LANAHAN                           CAHABA DERMATOLOGY AND SKIN HEALTH
ELIZABETH BICEK                        ADDRESS ON FILE                         CNTER
25 N. WINFIELD RD.                                                             JOEL DRUXMAN
WINFIELD, IL 60190                                                             2279 VALLEYDALE ROAD, SUITE 100
                                                                               HOOVER, AL 35244



CAKE SOFTWARE, INC                     CAL COAST GLASS TINTING                 CALIFORNIA BLACK HEALTH NETWORK
P.O. BOX 679863                        4141 STATE ST. C3                       520 9TH STREET, SUITE 100
DALLAS, TX 75267                       SANTA BARBARA, CA 93110                 SACRAMENTO, CA 95814




CALIFORNIA BOARD OF EQUALIZATION       CALIFORNIA DEPARTMENT OF HEALTHCARE     CALIFORNIA DEPARTMENT OF PUBLIC
CALIFORNIA DEPT OF TAX                 SERV                                    HEALTH
AND FEE ADMINISTRATION                 MICHELLE BAASS, DIRECTOR                LABORATORY FIELD SERVICES
450 N ST                               DEPARTMENT OF HEALTH CARE SERVICES      850 MARINA BAY PARKWAY,
SACRAMENTO, CA 95814                   P.O. BOX 997413, MS 0000                BUILDING P, 1ST FL
                                       SACRAMENTO, CA 95899-7413               RICHMOND, CA 94804


CALIFORNIA DEPARTMENT OF TAX AND       CALIFORNIA DEPT OF FINANCIAL            CALIFORNIA DERMATOLOGY CARE
FEE ADMINISTRATION                     PROTECTION AND INNOVATION               FLORA TING
PO BOX 942879                          2101 ARENA BLVD                         2262 CAMINO RAMON
SACRAMENTO, CA 94279                   SACRAMENTO, CA 95834                    SAN RAMON, CA 94583




CALIFORNIA HEAD AND NECK SPECIALISTS   CALIFORNIA SOCIETY OF PLASTIC           CALIFORNIA SURGICAL INSTITUTE
NICOLE VACA                            SURGEONS                                ELVIS MIRZAIE
2390 FARADAY AVE.                      500 CUMMINGS CENTER SUITE 4400          SUITE 350
CARLSBAD, CA 92008                     BEVERLY, MA 01915                       910 E. BIRCH STREET
                                                                               BREA, CA 92821-5848



CALIFORNIA SURGICAL INSTITUTE          CALLAHAN EYE HOSPITAL - UAB             [NAME REDACTED]
YVETTE RUIZ                            BRENT ADAMSON                           ADDRESS ON FILE
910 E. BIRCH STREET, SUITE 350         1720 UNIVERSITY BLVD
BREA, CA 92821-5848                    BIRMINGHAM, AL 35233




CALLPOINTE.COM, INC.                   [NAME REDACTED]                         CALO AESTHETICS
11808 MIRACLE HILLS DRIVE              ADDRESS ON FILE                         2341 LIME KILN LN
OMAHA, NE 68154                                                                LOUISVILLE, KY 40222




CALOBRACE PLASTIC SURGERY CENTER       CAMACHO AGUILA, EDWIN                   CAMBRIDGE HEALTH ALLIANCE
2341 LIME KILN LN                      ADDRESS ON FILE                         GLADYS CHERSILS
LOUISVILLE, KY 40222                                                           350 MAIN STREET, SUITE 31
                                                                               MALDEN, MA 02148
CAMERON, TANYA             Case 24-10245-JTD
                                         CAMILLE Doc  219
                                                 G. CASH, M.D. Filed 03/28/24   Page 31REDACTED]
                                                                                  [NAME of 226
ADDRESS ON FILE                            ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                            CANADA REVENUE AGENCY                  CANADA REVENUE AGENCY
ADDRESS ON FILE                            MINISTER OF NATIONAL REVENUE           RECEIVER GENERAL OF CANADA
                                           7TH FLOOR                              11 LAURIER ST
                                           555 MACKENZIE AVENUE                   GATINEAU, QC K1A0S5
                                           OTTAWA, ON K1A 0L5 CANADA              CANADA



CANADIAN SOCIETY FOR AESTHETIC             CANARY HOTEL                           [NAME REDACTED]
PLASTIC                                    31 WEST CARRILLO STREET                ADDRESS ON FILE
1788 - 1111 WEST GEORGIA STREET            SANTA BARBARA, CA 93101
VANCOUVER, BC V6E 4M3
CANADA



CANFIELD SCIENTIFIC, INC                   CANGELLO PLASTIC SUGERY                CANIGLIA CENTER
4 WOOD HOLLOW ROAD                         PUJA PATEL                             DONNA PARKER
PARSIPPANY, NJ 07054                       30 E. 60TH STREET, RM 2501             7102 E. ACOMA DRIVE
                                           NEW YORK, NY 10022                     SCOTTSDALE, AZ 85254




CANON FINANCIAL SERVICES, INC.             CANON FINANCIAL SERVICES, INC.         CANTWELL, COLIN
14904 COLLECTIONS CENTER DRIVE             158 GAITHER DRIVE, SUITE 200           ADDRESS ON FILE
CHICAGO, IL 60693                          MOUNT LAUREL, NJ 08054




CANYON VISTA MEDICAL CENTER                CAP B. LESESNE, M.D.                   CAPE AND ISLANDS PLASTIC SURGERY
ATTN: ACCOUNTS PAYABLE                     ADDRESS ON FILE                        ALLISON WALSH
151 B COLONIA DE SALUD                                                            33 FARM VALLEY ROAD
SIERRA VISTA, AZ 85635-2899                                                       OSTERVILLE, MA 02655




CAPE AND ISLANDS PLASTIC SURGERY           CAPE COD HOSPITAL                      CAPE COD PLASTIC SURGERY
SABRINA LOFFREDO                           TARA GRAHAM                            SAMANTHA SNOW
26 GLEASON STREET                          PO BOX 1747                            51 MAIN STREET
HYANNIS, MA 02601                          HYANNIS, MA 02601                      HYANNIS, MA 02601




CAPITAL AREA PLASTIC SURGERY               CAPITAL HEALTH SYSTEM, INC.            CAPITAL MEDICAL CENTER
ANNE ST. CLAIR                             LISA WHITTER                           3900 CAPITAL MALL DR SW
13 CHESTER STREET                          750 BRUNSWICK AVE                      OLYMPIA, WA 98502-8654
GLEN FALLS, NY 12801                       TRENTON, NJ 08638




CAPITAL MEDICAL CENTER                     CAPITAL MEDICAL CENTER                 CAPSI, PA
CATHERINE MAHER                            VANESSA CRANE                          BROOK CANTWELL
PO BOX 282308                              3900 CAPITAL MALL DRIVE SW             180 WINGO WAY, SUITE 205
NASHVILLE, TN 37228-8514                   OLYMPIA, WA 98502                      MOUNT PLEASANT, SC 29464




[NAME REDACTED]                            CARADINE, CAMILLA                      CARDEN, EDWARD
ADDRESS ON FILE                            ADDRESS ON FILE                        ADDRESS ON FILE
                      Case
CARE NEW ENGLAND HEALTH      24-10245-JTD
                        SYSTEM               Doc
                                      CARE NEW     219 HEALTH
                                                ENGLAND    Filed SYSTEM
                                                                 03/28/24   Page 32REDACTED]
                                                                              [NAME of 226
ANGIE PERRY                           SALONIA THREATS                         ADDRESS ON FILE
101 DUDLEY ST                         350 DUNCAN DRIVE
PROVIDENCE, RI 02905                  PROVIDENCE, RI 02906




CAREPOINT HEALTH                       CAREWAY CREATIONS, LLC                 [NAME REDACTED]
RITA VOUCOLO                           742 LAWN CT                            ADDRESS ON FILE
308 WILLOW AVE                         TRACY, CA 95376
HOBOKEN, NJ 07030




[NAME REDACTED]                        [NAME REDACTED]                        CARLIN PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                        3634 SUNSET BLVD, SUTE B
                                                                              WEST COLUMBIA, SC 29169




CARLIN PLASTIC SURGERY                 CARLOS D. BURNETT, M.D.                CARLSBAD SURGERY CENTER
KATHY FRICK                            ADDRESS ON FILE                        TOM JUNG
3634 SUNSET BLVD                                                              6121 PASEO DEL NORTE STE. 100
WEST COLUMBIA, SC 29169                                                       CARLSBAD, CA 92011




[NAME REDACTED]                        CAROLINA COASTAL PLASTIC SURGERY       CAROLINA PLASTIC SURGERY & AESTHETICS
ADDRESS ON FILE                        KATIE STOKELY                          SANDY SAUNDERS
                                       1141 N ROAD STREET SUITE K             200 PATEWOOD DRIVE, SUITE B480
                                       ELIZABETH CITY, NC 27909               GREENVILLE, SC 29615




CAROLINA PLASTIC SURGERY, PA           CAROLINE VAN HOVE DBA ARGE             CAROLINE YAO, MD
TINA RANHOWSKY                         CONSULTING                             ADDRESS ON FILE
100 E. WOOD STREET, SUITE 100          ADDRESS ON FILE
SPARTANBURG, SC 29303




[NAME REDACTED]                        CAROMONT REGIONAL MEDICAL CENTER       CARONDELET HEALTH NETWORK
ADDRESS ON FILE                        BETH HILBURN                           DAUNE HUMPHREY
                                       PO BOX 1747                            PO BOX 5926
                                       GASTONIA, NC 28053                     TUCSON, AZ 85703




CARONDELET HEALTH NETWORK              CARRASQUEDO, ROSA                      [NAME REDACTED]
MELISSA GRITTMAN                       ADDRESS ON FILE                        ADDRESS ON FILE
PO BOX 81169
TUCSON, AZ 85069




CARRIE MELINDA ADAMS, RN               [NAME REDACTED]                        CARROLL HOSPITAL CENTER, INC.
ADDRESS ON FILE                        ADDRESS ON FILE                        DOTTIE WATKINS
                                                                              200 MEMORIAL AVE
                                                                              WESTMINISTER, MD 21157




CARSON TAHOE HEALTH SYSTEM             CARTERET GENERAL HOSPITAL              CARTERET GENERAL HOSPITAL
CORINA BISHOP                          ATTN: AP                               STACY GLOVER
PO BOX 2168                            PO DRAWER 1619                         PO BOX 1619
CARSON CITY, NV 89702                  MOREHEAD CITY, NC 28557                MOREHEAD CITY, NC 28557
                      Case 24-10245-JTD
CASCADE COSMETIC SURG CTR           CASCADEDoc   219
                                             EYE &       Filed 03/28/24
                                                   SKIN CENTERS           Page 33 ofSURGERY
                                                                            CASCADE  226 CENTER
JENNIFER MCINTYRE                   ALISON XX                               CHERI WEST
1375 EAST 800 N                     5225 CIRQUE DRIVE W.                    2200 NE NEFF ROAD
SUITE 205                           UNIVERSITY PLACE, WA 98467              BEND, OR 97701
OREM, UT 84097



CASEY GLOCKSON                        CASEY GLOCKSON                        CASEY N. ISOM, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




CASEY SHECK, DO                       [NAME REDACTED]                       CASSIDY HINOJOSA, MD
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                       CAST PARTNER LA LLC
ADDRESS ON FILE                       ADDRESS ON FILE                       4658 W. WASHINGTON BLVD
                                                                            LOS ANGELES, CA 90016




CASTLE ROCK FOOT AND ANKLE CARE       CASTLE ROCK SURGICENTER               CATALYTIC PRODUCTS INTERNATIONAL, INC
ATTN: ACCOUNTS PAYABLE                BRIANNE SOBECK                        980 ENSELL RD.
2352 MEADOWS BLVD, SUITE 270          4700 CASTLETON WAY, STE 101           LAKE ZURICH, IL 60047
CASTLE ROCK, CO 80109                 CASTLE ROCK, CO 80109




CATHERINE ACEVEDO                     [NAME REDACTED]                       [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




CATHEY, KEITH                         [NAME REDACTED]                       CATHOLIC HEALTH SERVICES
ADDRESS ON FILE                       ADDRESS ON FILE                       MELISSA MILLER
                                                                            992 NORTH VILLAGE AVENUE
                                                                            ROCKVILLE CENTRE, NY 11570




CATHOLIC MEDICAL CENTER               [NAME REDACTED]                       CAVINS, JESSICA
MARIE SUTTON                          ADDRESS ON FILE                       ADDRESS ON FILE
100 MCGREGOR STREET
MANCHESTER, NH 03102




[NAME REDACTED]                       CBI                                   CCH INCORPORATED DBA WOLTERS
ADDRESS ON FILE                       3501 JAMBOREE ROAD, SOUTH TOWER       KLUWER
                                      SUITE 400                             2700 LAKE COOK ROAD
                                      NEWPORT BEACH, CA 92660               RIVERWOODS, IL 60015




CEDAR PARK REGIONAL MEDICAL CENTER    CEDARS-SINAI MEDICAL CENTER           CEDE & CO
MEDINA                                ELSIE LIM                             570 WASHINGTON BLVD
1401 MEDICAL PARKWAY                  P.O. BOX 48955                        JERSEY CITY, NJ 07310
CEDAR PARK, TX 78613                  LOS ANGELES, CA 90048
CEJA, MIRANDA             Case 24-10245-JTD    Doc 219
                                        [NAME REDACTED]       Filed 03/28/24     Page 34REDACTED]
                                                                                   [NAME of 226
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          CENTENNIAL MEDICAL CENTER                 CENTENNIAL SURGERY CENTER
ADDRESS ON FILE                          MICHAEL A. PITTMAN                        MICHAEL A. PITTMAN
                                         245 B GREAT CIRCLE ROAD                   245 B GREAT CIRCLE ROAD
                                         NASHVILLE, TN 37228-1701                  NASHVILLE, TN 37228-1701




CENTER FOR ADVANCED EYE CARE             CENTER FOR ADVANCED SURGERY -             CENTER FOR BEAUTY, LLC
MICHELLE HENDERSON                       GILBERT                                   ADDRESS ON FILE
3500 US HIGHWAY 1                        KATIE MARTINEZ
VERO BEACH, FL 32960                     3367 S MERCY RD, STE 101
                                         GILBERT, AZ 85297



CENTER FOR COSMETIC SURGERY              CENTER FOR COSMETIC SURGERY               CENTER FOR EYE & LASER SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                           BARBARA GRIMM
                                                                                   692 A. RITCHIE HWY, SUITE 2B
                                                                                   SEVERNA PARK, MD 21146




CENTER FOR FACIAL AND BODY               CENTER FOR FACIAL PLASTIC AND LASER       CENTER FOR HEALTH SURGERY CENTER
REJUVENATION                             SURG                                      MATT RUMLER
GABBIE AVALOS                            JEWEL FREEMAN                             8800 N STATE ROUTE 91
12945 SARATOGA AVENUE                    11220 ELM LANE, SUITE 101                 PEORIA, IL 61615
SARATOGA, CA 95070                       CHARLOTTE, NC 28277



CENTER FOR PLASTIC & RECONSTRUCTIVE      CENTER FOR SPECIALTY SURGERY              CENTER FOR SURGERY OF ENCINITAS
SURG                                     SARAH LARKIN                              DARLA MENDEZ
MEGAN PETERS                             11782 SW BARNES RD, BLDG C, SUITE 200     477 N EL CAMINO REAL, C-100
801 N ORANGE AVE, SUITE 815              PORTLAND, OR 97225                        ENCINITAS, CA 92024
ORLANDO, FL 32801



CENTER FOR SURGICAL EXCELLENCE           CENTRAL CALIFORNIA EAR NOSE AND           CENTRAL COAST INSTITUTE FOR PLASTIC
DONNA SUCHOR                             THROAT                                    SURG
1503 CRESSETT ST                         CENTRAL CALIFORNIA EAR NOSE AN            A MEDICAL CORPORATION
GILLETTE, WY 82716                       FRESNO, CA 93720                          921 OAK PARK BLVD, STE 201A
                                                                                   PISMO BEACH, CA 93449



CENTRAL FLORIDA PLASTIC SURGERY          CENTRAL OHIO PLASTIC SURGERY, INC.        CENTRAL OREGON SURGICAL INSTITUTE
RODLYNN X                                TRACY OPPENHEIMER                         DANIEL WEBER
910 OLD CAMP RD, SUITE 142               135 NORTH EWING STREET, SUITE 202         1550 NE 27TH ST, STE 110
THE VILLAGES, FL 32162                   LANCASTER, OH 43130                       BEND, OR 97701-7773




CENTRAL UTAH SURGICAL CENTER             CENTRAL VALLEY SURGICAL LLC               CENTRAL WYO OUTPATIENTS
ATTN: ACCOUNTS PAYABLE                   1123 SPRUCE AVE                           DEB CHURCH
1067 N 500 W                             CLOVIS, CA 93611                          1201 E 3RD ST
PROVO, UT 84604-3305                                                               CASPER, WY 82601




CENTRUM SURGICAL CENTER                  CENTURA HEALTH                            CENTURA HEALTH
DENISE DIETZ                             ATTN: ACCOUNTS PAYABLE                    MICHELLE MEDINA
8200 E. BELLEVIEW AVE., SUITE 300ET      SUITE 270                                 PO BOX 372660
GREENWOOD VILLAGE, CO 80111              2425 S. COLORADO BLVD.                    DENVER, CO 80237
                                         DENVER, CO 80222-5937
CENTURY GROUP            Case 24-10245-JTD
                                       CESAR A.Doc 219 M.D.,
                                               GUMUCIO,  Filed
                                                             P.C. 03/28/24   Page 35 of
                                                                               CETERA    226
                                                                                      (0701)
CENTURY GROUP INTERNATIONAL            ADDRESS ON FILE                         ATT ANGELA HANDELAND/PROXY MGR
222 N. SEPULVEDA BLVD, 2150                                                    400 1ST ST SOUTH
EL SEGUNDO, CA 90245                                                           STE 300
                                                                               ST. CLOUD, MN 56301



CG LABORATORIES INC                    CG LABORATORIES, INC                    CH ROBINSON COMPANY, INC
ATTN VP                                1410 SOUTHTOWN DR.                      14701 CHARLSON ROAD
1410 SOUTHTOWN DR                      GRANBURY, TX 76048                      EDEN PRAIRIE, MN 55347
GRANBURY, TX 76048




CH ROBINSON COMPANY, INC               CHACON, LETICIA                         CHADWELL FACIAL PLASTIC SURGERY
PO BOX 9121                            ADDRESS ON FILE                         KIM PICKETT
MINNEAPOLIS, MN 55480                                                          6301 UNIVERSITY COMMONS
                                                                               SOUTH BEND, IN 46635




CHAHME, NADIA                          CHAITAN DEVULAPALLI, MD                 CHAMBERS, JUSTIN
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




CHANGES PLASTIC SURGERY                CHAO PLASTIC SURGERY                    CHARLES A. WALLACE, M.D.
HEATHER MINDLIN                        JENNIFER MANNING                        ADDRESS ON FILE
11515 EL CAMINO REAL RD                13 CENTURY HILL DRIVE
SUITE 150                              LATHAM, NY 12110
SAN DIEGO, CA 92130



CHARLES GALANIS MDSC INC               CHARLES GALANIS, M.D.                   CHARLES GARRAMONE, DO
ADDRESS ON FILE                        ADDRESS ON FILE                         ATTN: ACCOUNTS PAYABLE
                                                                               4725 SW 148TH AVE, SUITE 202
                                                                               DAVIE, FL 33330




CHARLES NEWMAN, MD                     CHARLES P. CHALEKSON, M.D.              CHARLES P. CHALEKSON, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




CHARLES R NATHAN, M.D.                 CHARLES SCHWAB & CO. (0164)             CHARLES T. SLACK MD
ADDRESS ON FILE                        ATT CHRISTINA YOUNG/PROXY MGR           ADDRESS ON FILE
                                       2423 EAST LINCOLN DR
                                       PHOENIX, AZ 85016-1215




CHARLES T. SLACK, M.D.                 CHARLES VIRDEN, M.D.                    CHARLESTON AREA MEDICAL CENTER
ADDRESS ON FILE                        ADDRESS ON FILE                         DAVID ABRAHAM
                                                                               PO BOX 2069
                                                                               CHARLESTON, WV 25327




CHARLOTTA LA VIA, MD                   CHARLOTTE ANN RHEE, MD                  CHARLOTTE PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                         ALEX REDECKER
                                                                               2215 RANDOLPH ROAD
                                                                               CHARLOTTE, NC 28207
CHASE DERRICK, MD        Case 24-10245-JTD     Doc 219
                                       CHASE, BRIANNA       Filed 03/28/24    Page 36 ofPLASTIC
                                                                                CHATHAM  226 SURGERY
ADDRESS ON FILE                         ADDRESS ON FILE                         MARY GAY
                                                                                8 STEPHENSON AVE
                                                                                SAVANNAH, GA 31405-5802




CHAVEZ, ISABEL                          CHAWK TECHNOLOGY INTL., INC             CHEEMA, SUKHREET
ADDRESS ON FILE                         31033 HUNTWOOD AVE                      ADDRESS ON FILE
                                        HAYWARD, CA 94544




CHELSEA COMMUNITY HOSPITAL              CHELSEA MURPHY                          [NAME REDACTED]
MELISSA DESERO                          ADDRESS ON FILE                         ADDRESS ON FILE
775 S MAIN ST
CHELSEA, MI 48118




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                         CHESAPEAKE REGIONAL MEDICAL CENTER      CHESTER CHENG, M.D.
ADDRESS ON FILE                         MARTIN BRIONES                          ADDRESS ON FILE
                                        PO BOX 2028
                                        CHESAPEAKE, VA 23327




CHESTERFIELD PLASTIC & RECON            CHI ACCOUNTS PAYABLE SUP. CTR.          CHI ACCOUNTS PAYABLE SUP. CTR.
BARRY HAGAR                             ATTN: ACCOUNTS PAYABLE                  JOHN BAKER
111 ST. LUKES CENTER DR, STE 46B        P. O. BOX 2400                          P. O. BOX 636000
CHESTERFIELD, MO 63017-3509             PHOENIX, AZ 85002                       LITTLETON, CO 80163-6000




CHICAGO AESTHETIC SURGERY INST          CHILDRENS & WOMENS HEALTH CENTRE        CHILDRENS HEALTHCARE OF ATLANTA
DEE ALEXANDER                           LEEANN ST. JEAN                         ATTN: ACCOUNTS PAYABLE
10400 W HIGGINS RD, SUITE 100           1795 WILLINGDON                         PO BOX 29693
ROSEMONT, IL 60018                      BURNBY, BC V5C 6E3                      ATLANTA, GA 30342
                                        CANADA



CHILDRENS HEALTHCARE OF ATLANTA         CHILDRENS HOSPITAL L.A.                 CHILDRENS HOSPITAL L.A.
JAMES BUCHANAN                          JESSICA RINEHART                        JOJI VIRREY
1584 TULLIE CIRCLE NE                   4650 SUNSET BLVD                        P.O. BOX 27977
ATLANTA, GA 30329                       LOS ANGELES, CA 90027                   LOS ANGELES, CA 90027




CHILDRENS HOSPITAL OF ALABAMA           CHILDRENS HOSPITAL OF ORANGE COUNTY     CHILDRENS HOSPITAL OF PHILADELPHIA
DANETTE BILLINGSLEY                     SILVIA GALLARDO                         ATTN: ACCOUNTS PAYABLE
PO BOX 31231                            PO BOX 5700                             PO BOX 2015
SALT LAKE CITY, UT 84131-0231           ORANGE, CA 92863                        SECAUCUS, NJ 07096




CHILDRENS SURGICAL ASSOCIATES           CHOICE CARE SURGERY CENTER              CHORUS CALL, INC
ANTHONY DONALD                          ATTN: AP                                2420 MOSSIDE BLVD
755 MT. VERNON HWY NE, SUITE 460        ATTN: PENNY BARNETT                     MONROEVILLE, PA 15146
ATLANTA, GA 30328                       2106 N MIDLAND DR, STE 100
                                        MIDLAND, TX 79707
CHORUS CALL, INC           Case 24-10245-JTD
                                         CHRIS M.Doc 219M.D.Filed 03/28/24
                                                 NICHOLS,                    Page 37MCGREEVY
                                                                               CHRIS of 226
PO BOX 3830                               ADDRESS ON FILE                      ADDRESS ON FILE
PITTSBURGH, PA 15230




CHRISSY SNADERS                           CHRIST HOSPITAL                      CHRISTA CLARK
ADDRESS ON FILE                           DONNA TERP                           ADDRESS ON FILE
                                          2139 AUBURN AVENUE
                                          CINCINNATI, OH 45219




[NAME REDACTED]                           CHRISTIAN KIRMAN, M.D.               CHRISTIAN PRADA, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




CHRISTIANA CARE HEALTH SERVICES           [NAME REDACTED]                      CHRISTIE MANAGEMENT CO., INC.
ATTN: ACCOUNTS PAYABLE                    ADDRESS ON FILE                      JOSEPH TURNER
PO BOX 2653                                                                    210 S. MARKET STREET
WILMINGTON, DE 19805                                                           CHAMPAIGN, IL 61820




[NAME REDACTED]                           [NAME REDACTED]                      CHRISTINA MARIE REINHART
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                      CHRISTINE A. CHENG MD PC
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




CHRISTINE A. CHENG, M.D.                  CHRISTINE A. HAMORI, M.D.            [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                           CHRISTINE M. WAINWRIGHT              [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




CHRISTINE RODGERS, MD                     [NAME REDACTED]                      CHRISTOPHER CONSTANCE, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




CHRISTOPHER CRAFT, MD                     CHRISTOPHER JONES, M.D., P.C.        CHRISTOPHER LENT
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE
                      Case
CHRISTOPHER LONALA PERRY     24-10245-JTD
                         DBA CP               Doc 219
                                      CHRISTOPHER          Filed
                                                    R. GINGRAS DBA03/28/24
                                                                   MEDCOMPLI   Page 38 of 226S. VERBIN, M.D.
                                                                                 CHRISTOPHER
MEDICAL                               13900 TECH CITY CIRCLE                      ADDRESS ON FILE
DBA CP MEDICAL LLC                    SUITE 200
936 PUEO STREET                       ALACHUA, FL 32615
HONOLULU, HI 96816



CHRISTOPHER SCHNEIDER, MD               CHRISTOPHER SUREK, MD--US DERM            CHRISTOPHER TINER, M.D.
ADDRESS ON FILE                         PARTNERS                                  ADDRESS ON FILE
                                        ADDRESS ON FILE




CHRISTOPHER TINER, M.D.                 CHRISTOPHER TSOI MD                       [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




CHRISTOPHER VERBIN, MD.                 CHRISTUS HEALTH SHREVEPORT BOSSIER        CHRISTUS HEALTH
ADDRESS ON FILE                         GINNY JORDAN                              ATTN: ACCOUNTS PAYABLE
                                        PO BOX 21976                              PO BOX 3065
                                        SHREVEPORT, LA 71120                      OREM, UT 84059-3065




CHRISTUS OCHSNER LAKE AREA HOSPITAL     CHRISTUS SANTA ROSA PHYSICIANS ASC        [NAME REDACTED]
ATTN: ACCOUNTS PAYABLE                  ATTN: ACCOUNTS PAYABLE                    ADDRESS ON FILE
PO BOX 3065                             100 NE LOOP 410, SUITE 475
OREM, UT 84059                          SAN ANTONIO, TX 78216




CHRYSALIS COSMETICS                     CHU, EMMON                                CHUBB
JENNIFER GEREMIA                        ADDRESS ON FILE                           202 B HALLS MILL ROAD
785 UNIVERSITY AVE                                                                WHITEHOUSE STATION, NJ 08889
SACRAMENTO, CA 95825




CHUMA CHIKE-OBI, M.D.                   CIBC WORLD MKTS. /CDS (5030)              CIGICH, MARK
ADDRESS ON FILE                         ATT REED JON OR PROXY DEPT                ADDRESS ON FILE
                                        22 FRONT ST. W. 7TH FL
                                        TORONTO, ON M5J 2W5
                                        CANADA



CIGNA HEALTHCARE                        [NAME REDACTED]                           CINCINNATI INSTITUTE OF PLASTIC
CHLIC-CHICAGO                           ADDRESS ON FILE                           SURGERY
5476 COLLECTIONS CENTER DR                                                        JUDI DEEHAM
CHICAGO, IL 60693                                                                 10577 MONTGOMERY RD
                                                                                  CINCINNATI, OH 45242



CINTAS CORPORATION NO 2 -               CINVIVO                                   CITADEL SECS LLC (8430)
CINTAS FIRST AID & SAFETY               60 ATHERTON COURT                         ATT KEVIN NEWSTEAD/PROXY MGR
PO BOX 631025                           REDWOOD CITY, CA 94061                    131 SOUTH DEARBORN ST
CINCINNATI, OH 45263-0125                                                         35TH FL
                                                                                  CHICAGO, IL 60603



CITIBANK, N.A. (0908)                   CITRIX SYSTEMS, INC                       CITRUS MEMORIAL HEALTH SYSTEM
ATT SHERIDA SINANAN/PROXY DEPT          851 W. CYPRESS CREEK RD.                  MARIE COLLINS
3801 CITIBANK CTR                       FORT LAUDERDALE, FL 33309                 502 W HIGHLAND BLVD
B/3RD FL/ZONE 12                                                                  IVERNESS, FL 34452
TAMPA, FL 33610
CITY FACIAL PLASTICS       Case 24-10245-JTD     Doc 219 Filed 03/28/24
                                         CITY OF COLUMBUS                    Page
                                                                               CITY39
                                                                                    OF of 226
                                                                                       FRANKLIN
ATTN: ACCOUNTS PAYABLE                   COLUMBUS CITY TREASURER                BOX 78694
215 E. 68TH STREET, APT. 3C              INCOME TAX DIVISION PO BOX 183190      MILWAUKEE, WI 53278
NEW YORK, NY 10065                       COLUMBUS, OH 43218-3190




CITY OF GOLETA                         CITY OF HOOVER                           CITY OF HOPE HOSPITAL
130 CREMONA DR. STE. B                 PO BOX 11407                             ELIZABETH MORALES
GOLETA, CA 93117                       HOOVER, AL 35236-0628                    1500 E DUARTE RD
                                                                                DUARTE, CA 91010




CITY OF HOPE HOSPITAL                  CITY OF HUNTSVILLE                       CITY OF IRVINE CALIFORNIA
KAYE X                                 CITY CLERK-TREASURER                     1 CIVIC CENTER PLAZA
1500 E DURATE RD                       PO BOX 308                               IRVINE, CA 92606-5207
DUARTE, CA 91010                       HUNTSVILLE, AL 35804




CIVICMINDS RECRUITMENT                 CLAREO AESTHETICS                        CLARION MEDICAL TECHNOLOGIES INC
8220 KATELLA AVE, SUITE 216            ANDREA ROSSI                             ATTN JOSEPH ARANGO, PRESIDENT
STANTON, CA 90680                      25 BOYLSTON STREET, SUITE 304            125 FLEMING DR
                                       CHESTNUT HILL, MA 02467                  CAMBRIDGE, ON
                                                                                CANADA



CLARION MEDICAL TECHNOLOGIES           CLARK HILL PLC                           CLARK MEMORIAL HOSPITAL
ATTN: ACCOUNTS PAYABLE                 500 WOODWARD AVENUE                      CHERI KELLER
125 FLEMING DRIVE                      SUITE 3500                               1220 MISSOURI AVE
CAMBRIDGE, ON N1T 2B8                  DETROIT, MI 48226                        JEFFERSONVILLE, IN 47130
CANADA



CLARK PLASTIC AND HAND SURGERY         CLARK SCHIERLE                           CLARK SMITH VILLAZOR LLP
AMBER MARTY                            ADDRESS ON FILE                          PATRICK SMITH
6850 TPC DRIVE, SUITE 116                                                       250 WEST 55TH STREET, 30TH FLOOR
MCKINNEY, TX 75070                                                              NEW YORK, NY 10019




CLARO, ANTHONY                         CLARUS COMMERCE, LLC                     CLARUS VENTURES
ADDRESS ON FILE                        TWO TOWNE SQUARE                         101 MAIN STREET
                                       SUITE 200                                SUITE 1210
                                       SOUTHFIELD, MI 48076                     CAMBRIDGE, MA 02142




CLASS 1 AIR INC                        CLAUDIO, MARIA                           CLAYMAN PLASTIC SURGERY
PO BOX 090527                          ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE
MILWAUKEE, WI 53209                                                             2726 SAINT JOHNS AVE, STE 101
                                                                                JACKSONVILLE, FL 32205-8258




CLAYTON CRANTFORD, MD                  CLAYTOR PLASTIC SURGERY                  CLEAN POWER, LLC
ADDRESS ON FILE                        SARA CLAYTOR                             124 N 121ST STREET
                                       888 GLENBROOK AVENUE                     WAUWATOSA, WI 53226
                                       BRYN MAWR, PA 19010




CLEAN SOX, INC.                        CLEAR CHANNEL OUTDOOR LLC                CLEAR DERMATOLOGY - PA
4148 WHITSETT AVE., 202                P.O. BOX 847247                          IRENE MARCY
STUDIO CITY, CA 91604                  DALLAS, TX 75284                         4906 PENN AVE, STE 202
                                                                                SINKLING SPRING, PA 19608
CLEAR SKIES CONSULTANTSCase 24-10245-JTD     Doc 219 Filed 03/28/24
                                     CLEAR SOLUTIONS,INC.                      Page 40 of 226
                                                                                 CLEARCOM INCORPORATED
20 RYANS LANE                        970 CALLE NEGOCIO                           1443 S. 27TH STREET
DUXBURY, MA 02332                    SAN CLEMENTE, CA 92673                      CALEDONIA, WI 53108




CLEARWATER TECHNOLOGY CONSULTANTS       [NAME REDACTED]                          CLEVELAND CLINIC HEALTH SYSTEM
LLC                                     ADDRESS ON FILE                          RHONDA CATON
1189 PINEVIEW DR.                                                                6801 BRECKSVILLE ROAD
SUITE G2                                                                         INDEPENDENCE, OH 44131
MORGANTOWN, WV 26505



CLEVELAND CLINIC STRONGSVILLE SURG      CLIFFORD CLARK, M.D.                     CLIFFORD P. CLARK III MD PA
CNTR                                    ADDRESS ON FILE                          ADDRESS ON FILE
TOM BROOKS
16761 SOUTHPARK CENTER
STRONGSVILLE, OH 44136



CLIN CAPTURE, INC                       CLINIQUE DALLAS P.S. MEDSPA              CLINIQUE DALLAS PLASTIC SURGERY
3960 HOWARD HUGUES PARKWAY, SUITE 500   7777 FOREST LANE                         ATTN: ACCOUNTS PAYABLE
LAS VEGAS, NV 89169                     SUITE C-230                              7777 FOREST LANE, SUITE C204
                                        DALLAS, TX 75230                         DALLAS, TX 75230




CLINTON WEBSTER, M.D.                   CLYDE ISHII, M.D.                        CNA BRANCH
ADDRESS ON FILE                         ADDRESS ON FILE                          1455 FRAZEE RD, STE 300
                                                                                 SAN DIEGO, CA 92108




CNA DEDUCTIBLE RECOVERY GROUP           CNY COSMETIC & RECONSTRUCTIVE            CO MISSION HOSPITAL
PO BOX 6065-02                          SURGERY                                  ANGIE KELLEY
HERMITAGE, PA 16148                     PHILIPPA READ                            200 WADSWORTH DR
                                        5898 BRIDGE ST                           RICHMOND, VA 23236-4526
                                        EAST SYRACUSE, NY 13057



COAKLEY BROTHERS COMPANY                COAL CREEK PLASTIC SURGERY               COAL CREEK PLASTIC SURGERY
400 S 5TH ST                            JAIME LITWILLER                          JULIE MARTINEZ
MILWAUKEE, WI 53204                     PO BOX 767                               120 OLD LARAMIE TRAIL
                                        LAFAYETTE, CO 80026                      LAFAYETTE, CO 80026




COAST DERMATOLOGY & SKIN CANCER         COAST PLASTICS INC                       COASTAL CAROLINA HOSPITAL
CENTER                                  4711 E. GUASTI ROAD                      TORI BUTTS
ELIZABETH NEILLY                        ONTARIO, CA 91761                        PO BOX 2324
21550 ANGELA LANE                                                                CHESTERTON, IN 46304
VENICE, FL 34293



COASTAL COSMETIC CENTER                 COASTAL DERM & PLASTIC SURGERY           COASTAL HILLS DERMATOLOGY
KRISTI ANNE                             ATTN: ACCOUNTS PAYABLE                   PAM VONZUP
4147 SOUTH POINT DRIVE E                3801 KATELLA AVENUE SUITE 425            600 CORPORATE DRIVE, SUITE 100
JACKSONVILLE, FL 32216                  LOS ALAMITOS, CA 90720-6901              LADERA RANCH, CA 92694




COASTAL MEDICAL & COSMETIC              COASTAL PLASTIC SURGERY                  COASTAL SURGICAL INSTITUTE
DERMATOLOGY                             MISSY ADAM                               CHRISTY VIRDEN
TINA GUERENA                            1015 MEDICAL CENTER BLVD, SUITE 1800     921 OAK PARK BLVD, SUITE 101
9850 GENESEE AVENUE, SUITE 850          WEBSTER, TX 77598                        PISMO BEACH, CA 93449
LA JOLLA, CA 92037
                       Case 24-10245-JTD
COBBLESTONE SURGERY CENTER                    Doc 219
                                     COEUR DALENE        Filed
                                                   PLASTIC     03/28/24
                                                           SURGERY PLLC       Page 41 DALENE
                                                                                COEUR of 226PLASTIC SURGERY
MONICA NICHOLS                       1875 N LAKEWOOD DR, 103                    ROBERT ANDERSON
3450 ACWORTH DUE WEST ROAD,          COEUR D ALENE, ID 83814                    1875 N. LAKEWOOD DRIVE, SUITE 103
BUILDING 200, STE 220                                                           COEUR DALENE, ID 83814
KENNESAW, GA 30144



COGENT SOLUTIONS&SUPPLIES              COGNEX CORPORATION                       COLD JET, LLC
3200 REGATTA BLVD. UNIT F              1 VISION DRIVE                           455 WARDS CORNER ROAD
RICHMOND, CA 94804                     NATICK, MA 01760                         LOVELAND, OH 45140




COLEMAN, ANGELA                        COLEMAN, LAUREN                          COLE-PARMER INSTRUMENT COMPANY
ADDRESS ON FILE                        ADDRESS ON FILE                          13927 COLLECTIONS CENTER DRIVE
                                                                                CHICAGO, IL 60693




COLE-PARMER INSTRUMENT COMPANY         COLISEUM HEALTH SYSTEM                   COLORADO CENTER FOR DERMATOLOGY
625 EAST BUNKER COURT                  BARBARA LEATHERWOOD                      CINDY MAHLBERG
VERNON HILLS, IL 60061                 245 B GREAT CIRCLE ROAD                  7180 E ORCHARD RD, STE 210
                                       NASHVILLE, TN 37228                      CENTENNIAL, CO 80111-1726




COLORADO DEPARTMENT OF PUBLIC          COLORADO DEPT OF LABOR AND               COLORADO DEPT OF REVENUE (UPS, FED
HEALTH                                 EMPLOYMENT                               EX)
& ENVIRONMENT                          633 17TH STREET                          1881 PIERCE ST, ENTRANCE B
4300 CHERRY CREEK DR                   STE 201                                  LAKEWOOD, CO 80214
DENVER, CO 80246                       DENVER, CO 80202



COLORADO DIVISION OF SECURITIES        COLORADO FACIAL PLASTIC SURGERY          COLORADO PLASTIC SURGERY CENTER
1560 BROADWAY                          PAM GILLETTE                             JO ANN VALENTINE
SUITE 900                              3600 S. LOGAN STREET, SUITE 100          761 SOUTHPARK DRIVE
DENVER, CO 80202                       ENGLEWOOD, CO 80113                      LITTLETON, CO 80120




COLUMBIA AESTHETIC PLASTIC SURGERY     COLUMBIA RIVER SURGERY CENTER            COLUMBUS REGIONAL HOSPITAL
LLC                                    ANGIE ALDRIDGE                           PENNY MORRIS
KARA MCLUCASHEISENMARK                 9820 NE CASCADES PARKWAY                 2400 E 17TH ST
8860 COLUMBIA 100 PKWY                 PORTLAND, OR 97220                       COLUMBUS, IN 47201
SUITE 206
COLUMBIA, MD 21045


COLUMBUS SPECIALTY SURGERY CENTER,     COMMCORE, INC                            COMMERCIAL PROCESS SERVING, INC
LLC                                    1150 CONNECTICUT AVE NW STE 803          674 COUNTY SQUARE DRIVE
JAMIE ROOKS                            WASHINGTON, DC 20036                     SUITE 107
2425 N PARK DR, SUITE 20                                                        VENTURA, CA 93003
COLUMBUS, IN 47203



COMMISSIONER OF TAXATION AND FINANCE   COMMISSIONER OF TAXATION AND FINANCE     COMMONWEALTH FACIAL PLASTIC
CIVIL ENFORCEMENT DIVISION             NYS ASSESSMENT RECEIVABLES               SUSAN AP CONTACT
W A HARRIMAN CAMPUS                    PO BOX 4127                              PO BOX 8310
ALBANY, NY 12227                       BINGHAMTON, NY 13902                     ROANOKE, VA 24014




COMMONWEALTH HEALTHCARE                COMMONWEALTH OF MASSACHUSETTS            COMMONWEALTH OF PUERTO RICO ATTY
CORPORATION                            MASSACHUSETTS DEPARTMENT OF              GENERAL
PO BOX 500409 CK                       REVENUE                                  ATTN: DOMINGO EMANUELLI HERNANDEZ
SAIPAN, MP 96950                       PO BOX 7062                              PO BOX 9020192
                                       BOSTON, MA 02204                         SAN JUAN, PR 00902-0192
                         Case 24-10245-JTD
COMMONWEALTH PLASTIC SURGERY           COMMUNITYDocHEALTH
                                                     219 NETWORK
                                                             Filed 03/28/24   Page 42 of 226
                                                                                COMMUNITY HEALTH RESOURCE CENTER
LISA STAFF                             LAKIA RAINEY                             2100 WEBSTER STREET
715 SHAKER DRIVE SUITE 100             1 CHE 95400 ACCOUNTS PAYABLE             SUITE 100
LEXINGTON, KY 40504                    1500 N RITTER AVE                        SAN FRANCISCO, CA 94115
                                       INDIANAPOLIS, IN 46219



COMMUNITY HOSPITAL NORTH                COMMUNITY HOSPITAL                      COMMUNITY HOSPITAL
MARK MCADAMS                            ATTN: AP                                MANDY BRAU
8180 CLEARVISTA PARKWAY, SUITE 101      901 MACARTHUR BLVD                      3100 SW 89TH ST
INDIANAPOLIS, IN 46256                  MUNSTER, IN 46321                       OKLAHOMA CITY, OK 73159




COMMUNITY MEDICAL CENTER                COMMUNITY MEDICAL CENTERS               COMMUNITY SURGERY CENTER EAST
PAYMENT INQUIRY                         HA X                                    SUSAN ERISMAN
2827 FORT MISSOULA RD                   PO BOX 1232                             6626 E 75TH ST, SUITE 350
MISSOULA, MT 59804                      FRESNO, CA 93715                        INDIANAPOLIS, IN 46250




COMMUNITY SURGERY CENTER HAMILTON       COMMUNITY SURGERY CENTER KOKOMO         COMMUNITY SURGERY CENTER NORTH
DEBRA GATEWOOD                          DEBRA GATEWOOD                          SUSAN ERISMAN
6626 E 75TH ST, SUITE 350               6626 E 75TH ST, SUITE 350               6626 E 75TH ST SUITE 350
INDIANAPOLIS, IN 46250                  INDIANAPOLIS, IN 46250                  INDIANAPOLIS, IN 46250




COMMUNITY SURGERY CENTER SOUTH          COMPASS MEMORIAL HEALTHCARE             COMPLIANCEQUEST INC
DEBRA GATEWOOD                          STEPHANIE ALLISON                       10006 CROSS CREEK BLVD SUITE 71
6626 E. 75TH STREET SUITE 350           300 WEST MAY STREET                     TAMPA, FL 33647
INDIANAPOLIS, IN 46250                  MARENGO, IA 52301




COMPOUNDING SOLUTION,LLC                COMPREHENSIVE DERMATOLOGY GROUP         COMPREHENSIVE DERMATOLOGY OF LONG
258 GODDARD ROAD                        KEYLA MEZA                              BEACH
LEWISTON, ME 04240                      781 GARDEN VIEW COURT, SUITE 201        ALICIA NUNEZ
                                        ENCINITAS, CA 92024                     3736 ATLANTIC AVENUE, SUITE 101
                                                                                LONG BEACH, CA 90807



COMPUTERSHARE AS AGENT FOR              COMPUTERSHARE INC                       CONCANNON PLASTIC SURGERY
REVERSE SPLIT FOR C01                   DEPT CH 19228                           GINGER CONCANNON
150 ROYALL ST                           PALATINE, IL 60055-9288                 3115 FALLING LEAF COURT
CANTON, MA 02021                                                                COLUMBIA, MO 65201




CONCUR TECHNOLOGIES INC                 CONEJO FREE CLINIC                      CONEXUS SEARCH
62157 COLLECTIONS CENTER DRIVE          80 E.HILLCREST DRIVE, SUITE 102         22287 MULHOLLAND HIGHWAY 202
CHICAGO, IL 60693                       THOUSAND OAKS, CA 91360                 CALABASAS, CA 91302




CONEXUS SEARCH                          CONEY ISLAND HOSPITAL                   CONGRESSIONAL PLASTIC SURGERY
5151 CALIFORNIA AVE, SUITE 100          JACOB PUNNOSE                           KAT N
IRVINE, CA 92617                        2601 OCEAN PARKWAY                      5937 SEARL TERRACE
                                        BROOKLYN, NY 11235                      BETHESDA, MD 20816




CONGRESSIONAL PLASTIC SURGERY           CONNALL COSMETIC SURGERY                CONNECTICUT DEPARTMENT OF BANKING
TERI ZELASKO                            CLAIRE WAYATT                           SECURITIES AND BUSINESS
8100 BOONE BLVD, SUITE 720              SOUTH PLACE BLDG                        INVESTMENTS DIVISION
VIENNA, MD 22182                        19801 SW 72ND AVE, SUITE 160            260 CONSTITUTION PLAZA
                                        TUALATIN, OR 97062                      HARTFORD, CT 06103
CONNECTICUT DEPARTMENTCase   24-10245-JTD
                       OF LABOR               Doc 219
                                      CONNECTICUT         FiledOF
                                                    DEPARTMENT  03/28/24
                                                                  PUBLIC   Page 43 of 226DEPT OF REVENUE SERVICES
                                                                             CONNECTICUT
200 FOLLY BROOK BLVD                  HEALTH                                  450 COLUMBUS BLVD., STE 1
WETHERSFIELD, CT 06109                410 CAPITOL AVE.                        HARTFORD, CT 06103
                                      HARTFORD, CT 06134




CONNECTICUT DEPT OF REVENUE           CONNER, JONELLE                         [NAME REDACTED]
SERVICES                              ADDRESS ON FILE                         ADDRESS ON FILE
PO BOX 2965
HARTFORD, CT 06104-2965




CONNOR, LANCE                         CONSOLIDATED PLASTICS CO                [NAME REDACTED]
ADDRESS ON FILE                       4700 PROSPER DR                         ADDRESS ON FILE
                                      STOW, OH 44224




CONTINENTAL CARBONIC PRODUCTS         CONTINENTAL CASUALTY COMPANY            CONTINENTAL CASUALTY COMPANY
DEPT 3833 PO BOX 123833               120 WHITE PLAINS RD                     125 BROAD ST, 8TH FL
DALLAS, TX 75312                      TARRYTOWN, NY 10591                     NEW YORK, NY 10004




CONTINENTAL CASUALTY COMPANY          CONTINENTAL CASUALTY COMPANY            CONTINENTAL CASUALTY COMPANY
151 N FRANKLIN ST                     200 GLASTONBURY BLVD, STE 200           CONTINENTAL CASUALTY COMPANY / CNA
CHICAGO, IL 60606                     GLASTONBURY, CT                         JOE CORYELL
                                                                              151 NORTH FRANKLIN STREET, FLOOR 17
                                                                              CHICAGO, IL 60606



CONTINENTAL CASUALTY COMPANY          CONTINENTAL INSURANCE CO, THE           CONTINENTAL INSURANCE CO, THE
PO BOX 8317                           1455 FRAZEE RD, STE 300                 500 COLONIAL CENTER PKWY
CHICAGO, IL                           SAN DIEGO, CA 92108                     LAKE MARY, FL 32746




COOLEY LLP                            COOPER PLASTIC SURGERY                  COOPER UNIVERSITY HEALTH CARE
101 CALIFORNIA 5TH FLOOR              LONI FINK                               ANGELA COLEMAN
SAN FRANCISCO, CA 94111               1680 S. CENTRAL BLVD, SUITE 112         3 EXECUTIVE CAMPUS, RT 70
                                      JUPITER, FL 33458                       CHERRY HILL, NJ 08002




COOPER UNIVERSITY HEALTH CARE         COPELAND COSMETIC SURGERY               COPIOUS MANAGEMENT, INC.
ATTN: ACCOUNTS PAYABLE                GAIL CLARK                              953 COLE AVE, SUITE B
1 COOPER PLAZA                        2 RICHMOND CENTER CT                    LOS ANGELES, CA 90038
CAMDEN, NJ 08103                      SAINT PETERS, MO 63376




COPLEY MEMORIAL HOSPITAL              CORAL GABLES COSMETIC CENTER            [NAME REDACTED]
PAM LIFEWIT                           DAYANIS LUJAN                           ADDRESS ON FILE
2000 OGDEN AVE                        2601 SW 37TH AVENUE, SUITE 100
AURORA, IL 60504                      MIAMI, FL 33133




COREWELL HEALTH                       COREWELL HEALTH                         CORPORATE BUSINESS SYSTEMS LLC
ATTN: ACCOUNTS PAYABLE                ATTN: AP DEPARTMENT                     6300 MONONA DRIVE, SUITE C
PO BOX A                              P. O. BOX 5050                          MADISON, WI 53716
GRAND RAPIDS, MI 49501                TROY, MI 48084-5050
                      Case 24-10245-JTD
CORPORATION SERVICE COMPANY                  Doc 219 Filed 03/28/24
                                    COSMEPLAST                             Page 44 of 226
                                                                             COSMEPLAST
PO BOX 7410023                      ELLIE DISENA                             ELLIE DISENA
CHICAGO, IL 60674                   1505 UNIVERISTY DRIVE                    1505 UNIVERSITY DRIVE
                                    CORAL SPRINGS, FL 33071                  CORAL SPRINGS, FL 33071




COSMETIC MEDICINE & SURGERY AT MERCY   COSMETIC PRACTICE ENHANCEMENT         COSMETIC SURGERY ASSOCIATES
DAWN LICHTENBERG                       GROUP                                 ATTN: ACCOUNTS PAYABLE
227 ST. PAUL PLACE, 6TH FLOOR          GROUP                                 801 YORK ST
BALTIMORE, MD 21202                    9850 GENESEE AVE., SUITE 130          MANITOWOC, WI 54220
                                       LA JOLLA, CA 92037



COSMETIC SURGERY ASSOCIATES            COSMETIC SURGERY BY WOLF              COSMETIC SURGERY OF DFW
VALERIE TOLER                          ATTN: ACCOUNTS PAYABLE                LAUREN TRIPPLEHORN
630 ROCKLEDGE DRIVE, SUITE 100         1857 CENTER ST                        800 12TH AVE, STE 100
BETHESDA, MD 20817                     CAMP HILL, PA 17011-1773              FORT WORTH, TX 76132-2519




COSMETIC SURGERY OF NEW YORK PC        COTTAGE HEALTH SYSTEM                 COTTAGE HEALTH SYSTEM
LISA GIBBONS                           ANDREW HOCHSTAFL                      FELICITY JACKSON
4616 NESCONSET HWY                     PO BOX 8180                           6550 HOLLISTER AVE
PORT JEFFERSON STATION, NY 11776       SANTA BARBARA, CA 93117               SANTA BARBARA, CA 93117




COTTAGE HEALTH SYSTEM                  COTTO DIAZ, KYARA                     COUNTY OF SANTA BARBARA
JOHANNA WILSON                         ADDRESS ON FILE                       105 E ANAPAMU STREET
PO BOX 4137                                                                  SANTA BARBARA, CA 93101
SOUTH BEND, IN 46634




[NAME REDACTED]                        COURTNEY EL-ZOKM, MD                  [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                       ADDRESS ON FILE




COURTNEY SHERON                        [NAME REDACTED]                       COVENANT HEALTHCARE
ADDRESS ON FILE                        ADDRESS ON FILE                       JULIE GERMAIN
                                                                             PO BOX 30085
                                                                             LANSING, MI 48909




COVEWARE INC.                          COX COMMUNICATIONS (DIRECT DEBIT)     COX COMMUNICATIONS (NOT IN USE)
PO BOX 621 - 275 POST ROAD E           COX BUSINESS                          DEPT 880101
STATION 10                             PO BOX 53280                          PO BOX 29650
WESTPORT, CT 06881                     PHOENIX, AZ 85072                     PHOENIX, AZ 85038




COX HEALTH                             COX MEDIA, LLC                        CP MEDICAL LLC
ATTN: AP                               5887 COPLEY DR SUITE 300              936 POTO STREET
PO BOX 9550                            SAN DIEGO, CA 92111                   HONOLULU, HI 96816
SPRINGFIELD, MO 65802




CPSKIN, LLC                            CRAIG FORLEITER, MD                   CRANE PRODUCTION SYSTEMS, CORP
LARAMIE JOHNSON                        ADDRESS ON FILE                       N22 W22931 NANCYS COURT, SUITE 1
3299 WOODBURN ROAD, SUITE 490                                                WAUKESHA, WI 53186
ANNANDALE, VA 22003
CRATERS & FREIGHTERS      Case 24-10245-JTD   DocBRIGIT
                                        CRAWFORD,  219         Filed 03/28/24      Page 45 ofIMPRESSIONS
                                                                                     CREATIVE 226        MEDIA, CORP.
264 W SPAZIER AVE                        ADDRESS ON FILE                              716 SANDRA STREET
BURBANK, CA 91502                                                                     GARNER, NC 27529




CREDENTIAL SECS INC (5083)               CRESCENT CITY SURGICAL CENTRE                CREST INTL NOMINEES LTD (2012)
DANIELLE MONTANARI/PROXY MGR             NICOLE TOOMBS                                ATT NATHAN ASHWORTH/PROXY MGR
700 - 1111 W. GEORGIA ST                 3017 GALLERIA DR                             33 CANNON ST
VANCOUVER, BC V6E 4T6                    METAIRE, LA 70001                            LONDON EC4M 5SB
CANADA                                                                                UNITED KINGDOM



CRESTMOOR SURGICAL ASSOCIATES, PLLC      CRESTWOOD MEDICAL CENTER                     CRIM - CENTRO DE RECAUDACION
PO BOX 158779                            ATTN: ACCOUNTS PAYABLE                       STATE HIGHWAY 1, KM 17.3
NASHVILLE, TN 37215                      1 HOSPITAL DR                                SAN JUAN, PR 00919
                                         HUTSVILLE, AL 35801




[NAME REDACTED]                          [NAME REDACTED]                              CRISTINA F. KEUSCH, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                          CRISWELL & CRISWELL PLASTIC SURGERY          CROCKER REFRIGERATION HEATING & AIR
ADDRESS ON FILE                          ATTN: AP                                     DBA CROCKER REFRIGERATION
                                         14835 BALLANTYNE VILLAGE WAY, SUITE 210      HEATING & AIR
                                         CHARLOTTE, NC 28277                          SANTA BARBARA, CA 93140




CROOKS, REBECCA                          CROSS, CRYSTAL                               CROSSTEX INTERNATIONAL, INC
ADDRESS ON FILE                          ADDRESS ON FILE                              6789 W. HENRIETTA ROAD
                                                                                      RUSH, NY 14543




CROWN POINT SURGERY CENTER               CROZER KEYSTONE HEALTH SYSTEM                CRYSTAL CLINIC ORTHOPAEDIC CENTER
BRANDON BOWKER                           DEBORAH COOPER                               ORDER CONFIRMATIONS
9397 CROWN CREST BLVD, STE 110           ONE MEDICAL CENTER BLVD                      3925 EMBASSY PKWY, STE 100
PARKER, CO 80138-8575                    UPLAND, PA 19013                             AKRON, OH 44333




CRYSTALLINE LLC                          CS LOGISTICS INC                             CSC SURGICAL MANAGEMENT GROUP
ADDRESS ON FILE                          11001 W MITCHELL ST                          TAMRA EVANS
                                         MILWAUKEE, WI 53214                          801 MACARTHUR BLVD
                                                                                      MUNSTER, IN 46321




CSI DMC INC                              CSPS                                         CSPS
6400 ARLINGTON BLVD, SUITE 710           2-803 LAURIER AVE. E.                        ATTN: YVONNE GRUNEBAUM
FALLS CHURCH, VA 22042                   MONTREAL, QC H2J 1G2                         500 CUMMINGS CENTER SUITE 4400
                                         CANADA                                       EL SOBRANTE, CA 94803




CU PLASTIC SURGERY                       CUARENTA CANADA, TERESA                      CULLEN, KRISTIN
LAURA PURI                               ADDRESS ON FILE                              ADDRESS ON FILE
12631 E. 17TH AVE, C309
AURORA, CO 80045
CULLMAN COUNTY             Case 24-10245-JTD
                                         CULLMANDoc  219 MEDICAL
                                                 REGIONAL  Filed CENTER
                                                                 03/28/24           Page 46 of 226
                                                                                      CULPEPPER, NATHANIEL
PO BOX 1206                               ATTN: ACCOUNTS PAYABLE                       ADDRESS ON FILE
CULLMAN, AL 35056-1206                    PO BOX 1108
                                          CULLMAN, AL 35056




CUMBERLAND LASER CLINIC                   CUMBERLAND SURGICAL HOSPITAL                 CUNANAN, CHELSEA
219 OXFORD WEST, 301                      OF SAN ANTONIO, LLC                          ADDRESS ON FILE
LONDON, ON N6H 1S5                        BRANDY WELLS
CANADA                                    1828 GOOD HOPE ROAD, SUITE 102
                                          ENOLA, PA 17025



CURATED BEAUTY RX                         CURTIS SI-WONG, MD.                          CURTIS WONG, M.D.
ASHAYA BASSETT                            ADDRESS ON FILE                              ADDRESS ON FILE
1441 AVOCADO AVE, STE 301
NEWPORT BEACH, CA 92660-7704




CUSICK PLASTIC SURGERY                    CUSIMANO PLASTIC SURGERY                     CUSIP GLOBAL SERVICES
COLLEEN KIKER                             LAUREN HEBERT                                STANDARDS & POORS
4601 COLLEGE BLVD. SUITE 222              5233 DIJON DRIVE                             2542 COLLECTION CENTER DR
SHAWNEE MISSION, KS 66211                 BATON ROUGE, LA 70808                        CHICAGO, IL 60693




CV RESOURCES INC                          [NAME REDACTED]                              CYNTHIA DIEHL DBA DIEHL PLASTIC
5291 CALIFORNIA AVE, SUITE 310            ADDRESS ON FILE                              SURGERY
IRVINE, CA 92617                                                                       10208 CERNY ST, SUITE 204
                                                                                       RALEIGH, NC 27617




CYNTHIA L. MIZGALA, M.D.                  CYNTHIA M. GOODMAN, M.D., INC.               CYNTHIA M. GREGG, M.D., P.L.L.C.
ADDRESS ON FILE                           ERIN MANN                                    ADDRESS ON FILE
                                          2200 LARKSPUR LANDING CIRCLE, SUITE 104
                                          LARKSPUR, CA 94939




[NAME REDACTED]                           CYPRESS SURGERY CENTER                       D. A. DAVIDSON & CO. (0361)
ADDRESS ON FILE                           MICHELLE KINNARD                             ATT RITA LINSKEY OR PROXY MGR
                                          9300 E. 29TH STREET N., SUITE 100            8 THIRD ST NORTH
                                          WICHITA, KS 67226                            GREAT FALLS, MT 59401




D. GLYNN BOLITHO, M.D.                    D. SCOTT ROTATORI, M.D.                      DAE YI
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




DAEDALUS                                  DAEDALUS, INC                                DAINA SCHMIDT
4923 CENTRE AVE                           4923 CENTRE AVE                              ADDRESS ON FILE
PITTSBURGH, PA 15213                      PITTSBURGH, PA 15213




[NAME REDACTED]                           [NAME REDACTED]                              DAJLES, DENISE
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE
DAJLES, DENISE             Case 24-10245-JTD     Doc 219
                                         DAJLES, DENISE             Filed 03/28/24   Page 47REDACTED]
                                                                                       [NAME of 226
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




DALLAS DAY SURGERY OF TX NORTH            DALLAS DERMATOLOGY PARTNERS                  DALLAS W. HOMAS MD PLLC
ASHLEI OLDHAM                             BIRI RAMIREZ                                 ADDRESS ON FILE
9101 N CENTRAL EXPWY, SUITE 650           17051 DALLAS PKWY, STE 350
DALLAS, TX 75231                          ADDISON, TX 75001-7107




DALOR TRANSIT, INC                        DAMON, MICHAEL                               DAN GOULD, MD
6005 W RYAN ROAD                          ADDRESS ON FILE                              ADDRESS ON FILE
FRANKLIN, WI 53132




DAN GOULD, MD                             DAN H. SHELL, III, M.D.                      DAN YAMINI, M.D
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                           DANA BALDERRAMA, M.D                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




DANA KHUTHAILA, MD, FACS                  DANA M. GOLDBERG, M.D.                       DANA SWANK
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                              DANIEL A. BUSCAGLIA, D.O., P.C.
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




DANIEL A. DEL VECCHIO, M.D.               DANIEL A. KRIEGER-CARLISLE                   DANIEL A. STERLING, MD
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




DANIEL BARRETT, M.D.                      DANIEL C. MILLS, M.D.                        DANIEL CAREAGA MD PLASTIC SURGERY
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE




DANIEL DELVECCHIO                         DANIEL DIACO, M.D.                           DANIEL DIACO, MD
ADDRESS ON FILE                           ADDRESS ON FILE                              ADDRESS ON FILE
DANIEL HATEF, M.D.          Case 24-10245-JTD     Doc 219
                                          DANIEL KAPP           Filed 03/28/24   Page 48 KAPP,
                                                                                   DANIEL of 226
                                                                                               M.D
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




DANIEL KIM, M.D.                           DANIEL MURARIU CONSULTING                DANIEL NESS
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




DANIEL R. KNIGHT, M.D., L.L.C.             DANIEL RICHARDSON, M.D                   DANIEL WOMAC, MD
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




DANIEL WOOD, MD                            [NAME REDACTED]                          DANIELLE LEBLANC, M.D.
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                          DANIELOCONNOR
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                            DARRICK E. ANTELL, MD, PC                DARWICH, MUHAMMED
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




DARYL K. HOFFMAN, M.D.                     DASH MEDICAL GLOVES, INC                 DATA HOLDINGS LLC
ADDRESS ON FILE                            9635 S FRANKLIN DR                       3215 W STATE STREET, SUITE 300
                                           FRANKLIN, WI 53132                       MILWAUKEE, WI 53208




DATA HOLDINGS LLC                          DATABANK IMX LLC                         DATABRIDGE MARKET RESEARCH PVT LTD
833 EAST MICHIGAN ST. STE 400              PO BOX 829878                            OFFICE NUMBER 402-C, AMANORA
MILWAUKEE, WI 53202                        PHILADELPHIA, PA 19182                   CHAMBERS
                                                                                    MAGARPATTA ROAD
                                                                                    HADAPSAR 411028
                                                                                    INDIA
                      Case 24-10245-JTD
DAUGHERTY PLASTIC SURGERY                   Doc 219
                                    DAUWE PLASTIC       Filed 03/28/24
                                                   SURGERY               Page 49 PLASTIC
                                                                           DAUWE of 226 SURGERY
KATIE ROMIG                         10707 PRESTON ROAD                     SARA VALLE
1701 LOURAY DR                      DALLAS, TX 75230                       2801 LEMMON AVENUE, SUITE 300
BATON ROUGE, LA 70808                                                      DALLAS, TX 75204




DAVID A. LICKSTEIN, M.D.             DAVID ALTAMIRA, M.D.                  DAVID ARCHIBALD, MD
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID BRAY, JR., M.D., INC.          DAVID E. KIM, M.D                     DAVID FUNT, MD
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID HALPERN, M.D.                  DAVID J. LEVENS, M.D.                 DAVID J. MACGREGOR, M.D.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID J. PINCUS, M.D.                DAVID L. DURST, M.D.                  DAVID MORWOOD, M.D
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID N. SAYAH, M.D.                 DAVID NEWMAN, MD                      DAVID R. BROADWAY, M.D.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID R. BROADWAY, M.D.              DAVID R. STEPHENS, M.D.               DAVID SAHAR, MD
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID SIEBER, MD                     DAVID STOKER                          DAVID STOKER, M.D.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVID STOKER.                        DAVID W. DORFMAN, M.D.                DAVID WILKINS
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAVINCI PLASTIC SURGERY              DAVIS, CARMALITA                      DAVIS, KYLE
DANIEL CARMONA                       ADDRESS ON FILE                       ADDRESS ON FILE
DR. STEVEN DAVISON
3301 NEW MEXICO AVE. NW, SUITE 236
WASHINGTON, DC 20016
DAVIS, MICHAEL             Case 24-10245-JTD    Doc 219
                                         [NAME REDACTED]         Filed 03/28/24   Page 50REDACTED]
                                                                                    [NAME of 226
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




DAWYDIAK, VALERIE                         DAX GUENTHER, MD                          DAY SURGERY AT RIVERBEND
ADDRESS ON FILE                           ADDRESS ON FILE                           LAURA LATINI
                                                                                    3355 RIVERBEND DRIVE
                                                                                    SUITE 110
                                                                                    SPRINGFIELD, OR 97477-8800



DAYAN PLASTIC SURGERY                     DAYLIGHT TRANSPORT, LLC                   DC DEPT OF EMPLOYMENT SERVICES
NICOLE MURPHY                             1501 HUGHES WAY SUITE 200                 4058 MINNESOTA AVE NE
5570 LONGLEY LANE, STE A                  LONG BEACH, CA 90810                      WASHINGTON, DC 20019
RENO, NV 89511-4407




DC GOVERNMENT OFFICE OF TAX AND           DC TREASURER                              DC TREASURER
REVENUE                                   GOVERNMENT OF THE DISTRICT OF             OFFICE OF TAX AND REVENUE
PO BOX 37559                              COLUMBIA                                  PO BOX 96384
WASHINGTON, DC 20013                      OFFICE OF TAX & REVENUE, PO BOX 96384     WASHINGTON, DC 20044
                                          WASHINGTON, DC 20024



DCH HEALTH SYSTEM                         DDL                                       DDPMD PC
TAMMIE BUBOSE                             10200 VALLEY VIEW RD, STE 101             MEGAN BAUMANN
809 UNIVERSITY BLVD E                     EDEN PRAIRIE, MN 55344                    755 W BIG BEAVER RD, SUITE 1200
TUSCALOOSA, AL 35406                                                                TROY, MI 48084




DE CASTRO, ZARINA                         DE LUZ MEDICAL AESTHETICS                 DE RAMON PLASTIC SURGERY INSTITUTE PC
ADDRESS ON FILE                           ATTN: ACCOUNTS PAYABLE                    2025 TECHNOLOGY PKWY
                                          31963 RANCHO CALIFORNIA RD, SUITE 200     303
                                          TEMECULA, CA 92591                        MECHANICSBURG, PA 17050




DEACONESS CLINIC PLASTIC SURGERY          DEACONESS HOSPITAL                        DEACONESS HOSPITAL
CHERI WARGEL                              BECKY ANOSKEY                             SUSAN COOPER
4233 GATEWAY BLVD 2ND FL                  600 MARY STREET                           P. O. BOX 248
NEWBURGH, IN 47630                        EVANSVILLE, IN 47710                      SPOKANE, WA 99210-0248




DEAN L. JOHNSTON, M.D.                    DEAN, CHRISTINE                           [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                           DEBORAH WHITE, M.D.                       DEBRA J. WATTENBERG, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE
[NAME REDACTED]          Case 24-10245-JTD
                                       DECATURDoc 219MEMORIAL
                                               COUNTY   Filed HOSPITAL
                                                              03/28/24     Page 51 ofJEREMY
                                                                             DECKER,   226
ADDRESS ON FILE                         KELLI SENTENEY                       ADDRESS ON FILE
                                        720 N LINCOLN ST
                                        GREENSBURG, IN 47240




DECO TECHNOLOGY GROUP, INC              DEE HORNING                          DEER VALLEY SURGICAL & ENDOSCOPY
749 N. MAIN ST.                         ADDRESS ON FILE                      CENTER
ORANGE, CA 92868                                                             BONNIE REESE
                                                                             3033 N 44TH ST, STE 200
                                                                             PHOENIX, AZ 85018



DEERFIELD MANAGEMENT COMPANY, L.P       DEERFIELD PARTNERS LP, AS AGENT      DEFINITIVE HEALTHCARE
ATTN: LEGAL DEPARTMENT                  345 PARK AVE S                       550 COCHITUATE ROAD
345 PARK AVENUE SOUTH                   NEW YORK, NY 10010                   UNIT 4
12TH FLOOR                                                                   FRAMINGHAM, MA 01701
NEW YORK, NY 10010



DEIGNI PLASTIC SURGERY PLLC             DEIGNI PLASTIC SURGERY, PLLC         DEL MAR DERMATOLOGY MEDICAL CORP
RICKILYNN GARDNER                       2900 WESLAYAN ST, SUITE660           1349 CAMINO DEL MAR, SUUITE D
11070 KATY FWY, APT 1420                HOUSTON, TX 77027                    DEL MAR, CA 92014
HOUSTON, TX 77043-4792




DELANO, AMBER                           DELAWARE DEPARTMENT OF JUSTICE       DELAWARE DEPARTMENT OF JUSTICE
ADDRESS ON FILE                         CARVEL STATE OFFICE BUILDING         OFFICE OF THE ATTORNEY GENERAL
                                        820 N. FRENCH STREET                 CARVEL STATE BUILDING
                                        WILMINGTON, DE 19801                 820 N. FRENCH STREET
                                                                             WILMINGTON, DE 19801



DELAWARE DEPARTMENT OF LABOR            DELAWARE DIVISION OF REVENUE         DELAWARE HEALTH AND SOCIAL SERVICES
4425 NORTH MARKET S                     820 N FRENCH ST                      1901 N DUPONT HIGHWAY
WILMINGTON, DE 19802                    WILMINGTON, DE 19801                 NEW CASTLE, DE 19720




DELAWARE ORTHOPAEDIC SPECIALISTS        DELAWARE STATE TREASURY              DELL P. SMITH, M.D.
WILLIAM TRESCOTT                        820 SILVER LAKE BLVD., SUITE 100     ADDRESS ON FILE
1941 LIMESTONE RD, STE 101              DOVER, DE 19904
WILMINGTON, DE 19808




DELLA C. BENNETT, M.D.                  DELLA C. BENNETT, M.D.               DELMONT SURGERY CENTER
ADDRESS ON FILE                         ADDRESS ON FILE                      ATTN: ACCOUNTS PAYABLE
                                                                             463 BRUSH RUN ROAD
                                                                             GREENSBURG, PA 15601




DELOITTE TAX LLP                        DELOITTE TAX LLP                     DELRAY BEACH PLASTIC SURGERY
695 TOWN CENTER DRIVE, SUITE 1000       PO BOX 844736                        TINA WESTINE
COSTA MESA, CA 92626                    DALLAS, TX 75284-4736                250 DIXIE BLVD, SUITE 103
                                                                             DELRAY BEACH, FL 33444




DELTA T SYSTEMS, INC.                   DEMET YALCIN                         [NAME REDACTED]
2171 HIGHWAY 175                        ADDRESS ON FILE                      ADDRESS ON FILE
RICHFIELD, WI 53076
DENIS F. BRANSON, M.D.   Case 24-10245-JTD    Doc 219
                                       [NAME REDACTED]          Filed 03/28/24   Page 52SARHADDI,
                                                                                   DENIZ of 226 MD
ADDRESS ON FILE                         ADDRESS ON FILE                            ADDRESS ON FILE




DENNIS DASS, M.D.                       DENTON D. WEISS, M.D.                      DENVER HEALTH AND HOSPITAL
ADDRESS ON FILE                         ADDRESS ON FILE                            TRACEY DILLON
                                                                                   777 DELAWARE STREET
                                                                                   DENVER, CO 80204




DENVER MIDTOWN SURGICAL CENTER          DEPARTMENT OF VERMONT HEALTH               DEPT. OF LABOR AND INDUSTRIES
ANNITA MIKKOLA                          ACCESS                                     P.O. BOX 34974
1919 E 18TH AVE                         280 STATE DRIVE                            OLYMPIA, WA 98504
DENVER, CO 80206                        NOB 1 SOUTH
                                        WATERBURY, VT 05671-1010



DEREK SHADID, M.D.                      DERMATOLOGIC SURGERY OF THE                DERMATOLOGIST MEDICAL GROUP OF
ADDRESS ON FILE                         CAROLINAS                                  NORTH CNTY
                                        BRANDI KING                                LISA N
                                        15830 BALLANTYNE MEDICAL PLACE SUITE       3613 VISTA WAY
                                        225                                        OCEANSIDE, CA 92056
                                        CHARLOTTE, NC 28277


DERMATOLOGY AESTHETICS                  DERMATOLOGY & PLASTIC SURGERY OF           DERMATOLOGY & SKIN SURGERY INSTITUTE
SHERI MONROE                            ARIZONA                                    ATTN: ACCOUNTS PAYABLE
32469 SADDLE MOUNTAIN DR                AMY WEIERMAN                               3535 VICTORY GROUP WAY, SUITE 200
WESTLAKE VILLAGE, CA 91361              150 S. CORONADO DRIVE, SUITE 110           FRISCO, TX 75034
                                        SIERRA VISTA, AZ 85635



DERMATOLOGY ASSOC &                     DERMATOLOGY ASSOCIATES MED GROUP           DERMATOLOGY ASSOCIATES OF GEORGIA
THE LASER COSMETIC CENTER               JACKIE BORNSTEIN                           ATTN: AP DEPARTMENT
DIANNE BITNEY                           465 N. ROXBURY DRIVE, SUITE 803            2665 N DECATUR RD, STE 345
175 COMMONS LOOP, SUITE 200             BEVERLY HILLS, CA 90210                    DECATUR, GA 30033-6145
KALISPELL, MT 59901



DERMATOLOGY ASSOCIATES OF GEORGIA       DERMATOLOGY ASSOCIATES OF                  DERMATOLOGY ASSOCIATES OF SWLA
CINDY WALTEN                            LANCASTER                                  JESSIE MOORE
2665 N. DECATUR ROAD, SUITE 650         JANET RICHIE                               2000 TYBEE LANE
DECATUR, GA 30033                       1650 CROOKED OAK DRIVE, SUITE 200          LAKE CHARLES, LA 70605
                                        LANCASTER, PA 17601



DERMATOLOGY CENTER OF STEAMBOAT         DERMATOLOGY CONSULTANTS, PA                DERMATOLOGY OF BOCA
SPRINGS                                 EMILY GEIS                                 ANGIE HOGER
CAROLYN GIBSON                          60 PLATO BLVD.                             4601 N. FEDERAL HWY
940 CENTRAL PARK DR, STE 210            ST. PAUL, MN 55107                         BOCA RATON, FL 33431
STEAMBOAT SPRINGS, CO 80487



DERMATOLOGY SURGERY SPECIALISTS         DERMCARE ASSOCIATES, PA                    DERMCARE ASSOCIATES, PA
LISA BURTON                             RANDY BROWN                                ROBERT "BOB" CROWELL
2020 W. STATE HIGHWAY 114, SUITE 340    17170 ROYAL PALM BLVD.                     4000 HOLLYWOOD BLVD. STE. 215-S
GRAPEVINE, TX 76051                     WESTON, FL 33326                           HOLLYWOOD, FL 33021




DERMCARE MANAGEMENT, LLC                DERMCARE MANAGEMENT, LLC                   DERMSA
NADINA BENNETT                          ONELIA VALDES                              MARY JENSCHKE
4308 ALTON ROAD, SUITE 750              4000 HOLLYWOOD BLVD, STE 215-S             7832 PAT BOOKER ROAD
MIAMI BEACH, FL 33140                   HOLLYWOOD, FL 33021-1227                   SAN ANTONIO, TX 78233
DERMWAREHOUSE            Case 24-10245-JTD     DocPLASTIC
                                       DEROBERTS    219 SURGERY,
                                                          Filed 03/28/24
                                                                 PLLC          Page 53 of 226
                                                                                 DEROBERTS PLASTIC SURGERY, PLLC
ATTN: AP                               ATTN: ACCOUNTS PAYABLE                     LINDA DEMUREA
1010 TAYLOR STATION RD. STE. D         3107 E GENESEE ST                          4900 BROAD ROAD, SUITE 2G
COLUMBUS, OH 43230-6676                SYRACUSE, NY 13224                         SYRACUSE, NY 13215




DES MOINES PLASTIC SURGERY            DESAI PLASTIC SURGERY OF BEVERLY HILLS      DESERT VALLEY HOSPITAL
6420 COACHLIGHT DRIVE                 MICHELLE X                                  MARIA GUERRA
WEST DES MOINES, IA 50266             433 N. CAMDEN DRIVE, 6TH FLOOR              3300 EAST GUASTI RD
                                      BEVERLY HILLS, CA 90210                     ONTARIO, CA 92307-8655




[NAME REDACTED]                       DESJARDINS SECS INC.(5028)                  DESTIN PLASTIC SURGERY
ADDRESS ON FILE                       ATT KARLA DIAZ/VALUERS MOB.                 4485 FURLING LANE
                                      2 COMPLEXE DESJARDINS TOUR EST              DESTIN, FL 32541
                                      NIVEAU 62
                                      MONTREAL, QC H5B 1B4 CANADA



DETROIT PLASTIC SURGERY               DEVITO PLASTIC SURGERY                      DEWOLFE AESTHETIC SERVICES S.C.
MARY-KATE K                           MISSY OLSON                                 AMBER CREASY
31100 TELEGRAPH ROAD                  8591 E. BELL ROAD, SUITE 102                626 W FULLERTON PKWY
BINGHAM FARMS, MI 48025               SCOTTSDALE, AZ 85260                        CHICAGO, IL 60614-2614




DEWOLFE AESTHETIC SERVICES S.C.       DIACO INSTITUTE OF PLASTIC SURGERY          [NAME REDACTED]
KIM CAULFIELD                         ADDRESS ON FILE                             ADDRESS ON FILE
47 S 6TH AVE
LAGRANGE, IL 60525




DIANA M. PEREZ, RN                    [NAME REDACTED]                             [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                             ADDRESS ON FILE




[NAME REDACTED]                       DIANE COHEN                                 [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                             ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                             [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                             ADDRESS ON FILE




[NAME REDACTED]                       DICKINSON WRIGHT PLLC                       DIEHL PLASTIC SURGERY, PLLC
ADDRESS ON FILE                       2600 WEST BIG BEAVER SUITE 300              10208 CERNY STREET
                                      TROY, MI 48084                              SUITE 204
                                                                                  RALEIGH, NC 27617




DIGENIS PLASTIC SURGERY INSTITUTE     DIGENIS PLASTIC SURGERY INSTITUTE           DIGNITY HEALTH PHOENIX
BETH MADISON                          BLENNA ADMIN                                VANESSA ARAGON
315 E BROADWAY, SUITE 111             PO BOX 1027                                 3033 N 3RD AVE
LOUISVILLE, KY 40202                  LOUISVILLE, KY 40201                        PHOENIX, AZ 85013
                       Case 24-10245-JTD
DIGNITY HEALTH SACRAMENTO                     Doc 219
                                     DIGNITY HEALTH      Filed 03/28/24
                                                    SACRAMENTO              Page  54 ofAMELIA
                                                                              DILLARD,  226
AARON BROHARD                        LORRAINE DUARTE                           ADDRESS ON FILE
3400 DATA DR                         3033 N 3RD AVE
RANCHO CORDOVA, CA 95670             PHOENIX, AZ 85013




[NAME REDACTED]                       DINGO & CO                               DISHINGER, HEATHER
ADDRESS ON FILE                       C/O COMPUTERSHARE INC                    ADDRESS ON FILE
                                      150 ROYALL ST
                                      CANTON, MA 02021




DISTRICT OF COLUMBIA ATTORNEY         DISTRICT OF COLUMBIA DEPT OF HEALTH      DISTRICT OF COLUMBIA
GENERAL                               899 N CAPITOL ST NE                      1101 4TH STREET, SW
ATTN: BRIAN L. SCHWALB                WASHINGTON, DC 20002                     STE 270
400 6TH STREET, NW                                                             WASHINGTON, DC 20024
WASHINGTON, DC 20001



DIVERSIFIED IMAGES, INC.              DIVERSIFIED PLASTICS, INC                DIVINO PLASTIC SURGERY, INC.
27955 BEALE COURT                     8617 XYLON COURT N.                      CARLA HERNANDEZ
VALENCIA, CA 91355                    BROOKLYN PARK, MN 55445                  180 OTAY LAKES RD, SUITE 110
                                                                               BONITA, CA 91902




DIVISION OF TENNESSEE CARE            DLA PIPER LLP (US)                       DLA PIPER LLP (US)
310 GREAT CIRCLE RD.                  ERIN KRUSE                               ERIN KRUSE
NASHVILLE, TN 37243                   ONE LIBERTY PLACE                        P.O. BOX 780528
                                      1650 MARKET STREET, STE 5000             PHILADELPHIA, PA 19178
                                      PHILADELPHIA, PA 19103-7300



DLA PIPER LLP (US)                    D-MED                                    DMV RENEWAL
P.O. BOX 780528                       502 AM CHEON B/D                         PO BOX 942894
PHILADELPHIA, PA 19178                142-46, SAM SUNG-DONG, GANG NAM-GU       SACRAMENTO, CA 94294
                                      SEOUL 06160
                                      KOREA



DNUASHLEY STEINBERG PLASTIC SURGERY   DNUCARRIE MELINDA ADAMS, RN              DNUCATHERINE ACEVEDO
PLLC                                  ADDRESS ON FILE                          ADDRESS ON FILE
3255 LAS PALMAS ST APT 552
HOUSTON, TX 77027




DNUDANA SWANK                         DNUDEE HORNING                           DNUDIANA M. PEREZ, RN
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




DNUHAYLEY MABERY                      [NAME REDACTED]                          DNUKATRINA DAYMUDE
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




DNUKRISTIN VOTH                       [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE
DNULINDA K. SAVAGE       Case 24-10245-JTD
                                       DNULORIDoc 219 Filed 03/28/24
                                              LANKFORD                       Page 55 ofPODANY
                                                                               DNULORI  226
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




DNULYNN HOLLINS, RN                     DNUMARY ALICE CLAYTON                  DNUMG CONSULTING GROUP
ADDRESS ON FILE                         ADDRESS ON FILE                        3830 VALLEY CENTER DR., 705-836
                                                                               SAN DIEGO, CA 92130




DNUSTEPHANIE COHEN                      DOCMATION LLC                          DOCS SURGICAL HOSPITAL, LLC
ADDRESS ON FILE                         3000 NORTHWOODS PARKWAY, SUITE 150     DANIEL OLIVATES
                                        NORCROSS, GA 30071                     6000 SAN VICENTE
                                                                               LOS ANGELES, CA 90036




DOCS SURGICAL HOSPITAL, LLC             DOCTOR GIANCARLO PLASTIC SURGERY       DOCTOR GIANCARLO PLASTIC SURGERY
KAROL MORERA                            GIANNA CAITANO                         JULIA MCEVENUE
8436 W. 3RD STREET, SUITE 700           851 MEADOWS RD, STE 22                 4600 LINTON BLVD, STE 310
LOS ANGELES, CA 90048                   BOCA RATON, FL 33486                   DELRAY BEACH, FL 33445-6600




DOCTORS HOSPITAL OF AUGUSTA             DOCTORS HOSPITAL                       DOCTORS MEDICAL CENTER
NASHVILLE PO                            WENDY CHAPMAN                          DIANE COUGHRAN
245-B GREAT CIRCLE ROAD                 5001 COLLEGE BLVD                      PO BOX 4138
NASHVILLE, TN 37228                     LEAWOOD, KS 66211                      MODESTO, CA 95352-4138




DOCUMENT CENTER INC                     DOCUPRODUCTS CORPORATION               DOCUSIGN INC
401 ROLAND WAY, SUITE 224               4535 MCGRATH STREET SUITE A            PO BOX 735445
OAKLAND, CA 94621                       VENTURA, CA 93003                      DALLAS, TX 75373




DOES                                    DOLAN LLC                              DOLAN, SARAH
GOVT OF DC, DEPT OF EMPLOYMENT SVCS     ADDRESS ON FILE                        ADDRESS ON FILE
OFFICE OF UNEMPLOYMENT COMP, TAX DIV,
4TH FL, 4058 MINNESOTA AVE NE
WASHINGTON, DC 20019



DON REVIS, JR., M.D.                    DONALD HODGDON                         DONALD MOWLDS, MD
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




DONALD W. HAUSE, M.D.                   [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




DONNELLEY FINANCIAL SOLUTIONS           DONNELLEY FINANCIAL SOLUTIONS          [NAME REDACTED]
ANNE LIVINGSTON                         ANNE LIVINGSTON                        ADDRESS ON FILE
DONNELLEY FINANCIAL, LLC                DONNELLEY FINANCIAL, LLC
35 WEST WACKER DRIVE                    P.O. BOX 842282
CHICAGO, IL 60601                       BOSTON, MA 02284
[NAME REDACTED]         Case 24-10245-JTD    Doc 219
                                      [NAME REDACTED]      Filed 03/28/24   Page 56 ofFORMAN,
                                                                              DOUGLAS  226 MD
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




DOUGLAS HAMILTON, MD                   DOUGLAS J. MACKENZIE, MD               DOUGLAS M. MONASEBIAN, MD
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




DOUGLAS RASKIN MD                      DOWLING, TROY                          DOWNEY PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                        CARLA BANDINI
                                                                              2500 W. LOOP SOUTH, SUITE 150
                                                                              HOUSTON, TX 77027




DOWNEY PLASTIC SURGERY                 DOWNING, JARED                         DOWNTOWN SURGERY CENTER
MELISSA RUSSELL                        ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE
2813 WTC JESTER BLVD                                                          40 BURTON HILLS BLVD, STE 500
HOUSTON, TX 77018-7004                                                        NASHVILLE, TN 37215




DOWNTOWN SURGERY CENTER                DOYLESTOWN HOSPITAL                    DOYLESTOWN SURGERY CENTER
DAREK LANE                             ATTN: ACCOUNTS PAYABLE                 ANGELA NOBER
333 W WACKER DR, SUITE 1010            595 WEST STATE ST                      593 W STATE STREET STE 300
CHICAGO, IL 60606                      DOYLESTOWN, PA 18901                   DOYLESTOWN, PA 18901




DR ANDREW BONETT                       DR ANTHONY WILSON                      DR DAVIS BRONSON
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




DR ELIZABETH MORONI                    DR. ANDREWS PLASTIC SURGERY            [NAME REDACTED]
ADDRESS ON FILE                        KELLY JONES                            ADDRESS ON FILE
                                       1100 5TH STREET, SUITE 210
                                       CORALVILLE, IA 52241




[NAME REDACTED]                        DR. DANIEL M. CALLOWAY                 DR. J.J. WENDEL PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                        MARY BROOME
                                                                              2103 CRESTMOOR RD
                                                                              NASHVILLE, TN 37215




DR. K PLASTIC SURGERY                  DR. ROTH PLASTIC SURGEON WEST AVE      DR. STAN PLASTIC SURGERY
BLANCA ALONZO                          AMANDA .                               MARIA RODRIGUEZ
11160 WARNER AVE, SUITE 119            2800 KIRBY DR, SUITE B-212             6002 MOWAMBA TERRACE LN
FOUNTAIN VALLEY, CA 92708              HOUSTON, TX 77098                      SUGAR LAND, TX 77479




DRAKE, JUSTIN                          DREAMS PLASTIC SURGERY                 DRIVEWEALTH, LLC (2402)
ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE                 ATT PROXY MGR
                                       635 MADISON AVE 17TH FL                15 EXCHANGE PL
                                       NEW YORK, NY 01022                     JERSEY CITY, NJ 07302
                       Case 24-10245-JTD
DRS. SCHUSTER & SCHREIBER                    Doc 219 Filed 03/28/24
                                     DRYOUNGFOREVER                       Page
                                                                            DSA57 of 226
                                                                               DERMATOLOGY
KAREN KAINE                          DO NOT CONTACT - SANDRA VASQUEZ        JUNE JENKINS
10807 FALLS ROAD                     3204 NAPIER PARK                       4010 WEST PARK BLVD.
SUITE 101                            SAN ANTONIO, TX 78231-1522             PLANO, TX 75093
LUTHERVILLE, MD 21093



DUBE, SHANNON                       DUENSING, LEE                           DUKE UNIVERSITY
ADDRESS ON FILE                     ADDRESS ON FILE                         324 BLACKWELL ST, SUITE 900
                                                                            DURHAM, NC 27710




DUKE UNIVERSITY                     DULO, KLODIANA                          DULUTH SURGICAL SUITES, INC
MELISSA MANNING                     ADDRESS ON FILE                         SARAH SODERHOLM
PO BOX 104131                                                               2118 LONDON RD
DURHAM, NC 27708                                                            DULUTH, MN 55812




DUNAGAN YATES & ALISON              DUNAGAN YATES & ALISON                  DUNCAN MILES
PLASTIC SURGERY CENTER              PLASTIC SURGERY CENTER                  555 CAJON STREET, SUITE B
REBECCA REGION                      REBECCA REGION                          REDLANDS, CA 92373
303 WILLIAMS AVENUE SW, STE 1421    303 WILLIAMS AVENUE SW, SUITE 1421
HUNTSVILLE, AL 35801                HUNTSVILLE, AL 35801



DUNCAN MILES, M.D.                  DUNCAN MILES.                           DUPAGE MEDICAL GROUP
ADDRESS ON FILE                     ADDRESS ON FILE                         MARITZA RUTKOSKI
                                                                            1100 W. 31ST STREET, SUITE 300
                                                                            DOWNERS GROVE, IL 60515




DUPAGE MEDICAL GROUP                DUPAGE PLASTIC SURGEON                  DUPONT HOSPITAL
NICOLE POPE                         LAURA EKHOFF                            JODY X
28381 DAVIS PARKWAY, SUITE 700      1307 MACOM DRIVE                        2520 E DUPONT RD
WARRENVILLE, IL 60555               NAPERVILLE, IL 60564                    FORT WAYNE, IN 46825




DURBIANO FIRE EQUIPMENT, INC.       DUSTIN L. REID, MD                      DUSTIN L. REID, MD.
PO BOX 147                          ADDRESS ON FILE                         ADDRESS ON FILE
SANTA BARBARA, CA 93102-0147




E. BRADLEY GARBER, M.D.             EADES PLASTIC SURGERY                   EADES PLASTIC SURGERY
ADDRESS ON FILE                     ANITA EADES                             ATTN: ACCOUNTS PAYABLE
                                    5700 E PIMA, SUITE A                    2940 N SWAN RD, STE 130
                                    TUCSON, AZ 85712                        TUCSON, AZ 85712-6016




EAGLE STAINLESS                     EAR, NOSE & THROAT ASSOCIATES, P.C.     EAST ALABAMA AMBULATORY SC
816 NINA WAY                        IRENE VANRYN                            BETHANY MERRITT
WARMINSTER, PA 18974                10021 DUPONT CIRCLE COURT               900 CAMP AUBURN RD, STE 200
                                    FORT WAYNE, IN 46825                    AUBURN, AL 36849-0001




EAST ALABAMA MEDICAL CENTER         EAST ALABAMA PLASTIC SURGERY            EAST MEMPHIS SURGERY CENTER
SARAH NUNNELLY                      AMY AQUADRO                             ATTN: ACCOUNTS PAYABLE
2000 PEPPERELL PARKWAY              1935 E. GLENN AVENUE, SUITE 102         80 HUMPHREYS CENTER DRIVE, SUITE 101
OPELIKA, AL 36801                   AUBURN, AL 36830                        MEMPHIS, TN 38120
                         Case 24-10245-JTD
EAST PAVILION SURGERY CENTER                    Doc 219
                                       EAST PORTLAND         Filed
                                                       SURGERY     03/28/24
                                                                 CENTER       Page 58
                                                                                EAST   of 226 PLASTIC SURGERY
                                                                                     TENNESSEE
LAURA GARCIA                           TRUDY PRATT                              NANCY WILSON
9135 SW BARNES RD, STE 161             9200 SE 91ST AVE, STE 100                9430 PARK WEST BLVD, SUITE 240
PORTLAND, OR 97225-6646                PORTLAND, OR 97086                       KNOXVILLE, TN 37923




EASTSIDE SURGERY CENTER                 EBERBACH PLASTIC SURGERY                EBERSOLE, NORI
PAUL WARD                               JOYELLE STRAMIELLO                      ADDRESS ON FILE
1301 4TH AVE NW, STE 201                14012 U.S. HIGHWAY 19 N
ISSAQUAH, WA 98027-9371                 HUDSON, FL 34667




ECC HOLDINGS INC DBA ECC AND            ECHELON SPECIALISTS                     EDERRA BELLA PLASTIC SURGERY
ASSOCIATES                              JENNIFER .                              TIERRA ANDERSON
26 RAILROAD AVE SUITE 117               3300 EDINBOROUGH WAY, STE 470           10700 MEDLOCK BRIDGE RD, SUITE 104
BABYLON, NY 11702                       MAILBOX 16                              JOHNS CREEK, GA 30097
                                        MINNEAPOLIS, MN 55435-5916



EDGAR AGENTS, LLC                       EDGAR AGENTS, LLC                       EDINA PLASTIC SURGERY
105 WHITE OAK LANE, SUITE 104           PO BOX 246                              ANITA FIMON
OLD BRIDGE, NJ 08857                    HIGHTSTOWN, NJ 08520                    6525 FRANCE AVENUE
                                                                                SUITE 300
                                                                                EDINA, MN 55435



EDINA SPECIALTY SURGERY CENTER          EDMONSON AESTHETIC FACIAL SURGERY       EDWARD EADES, MD
KATHRYN PALSGROVE                       NICOLE HALL                             ADDRESS ON FILE
(DT CONTACT FOR DR. TIMOTHY SCHAEFER)   910 ADAMS STREET, SUITE 130
4200 DAHLBERG DR, STE 300               HUNTSVILLE, AL 35801
GOLDEN VALLEY, MN 55422-4841



EDWARD H. PARK, M.D.                    EDWARD HOSPITAL                         EDWARD I. LEE PLASTIC SURGERY
ADDRESS ON FILE                         DEBORAH DOMERACKI                       ATTN: ACCOUNTS PAYABLE
                                        801 W. WASHINGTON STREET                2606 GRANT ST
                                        NAPERVILLE, IL 60540                    HOUSTON, TX 77006-2836




EDWARD JONES (0057)                     EDWARD JONES/CDS (5012)                 EDWARD MIRANDA, M.D.
ATT DEREK ADAMS OR PROXY DEPT           ATT NICK HUMMELL OR PROXY MGR           ADDRESS ON FILE
CORPORATE ACTS & DISTRIBUTION           1255 MANCHESTER RD
12555 MANCHESTER RD                     ST. LOUIS, MO 63131
ST. LOUIS, MO 63131



EDWARDS VACUUM LLC                      EFAX CORPORATE                          EFFIE POLITIS, MD
DEPT CH 19935                           PO BOX 51873                            ADDRESS ON FILE
PALATINE, IL 60055                      LOS ANGELES, CA 90051-6173




EFP MARKETING AND CAPITAL               [NAME REDACTED]                         EGRARI PLASTIC SURGERY CENTER
ADDRESS ON FILE                         ADDRESS ON FILE                         JESSIE TEEGARDEN
                                                                                2950 NORTHUP WAY, SUITE 100
                                                                                BELLEVUE, WA 98004




EID B. MUSTAFA PLASTIC SURGERY CENTER   EIDGENOSSISCHE STEUERVERWALTUNG         [NAME REDACTED]
1201 BROOK AVENUE                       ESTV                                    ADDRESS ON FILE
WICHITA FALLS, TX 76301                 MEHRWERTSTEUER MWST
                                        BERN 3003
                                        SWITZERLAND
EINSTEIN MEDICAL CENTER Case 24-10245-JTD
                                      EINSTEINDoc  219CENTER
                                               MEDICAL    Filed 03/28/24   Page 59 ofMEDICAL
                                                                             EINSTEIN 226 CENTER
ANGIE ALVAREZ (FOR DR. LIEBMAN)       BERNADETTE COYNE                       LEILA MARINI
1101 MARKET ST, JEFFERSON CTR 20TH FL 11208 STATESVILLE ROAD, SUITE 300      5501 OLD YORK RD
PHILADELPHIA, PA 19107                HUNTERSVILLE, NC 28078                 PHILADELPHIA, PA 19141




EISC DISTRIBUTORS, LLC                EISENHOWER ARMY MEDICAL CENER          EJ HARRISON & SONS, INC
325 S. SIERRA AVE, 21                 LISA CALLANDS                          P.O. BOX 4009
SOLANA BEACH, CA 92075                300 E. HOSPITAL ROAD                   VENTURA, CA 93007
                                      FORT GORDON, GA 30905




EL CAMINO HOSPITAL                    EL PASO CHILDRENS HOSPITAL             EL SEGUNDO DERMATOLOGY
JERITHA BUTLER                        MONICA GARCIA                          BRENDA FELLMAN
2500 GRANT ROAD                       4845 ALAMEDA AVENUE                    713 N. DOUGLAS STREET
MOUNTAIN VIEW, CA 94040               EL PASO, TX 79905                      EL SEGUNDO, CA 90245




[NAME REDACTED]                       ELBERT VACA, MD                        ELEGANT SHAPE
ADDRESS ON FILE                       ADDRESS ON FILE                        TATIANA DIAZ
                                                                             19312 WEST LAKE DR.
                                                                             HIALEAH, FL 33015




[NAME REDACTED]                       [NAME REDACTED]                        ELISABETH POTTER, M.D., PLLC
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                       ELITE BODY SCULPTURE                   ELITE BODY SCULPTURE
ADDRESS ON FILE                       DENISHA DINDAYAL                       VICTORIA FAECHNER
                                      436 N BEDFORD DR STE 304               21700 OXNARD STREET, SUITE 2030
                                      BEVERLY HILLS, CA 90210                WOODLAND HILLS, CA 91367




[NAME REDACTED]                       ELIZABETH CISSELL                      [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                       ELIZABETH INSTITUTE                    ELIZABETH INSTITUTE. LLC
ADDRESS ON FILE                       ADDRESS ON FILE                        ERIC HERRON
                                                                             638 N MAIN ST, SUITE C
                                                                             ASHLAND, OR 97520




[NAME REDACTED]                       ELIZABETH KIM, M.D.                    [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




ELIZABETH MINKOFF                     [NAME REDACTED]                        ELKEM SILICONES USA CORP
ADDRESS ON FILE                       ADDRESS ON FILE                        TWO TOWER CENTER BLVD. SUITE 1802
                                                                             EAST BRUNSWICK, NJ 08816
ELLEN EZELL, MD             Case 24-10245-JTD     Doc 219
                                          ELLEN JANETZKE, M.D Filed 03/28/24    Page  60FUND,
                                                                                  ELLIE   of 226
                                                                                              INC
ADDRESS ON FILE                             ADDRESS ON FILE                        200 RESERVOIR ST, SUITE 200
                                                                                   NEEDHAM, MA 02494




ELLIOT HOSPITAL                             ELLIOTT B. LAVEY, M.D.                 ELLIOTT BLACK, III, M.D.
CATHERINE CHAGNON                           ADDRESS ON FILE                        ADDRESS ON FILE
ONE ELLIOT WAY
MANCHESTER, NH 03103




ELLIOTT HIRSCH, M.D.                        ELLIS MEDICINE                         ELMAHI, HAFIZ
ADDRESS ON FILE                             NATHAN GLASS                           ADDRESS ON FILE
                                            600 MCCLELLAN STREET
                                            SCHENECTADY, NY 12304




ELMAKI, MOHAMED                             ELSA RASKIN, M.D.                      [NAME REDACTED]
ADDRESS ON FILE                             ADDRESS ON FILE                        ADDRESS ON FILE




ELUTIA INC                                  ELUTIA INC                             ELUTIA INC
1251 PROSPERITY DR, SUITE 370               PO BOX 392191                          SHANTI GIBSON
SILVER SPRING, MD 20904                     PITTSBURGH, PA 15251                   12510 PROSPERITY DRIVE
                                                                                   SUITE 370
                                                                                   SILVER SPRING, MD 20904



ELUTIA INC                                  [NAME REDACTED]                        EL-ZOKM MEDICAL PLLC
SHANTI GIBSON                               ADDRESS ON FILE                        2714 HAVERHILL DR.
PO BOX 392191                                                                      HOUSTON, TX 77008
PITTSBURGH, PA 15251




EMANATE HEALTH MEDICAL CENTER               EMBODY MEDICAL                         EMERGO GLOBAL REPRESENTATION, LLC
SHARON WASHINGTON                           20 RUE MERCOEUR                        333 PFINGSTEN ROAD
PO BOX 6108                                 NANTES 66000                           NORTHBROOK, IL 60062
COVINA, CA 91722                            FRANCE




EMERSON HOSPITAL                            [NAME REDACTED]                        [NAME REDACTED]
LINDA MEUSE                                 ADDRESS ON FILE                        ADDRESS ON FILE
133 OLD ROAD TO NINE ACRE CORNER
CONCORD, MA 01742




EMORY HEALTHCARE                            EMORY HEALTHCARE                       EMORY HEALTHCARE
ATTN: AP                                    LISA LEE                               MAROM KEMP
PO BOX 54407                                550 PEACHTREE ST. N.E                  PO BOX 54577
ATLANTA, GA 30308-0407                      ATLANTA, GA 30308                      ATLANTA, GA 30308




EMPIRE COLLECTIONS                          EMPLOYMENT DEVELOPMENT DEPT STATE      ENDURANCE AMERICAN SPEC INS
26 RAILROAD AVE SUITE 117                   OF CA                                  SOMPO INTERNATIONAL INSURANCE
BABYLON, NY 11702                           PO BOX 989061                          CATHIE SPEAKMAN
                                            WEST SACRAMENTO, CA 95798              455 MARKET STREET
                                                                                   SAN FRANCISCO, CA 94105
                        Case INS
ENDURANCE AMERICAN SPECIALTY 24-10245-JTD
                                 CO           Doc
                                      ENENSTEIN    219
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                                                       & GLASS, LLP03/28/24     Page 61 of 226
                                                                                  ENGLEWOOD HOSPITAL
1221 AVENUE OF THE AMERICAS           12121 WILSHIRE BLVD STE 600                 ASTRIT ALKA
NEW YORK, NY 10020                    LOS ANGELES, CA 90025                       350 ENGLE STREET
                                                                                  ENGLEWOOD, NJ 07631




ENNIS PLASTIC SURGERY, LLC              ENO2019 LLC                               ENT ASSOCIATES
233 S. FEDERAL HWY, STE 110             128 ACADEMY LANE                          DAWN GOODMAN
BOCA RATON, FL 33432                    128 ACADEMY LANE                          1330 S. FORT HARRISON AVE.
                                        UPPER DARBY, PA 19082                     CLEARWATER, FL 33756




ENT FACIAL SURGERY CENTER               ENT SPECIALISTS / DR. SWENSON             ENTERPRISE TOOL & DESIGN
MARIA BORREGO                           BRITTANY SHIPLEY                          5911 HILLCREST DRIVE
1351 E SPRUCE AVENUE                    4000 S 700 E, SUITE 10                    ALLENTON, WI 53002
SUITE 120                               SALT LAKE CITY, UT 84107
FRESNO, CA 93720



ENTERPRISE VISION TECHNOLOGIES INC      ENTERPRISE                                ENTISYS360
201 WILSHIRE BLVD SUITE A-9             5923 HILLCREST DR                         1855 GATEWAY BLVD STE 730
SANTA MONICA, CA 90401                  ALLENTON, WI 53002                        CONCORD, CA 94520




ENVIRO-SAFE CONSULTING, LLC             ENVOY, INC                                EPHRAIM MCDOWELL REGIONAL HOSPITAL
W130 N10500 WASHINGTON DR.              410 TOWNSEND STREET, SUITE 410 (FLOOR     TERI PIKE
GERMANTOWN, WI 53022                    4)                                        217 S. 3RD STREET
                                        SAN FRANCISCO, CA 94107                   DANVILLE, KY 40422




EPIMED                                  EPIPHANY DERMATOLOGY                      EPROMOS PROMOTIONAL PRODUCTS LLC
141 SAL LANDRIO DRIVE                   PAT PEACOCK                               113 5TH AVE. S.
JOHNSTOWN, NY 12095                     6601 VAUGHT RANCH RD, STE 200             SAINT CLOUD, MN 56301
                                        AUSTIN, TX 78730-2309




EQUILIBAR, LLC                          EQUIPNET AUCTIONS INC.                    ERENBURG, IRINA
320 RUTLEDGE ROAD                       5 DAN ROAD                                ADDRESS ON FILE
FLETCHER, NC 28732                      CANTON, MA 02021




ERIC ASHBY, M.D.                        ERIC BACHELOR, M.D.                       ERIC HU, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




ERIC MARIOTTI, M.D.                     ERIC OKAMOTO, M.D                         ERIC SADEH, M.D
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




ERIC T. EMERSON                         ERIC WRIGHT, MD                           ERIC WRIGHT, MD
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE
[NAME REDACTED]         Case 24-10245-JTD    Doc 219
                                      [NAME REDACTED]          Filed 03/28/24   Page 62Mof
                                                                                  ERICA    226
                                                                                        BROOKS
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




[NAME REDACTED]                        ERICKSON COSMETIC DERMATOLOGY,             ERICKSON DERMATOLOGY
ADDRESS ON FILE                        LASER,                                     737 N. MICHIGAN AVENUE
                                       & MEDSPA                                   CHICAGO, IL 60611
                                       LINDY HELMS
                                       737 N. MICHIGAN AVE, SUITE 905
                                       CHICAGO, IL 60611


[NAME REDACTED]                        [NAME REDACTED]                            [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                            [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                            [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




ERLANGER HEALTH SYSTEM                 ERNST & YOUNG US LLP                       ERP-PROS
MARK HUMPHREY                          WELLS FARGO BANK, NA                       ADDRESS ON FILE
975 E. 3RD STREET                      PO BOX 846793
CHATTANOOGA, TN 37403                  LOS ANGELES, CA 90084-6793




ESPATIAL INC                           ESQUIVEL, JASON                            ESSENTIA HEALTH DBA INNONS HEALTH
2201 COOPERATIVE WAY, STE 600          ADDRESS ON FILE                            COLLEEN FETTIG
HERNDON, VA 20171                                                                 PO BOX 6061
                                                                                  FARGO, ND 58103




ESSENTIA HEALTH ST. MARYS              ESTETICA INSTITUTE                         ETERNA THERAPEUTICS INC
ATTN: ACCOUNTS PAYABLE                 LOUISE MACHT                               1035 CAMBRIDGE ST, STE 18A
1027 WASHINGTON AVE                    2865 PGA BLVD                              CAMBRIDGE, MA 2141
DETROIT LAKES, MN 56501                PALM BEACH GARDENS, FL 33410




ETHAN LARSON, M.D.                     EUGENE C. HSIAO, M.D.                      EUGENE K. KIM, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




[NAME REDACTED]                        EUROFINS EAG MATERIALS SCIENCE, LLC        EUROTRAINING SRL
ADDRESS ON FILE                        810 KIFER ROAD                             VIA B. BOSCO 57/9
                                       SUNNYVALE, CA 94086                        GENOVA 16121
                                                                                  ITALY
EVAN BEALE, MD           Case 24-10245-JTD    Doc 219
                                       [NAME REDACTED]        Filed 03/28/24   Page 63S. of
                                                                                 EVAN       226 M.D.
                                                                                         SOROKIN,
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




EVAN SOROKIN M.D.                       EVANSVILLE SURGERY CENTER                 EVE VENEZIA
ADDRESS ON FILE                         MARTA CONDICT                             ADDRESS ON FILE
                                        PO BOX 2185
                                        EVANSVILLE, IN 47728




[NAME REDACTED]                         EVERGREEN HEALTH                          EVERSTREAM SOLUTIONS LLC
ADDRESS ON FILE                         ATTN: ACCOUNTS PAYABLE                    1228 EUCLID AVENUE STE 250
                                        12040 NE 128TH ST                         CLEVELAND, OH 44115
                                        KIRKLAND, WA 98034




EVERSTREAM SOLUTIONS LLC                EVOKING INSIGHTS LLC                      EVOLUTION EVENT SOLUTIONS
PO BOX 932549                           1106 SECOND STREET 363                    1253 MARTIN STREET
CLEVELAND, OH 44193                     ENCINITAS, CA 92024                       NASHVILLE, TN 37203




EVOLUTION MD                            EVOLVEMKD                                 EXACT AUTOMATION
SANDRA ACERO                            49 WEST 24TH STREET                       9625 S.54TH STREET
12709 MIRAMAR PARKWAY                   7TH FLOOR                                 FRANKLIN, WI 53132
MIRAMAR, FL 33027                       NEW YORK, NY 10010




EXCEL PACKAGING SYSTEMS, INC.           EXCEL TOOL & FABRICATION, INC             EXCEL4BUSINESS, INC
11799 JERSEY BLVD                       10100 S. 54TH STREET                      8 ORCHARD ST
RANCHO CUCAMONGA, CA 91730              FRANKLIN, WI 53132                        AUBURN, NY 13021




EXCELA HEALTH                           EXFLUENTIAL INC                           EXPERIEN GROUP, LLC
ATTN: ACCOUNTS PAYABLE                  27442 PORTOLA PARKWAY SUITE 175           224 AIRPORT PKWY
134 INDUSTRIAL PARK ROAD, SUITE 1600    FOOTHILL RANCH, CA 92610                  SUITE 250
GREENSBURG, PA 15601                                                              SAN JOSE, CA 95110




EXPONENT, INC                           EXTENSION, INC                            EYE CARE PHYSICIANS & SURGEONS
PO BOX 200283                           10100 W.INNOVATION DR. ST.190             HEATHER PHIEMS
DEPT. 002                               MILWAUKEE, WI 53226                       1309 LIBERTY STREET SE
DALLAS, TX 75320-0283                                                             SALEM, OR 97302




F. BENNETT PEARCE, MD                   F. BRAD MOZAFFARI, MD                     F. LEIGH PHILLIPS, III, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




FACEBOOK, INC                           FACEOLOGYMD                               FACES PLUS
ATTN: ACCOUNTS RECEIVABLE               BETH BROWNE                               ELYSE KLEIT
15161 COLLECTIONS CENTER DRIVE          1401 AVOCADO AVE, SUITE 610               4510 EXECUITVE DRIVE
CHICAGO, IL 60693                       NEWPORT BEACH, CA 92660                   SUITE 200
                                                                                  SAN DIEGO, CA 92121
FACES PLUS              Case 24-10245-JTD    DocINC.
                                      FACESPLUS,  219         Filed 03/28/24   Page 64 AESTHETIC
                                                                                 FACIAL of 226 CONCEPTS
ELYSE KLEIT                            STEVEN R COHEN                            KIM GANGNES
4510 EXECUTIVE DRIVE                   4510 EXECUTIVE DRIVE, STE 200             665 CAMINO DE LOS MARES, STE 100A
SUITE 200                              SAN DIEGO, CA 92121                       SAN CLEMENTE, CA 92673
SAN DIEGO, CA 92121



FACIAL PLASTIC SURGERY INSTITUTE       FADEM, SHANE                              FADI CHAHIN, MD, INC
MAGGIE DALLMANN                        ADDRESS ON FILE                           ADDRESS ON FILE
521 W. SOUTHLAKE BLVD, SUITE 175
SOUTHLAKE, TX 76092




FADI CHAHIN, MD, INC                   FADI CONSTANTINE, M.D.                    FADY SINNO, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




FAIN, HARRISON                         FAIRFIELD MEDICAL CENTER                  FAIRMONT SAN JOSE
ADDRESS ON FILE                        KATY STORTS                               SAN JOSE FAIRMONT LESSEE, LLC.
                                       401 N EWING ST                            170 SOUTH MARKET STREET
                                       LANCASTER, OH 43130                       SAN JOSE, CA 95113




FAIRVIEW BUSINESS ASSOCIATES, LLC      FAIRVIEW BUSINESS ASSOCIATES, LLC         FAIRVIEW BUSINESS ASSOCIATES, LLC
430 S FAIRVIEW AVE.                    FAIRVIEW BUSINESS CENTER, L.P.            FAIRVIEW BUSINESS CENTER, L.P.
GOLETA, CA 93117                       C/O THE TOWBES GROUP, INC.                P.O. BOX 20130
                                       21 E. VICTORIA STREET, SUITE 200          SANTA BARBARA, CA 93120
                                       SANTA BARBARA, CA 93101



FAIRVIEW HEALTH SERVICES               FAIRWAY MEDICAL CENTER                    FAITH REGIONAL HEALTH SERVICES
SHAWN ANDERSON                         LAURIE GROB                               BARB WATTS
PO BOX 59318                           67252 INDUSTRY LANE                       1500 KOENIGSTEIN AVE
MINNEAPOLIS, MN 55459                  COVINGTON, LA 70433                       NORFOLK, NE 68701




FAITH REGIONAL SURGERY CENTER          FAITH REGIONAL SURGERY CENTER             FALL RIVER PLASTIC SURGERY
ROBIN ERWIN                            SHERYL HADDOCK                            LAYLA LEGER
301 N. 27TH STREET, SUITE 3            2701 W NORFOLK AVE, STE 101               3RD FLOOR
NORFOLK, NE 68701                      NORFOLK, NE 68701-4457                    10 NORTH MAIN STREET
                                                                                 FALL RIVER, MA 02720



FALVEY INSURANCE GROUP                 FANG ZHIJUN                               FARAH SHAH, MD
66 WHITECAP DR                         ADDRESS ON FILE                           ADDRESS ON FILE
NORTH KINGSTOWN, RI 2852




FARBOD ESMAILIAN, M.D                  FARES SAMRA                               FARKAS PLASTIC SURGERY, PC
ADDRESS ON FILE                        ADDRESS ON FILE                           ANGIE RHODAN
                                                                                 191 DEVON ROAD
                                                                                 TENAFLY, NJ 07670




FARZAD R. NAHAI, MD.                   FARZAD R. NAHAI, MD.                      FASB
ADDRESS ON FILE                        ADDRESS ON FILE                           PO BOX 418272
                                                                                 BOSTON, MA 02241-8272
FASTPATH SOLUTIONS LLC Case 24-10245-JTD    Doc
                                     FAULKNER,    219
                                               JADE        Filed 03/28/24     Page 65 JOE
                                                                                FAVRE, of 226
150 N. COLLEGE ST                    ADDRESS ON FILE                            ADDRESS ON FILE
SUITE 2400
CHARLOTTE, NC 28202




FAWCETT MEMORIAL HOSPITAL             FCPP KELIANG XIAO, MD                     FEDERAL EXPRESS CORPORATION
SCOTT LAFLAIR                         ADDRESS ON FILE                           ATTN: ACCOUNTS RECEIVABLE
21298 OLEAN BLVD                                                                PO BOX 7221
PORT CHARLOTTE, FL 33952                                                        PASADENA, CA




FEDEX CUSTOM CRITICAL                 FEDEX FREIGHT INC                         FEDEX FREIGHT
P.O. BOX 645123                       DEPT LA BOX 21415                         DEPT LA BOX 21415
PITTSBURGH, PA 15264-5123             PASADENA, CA                              PASADENA, CA 91185




FEDEX GROUND PACKAGE SYSTEM INC       FEDEX TRADE NETWORKS                      FEDEX
ATTN: ACCOUNTS RECEIVABLE             PO BOX 842206                             ATTN: ACCOUNTS RECEIVABLE
PO BOX 7221                           BOSTON, MA 02284                          PO BOX 7221
PASADENA, CA                                                                    PASADENA, CA 91109-7321




FEDEX                                 FEEL BEAUTIFUL PLASTIC SURGERY            FEGAN SCOTT LLC
PO BOX 7221                           JOANNE LAVERSON                           ELIZABETH A. FEGAN
PASADENA, CA 91109-7321               11199 SORRENTO VALLEY ROAD, SUITE 202     150 S. WACKER DR., 24TH FLOOR
                                      SAN DIEGO, CA 92121                       CHICAGO, IL 60606




FEGAN SCOTT LLC                       FEINER PLASTIC SURGERY                    FELDMAR MEDICAL CORP.
MELISSA RYAN CLARK                    FALLON WISE                               DANNY X
305 BROADWAY, 7TH FLOOR               2020 OAKLEY SEAVER DR, STE 1              8907 WILSHIRE BLVD, SUITE 100
NEW YORK, NY 10007                    CLERMONT, FL 34711                        BEVERY HILLS, CA 90211




FELLE, TINA                           FEMI JONES                                FERBEYRE ECHTERLING, JESSICA
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




FERRELL DUNCAN CLINIC                 FIDELITY CLEAR CAN/CDS (5040)             FINER YOU, PA
AMANDA WOODMAN                        ATT LINDA SARGEANT/PROXY MGR              MARIA GERZENSHTEIN
3555 S NATIONAL                       BELL TRINITY SQ, SOUTH TOWER              4429 FLORIDA NATIONAL DRIVE
SPRINGFIELD, MO 65807                 483 BAY ST., STE 200                      LAKELAND, FL 33813
                                      TORONTO, ON M5G 1P5 CANADA



FINN PLASTIC SURGERY                  FINRA                                     FIRESTONE, MATTHEW
SHANNON JONES                         1735 K STREET, NW                         ADDRESS ON FILE
1390 ENVIRON WAY                      WASHINGTON, DC 20006
CHAPEL HILL, NC 27517




FIRST HEALTH OF THE CAROLINAS, INC.   FIRST INSURANCE FUNDING                   First Insurance Funding
CHRISTY MANESS                        450 SKOKIE BLVD, STE 1000                 450 Skokie Blvd., Ste 1000
PO BOX 3000                           NORTHBROOK, IL                            Northbrook, IL 60062-7917
PINEHURST, NC 28374
FIRST INSURANCE FUNDING Case 24-10245-JTD     Doc HOSPITAL
                                      FIRST NOBILIS 219 Filed 03/28/24       Page  66REPUBLIC
                                                                               FIRST  of 226
PO BOX 7000                           ROSE REYES                                FRANK SHIPMAN
CAROL STREAM, IL 60197-7000           4801 BISSONETT STREET                     1280 4TH AVENUE
                                      BELLAIRE, TX 77401                        SAN DIEGO, CA 92101




FIRST-CITIZENS BANK & TRUST CO        FISHER SCIENTIFIC COMPANY, LLC            FISHER, MARY
75 N FAIR OAKS AVE                    300 INDUSTRY DRIVE                        ADDRESS ON FILE
PASADENA, CA 91103                    PITTSBURGH, PA 15275




FIVE9 INC                             [NAME REDACTED]                           FLORENCE MUSSAT, M.D.
FIVE9 FILE 2361                       ADDRESS ON FILE                           ADDRESS ON FILE
1801 W OLYMPIC BLVD
PASADENA, CA 91199




[NAME REDACTED]                       FLORES, FABIAN                            FLORES, LIZBETH
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




FLORES, MIGUEL                        FLORIDA AGENCY FOR HEALTH CARE ADMIN      FLORIDA COASTAL PLASTIC SURGERY
ADDRESS ON FILE                       2727 MAHAN DRIVE                          MYA COPELAND
                                      TALLAHASSE, FL 32308                      5105 MANATEE AVE W, SUITE 19
                                                                                BRADENTON, FL 34209




FLORIDA COSMETIC SURGERY CENTER       FLORIDA DEPT OF LABOR                     FLORIDA DEPT OF REVENUE
JASON N/A                             DEPT OF ECONOMIC OPPORTUNITY              5050 W TENNESSEE ST
201 MAITLAND AVE, SUITE 1017          107 EAST MADISON ST                       TALLAHASSEE, FL 32399-0100
ALTAMONTE SPRINGS, FL 32701           CALDWELL BUILDING
                                      TALLAHASSEE, FL 32399



FLORIDA DEPT OF STATE                 FLORIDA DERMATOLOGY & PLASTIC             FLORIDA HOSPITAL WESLEY CHAPEL
AMENDMENT SECTION                     SURGERY                                   OKESHA X
DIVISION OF CORPORATIONS              KERRY PARKER                              902 INSPIRATION AVE
TALLAHASSEE, FL 32314                 6559 N. WICKHAM RD., SUITE C-105          ALTAMONTE SPRINGS, FL 32714
                                      MELBOURNE, FL 32940



FLORIDA HOSPITAL WESLEY CHAPEL        FLORIDA HOSPITAL                          FLORIDA OFFICE OF FINANCIAL REGULATION
SHARON DAUGHTON                       ATTN: ACCOUNTS PAYABLE                    200 E. GAINES ST
PO BOX 290197                         601 E. ROLLINS STREET                     TALLAHASSEE, FL 32399
TAMPA, FL 33687                       ORLANDO, FL 32803




FLORIDA SOCIETY OF PLASTIC SURGEONS   FLORIDA SURGERY CENTER                    FLOWERS HOSPITAL
ATTN: SUSAN RUSSELL                   ATTN: ACCOUNTS PAYABLE                    JENNIFER PEREZ
6300 SAGEWOOD DR, STE H255            180 BOSTON AVE                            PO BOX 6907
PARK CITY, UT 84098                   ALTAMONTE SPRINGS, FL 32701               DOTHAN, AL 36302




FLOWERS HOSPITAL                      FLUID NETWORKS                            FLUSHING HOSPITAL MEDICAL CENTER
REBECCA SISSON                        80 WOOD ROAD                              JOANN MACCHIARELLA
ATTN: ACCOUNTS PAYABLE                SUITE 308                                 4500 PARSONS BLVD.
PO BOX 6907                           CAMARILLO, CA 93010                       FLUSHING, NY 11355
DOTHAN, AL 36302
FMOL HEALTH SYSTEM         Case 24-10245-JTD     Doc SYSTEM
                                         FMOL HEALTH  219 Filed 03/28/24   Page 67 of 226
                                                                             FNTECH
APRIL EFFERSON                           ATTN: AP                            3000 W SEGERSTROM AVE
1411 AIRLINE HWY, STE. 129               PO BOX 83880                        SANTA ANA, CA 92704
BATON ROUGE, LA 70817                    BATON ROUGE, LA 70884




FOLIO INVESTMENTS, INC. (0728)        FOND DU LAC SURGERY CENTER             FOND DU LAC SURGERY CENTER
ATT ASHLEY THEOBALD/PROXY MGR         ATTN: ACCOUNTS RECEIVABLE              TAMMY WIESE
8180 GREENSBORO DR                    PO BOX 411573                          421 CAMELOT DR
8TH FL                                ST. LOUIS, MO 63141-3573               FOND DU LAC, WI 54935
MCLEAN, VA 22102



FORD OBRIEN LANDY LLP                 FORD PLASTIC & RECON SURGERY           FORD, TRACE
275 MADISON AVENUE 24TH FLOOR         MELISSA STALTER                        ADDRESS ON FILE
NEW YORK, NY 10016                    4864 BLUEBONNET BLVD, STE A
                                      BATON ROUGE, LA 70809-9666




FOREFRONT MANAGEMENT, LLC             FOREFRONT MANAGEMENT, LLC              FOREFRONT MANAGEMENT, LLC
ATTN: ACCOUNTS PAYABLE                KIM LEGALLEE                           PATTY LAW
801 YORK ST                           32000 TELEGRAPH ROAD                   1000 STONEWOOD DRIVE, SUITE 200
MANITOWOC, WI 54220                   BINGHAM FARMS, MI 48025                WEXFORD, PA 150990




FOREFRONT MANAGEMENT, LLC             FOREMAN, BRANDY                        FORMLABS INC
TANYA ENFORS                          ADDRESS ON FILE                        FORMLABS INC DEPARTMENT 6730
801 YORK STREET                                                              PO BOX 4110
MANITOWOC, WI 54220                                                          WOBURN, MA 01888




FORMLABS INC                          FORMULATED SOLUTIONS, LLC              FORMULATED SOLUTIONS, LLC
FORMLABS INC DEPARTMENT 6730          11775 STARKEY ROAD                     PETER FURMAN
SUITE 201                             LARGO, FL 33773                        11775 STARKEY ROAD
WOBURN, MA 01888                                                             LARGO, FL 33773




FORREST GENERAL HOSPITAL              FORREST P. WALL, M.D., FACS            FORSYTH PLASTIC SURGERY
ATTN: ACCOUNTS PAYABLE                ADDRESS ON FILE                        ROBIN AMOS
PO BOX 17649                                                                 2901 MAPLEWOOD AVE
HATTIESBURG, MS 39404                                                        WINSTON-SALEM, NC 27103




FORT SANDERS REGIONAL MEDICAL         FORT SUTTER SURGERY CENTER             FORT WORTH PLASTIC SURGERY
CENTER                                JULIE GAIDUCHIK                        LAUREN DUKE
ATTN: ACCOUNTS PAYABLE                PO BOX 168044                          800 12TH AVENUE
PO BOX 22790                          SACRAMENTO, CA 95816                   SUITE 100
KNOXVILLE, TN 37933                                                          FORT WORTH, TX 76104



FORT WORTH SURGERY CENTER             FOSTER, LAURIE                         FOUNDATION SURGERY CENTER OF FORT
STORMY THOMAS                         ADDRESS ON FILE                        WA
2001 ROSEDALE STREET                                                         LYNNE PRIOLE
FORT WORTH, TX 76104                                                         467 PENNSYLVANIA AVE, SUITE 108
                                                                             FORT WASHINGTON, PA 19034



FOUNDERS SURGERY CENTER LLC           FOUNTAIN VALLEY REGIONAL HOSPITAL      FOUNTAS, TOM
DEBBIE KIEFER                         ATTN: ACCOUNTS PAYABLE                 ADDRESS ON FILE
1961 FOUNDERS CIR                     PO BOX 931
WICHITA, KS 67206                     CHESTERTON, IN 46304
                     Case 24-10245-JTD
FOUR CORNERS AMBULATORY                    Doc 219
                                   FOUST, NICOLE        Filed 03/28/24   Page
                                                                           FOX68 of 226
                                                                              VALLEY PLASTIC SURGERY
SURGERY CNTR, LLC                  ADDRESS ON FILE                         DEB DEMPSEY
VIVAN VALDEZ                                                               2400 WITZEL AVENUE
2300 E. 30TH, BLDG A                                                       SUITE A
FARMINGTON, NM 87401                                                       OSHKOSH, WI 54904



[NAME REDACTED]                    FRANCHISE TAX BOARD                     FRANCIS A. CABAN, M.D.
ADDRESS ON FILE                    PO BOX 942857                           ADDRESS ON FILE
                                   SACRAMENTO, CA 94257-0551




FRANCISCAN PHYSICIANS NETWORK      FRANCISCO SANCHEZ-NAVARRO, MD           FRANK (CHIP) EICHELBERGER
STACY NICODEMUS                    ADDRESS ON FILE                         ADDRESS ON FILE
PO BOX 310, DEPT 2690
MISHAWAKA, IN 46546




FRANK BACON MACHINERY SALES CO     FRANK BARONE MD INC                     FRANK CAMPANILE, M.D
21251 RYAN ROAD                    ADDRESS ON FILE                         ADDRESS ON FILE
WARREN, MI 48091




FRANK E. BARONE, M.D.              FRANK FANG, MD                          FRANK J. FERRARO, M.D.
ADDRESS ON FILE                    ADDRESS ON FILE                         ADDRESS ON FILE




FRANK LISTA                        FRANKLIN OFFICE PARTNERS, LLC           FRANZISKA HUETTNER, M.D.
ADDRESS ON FILE                    707 SKOKIE BLVD. SUITE 100              ADDRESS ON FILE
                                   NORTHBROOK, IL 60062




FREDERC H. CORBIN, MD.             FREDERICK A. COVILLE, M.D.              FREDERICK SAILES, MD
ADDRESS ON FILE                    ADDRESS ON FILE                         ADDRESS ON FILE




FREED PLASTIC SURGERY              FREEMAN AUDIO VISUAL, INC               FREEMAN PLASTIC SURGERY
NANCY FULLMER                      PO BOX 660613                           BRETT MAXFIELD
3180 BELL ROAD                     ATTN: DAPHENE MAYFIELD                  1855 MADISON AVE. STE. A
SUITE 200                          DALLAS, TX 75266                        IDAHO FALLS, ID 83404
AUBURN, CA 95603



FREMONT MEDICAL LLC                FRIEDMAN, FORMAN, & ASSOC.              FRISCO MEDICAL CENTER
9250 N 3RD ST SUITE 1003           ALANA TALAVERA                          JULIE HUNTER
PHOENIX, AZ 85020                  11210 OLD GEORGETOWN ROAD               ATTN: ACCOUNTS PAYABLE
                                   NORTH BETHESDA, MD 20851                5601 WARREN PARKWAY
                                                                           FRISCO, TX 75034-4069



FRISCO PLASTIC SURGERY             FROEDTERT HEALTH                        FROEDTERT SOUTH
JENNY HOUGH                        MICHELE STINGL                          ATTN: ACCOUNTS PAYABLE
6898 LEBANON RD, SUITE 102         N74 W12501 LEATHERWOOD STE 110          6308 8TH AVE
FRISCO, TX 75034                   MENOMONEE FALLS, WI 53051               KENOSHA, WI 53143
                      Case 24-10245-JTD
FRONTIER COMMUNICATIONS             FROSCH Doc    219
                                             TRAVEL      Filed 03/28/24
                                                     GROUP                Page 69MEDICAL
                                                                            FROST of 226 SUPPLIES LLC
PO BOX 740407                       18650 MACARTHUR BLVD, SUITE 100          514 NAVY COVE BLVD
CINCINNATI, OH 45274                IRVINE, CA 92612                         GULF BREEZE, FL 32561




FROST, PARKER                          FRPS BREAST CARE                      FRUNCEK, ROBERT
ADDRESS ON FILE                        JILL DOMINISSE                        ADDRESS ON FILE
                                       301 N. 27TH STREET, SUITE 20
                                       NORFOLK, NE 68701




FRYE REGIONAL MEDICAL CENTER           FSP CONSULTING                        FTI SERVICES INC
TAMMY TOWNSEND                         12212 RANCHWOOD RD                    130 ROBIN HILL ROAD
PO BOX 249                             NORTH TUSTIN, CA 92705                SUITE 200
HICKORY, NC 28603                                                            GOLETA, CA 93117




FULLERTON SURGICAL CENTER, LP          FURE INDUSTRY CO, LIMITED             FUSION MARKETING LLC
KIKA COCHRAN                           NO. 1605, BUILDING A BANTIAN          201 SOUTH MAIN STREET
2240 N. HARBOR BLVD, SUITE 100         INTL CENTER, NO 5                     LAMBERTVILLE, NJ 08530
FULLERTON, CA 92835                    SHENZHEN, GUANGDONG
                                       CHINA



FUTU CLEARING INC. (4272)              G. ANTHONY SLAGEL, M.D.               G. HUNT NEUROHR, M.D.
ATT COLLETE REX                        ADDRESS ON FILE                       ADDRESS ON FILE
12750 MERIT DR, STE 475
DALLAS, TX 75251




GA DEPT OF HR -OFFICES OF REGULATORY   GABRIEL KIND MD & DAVID CHANG MD      GABRIELLE DAVIS, MD
SER                                    ADDRESS ON FILE                       ADDRESS ON FILE
2 PEACHTREE ST, NW
6TH FL
ATLANTA, GA 30303



[NAME REDACTED]                        GADZALINSKI, LORIE                    [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                       ADDRESS ON FILE




GAJDZIK, CHRISTINE                     GAKFS CONSULTING LLC                  GALLANT, CHELSEA
ADDRESS ON FILE                        69 CHURCH STREET                      ADDRESS ON FILE
                                       WEST NEWBURY, MA 01985




GALLATIN PLASTIC SURGERY               GAMBHIR M.D. COSMETIC MEDICI          GARCIA, TIFFANY
MEREDITH MCDANIEL                      668 WEST LINCOLN HIGHWAY              ADDRESS ON FILE
PO BOX 10095                           EXTON, PA 19341
BOZEMAN, MT 59719




GARCIA-GARCIA, ANGELINA                GARDEN PLASTIC SURGERY & MED          GARDEN, STEPHANIE
ADDRESS ON FILE                        AESTHETICS                            ADDRESS ON FILE
                                       SANJAY VAZ
                                       131 E AMES CT
                                       PLAINVIEW, NY 11803
GARFIELD MEDICAL CENTERCase 24-10245-JTD
                                     GARRETTDoc  219
                                             WIRTH, M.D. Filed 03/28/24      Page 70 ofMADELINE
                                                                               GARRETT, 226
AUDREY LAGUNA                        ADDRESS ON FILE                           ADDRESS ON FILE
525 N GARFIELD AVE
MONTEREY PARK, CA 91754




GARTH FISHER, M.D.                    GARY ALTER, M.D.                         GARY C. HILL, MD
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




GARY DONATH, M.D.                     GARY DONATH, M.D.                        GARY E RUSSOLILLO, MD
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




GARY HORNDESKI, M.D.                  GARY ROSENBAUM, M.D                      GAULTNEY, ASHLEIGH
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




GAURAV BHARTI                         GAWLEY PLASTIC SURGERY                   [NAME REDACTED]
ADDRESS ON FILE                       MISTI SWINK                              ADDRESS ON FILE
                                      8913 E BELL ROAD, SUITE 101A
                                      SCOTTSDALE, AZ 85260




GAYOSO PLASTIC SURGERY                GB PLASTIC SURGERY                       GB PLASTIC SURGERY
BECKY HILL                            LYNN DAVIS                               MELANIE NEVERLY
1515 22ND AVE N                       400 W BRAMBLETON AVE                     2829 SHORE DRIVE
SAINT PETERSBURG, FL 33704            SUITE 130                                SUITE 200
                                      NORFOLK, VA 23510                        VIRGINIA BEACH, VA 23451



GCI HEALTH                            [NAME REDACTED]                          GEIGER, STEVEN
P.O. BOX 101880                       ADDRESS ON FILE                          ADDRESS ON FILE
ATLANTA, GA 30392




[NAME REDACTED]                       GENERAL HOSPITAL CORPORATION, THE        GENERAL HOSPITAL CORPORATION, THE
ADDRESS ON FILE                       D/B/A MASSACHUSETTS GENERAL HOSPITAL     D/B/A MASSACHUSETTS GENERAL HOSPITAL
                                      215 1ST ST, STE 500                      55 FRUIT ST
                                      CAMBRIDGE, MA 2142                       BOSTON, MA 2114




GENESIS HEALTH - ZANESVILLE           GENESIS HEALTH SYSTEM                    GENESIS PLASTIC SURGERY
JUDY PYLE                             DAWN BURKE                               TRACY PANCHAL
2951 MAPLE AVE                        1227 E. RUSHOLME STREET                  2505 S KELLY AVE
ZANESVILLE, OH 43701-1406             DAVENPORT, IA 52803                      EDMOND, OK 73013




[NAME REDACTED]                       GEOFFREY E. LEBER, M.D.                  GEOFFREY R. KEYES, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE
GEORGE H. SANDERS, M.D. Case 24-10245-JTD
                                      GEORGE Doc   219 Filed
                                               WASHINGTON       03/28/24
                                                          UNIV HOSP           Page 71 of 226
                                                                                GEORGEANNA HUANG, MD
ADDRESS ON FILE                       JUANITA BOZEMAN                           ADDRESS ON FILE
                                      900 23RD ST NW
                                      WASHINGTON, DC 20037




GEORGEANNA J. HUANG, M.D.              GEORGETOWN DERMATOLOGY                   GEORGETOWN DERMATOLOGY
ADDRESS ON FILE                        AVERY BAYARD                             CATHERINE COUCETT-LANTZ
                                       3301 NEW MEXICO AVENUE NW, SUITE 210     4019 HIGHWOOD COURT NW
                                       WASHINGTON, DC 20016                     WASHINGTON, DC 20007




GEORGI ZLATCOV DBA EV SERVICES INC     [NAME REDACTED]                          GEORGIA DEPARTMENT OF COMMUNITY
11620 N EUGENE AVE                     ADDRESS ON FILE                          HEALTH
MEQUON, WI 53092                                                                2 PEACHTREE STREET, NW
                                                                                ATLANTA, GA 30303




GEORGIA DEPARTMENT OF PUBLIC HEALTH    GEORGIA DEPARTMENT OF REVENUE            GEORGIA DEPARTMENT OF REVENUE
2 PEACHTREE STREET, NW                 PROCESSING CENTER                        PROCESSING CENTER
15TH FLOOR                             P.O. BOX 740320                          PO BOX 740239
ATLANTA, GA 30303                      ATLANTA, GA 30374                        ATLANTA, GA 30374-0239




GEORGIA DEPT OF LABOR                  GEORGIA DEPT OF REVENUE                  GEORGIA DERMATOLOGY CENTER
148 ANDREW YOUNG                       1800 CENTURY CENTER BLVD., N.E.          RUTH LIBO-ON
INTERNATIONAL BLVD NE                  STE 12000                                1505 NORTHSIDE BLVD, SUITE 1500
ATLANTA, GA 30303                      ATLANTA, GA 30345-3205                   CUMMING, GA 30041




GEORGIA PLAST & RECON SURGERY PC       GEORGIA PLAST & RECON SURGERY PC         GEORGIA PLASTIC SURGERY
AGGIE OKIBEDI                          ERICA JACKSON                            KERRY QUIGG
2285 ASQUITH AVE, SUITE 200            PO BOX 388                               ONE GLENLAKE PKWY, SUITE 950
MARIETTA, GA 30008                     SMYRNA, GA 30081                         ATLANTA, GA 30328




[NAME REDACTED]                        GERSZEWSKI, JERE                         GHERE PLASTIC AND RECONSTRUCTIVE
ADDRESS ON FILE                        ADDRESS ON FILE                          SURGERY
                                                                                COREY SMITH
                                                                                6717 PERKINS ROAD
                                                                                BATON ROUGE, LA 70808



GI ETS SANTA CLARA WB LLC              GI ETS SANTA CLARA WB LLC                GI PARTNERS ETS FUND REIT AGGREGATOR
188 THE EMBARCADERO SUITE 700          C/O INTERTRUST CORPORATE SERVICES        LP
SAN FRANCISCO, CA 94105                DELAWARE LTD.                            CATHY CONNER
                                       200 BELLEVUE PARKWAY, SUITE 210          GI ETS SANTA CLARA 2805 LLC
                                       WILMINGTON, DE 19809                     FOUR EMBARCADERO CENTER, SUITE 3200
                                                                                SAN FRANCISCO, CA 94111


GI PARTNERS ETS FUND REIT AGGREGATOR   GIANCARLO MCEVENUE, MD                   GIBBINS, KELLI
LP                                     ADDRESS ON FILE                          ADDRESS ON FILE
GI ETS SANTA CLARA 2805 LLC
FOUR EMBARCADERO CENTER, SUITE 3200
SAN FRANCISCO, CA 94111



GIFTBIT, CORP                          GILBOY, MELISSA                          GILL PLASTIC SURGERY
1209 ORANGE STREET                     ADDRESS ON FILE                          MOLLY NICHOLS
WILMINGTON, DE 19801                                                            121 VISION PARK BLVD, 100
                                                                                THE WOODLANDS, TX 77384-3001
GILL, SAJID             Case 24-10245-JTD     Doc
                                      GILLESPIE    219& RECON
                                                PLASTIC  FiledSURGERY
                                                               03/28/24    Page 72 of GROUP
                                                                             GILMARTIN 226 LLC
ADDRESS ON FILE                        LISA MUNDY                            DEPT LA 22521
                                       4001 KENNETT PIKE, STE 234            PASADENA, CA 91185
                                       WILMINGTON, DE 19807-2029




[NAME REDACTED]                        [NAME REDACTED]                       GIOVANNA GHAFOORI, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                       ADDRESS ON FILE




GLEN ECHO SURGERY CENTER, LLC          GLENDALE ADVENTIST MEDICAL CENTER     GLENDALE ADVENTIST MEDICAL CENTER
FAITH MOON                             INVOICING                             NAYRA SARKISYAN
5550 FRIENDSHIP BLVD, SUITE 100        PO BOX 619085                         1509 WILSON TERRACE
CHEVY CHASE, MD 20815                  ROSEVILLE, CA 95661                   GLENDALE, CA 91206




GLENDALE LASER AND DERMATOLOGY         GLENN BROOKS, MD                      GLENN W. JELKS, M.D.
ASSOC                                  ADDRESS ON FILE                       ADDRESS ON FILE
MARIA ALVAREZ
1510 S. CENTRAL AVENUE, SUITE 470
GLENDALE, CA 91204



GLENS FALLS HOSPITAL                   GLICK SKIN INSTITUTE                  GLOBAL EQUIPMENT COMPANY INC
CAROL SALONE                           TOMEKA FLEMING                        DBA GLOBAL INDUSTRIAL
100 PARK ST                            3275 N. STATE ROAD 7                  29833 NETWORK PLACE
GLENS FALLS, NY 12801                  MARGATE, FL 33063                     CHICAGO, IL 60673-1298




GLOBALVIEW ADVISORS CORPORATION        GLORIA A. DE OLARTE, M.D.             GLORIA DUDA MD, PC
19800 MACARTHUR BOULEVARD              ADDRESS ON FILE                       ADDRESS ON FILE
SUITE 1060
IRVINE, CA 92612




GNAKOUAFRE, ADJOVI                     GO SOLUTIONS, LLC                     GOBIOMED, INC
ADDRESS ON FILE                        7040 AVENIDA ENCINAS                  5119 HIGHLAND ROAD
                                       SUITE 104                             SUITE 214
                                       CARLSBAD, CA 92011                    WATERFORD, MI 48327




GODWIN PLASTIC SURGERY                 GOLDEN HILLS PLASTIC SURGERY          GOLDEN STATE DERMATOLOGY
JOHN CHRISTOPS                         SHEILA PINION                         ALEXIS OBRIEN
301 OXFORD VALLEY ROAD, SUITE 903      100 N WIGET LN, STE 100               355 LENNON LANE, SUITE 235
YARDLEY, PA 19067                      WALNUT CREEK, CA 94598-5909           WALNUT CREEK, CA 94598




GOLDEN STATE DERMATOLOGY               GOLDEN STATE DERMATOLOGY              GOLDMAN SACHS (0005)
ALEXIS OBRIEN                          JANET MELIKYAM                        ATT ALISON YOUNG
355 LENNON LANE, SUITE 255             370 N. WIGET LANE, SUITE 250          200W/016/412B08
WALNUT CREEK, CA 94598                 WALNUT CREEK, CA 94598                200 WEST ST
                                                                             NEW YORK, NY 10282



GOLETA HHG HOTEL DEVELOPMENT           GOLLA CENTER FOR PLASTIC SURGERY      GOMEZ, JUAN
DBA HILTON GARDEN INN                  ATTN: ACCOUNTS PAYABLE                ADDRESS ON FILE
6878 HOLLISTER AVENUE                  107 GAMMA DRIVE, SUITE 210
GOLETA, CA 93117                       PITTSBURG, PA 15238
GOMEZ, SALVADOR         Case 24-10245-JTD   Doc
                                      GONZALEZ,   219
                                                RENE        Filed 03/28/24   Page 73 of 226
                                                                               GONZALEZ, YARIVETTE
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




GOOD LAND PLUMBING & CONSTRUCTION      GOOD SAMARITAN HOSPITAL                  GOOD SAMARITAN HOSPITAL
INC.                                   ROSEMARY BOSTON                          SANDY REYES
298 ORANGE AVE A                       637 LUCAS AVE, 3RD FLOOR                 1151 ENTERPRISE DRIVE, SUITE 100
GOLETA, CA 93117                       LOS ANGELES, CA 90017                    COPPELL, TX 75019




GOOD SAMARITAN MEDICAL CENTER          GOOD SAMARITAN MEDICAL CENTER            GOODLAND HOTEL
CAREEN CLARK                           CLARA BRILL                              5650 CALLE REAL
1309 NORTH FLAGLER DR                  PO BOX 2195                              5650 CALLE REAL
WEST PALM BEACH, FL 33401              CHESTERTON, IN 46304                     GOLETA, CA 93117




GOOGLE LLC                             GORDON & REES LLP                        GOSHORN, SARAH
PO BOX 883654                          1111 BROADWAY, SUITE 1700                ADDRESS ON FILE
LOS ANGELES, CA 90088                  OAKLAND, CA 94607




GOTTLIEB MEMORIAL HOSPTIAL             GOVERNMENT OF PUERTO RICO,               GRACE KIM AUSTIN, M.D.
ATTN: ACCOUNTS PAYABLE                 DEPARTMENT OF TREASURY                   ADDRESS ON FILE
701 W. NORTH AVE                       10 P.º COVADONGA
MELROSE PARK, IL 60160                 SAN JUAN, PR 00901




GRACE LEE PENG, M.D.                   GRADY HEALTH SYSTEM                      GRAINGER
ADDRESS ON FILE                        CARRIE PETTY                             DEPT. 886826382
                                       50 HURT PLAZA SE, SUITE 301              PALATINE, IL 60038-0001
                                       ATLANTA, GA 30303




GRALL, STEVEN                          GRAND ISLAND DERMATOLOGY                 GRAND VALLEY SURGICAL CENTER
ADDRESS ON FILE                        PATRICK SHERIDAN                         ATTN: ACCOUNTS PAYABLE
                                       PO BOX 5436                              2680 LEONARD ST NE
                                       GRAND ISLAND, NE 68802                   GRAND RAPIDS, MI 49525




GRAND VIEW RESEARCH INC                GRANDVIEW MEDICAL CENTER                 GRANGER MEDICAL CLINIC
201 SPEAR ST STE 1100                  JUSTINE GANGLE                           CANDY JURNEY
SAN FRANCISCO, CA 94105                3690 GRANDVIEW PARKWAY                   3725 W 4100 S
                                       BIRMINGHAM, AL 35243                     WEST VALLEY CITY, UT 84120




GRANGER WONG, M.D.                     GRANITE BAY COSMETIC SURGERY             GRANT A. FAIRBANKS, M.D.
ADDRESS ON FILE                        5220 DOUGLAS BLVD                        ADDRESS ON FILE
                                       GRANITE BAY, CA 95746




GRANT BOND, MD                         GRANT R. FAIRBANKS, M.D.                 GRAPER COSMETIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                          CARLA GIBSON
                                                                                SUITE 103
                                                                                2915 COLTSGATE ROAD
                                                                                CHARLOTTE, NC 28211
                      CaseCORP
GRAPHIC CONTROLS ACQUISITION 24-10245-JTD    Doc JENNIFER
                                      GRASSINGER, 219 Filed 03/28/24      Page 74 of SARAH
                                                                            GRAYSON, 226
DBA GRAPHIC CONT                      ADDRESS ON FILE                       ADDRESS ON FILE
400 EXCHANGE STREET
BUFFALO, NY 14204




GREAT AMERICAN INSURANCE C          GREAT AMERICAN INSURANCE GROUP          GREAT AMERICAN
GREAT AMERICAN INSURANCE GROUP      301 3 FOURTH ST                         301 E. 4TH STREET
CHAD FOWLER                         CINCINNATI, OH 45202                    CINCINNATI, OH 45202
5 WATERSIDE CROSSING
WINDSOR, CT 06095



GREAT PLAINS HEALTH                 GREATER BOSTON PLASTIC SURGERY          GREATER MILW PLASTIC SURGEONS, S.C.
OLIVIA L GUERRA                     LAURIE CARBONNEAU                       JULIE QUIRK
601 W LEOTA ST                      25 W MAIN ST                            13800 W NORTH AVE, SUITE 110
NORTH PLATTE, NE 69101              NORTHBOROUGH, MA 01532                  BROOKFIELD, WI 53005




GREATER SACRAMENTO SURGERY CENTER   GREATER SPRINGFIELD SURGERY CENTER      GREBNEVA, LISA
DENISE DEMPSEY                      EDWARD DEROCHER                         ADDRESS ON FILE
2288 AUBURN BLVD, SUITE 201         PO BOX 927
SACRAMENTO, CA 95821                AVON, CT 06001




GREEN BAY PACKAGING, INC            GREEN HILLS PLASTIC SURGERY             GREEN MOUNTAIN SURGERY CENTER
BIN NO.53139                        KINSEY STEWART                          STEPHANIE DAVIES
MILWAUKEE, WI 53288                 2400 PATTERSON ST, SUITE 223            593 HERCULES DR.
                                    NASHVILLE, TN 37203                     COLCHESTER, WA 05446




GREENBRAE DERMATOLOGY               GREENBRAE SURGERY CENTER                GREENE, JOSH
RUBEN COTA                          SELENA ESTRADA                          ADDRESS ON FILE
1300 S ELISEO DR, STE 207           575 SIR FRANCIS DRAKE BLVD, SUITE 3
GREENBRAE, CA 94904                 GREENBRAE, CA 94904




GREENFIELD GLOBAL USA INC           GREENLEAF HEALTH, INC.                  GREENLIGHT GURU
DEPARTMENT 267501                   P.O. BOX 255                            601 S. MERIDIAN ST, STE 500
PO BOX 67000                        GILLETTE, NJ 07933                      INDIANAPOLIS, IN 46225
DETROIT, MI 48267




GREENLIGHT GURU                     GREENWICH HOSPITAL                      GREER, ROSLYN
JON TEETZEL                         GAIL BISCEGLIA                          ADDRESS ON FILE
601 S. MERIDIAN ST, STE 500         PO BOX 4909
INDIANAPOLIS, IN 46225              GREENWICH, CT 06831




GREG DELANGE.                       GREG MOORE ELECTRIC, INC                GREG RATLIFF
ADDRESS ON FILE                     PO BOX 8537                             ADDRESS ON FILE
                                    GOLETA, CA 93118




GREG RATLIFF, M.D.                  GREG RATLIFF.                           GREGORY A. GRECO, M.D
ADDRESS ON FILE                     ADDRESS ON FILE                         ADDRESS ON FILE
GREGORY A. WIENER, M.D.     Case 24-10245-JTD   Doc
                                          GREGORY     219 M.D.
                                                  D. ALBERT, Filed 03/28/24   Page 75 ofF.226
                                                                                GREGORY    BLAND, M.D.
ADDRESS ON FILE                            ADDRESS ON FILE                       ADDRESS ON FILE




GREGORY M. FEDELE, MD                      GREGORY MANTOOTH.                     GREGORY O. DICK, M.D.
ADDRESS ON FILE                            ADDRESS ON FILE                       ADDRESS ON FILE




GREGORY P. MUELLER, M.D., INC.             GREGORY P. MUELLER, M.D., INC.        GREGORY RUFF, MD.
ACCOUNTS PAYABLE                           ACCOUNTS PAYABLE                      ADDRESS ON FILE
436 N. BEDFORD DR. STE 212                 PO BOX 691300
BEVERLY HILLS, CA 90210                    WEST HOLLYWOOD, CA 90069




GREGORY S. DIFELICE, M.D.                  GREGORY SWANK.                        [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                            GRIFFITHS & ARMOUR                    GRIMM, ROBIN
ADDRESS ON FILE                            12 PRINCES PARADE                     ADDRESS ON FILE
                                           PRINCES DOCK
                                           LIVERPOOL L3 1BG
                                           UNITED KINGDOM



[NAME REDACTED]                            GROSS, KYLE                           GROVE PLACE SURGERY CENTER
ADDRESS ON FILE                            ADDRESS ON FILE                       YUMALIA CESPEDES
                                                                                 1325 36TH STREET, SUITE B
                                                                                 VERO BEACH, FL 32960




GRUBB, BRADLEY                             GRUBB, KEVIN                          GRUPO ISTMO DE PAPAGAYO SRL
ADDRESS ON FILE                            ADDRESS ON FILE                       29 KM CAMINO A PAPAGAYO
                                                                                 LIBERIA,124-5000
                                                                                 PENINSULA PAPAGAYO, GU
                                                                                 COSTA RICA



GRUPO VENTA INTERNACIONAL S.A. DE C.V.     GRZYWA, MICHAEL                       GS1 US
RUBEN DARRIO                               ADDRESS ON FILE                       DEPARTMENT 781271
1533 PISO 7.                                                                     PO BOX 78000
GUADALAJARA JALISCO, CP 44630                                                    DETROIT, MI 48278-1271
MEXICO



GSPS                                       GU, LINGJI JAKE                       GUAM DEPT OF LABOR
114 CHERRY ST                              ADDRESS ON FILE                       414 WEST SOLEDAD AVE
SUITE D                                                                          SUITE 808 (8TH FLOOR)
MARIETTA, GA 30060                                                               GCIC BUILDING
                                                                                 HAGATNA, GU 96910



GUAM DEPT OF PUBLIC HEALTH & SOCIAL        GUIDEPOINT GLOBAL, LLC                GUIZAR, HERMINIA
SERV                                       ATTN: ACCOUNTS RECEIVABLES            ADDRESS ON FILE
123 CHALAN KARETA                          730 THIRD AVENUE, 11TH FLOOR
MANGILAO, GU 96913-6304                    NEW YORK, NY 10017
                        Case 24-10245-JTD
GULF COAST MEDICAL CENTER                     DocPLASTIC
                                      GULF COAST   219 SURGERY
                                                          Filed 03/28/24    Page 76COAST
                                                                              GULF   of 226
                                                                                         PLASTIC SURGERY
KIMBERLY WEATHERBY                    KIM HUMPHREYS                            RITA PISARSKI
200 WADSWORTH DR                      543-A FONTAINE STREET                    186 ABNER JACKSON PARKWAY
RICHMOND, VA 23236-4526               PENSACOLA, FL 32503                      LAKE JACKSON, TX 77566




GULF HEALTH HOSPITAL, INC.            GULFSTREAM SURGICAL - FORT WORTH         GUNDERSEN HEALTH SYSTEM
TINA TURNER                           ATTN: ACCOUNTS PAYABLE                   ATTN: ACCOUNTS PAYABLE
PO BOX 2226                           975 HASKELL ST                           PO BOX 4000
MOBILE, AL 36652                      FORT WORTH, TX 76107-2653                LA CROSSE, WI 54602




GUNHUS, KIRK                          GUNZE MEDICAL LTD                        GUY CAPPUCCINO, M.D.
ADDRESS ON FILE                       TAKESHI NAKASUJI                         ADDRESS ON FILE
                                      KITA WARD, 4-27 SHIN FUJITA BLDG 5F
                                      ,DOJIMA 2 CHOME 530-0003
                                      OSAKA JAPAN



GUYOT, JENNIFER                       GW MEDICAL FACULTY ASSOC                 GWINNETT MEDICAL CENTER
ADDRESS ON FILE                       DEPT OF PLASTIC SURGERY                  ATTN: ACCOUNTS PAYABLE
                                      STAFF                                    PO BOX 105606
                                      2300 M ST NW, 6TH FL                     ATLANTA, GA 30348
                                      WASHINGTON, DC 20037



GWINNETT MEDICAL CENTER               GWJ CO                                   H. LEE MOFFITT CANCER CENTER
VANESSA BURROUGHS                     ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE
PO BOX 348                                                                     12902 MAGNOLIA DR
LAWRENCEVILLE, GA 30046                                                        TAMPA, FL 33612




H.R., LLC                             [NAME REDACTED]                          HAAS FACTORY OUTLET
1001 W GLEN OAKS LN STE 240           ADDRESS ON FILE                          108 MCDONOUGH ST
THIENSVILLE, WI 53092                                                          DAYTON, OH 45402




HACKENSACK MERIDIAN HEALTH            HACKER, ALBERT                           [NAME REDACTED]
LAURA CATALINI                        ADDRESS ON FILE                          ADDRESS ON FILE
PO BOX 31235
SALT LAKE CITY, UT 84131




HAFIZ ELMAHI                          [NAME REDACTED]                          HAKIM SAID
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




HALIFAX HEALTH                        HALL & WRYE PLASTIC SURGEONS             HALO BRANDED SOLUTIONS
KAREN X                               TRACY DEFUR                              3182 MOMENTUM PLACE
PO BOX 2830                           635 SIERRA ROSE DRIVE                    CHICAGO, IL 60689
DAYTONA BEACH, FL 32120               SUITE A
                                      RENO, NV 89511



HALPERN, BRANDON                      HAMBURGER, EVELYN                        HAMID AMIRSHEYBANI, SGMF
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE
                        Case 24-10245-JTD
HAMILTON AESTHETICS, PLLC             HAMILTONDoc  219 CENTER
                                               MEDICAL    Filed 03/28/24    Page 77 of BLAINE
                                                                              HAMILTON, 226
3767 BELLAIRE BOULEVARD               GAIL JACOBSEN                           ADDRESS ON FILE
HOUSTON, TX 77025                     1200 MEMORIAL DRIVE
                                      DALTON, GA 30720




HANA TECHNOLOGIES, INC                HAND & PLASTIC SURGERY, INC.            HAND AND PLASTIC SURGERY CENTRE
2061 CASE PKWY SOUTH                  DONNA CHRYSOGIANNIS                     ASHLEY A
TWINSBURG, OH 44087                   92 MONTVALE AVENUE                      245 CHERRY ST SE, STE 302
                                      SUITE 3300                              GRAND RAPIDS, MI 49503
                                      STONEHAM, MA 02180



HAND AND PLASTIC SURGERY SPECIALIST   HAND, DEBORAH                           HANKINS & SOHN
INC                                   ADDRESS ON FILE                         KAREN S.
92 MONTVALE AVE                                                               2150 S RAINBOW BLVD
STE 3300                                                                      LAS VEGAS, NV 89146
STONEHAM, MA 02180



HANNA, PAUL                           HANSON S. GIFFORD III                   HARBOR-UCLA MEDICAL CENTER
ADDRESS ON FILE                       ADDRESS ON FILE                         VICTOR ELLIOTT
                                                                              P.O. BOX 11039
                                                                              TORRANCE, CA 90510-1039




HARDIN MEMORIAL HOSPITAL              HARLINGEN MEDICAL CENTER                HARMONY SURGERY CENTER
VICKIE HUFF                           SANDY CORTEZ                            DARCY THOR
913 N. DIXIE AVE.                     5501 S EXPRESSWAY 77                    2127 E. HARMONY, SUITE 200
ELIZABETHTOWN, KY 42701               HARLINGEN, TX 78550-3213                FORT COLLINS, CO 80528




HAROLD BAFITIS, D.O.                  HAROLD E. BEAM, M.D.                    HARRIGAN SOLUTIONS
ADDRESS ON FILE                       ADDRESS ON FILE                         1245 CHEYENNE AVENUE SUITE 204
                                                                              GRAFTON, WI 53024




HARRINGTON PLASTIC SURGERY            HARRINGTON PLASTIC SURGERY              HARRIS, JEFF
DANIELLE VOLK                         SABRA SMITH                             ADDRESS ON FILE
2805 CAMPUS DR, SUITE 485             750 S. 2ND ST, 406
PLYMOUTH, MN 55441                    MINNEAPOLIS, MN 55401




HARRY E HAGEN                         HART, WESTON                            HARTFORD HOSPITAL
ADDRESS ON FILE                       ADDRESS ON FILE                         ATTN: ACCOUNTS PAYABLE
                                                                              PO BOX 5037
                                                                              HARTFORD, CT 06102




HASAN, VIAN                           HATEM ABOU-SAYED, MD                    HATTIESBURG CLINIC, P.A.
ADDRESS ON FILE                       ADDRESS ON FILE                         COURTNEY IRBY
                                                                              415 S 28TH AVE
                                                                              HATTIESBURG, MS 39401




HAVASU REGIONAL MED CENTER            HAWAII DEPT OF LABOR AND INDUSTRIAL     HAWAII DEPT OF TAXATION
ATTN: ACCOUNTS PAYABLE                REL                                     54 S. HIGH STREET 208
PO BOX 282308                         830 PUNCHBOWL ST 321                    WAILUKU, HI 96793-2198
NASHVILLE, TN 37228                   HONOLULU, HI 96813
HAWAII PACIFIC HEALTH   Case 24-10245-JTD     Doc 219
                                      HAWAII PACIFIC HEALTHFiled 03/28/24     Page 78 SECURITIES
                                                                                HAWAII of 226 BRANCH
TINA VALENTINE                        TINA VALENTINE                            COMMISSIONER OF SECURITIES
55 MERCHANT ST, 24TH FLOOR            55 MERCHANT ST, 27TH FLOOR                PO BOX 40
HONOLULU, HI 96813-4333               HONOLULU, HI 96813-4333                   HONOLULU, HI 96810




HAWAII STATE DEPARTMENT OF HEALTH         HAWAII STATE TAX COLLECTOR            HAWK RIDGE SYSTEM, LLC
1250 PUNCHBOWL ST                         PO BOX 1530                           575 CLYDE AVENUE
HONOLULU, HI 96813                        HONOLULU, HI 96806                    SUITE 420
                                                                                MOUNTAIN VIEW, CA 94043




HAWLEY GROUP                              HAWNER PLASTIC SURGERY ASSOCIATES     HAYES COMMERCIAL GROUP, INC
113 STAR GRASS, STE 100/111               KATHY HAWNER                          222 E. CARRILLO ST, STE 101
SPRING BRANCH, TX 78070                   707 HOLLYBROOK DR., SUITE 400         SANTA BARBARA, CA 93101
                                          LONGVIEW, TX 75605




HAYES VALLEY SURGERY CENTER               HAYLEY MABERY                         HAYWOOD REGIONAL MEDICAL CENTER
ARNOLD CHARASCHIRAKUL                     ADDRESS ON FILE                       CUSTOMER SERVICE
77 VAN NESS AVE, SUITE 301                                                      PO BOX 282308
SAN FRANCISCO, CA 94102                                                         NASHVILLE, TN 37228-8514




HCA CLEARLAKE                             HCA HEALTHCARE                        HCA HEALTHCARE
KENNETH MCCAIN                            BETTY LOWRIMORE                       ROCHELLE HARRISON
PO BOX 5010                               1151 ENTERPRISE DRIVE, SUITE 100      SUITE 100
SUGAR LAND, TX 77487                      COPPELL, TX 75019                     1151 ENTERPRISE DRIVE
                                                                                COPPELL, TX 75019



HCA HOUSTON NORTHWEST MEDICAL CTR         HCA METHODIST HOSPITAL                HCA OF NEW HAMPSHIRE
JESSICA GONZALEZ                          FREDERICA FREDRICK                    MICHELLE ZEVGOLIS
PO BOX 5010                               1151 ENTERPRISE DR, SUITE 100         CENTRAL ATLANTIC SUPPLY CHAIN
SUGAR LAND, TX 77487                      COPPELL, TX 75019                     200 WADSWORTH DRIVE
                                                                                RICHMOND, VA 23236



HCA OF NEW HAMPSHIRE                      HEALTH ADVOCATE SOLUTIONS, INC        HEALTH CANADA
SHERRIE WARE                              3043 WALTON ROAD                      RECEIVER GENERAL FOR CANADA
200 WADSWORTH DRIVE                       PLYMOUTH MEETING, PA 19462            P/L 1918B, RM 1804B
RICHMOND, VA 23236                                                              OTTAWA, ON K1A OK9
                                                                                CANADA



HEALTH FIRST                              HEALTH FIRST                          HEALTH TRUST PURCHASING GROUP, LP
ATTN: ACCOUNTS PAYABLE                    PATTI SCHILL                          C/O WELLS FARGO BANK
3300 S FISKE BLVD                         ATTN: AP                              PO BOX 751576
ROCKLEDGE, FL 32955                       3300 S FISKE BLVD                     CHARLOTTE, NC 28275
                                          ROCKLEDGE, FL 32955



HEALTH TRUST PURCHASING GROUP, LP         HEALTHEQUITY, INC                     HEALTHTRUST PURCHASING GROUP LP
KRISTEN ORR                               15 WEST SCENIC POINTE DRIVE           ATTN CHIEF LEGAL OFFICER
1100 DR MARTIN LUTHER KING JR BLVD        SUITE 100                             1100 DR MARTIN L KING JR BLVD, STE 1100
STE 1100                                  DRAPER, UT 84020                      NASHVILLE, TN 37203
NASHVILLE, TN 37203



HEALTHTRUST PURCHASING GROUP LP           HEALY PLASTIC SURGERY                 HEARTLAND DERMATOLOGY
ATTN SNR VP, STRATEGIC SOURCING           JACKIE HEALY                          HALEY PATTY
1100 DR MARTIN L KING JR BLVD, STE 1100   98-211 PALI MOMI STREET               1861 N ROCK RD, STE 310
NASHVILLE, TN 37203                       SUITE 103                             WICHITA, KS 67206
                                          HONOLULU, HI 96701
[NAME REDACTED]          Case 24-10245-JTD    Doc 219
                                       [NAME REDACTED]      Filed 03/28/24   Page 79REDACTED]
                                                                               [NAME of 226
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                         HEATHER ROCHEFORD, M.D.                [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




HEAVENLY PLASTIC SURGERY                HEAVENLY PLASTIC SURGERY               HEDGEWOOD PLASTIC SURGERY
AMBER KIM                               PAULA PARK                             LINDA ROIG
29300 PORTOLA PKWY, SUITE B             26700 TOWNE CENTRE DR, STE 170         2427 ST. CHARLES AVENUE
LAKE FOREST, CA 92630                   FOOTHILL RANCH, CA 92610               NEW ORLEANS, LA 70130




HEDIEH ARBABZADEH, MD                   HEIDGER, ROBERT                        [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                         HEIDI WILLIAMS                         HELEEN KHAN
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                         HELIA CARE INC                         HELM PLASTIC AND HAND SURGERY
ADDRESS ON FILE                         14301 N 87TH ST                        GIA RYAN
                                        116                                    70 PLEASANT ST, STE 2
                                        SCOTTSDALE, AZ 85260                   SOUTH WEYMOUTH, MA 02190-2427




HENDRICK HEALTH                         HENNES SERVICES, INC                   HENNING, ANDREW
ATTN: ACCOUNTS PAYABLE                  4100 WEST LINCOLN AVE.                 ADDRESS ON FILE
PO BOX 2973                             MILWAUKEE, WI 53215
ABILENE, TX 79604




HENRICO DOCTORS HOSPITAL                HENRICO DOCTORS HOSPITAL               HENRY A. PLAIN, JR.
DANA GRIFFIN                            LAURA THOLAN                           ADDRESS ON FILE
1602 SKIPWITH ROAD                      200 WADSWORTH DRIVE
RICHMOND, VA 23229                      RICHMOND, VA 23236




HENRY FORD HEALTH SYSTEM                HENRY MAYO NEWHALL MEMORIAL            HERITAGE VALLEY SEWICKLEY
PATTY BOWDEN                            HOSPITAL                               CHRISTINA COUCH
1 FORD PLACE                            ATTN: AP                               25 HECKEL RD
DETROIT, MI 48202                       PO BOX 55279                           MCKEES ROCKS, PA 15136
                                        VALENCIA, CA 91385
                        Case 24-10245-JTD
HERITAGE VALLEY SEWICKLEY                   DocCERVANTES,
                                      HERNANDEZ   219 Filed  03/28/24
                                                          AHMED              Page 80 of 226
                                                                               HERNANDEZ, ACELIO
FRANK BARTORONI                       ADDRESS ON FILE                          ADDRESS ON FILE
420 ROUSER ROAD
MOON TOWNSHIP, PA 15108




HERNANDEZ, FELICITAS                  HERNANDEZ, GABRIEL                       HERNANDEZ, GILBERTO
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




HERNANDEZ, WENDY                      HERRERA, DEBRA                           HERSHEY OUTPATIENT SURGERY CENTER
ADDRESS ON FILE                       ADDRESS ON FILE                          PAULA DRESHER
                                                                               15 HOPE DR
                                                                               HERSHEY, PA 17033




HERTE CENTER FOR COSMETIC SURGERY     HESS PLASTIC SURGERY                     HEYES FILTERS INC
CATHY HULES                           3930 PENDER DRIVE, SUITE 120             1741 TORRANCE BLVD
7281 W. SAHARA AVE, SUITE 100         FAIRFAX, VA 22030                        STE A
LAS VEGAS, NV 89117                                                            TORRANCE, CA 90501




HI TECH ELECTRICAL CONTRACTORS, INC   HICKLES, DASHAWN                         HICKS, FREDERICK
18912 HIDEAWAY DRIVE                  ADDRESS ON FILE                          ADDRESS ON FILE
YORBA LINDA, CA 92886




HILGER FACE CENTER                    HILL CENTER FOR DERMATOLOGY              HILL COUNTRY MEMORIAL HOSPITAL
KYSSIE CARLSTROM                      MELANIE WEBB                             TERESA BURRER
7373 FRANCE AVE, SUITE 410            17560 S GOLDEN RD, UNIT 100              PO BOX 835
EDINA, MN 55435                       GOLDEN, CO 80401-6005                    FREDERICKSBURG, TX 78624-0835




HILLCREST BAPTIST MEDICAL CENTER      HILLCREST MEDICAL CENTER                 HILLENBACH, KRISTA
KIM ALLEN                             ANGELA ALLEN                             ADDRESS ON FILE
PO BOX 5100                           110 W 7TH STREET, SUITE 2630
WACO, TX 76708                        TULSA, OK 74119




HILLTOP SECS (0279)                   HILO MEDICAL CENTER                      HILTON HEAD HOSPITAL
ATT PROXY DEPT                        ATTN: ACCOUNTS PAYABLE                   ATTN: ACCOUNTS PAYABLE
1201 ELM ST                           1190 WAIANUENUE AVE                      PO BOX 2325
STE 3500                              HILO, HI 96720                           CHESTERTON, IN 46304-0425
DALLAS, TX 75270



HIMANSU SHAH, M.D.                    HIMANSU SHAH, M.D.                       HINSDALE SURGERY CENTER
ADDRESS ON FILE                       ADDRESS ON FILE                          LISA NELSON
                                                                               10 SALT CREEK LN
                                                                               HINSDALE, IL 60521




HIREKU INC DBA JAZZHR                 HIRERIGHT GIS INTERMEDIATE CORP, INC     HIRERIGHT GIS INTERMEDIATE CORP, INC
1501 REEDSDALE STREET SUITE 403       100 CENTERVIEW DRIVE                     PO BOX 847891
PITTSBURGH, PA 15233                  SUITE                                    DALLAS, TX 75284
                                      NASHVILLE, TN 37214
HKB GREENSBORO          Case 24-10245-JTD      Doc 219COSMETIC
                                      HKB RENAISSANCE     Filed 03/28/24
                                                                SURG       Page 81MEM
                                                                             HOAG  of 226
                                                                                      HOSP PRESBYTERIAN
NIKKI BARBER                          LIZ KLEIN                              BEATRIZ ROSALES
1591 YANCEYVILLE STREET               398 COPPERFIELD BLVD                   PO BOX 31380
SUITE 100                             CONCORD, NC 28025                      SALT LAKE CITY, UT 84131-0380
GREENSBORO, NC 27405



HOAG MEM HOSP PRESBYTERIAN            HODGES, CHRISTOPHER                    HOELAND, MICHAEL
ZUIRI MADRIGAL                        ADDRESS ON FILE                        ADDRESS ON FILE
2975 REDHILL AVENUE, SUITE 250
COSTA MESA, CA 92626




HOGAN, BRIAN                          HOGE, KRISTA                           HOGENTOGLER & CO INC
ADDRESS ON FILE                       ADDRESS ON FILE                        9515 GERWIG LANE , SUTE 109
                                                                             COLUMBIA, MD 21046




HOLCOMB AND KREITHEN                  HOLCOMB AND KREITHEN                   HOLLAND PLASTIC SURGERY & AESTHETICS
PLASTIC SURGERY AND MEDSPA            PLASTIC SURGERY AND MEDSPA             ASHLEY OBPTANDE
LISA EVASHUK                          LISA EVASHUK                           74 GRAY ROAD, SUITE 1B
1 S. SCHOOL AVE, SUITE 800            1 S. SCHOOL AVE. SUITE 800             FALLMOUTH, ME 04105
SARASOTA, FL 34237                    SARASOTA, FL 34237



[NAME REDACTED]                       HOLLYWOOD PRESBYTERIAN MEDICAL         HOLMES CORPORATION DBA APICS
ADDRESS ON FILE                       CENTER                                 LEARNING
                                      IMELDA DELEON                          2975 LONE OAK DRIVE STE 180
                                      1300 NORTH VERMONT AVE                 EAGAN, MN 55121
                                      LOS ANGELES, CA 90027



HOLMES REGIONAL MEDICAL CENTER        HOLSON CONSULTING                      HOLTZ, MATTHEW
ATTN: ACCOUNTS PAYABLE                1919 KINGS PASS                        ADDRESS ON FILE
1350 S HICKORY ST                     HEATH, TX 75032
MELBOURNE, FL 32901




HOLY NAME MEDICAL CENTER              HOLY SPIRIT HOSPITAL                   HOLYOKE MEDICAL CENTER
ANNA GOBEK                            ATTN: ACCOUNTS PAYABLE                 SHARON BOGAN
718 TEANECK ROAD                      PO BOX 857                             575 BEECH STREET
TEANECK, NJ 07666                     HERSHEY, PA 17033                      HOLYOKE, MA 01040




HOMMEIDA, REEM                        HONEST MEDICAL MANAGEMENT GROUP,       HOOMAN KHORASANI, M.D.
ADDRESS ON FILE                       INC.                                   ADDRESS ON FILE
                                      MATTHEW BROWN
                                      15840 VENTURA BLVD, SUITE 101
                                      ENCINO, CA 91436



HOOTAN DANESHMAND, M.D.               HOOWAKI LLC                            HORIBA INSTRUMENTS INCORPORATED
ADDRESS ON FILE                       400 BIRNIE STREET, SUITE C             DBA SPEX FORENSICS
                                      GREENVILLE, SC 29611                   20 KNIGHTSBRIDGE ROAD
                                                                             PISCATAWAY, NJ 08854




HORN, NEIL                            HOSPITAL SISTERS HEALTH SYSTEM         HOSTETLER, MATT
ADDRESS ON FILE                       KAREN BORST                            ADDRESS ON FILE
                                      PO BOX 13508
                                      GREEN BAY, WI 54307
HOSTETLER, MATTHEW      Case 24-10245-JTD    Doc 219 Filed 03/28/24
                                      HOUCK DERMATOLOGY               Page 82 of LOKEY
                                                                        HOULIHAN  226 FINANCIAL ADVIS
ADDRESS ON FILE                       OFFICE CONTACT                     10250 CONSTELLATION BLVD
                                      10201 ARCOS AVENUE, SUITE 203      5TH FL, A/R DEPT
                                      ESTERO, FL 33928                   LOS ANGELES, CA 90067




HOUSE OF BLUES RESTAURANT             HOUSTON METHODIST CLEAR LAKE       HOVE, CAROLINE VAN
CORPORATION                           HOSPITAL                           ADDRESS ON FILE
ATTN: SPECIAL EVENTS                  ATTN: ACCOUNTS PAYABLE
1055 FIFTH AVENUE                     PO BOX 300528
SAN DIEGO, CA 92101                   HOUSTON, TX 77230



HOWARD BUILDING CORPORATION           HOWARD GROSS, M.D.                 HOWARD PEROFSKY, M.D.
707 WILSHIRE BLVD                     ADDRESS ON FILE                    ADDRESS ON FILE
SUITE 3750
LOS ANGELES, CA 90017




HOWARD, ASHLEY                        HOWARD, KIMBERLY                   HOY & ASSOCIATES REGULATORY
ADDRESS ON FILE                       ADDRESS ON FILE                    CONSULTING
                                                                         3916 N. POTSDAM AVE 4676
                                                                         SIOUX FALLS, SD 57104




HR WORKS, INC                         HRT FIN LLC (0369)                 HSAW, YAW
200 WILLOWBROOK OFFICE PARK           ATT PROXY MGR                      ADDRESS ON FILE
FAIRPORT, NY 14450                    32 OLD SLIP
                                      30TH FL
                                      NEW YORK, NY 10005



HSBC BANK USA/CLEARING (8396)         HSV PLASTIC SURGERY                HUDSON INSURANCE COMPANY
ATT BARBARA SKELLY/PROXY MGR          ADDRESS ON FILE                    100 WILLIAM ST, 5TH FL
545 WASHINGTON BLVD                                                      NEW YORK, NY 10038
10TH FL
JERSEY CITY, NJ 07310



HUDSON INSURANCE COMPANY              HUDSON REGIONAL HOSPITAL           HUFF, GWENDOLYN
HUDSON INSURANCE GROUP                REBECCA FRANCISCO                  ADDRESS ON FILE
RAKSHA LAHIRI                         55 MEADOWLANDS PKWY
100 WILLIAM STREET, 5TH FLOOR         SECAUCUS, NJ 07094-2977
NEW YORK, NY 10038



HUNDLEY, JEFFREY                      HUNLEY, NIAHJEL                    HUNSTAD KORTESIS CENTER
ADDRESS ON FILE                       ADDRESS ON FILE                    11208 STATESVILLE RD.
                                                                         STE 300
                                                                         HUNTERSVILLE, NC 28078




HUNSTAD KORTESIS CENTER, P.A.         HUNSTAD-KORTESIS CENTER.           HUNTER MOYER, MD
MARIA WEBER                           11208 STATESVILLE RD., 300         ADDRESS ON FILE
11208 STATESVILLE RD                  HUNTERSVILLE, NC 28078
SUITE 300
HUNTERSVILLE, NC 28078



HUNTER, ASHLEY                        HUNTER, KIMBERLY                   HUNTERDON CENTER FOR SURGERY
ADDRESS ON FILE                       ADDRESS ON FILE                    SANDRA MONTEIRO
                                                                         9100 WESCOTT DRIVE, SUITE 201
                                                                         FLEMINGTON, NJ 08822-4677
                      Case 24-10245-JTD
HUNTERDON MEDICAL CENTER                    DocMEMORIAL
                                    HUNTINGTON   219 Filed    03/28/24
                                                          HOSPITAL            Page 83 of 226
                                                                                HUNTSVILLE HEALTH SYSTEM
DONALD DONOFRY                      MARY JIMENEZ                                 AMY GARRISON
2100 WESCOTT DRIVE                  100 W CALIFORNIA BLVD                        101 SIVLEY RD, SW
FLEMINGTON, NJ 08822                PO BOX 7013                                  HUNTSVILLE, AL 35801
                                    PASADENA, CA 91109



HUNTSVILLE PLASTIC SURGERY             HUNTSVILLE PLASTIC SURGERY                HYDE PARK COSMETIC SURG CTR
BARBARA GARRISON                       TRISTA POSEY                              AMY RODRIQUEZ
805 MADISON ST, SUITE 1D               2620 CARL T. JONES DR SE                  607 S MAGNOLIA AVE
HUNTSVILLE, AL 35801                   HUNTSVILLE, AL 35802                      TAMPA, FL 33606




HZ PLASTIC SURGERY                     I.D. ME PROMOTIONS LLC                    IBODY
MEGAN LAPIERRE                         18401 BURBANK BLVD                        MIRANDA
7575 DR PHILLIPS BLVD                  SUITE 116                                 956 HUNTINGTON DRIVE
ORLANDO, FL 32819                      TARZANA, CA 91356                         SAN MARINO, CA 91108




ICAHN SCHOOL OF MEDICINE AT MOUNT      ICE SYSTEMS, INC DBA PROXYTRUST           ICONIC PLASTIC SURGERY
SINAI                                  DBA PROXY TRUST                           ZENAH A.
JOHN MENDEZ                            PO BOX 11126                              3144 EL CAMINO REAL, SUITE 200
PO BOX 31228                           HAUPPAUGE, NY 11788-0934                  CARLSBAD, CA 92008
SALT LAKE CITY, UT 84130



ICR, LLC                               IDAHO DEPARTMENT OF HEALTH AND            IDAHO DEPT OF LABOR
761 MAIN AVENUE                        WELFARE                                   317 W. MAIN ST
NORWALK, CT 06851                      1720 N. WESTGATE DR.                      BOISE, ID 83735
                                       STE A
                                       BOISE, ID 83704



IDAHO STATE TAX COMMISSION             IDALIS LAGO                               IDEAL PLASTIC SURGERY
11321 W CHINDEN BLVD                   ADDRESS ON FILE                           NIRVANA
BOISE, ID 83714-1021                                                             77 CADILLAC DR, STE 170
                                                                                 SACRAMENTO, CA 95825-5480




IDEM TRANSLATIONS, INC                 IFATS                                     IGOE ADMINISTRATIVE SERVICES
550 CALIFORNIA AVE                     6300 SAGEWOOD DRIVE                       15090 AV OF SCIENCE, STE 201
SUITE 310                              SUITE H255                                SAN DIEGO, CA 92128
PALO ALTO, CA 94306                    PARK CITY, UT 84098




IGOE ADMINISTRATIVE SERVICES           IH SOURCE LLC                             ILARL ALEXIAN BROS MEDICAL CTR
PO BOX 501480                          13180 WINTERBERRY WAY                     ATTN: ACCOUNTS PAYABLE
SAN DIEGO, CA 92150-1480               NEW BERLIN, WI 53151                      3040 W SALT CREEK LANE
                                                                                 ARLINGTON HEIGHTS, IL 60005




ILARL SAINT JOSEPH ELGIN               ILLINOIS DEPARTMENT OF PUBLIC HEALTH      ILLINOIS DEPARTMENT OF PUBLIC HEALTH
ATTN: ACCOUNTS PAYABLE                 122 S. MICHIGAN AVE                       525-535 WEST JEFFERSON STREET
PO BOX 33902                           7TH AND 20TH FLOORS                       SPRINGFIELD, IL 62761
INDIANAPOLIS, IN 46203                 CHICAGO, IL 60603




ILLINOIS DEPARTMENT OF PUBLIC HEALTH   ILLINOIS DEPARTMENT OF REVENUE            ILLINOIS DEPT OF LABOR
69 W. WASHINGTON STREET                PO BOX 19035                              160 N. LA SALLE STREET
35TH FLOOR                             SPRINGFIELD, IL 62794                     C-1300
CHICAGO, IL 60602                                                                CHICAGO, IL 60601
ILLINOIS DEPT OF LABOR    Case 24-10245-JTD      Doc OF
                                        ILLINOIS DEPT 219   Filed 03/28/24
                                                        REVENUE                  Page  84 of
                                                                                   ILLINOIS   226
                                                                                            DERMATOLOGY INSTITUTE
524 S. 2ND STREET                         555 W MONROE, STE 1100                    DEBBIE KLEIN
STE 400                                   CHICAGO, IL 60661                         9711 SKOKIE BLVD, SUITE J
SPRINGFIELD, IL 62701                                                               SKOKIE, IL 60077




ILLINOIS SECURITIES DEPARTMENT            ILLINOIS SECURITIES DEPARTMENT            ILLINOIS SOC. OF PLASTIC SURG.
421 E. CAPITOL AVE.                       69 W WASHINGTON ST, STE 1220              515 N DEARBORN
2ND FL                                    CHICAGO, IL 60602                         CHICAGO, IL 60654
SPRINGFIELD, IL 62701




ILLINOIS SPORTS MED & SURG CTR            ILLINOIS TOOL WORKS, INC DBA ITW EAE      ILLUMINATE PLASTIC SURGERY
KARI SROKA                                35 PARKWOOD DRIVE, SUITE 10               ELAINE PREVOST
9000 WAUKEGAN RD, STE 120                 HOPKINTON, MA 01748                       101 ADDISON AVENUE
MORTON GROVE, IL 60053-2128                                                         PALO ALTO, CA 94301




ILLUSIO, INC                              ILLUUM COSMETIC SURGERY                   ILUMAFORMA AESTHETIC SURGERY CENTER
1211 PUERTA DEL SOL                       ASHLEY F.                                 SARAH MAYRA
SUITE 220                                 24245 KARIM BLVD                          3050 FINLEY ROAD, SUITE 300B
SAN CLEMENTE, CA 92673                    NOVI, MI 48375                            DOWNERS GROVE, IL 60515




IMAGOS INSTITUTE OF PLASTIC SURGERY       [NAME REDACTED]                           IMCD US, LLC
ROSEMARIE GONZALEZ                        ADDRESS ON FILE                           2 EQUITY WAY, SUITE 210
7190 SW 87 AVENUE, SUITE 404                                                        WESTLAKE, OH 44145
MIAMI, FL 33173




IMPULSE ADVANCED COMMUNICATIONS           IMPULSE ADVANCED COMMUNICATIONS           IMS TECHNOLOGY SERVICES, INC
6144 CALLE REAL SUITE 200                 PO BOX 1450                               3055 MCCANN FARM DRIVE
GOLETA, CA 93117                          GOLETA, CA 93116                          GARNET VALLEY, PA 19060




INDEX INTERNATIONAL DEVELOPMENT           INDIAN RIVER MEDICAL CENTER               INDIANA DEPARTMENT OF LABOR
LIMITED                                   ATTN: AP                                  402 W. WASHINGTON ST
UNIT 2201-02,                             1000 36TH STREET                          ROOM W195
CAUSEWAY BAY PLAZA 2 NO 463-483           VERO BEACH, FL 32960                      INDIANAPOLIS, IN 46204
LOCKHART RD, CAUSEWAY BAY
HONG KONG CHINA


INDIANA DEPT OF REVENUE                   INDIANA PLASTIC SURGERY CENTER, PC        INDIANA SECURITIES DIVISION
100 N SENATE IGCN                         JACKIE MORRISON                           302 WEST WASHINGTON ST
RM N105                                   10020 DUPONT CIR, STE 100                 ROOM E111
INDIANAPOLIS, IN 46204                    FORT WAYNE, IN 46825                      INDIANAPOLIS, IN 46204




INDIANA STATE DEPARTMENT OF HEALTH        INDUSTRIAL COMMISSION OF ARIZONA          INFODESK, INC.
2 NORTH MERIDIAN STREET                   LABOR DEPARTMENT                          1 BRIDGE STREET
INDIANOPOLIS, IN 46204                    800 W. WASHINGTON ST                      SUITE 105
                                          PHOENIX, AZ 85007                         IRVINGTON, NY 10533




INFORMATION AND COMPUTING SERVICES,       INFORMATION AND COMPUTING SERVICES,       INFOVITY INC
INC                                       INC                                       1825 SOUTH GRANT STREET
3563 PHILIPS HIGHWAY,                     PO BOX 638345                             MAIL ROOM: FLOOR 200 SUITE 03-101
SUITE F-601                               CINCINNATI, OH 45263                      SAN MATEO, CA 94402
JACKSONVILLE, FL 32207
                       Case MEDSPA
INJURY CARE CENTER AND RENEW 24-10245-JTD     Doc 219SURGERY,
                                      INLAND COSMETIC     Filed INC.
                                                                 03/28/24    Page 85 of
                                                                               INMARK LLC226
KATHY AIKENS                          BUSINESS MANAGER                         PO BOX 536888
901 W. ASHLAND AVE.                   8680 MONROE CT, SUITE 200                ATLANTA, GA 30353
GLENOLDEN, PA 19036                   RANCHO CUCAMONGA, CA 91730




INNOVATIVE SURFACE TECHNOLOGIES, INC.   INOVA HEALTH SYSTEM                    INOVA HEALTH SYSTEM
1045 WESTGATE DRIVE, SUITE 100          ATTN: ACCOUNTS PAYABLE                 LANA JONES
SAINT PAUL, MN 55114                    8095 INNOVATION PARK DR                PO BOX 9180
                                        FAIRFAX, VA 22031                      CANTON, MA 02021




INOVA HEALTH SYSTEM                     INSIGHTS FIRST STRATEGIC MARKETING     INSPIRA MEDICAL CTR VINELAND
SHERRI TAYLOR                           TOM KESSLER                            ATTN: ACCOUNTS PAYABLE
3289 WOODBURN RD, SUITE 100             1556 MEYERWOOD CIRCLE                  333 IRVING AVE
ANNANDALE, VA 22033                     HIGHLANDS RANCH, CO 80129              BRIDGETON, NJ 08302-2123




INSPIRE COSMETIC SURGERY                INSPIRE SURGERY CENTRE                 INSTITUTE FOR RECONSTRUCTIVE SURGERY
ALEXIS PHILIPS                          ANGELA PRUETT                          DIANA CANTU
1010 S. FEDERAL HWY, SUITE 1010         6013 MARQUESA DR                       13300 HARGRAVE RD, SUITE 450
DELRAY BEACH, FL 33483                  AUSTIN, TX 78731                       HOUSTON, TX 77070




INSTITUTE OF PLASTIC SURGERY            INSTRON                                INTALERE, INC
SHALOM LANCASTER                        825 UNIVERSITY AVENUE                  TWO CITY PLACE DRIVE, STE 400
2438 RESEARCH PKWY, SUITE 100           NORWOOD, MA 02062-2643                 P.O.BOX 66911
COLORADO SPRINGS, CO 80920                                                     SAINT LOUIS, MO 63141




INTEGRATED DERMATOLOGY OF SANTA         INTEGRATED DERMATOLOGY OF W. PALM      INTEGRATED MAGNETICS, INC (IM)
ROSA                                    BEACH                                  11250 PLAYA COURT
KELLY BAARLEY                           YAMIRA RUIZ                            CULVER CITY, CA 90230
6574 OAKMONT DR, STE B                  1840 FOREST HILL BLVD, SUITE 102
SANTA ROSA, CA 95409                    WEST PALM BEACH, FL 33406



INTEGRIS HEALTH                         INTERACTIVE BROKERS (0534)             INTERCOM, INC
PAMELA JARNAGIN                         ATT KARIN MCCARTHY/PROXY DEPT          55 SECOND STREET
3300 NW EXPRESSWAY, SUITE 800           2 PICKWICK PLAZA, 2ND FL               SUITE 400
OKLAHOMA CITY, OK 73112                 GREENWICH, CT 06830                    SAN FRANCISCO, CA 94105




INTERMED PARTNERS LLC                   INTERMED PARTNERS, LLC                 INTERMOUNTAIN HEALTHCARE
4325 BRETTWOOD LN                       INTERMED PARTNERS LLC / TOM            INVOICING
MORGANTOWN, WV 26508                    MCCLELLAN                              P.O BOX 30184
                                        10 MIRAMICHI TRAIL                     SALT LAKE CITY, UT 84130
                                        MORGANTOWN, WV 26508



INTERNAL REVENUE SERVICE                INTERNAL REVENUE SERVICE               INTERSTATE ROOF SYSTEMS
1111 CONSTITUTION AVE, NW               P.O. BOX 7346                          CONSULTANTS,INC.
WASHINGTON, DC 20220-0001               PHILADELPHIA, PA 19101-7346            16680 W. CLEVELAND AVENUE, SUITE A
                                                                               NEW BERLIN, WI 53151




INTERTEK TESTING SERVICES               INTERTRUST HONG KONG LIMITED           INTL FCSTONE FIN, INC. (0750)
P.O. BOX 405176                         3806 CENTRAL PLAZA                     ATT KEN SIMPSON OR PROXY MGR
ATLANTA, GA 30384                       18 HARBOUR ROAD                        2 PERIMETER PARK,
                                        WANCHAI                                STE 100W
                                        HONG KONG CHINA                        BIRMINGHAM, AL 35209
INTOO, LLC                Case 24-10245-JTD
                                        INTRADODoc  219
                                               DIGITIAL     Filed
                                                        MEDIA, LLC 03/28/24   Page 86CITY
                                                                                IOWA   of AMBULATORY
                                                                                          226        SURGICAL CENTER
10880 WILSHIRE BLVD                       11808 MIRACLE HILLS DR                 KELLY DURIAN
SUITE 1101                                OMAHA, NE 68154                        2963 NORTHGATE DR
LOS ANGELES, CA 90024                                                            IOWA CITY, IA 52245




IOWA DEPARTMENT OF HEALTH AND HUMAN       IOWA DEPT OF REVENUE                   IOWA DIVISION OF LABOR
SERV                                      1305 E WALNUT ST, 4TH FL               150 DES MOINES STREET
LUCAS STATE OFFICE BUILDING               DES MOINES, IA 50319                   DES MOINES, IA 50309
321 E. 12TH STREET
DES MOINES, IA 50319-0075



IOWA INSURANCE DIVISION                   IOWA PLASTIC SURGERY, PC               IOWA WORKFORCE DEVELOPMENT
1963 BELL AVE, STE 100                    AMY SADD                               1000 EAST GRAND AVENUE
DES MOINES, IA 50315                      4334 EAST 53RD ST                      DES MOINES, IA 50309
                                          DAVENPORT, IA 52807




IQVIA INC                                 IRA H. REX III MD PC                   IRA SAVETSKY, MD
100 IMS DRIVE                             ADDRESS ON FILE                        ADDRESS ON FILE
PARSIPPANY, NJ 07054




IRB COMPANY, INC.                         IRELAND, ERIC                          [NAME REDACTED]
5300 BEACH BLVD                           ADDRESS ON FILE                        ADDRESS ON FILE
110, PMB 607
BUENA PARK, CA 90621-1249




IRINA ERENBURG                            [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                        ADDRESS ON FILE




IRON MOUNTAIN                             IRYNA CHESNOKOVA, MD SURGICAL          ISLAND ORTHOPAEDICS, LLC
PO BOX 601002                             SERVICES                               JENNIFER ISERI
PASADENA, CA 91189-1002                   ADDRESS ON FILE                        3382 WAIALAE AVENUE
                                                                                 HONOLULU, HI 96816




ISMAIL, SAGAL                             ITG INTERLOGIC S.A.                    ITW TRANS TECH
ADDRESS ON FILE                           TRIVIUM CENTER 15                      75 REMITTANCE DRIVE, SUITE 75694
                                          GUACHIPELIN DE ESCAZU                  CHICAGO, IL 60675
                                          SAN JOSE
                                          COSTA RICA



ITZHAK NIR, M.D.                          IU HEALTH BLOOMINGTON HOSPITAL         IUVO BIOSCIENCE OPERATIONS, LLC
ADDRESS ON FILE                           MELISSA GILBERT                        7500 W. HENRIETTA ROAD
                                          PO BOX 1149                            RUSH, NY 14543
                                          BLOOMINGTON, IN 47402




IWG FRANCE DBA REGUS                      J GERALD MINNITI, MD                   J THOMAS PLASTIC SURGERY LLC
NEUILLY                                   ADDRESS ON FILE                        2003 LOWER STATE ROAD
PONT DE NEUILLY 92200                                                            SUITE 320 BUILDING 300
FRANCE                                                                           DOYLESTOWN, PA 18901
J. BRIAN BOYD, M.D.      Case 24-10245-JTD
                                       J. CRAIG Doc 219
                                                UECKER, M.D. Filed 03/28/24   Page  87 ofPETERSEN,
                                                                                J. DAYNE  226      M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




J. SIMON IVEY, MD                        J. SWEAT PLASTIC SURGERY                J. SWEAT PLASTIC SURGERY
ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE                  CLAUDIA BLONDIN
                                         3000 S STREET                           1111 EXPOSITION BLVD, SUITE 400B
                                         SACRAMENTO, CA 95816-7014               SACRAMENTO, CA 95831




J. THOMAS PALIGA, MD                     J. TIMOTHY KATZEN, M.D.                 J.P. MORGAN/CLEARING (0352)
ADDRESS ON FILE                          ADDRESS ON FILE                         ATT CORPORATE ACTIONS TEAM
                                                                                 500 STANTON CHRISTIANA RD.
                                                                                 NCC5 FL3
                                                                                 NEWARK, DE 19713



JACKIE BLACKWELL                         JACKSON SURGERY CENTER                  JACKSON, JAMAL
ADDRESS ON FILE                          MELISSA TRAMMELL                        ADDRESS ON FILE
                                         1725 PARK PLACE
                                         MONTGOMERY, AL 36106




JACKSONVILLE BEACH SURGERY CENTER        JACOB GERZENSHTEIN, MD                  JACOB GROW, MD
LISA MOSER                               ADDRESS ON FILE                         ADDRESS ON FILE
3316 THIRD ST S, SUITE 200
JACKSONVILLE BEACH, FL 32250




JACOBI MEDICAL CENTER                    [NAME REDACTED]                         JAE KIM, MD FACIAL PLASTIC SURGERY
HANA LOPEZ                               ADDRESS ON FILE                         TRACEY DREW
1400 PELHAM PKWY S.                                                              2200 WILSON BLVD 102-217
BRONX, NY 10461                                                                  ARLINGTON, VA 22201-3397




JAEGER, NATHAN                           JAHN, JAMES                             [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                          JAMAICA HOSPITAL MEDICAL CENTER         JAMES A. RIEGER, M.D.
ADDRESS ON FILE                          ATTN: AP                                ADDRESS ON FILE
                                         8900 VAN WYCK EXPRESSWAY
                                         JAMAICA, NY 11418




JAMES ANTHONY, M.D.                      JAMES BLACK, M.D.                       JAMES CAMPBELL COMPANY LLC
ADDRESS ON FILE                          ADDRESS ON FILE                         425 CALIFORNIA ST, SUITE 500
                                                                                 SAN FRANCISCO, CA 94104




JAMES CAMPBELL COMPANY LLC               JAMES CAMPBELL COMPANY LLC              JAMES CAMPBELL COMPANY LLC
ATTN: EVP, REI MANAGEMENT                C/O COLLIERS INTERNATIONAL              CHICAGO INDUSTRIAL
425 CALIFORNIA STREET, SUITE 500         ATTN: JCC MANAGER                       P. O. BOX 83183
SAN FRANCISCO, CA 94104                  883 E. MICHIGAN STREET, SUITE 500       CHICAGO, IL 60691
                                         MILWAUKEE, WI 53202
JAMES FERNAU, M.D.      Case 24-10245-JTD    Doc 219M.D. Filed 03/28/24
                                      JAMES GROTTING,                     Page 88HOFFMAN,
                                                                            JAMES of 226 MD
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




JAMES HOYT, M.D.                       JAMES J. CHAO, MD, FACS, INC         JAMES J. CHAO, MD, FACS, INC.
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                        JAMES M. CLAYTON, M.D.               JAMES M. NACHBAR, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




JAMES RIEGER                           JAMES RIVER INSURANCE CO             JAMES RIVER INSURANCE COMPANY
ADDRESS ON FILE                        RT SPECIALTY                         6641 W BROAD ST, STE 300
                                       PAUL JACKSON                         RICHMOND, VA 23230
                                       540 W MADISON, 9TH FLOOR
                                       CHICAGO, IL 60661



JAMES RIVER                            JAMES ROMANO, M.D.                   JAMES WETHE, M.D.
6641 W. BROAD STREET                   ADDRESS ON FILE                      ADDRESS ON FILE
SUITE 300
RICHMOND, VA 23230




JAMF SOFWARE, LLC                      [NAME REDACTED]                      [NAME REDACTED]
100 WASHINGTON AVE S                   ADDRESS ON FILE                      ADDRESS ON FILE
SUITE 1100
MINNEAPOLIS, MN 55401




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                        JAMS, INC                            JAN GARCIA, JR., M.D.
ADDRESS ON FILE                        PO BOX 845402                        ADDRESS ON FILE
                                       LOS ANGELES, CA 90084




[NAME REDACTED]                        [NAME REDACTED]                      JANAK PARIKH
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE
JANCO INC                  Case 24-10245-JTD    Doc PLASTIC
                                         JANE ROWLEY 219 Filed   03/28/24
                                                            SURGERY          Page 89
                                                                               JANE    of 226 MD SURGERY CENTER
                                                                                    S. WESTON,
PO BOX 857                                DO NOT USE- BRISTOL TANDO            ADDRESS ON FILE
DOVER, NH 03821                           679 FM 1730
                                          TAHOKA, TX 79373-5729




JANE S. WESTON, MD SURGERY CENTER         [NAME REDACTED]                      [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




JANESVILLE TOOL & MANUFACTURING, INC      [NAME REDACTED]                      JANICARE
3930 ENTERPRISE DR                        ADDRESS ON FILE                      100 ADAMS RD, STE A
JANESVILLE, WI 53546                                                           GOLETA, CA 93117




[NAME REDACTED]                           JANIS DIPIETRO, MD                   [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




JANNEY MONT. SCOTT INC. (0374)            JANO GRAPHICS                        [NAME REDACTED]
ATT KURT DODDS OR PROXY MGR               200 N ELEVAR STREET                  ADDRESS ON FILE
1717 ARCH ST, 17TH FL                     OXNARD, CA 93030
PHILADELPHIA, PA 19103




JARED GARLICK, MD                         JARED WAYNE GARLICK                  JARRELL PLASTIC SURGERY
ADDRESS ON FILE                           ADDRESS ON FILE                      ATTN: ACCOUNTS PAYABLE
                                                                               PO BOX 4885
                                                                               BOISE, ID 83711-4885




JASBIR S. SANDHU, M.D., INC.              [NAME REDACTED]                      JASON COHEN, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




JASON D. TORANTO, M.D.                    JASON EMER, M.D.                     JASON EMER, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




JASON HESS M.D.                           JASON HESS PLASTIC SURGERY, INC.     JASON JOHNSON, DO
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




JASON LEEDY, M.D.                         JAY CEE SALES & RIVET INC            JAY S. ORRINGER, M.D.
ADDRESS ON FILE                           32861 CHESLEY DR                     ADDRESS ON FILE
                                          FARMINGTON, MI 48336
JAY S. ORRINGER, M.D.    Case 24-10245-JTD    Doc
                                       JEANETTE    219 M.D.
                                                PADGETT, Filed 03/28/24   Page 90REDACTED]
                                                                            [NAME of 226
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                         JEAN-PIERRE, EDWIN                  JED BINDRUP, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JED BINDRUP, M.D.                       JEFF CHANG                          JEFF HEALY, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JEFF WALKER                             JEFFERY K. KRUEGER, M.D.            JEFFERY NUGENT
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JEFFREY A. DITESHEIM, M.D.              JEFFREY D. HOEFFLIN, M.D.           JEFFREY J. PTAK, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JEFFREY J. ROTH, M.D.                   JEFFREY M. DARROW, M.D.             JEFFREY RIDHA, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JEFFRY JACOBS, D.O.                     [NAME REDACTED]                     JENKINS, MARIA
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                     JENNIFER GREER, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JENNIFER HARRINGTON                     [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE
[NAME REDACTED]            Case 24-10245-JTD    Doc 219
                                         [NAME REDACTED]       Filed 03/28/24   Page 91REDACTED]
                                                                                  [NAME of 226
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




JENNIFER ZEISLOFT                         JENNIFERVALLE                           [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         JENS CONSTRUCTION CORPORATION
ADDRESS ON FILE                           ADDRESS ON FILE                         N26 W23314 PAUL RD.
                                                                                  PEWAUKEE, WI 53072




[NAME REDACTED]                           JERE J GERSZEWSKI                       JEREMIAH REDSTONE, M.D., PC
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




JEREMIAH S. REDSTONE, MD PC               JEREMY CHIDESTER, MD                    JEREMY NIKFARJAM, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




JEREMY WALDMAN, M.D                       JEREMY WALDMAN, M.D                     JEROME LAMB, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




JEROME R. POTOZKIN, M.D.                  [NAME REDACTED]                         JESSICA ARREDONDO
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           JESSICA BELZ, M.D.                      [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE
[NAME REDACTED]             Case 24-10245-JTD    Doc 219
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ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




JETT, LISA                                 JFK MEDICAL CENTER                      JI, YUAN
ADDRESS ON FILE                            GLENN STANDEFORD                        ADDRESS ON FILE
                                           220 WADSWORTH DRIVE
                                           RICHMOND, VA 23236




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                         JIMMY C. SUNG, M.D.
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




JIMMY S. FIROUZ, M.D., F.A.C.S.            JITENDRA V. SINGH, M.D.                 JM BRENNAN, INC
ADDRESS ON FILE                            ADDRESS ON FILE                         2101 W.ST. PAUL AVENUE
                                                                                   MILWAUKEE, WI 53233




JOANN M RINGER-KUHNE                       [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                            JOEL B. BECK, M.D.                      JOEL B. BECK, M.D.
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




JOELE FRANK, WILKINSON BRIMMER             JOHAN BRAHME                            JOHN A. GROSSMAN, M.D.
KATCHER                                    ADDRESS ON FILE                         ADDRESS ON FILE
622 THIRD AVENUE
622 THIRD AVENUE
NEW YORK, NY 10017
JOHN A. MILLARD, MD PC    Case 24-10245-JTD    DocM.D.
                                        JOHN AYALA, 219         Filed 03/28/24   Page 93B. of
                                                                                   JOHN       226 M.D.
                                                                                           FASANO,
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




JOHN BARRY BISHOP, M.D.                  JOHN D. SMOOT MD INC                       JOHN D. SMOOT MD INC.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




JOHN DOUGLAS ROBERTSON, MD               JOHN F KENNEDY MEMORIAL HOSP               JOHN F. DIAZ, M.D
ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE                     ADDRESS ON FILE
                                         47-111 MONROE ST
                                         INDIO, CA 92201




JOHN F. PAOPAO, M.D.                     JOHN HARRISON SCOTT CONSULTING LLC         JOHN HIJJAWI
ADDRESS ON FILE                          28181 COULTER ST                           ADDRESS ON FILE
                                         MISSION VIEJO, CA 92692




JOHN J. MINOLI, M.D.                     JOHN J. MINOLI, M.D.                       JOHN K. MCKISSOCK, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




JOHN K. MCKISSOCK, M.D.                  JOHN L. BURNS, M.D.                        JOHN M. PIERCE, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




JOHN M. SARBAK, M.D.                     JOHN M. THOMASSEN, MD                      JOHN MESA, M.D., LLC
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




JOHN MUIR MEDICAL CENTER                 JOHN OBRIEN, M.D.                          JOHN PAUL F BEZA
ATTN: ACCOUNTS PAYABLE                   ADDRESS ON FILE                            ADDRESS ON FILE
PO BOX 9023
WALNUT CREEK, CA 94598




JOHN PETER SMITH HOSPITAL                JOHN PETER SMITH HOSPITAL                  JOHN Q. COOK, M.D.
KIMBERLY CASWELL                         SHARON CLARK                               ADDRESS ON FILE
1500 S. MAIN ST                          1500 S MAIN ST
FORT WORTH, TX 76104-4917                FORT WORTH, TX 76104




JOHN ROWLEY, MD                          JOHN ROWLEY, MD                            JOHN S. LEE, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE
JOHN T MATHER HOSPITAL Case 24-10245-JTD     Doc 219
                                     JOHN T. LINDSEY, M.D. Filed 03/28/24   Page 94W.of
                                                                              JOHN      226M.D.
                                                                                      BASS,
CHARLES HURBAN                       ADDRESS ON FILE                           ADDRESS ON FILE
75 NORTH COUNTRY RD
PORT JEFFERSON, NY 11777




JOHN WILLIAMS MD                       JOHN, ANIMA                             JOHNNY FRANCO, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOHNNY FRANCO, M.D.                    JOHNS HOPKINS HOSPITAL                  JOHNS HOPKINS UNIVERSITY
ADDRESS ON FILE                        BURTON FULLER                           550 NORTH BROADWAY SUITE 726B
                                       PO BOX 33499                            BALTIMORE, MD 21205
                                       BALTIMORE, MD 21218




[NAME REDACTED]                        JOHNSON LEE, MD                         JOHNSON, DERRICK
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOHNSON, SHANNON                       JOHNSON, TREVOR                         JOHNSTON-WILLIS HOSPITAL
ADDRESS ON FILE                        ADDRESS ON FILE                         JOCELYN THOMPKINS
                                                                               200 WADSWORTH DRIVE
                                                                               RICHMOND, VA 23236




JON KURKJIAN, M.D., P.A.               JON PAUL TREVISANI, M.D.                JONATHAN D. KRAMER, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JONATHAN HEISTEIN, M.D.                JONATHAN LANDON, M.D.                   JONATHAN NEIL & ASSOCIATES, INC
ADDRESS ON FILE                        ADDRESS ON FILE                         PO BOX 7000
                                                                               TARZANA, CA 91357




JONATHAN R. FREED, MD.                 JONES DAY                               JONES PLASTIC SURGERY
ADDRESS ON FILE                        250 VESEY STREET                        DARLA ESSMAN
                                       NEW YORK, NY 10281                      8106 N. MAY AVE, SUITE J
                                                                               OKLAHOMA CITY, OK 73120




JONES, BRITTANY                        JONES, BRYANNA                          JONES, FEMI
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JONES, JEFFREY                         JOON CHOI, MD INC                       [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE
                      Case
JORDAN DESCHAMPS-BRALY, M.D. 24-10245-JTD    Doc
                                      JORDAN S.    219 M.D.Filed 03/28/24
                                                TERNER,                     Page 95 of
                                                                              JORDAN   226 MEDICAL CENTER - W.
                                                                                     VALLEY
ADDRESS ON FILE                       ADDRESS ON FILE                          CAMPUS
                                                                               ATTN: ACCOUNTS PAYABLE
                                                                               4052 PIONEER PKWY, SUITE 104A
                                                                               WEST VALLEY CITY, UT 84120



[NAME REDACTED]                        JORGE GONZALEZ, M.D.                    JORGE L. MENENDEZ, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                         JOSENHANS, COREY
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOSEPH A. MELE III, MD INC.            JOSEPH A. MELE III, MD INC..            JOSEPH A. RUSSO, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOSEPH C. BANIS, JR., M.D.             JOSEPH DANYO, M.D.                      JOSEPH DANYO, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOSEPH KHOURI                          JOSEPH L. GRZESKIEWICZ, MD, PC          JOSEPH M. GRYSKIEWICZ, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOSEPH MICHAELS, M.D.                  JOSEPH PLASTIC SURGERY, PLC             JOSEPH R. BARNTHOUSE, M.D.
ADDRESS ON FILE                        LAEL TOLAN                              ADDRESS ON FILE
                                       340 N WYMORE RD
                                       WINTER PARK, FL 32789




[NAME REDACTED]                        JOSH OLSON, M.D.                        JOSH OLSON, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOSHUA A LEMMON MD PLLC                JOSHUA B. HYMAN, M.D.                   JOSHUA LAMPERT, MD, PA
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JOSHUA LEMMON, MD                      JOURDAN GOTTLIEB, MD                    JOVANOVIC, BORANKA
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE
JPMORGAN CHASE (0902) Case 24-10245-JTD
                                    JPMORGANDoc   219(2357)
                                              CHASE       Filed 03/28/24   Page 96 of 226
                                                                             JPMORGAN CHASE (3622)
ATTN C MANOS/M GREEN                ATTN C MANOS/M GREEN                      ATTN C MANOS/M GREEN
575 WASHINGTON BLVD. 6TH FL         575 WASHINGTON BLVD. 6TH FL               575 WASHINGTON BLVD. 6TH FL
JERSEY CITY, NJ 07310               JERSEY CITY, NJ 07310                     JERSEY CITY, NJ 07310




JPMORGAN CHASE / EURO (1970)          JQ PLASTIC SURGERY                      JUAN L RENDON, MD
ATTN C MANOS/M GREEN                  NATALIE LORETI                          ADDRESS ON FILE
575 WASHINGTON BLVD. 6TH FL           217 BRECKENRIDGE LANE
JERSEY CITY, NJ 07310                 LOUISVILLE, KY 40207




JUDE LABARBERA, M.D.                  JUDE LABARBERA, M.D.                    JUDE LABARBERA, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




JUDE LABARBERA, M.D.                  JUDITH GURLEY PLASTIC SURGERY           [NAME REDACTED]
ADDRESS ON FILE                       ATTN: ACCOUNTS PAYABLE                  ADDRESS ON FILE
                                      14825 N OUTER 40 RD, SUITE 350
                                      CHESTERFIELD, MO 63017




[NAME REDACTED]                       JULENE SAMUELS, MD                      JULENE SAMUELS, MD
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




JULENE SAMUELS, MD                    JULENE SAMUELS, MD                      JULES WALTERS, MD
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                         JULIA SPEARS, M.D
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                       JULIE KIM                               [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE
JULIO GARCIA, MD         Case 24-10245-JTD
                                       JULIO M. Doc
                                                SOSA,219
                                                     M.D.      Filed 03/28/24   Page 97 of
                                                                                  JUPITER   226
                                                                                          DERMATOLOGY & HAIR
ADDRESS ON FILE                          ADDRESS ON FILE                           RESTORATION
                                                                                   OLIVIA BOCHEO
                                                                                   2101 S. US HWY 1
                                                                                   JUPITER, FL 33477



JUPITER MEDICAL CENTER                   JUPITER PLASTIC SURGERY                   JUSTIN HELLER, M.D.
CYNTHIA DAVIS                            SUE TREE                                  ADDRESS ON FILE
PO BOX 8350                              2055 MILITARY TRAIL, SUITE 305
JUPITER, FL 33468                        JUPITER, FL 33458




JUSTIN JONES                             JUSTIN PEREZ, MD                          JUSTIN PEREZ, MD
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          JW MARRIOTT AUSTIN                        K PLASTIC SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                           KIM POMYKAJ
                                                                                   711 TROY SCHENECTADY ROAD, SUITE 206
                                                                                   LATHAM, NY 12110




[NAME REDACTED]                          [NAME REDACTED]                           KAESER COMPRESSOR-MILWAUKEE
ADDRESS ON FILE                          ADDRESS ON FILE                           1900 PEWAUKEE RD
                                                                                   WAUKESHA, WI 53188




KAESER COMPRESSORS, INC                  KAI- 2526770 ONTARIO CORPORATION          KAI AESTHETIC, INC
PO BOX 946                               1203 DUNDAS ST WEST                       DEANNA (DT CONTACT FOR DR. MADRONICH)
FREDERICKSBURG, VA 22404                 TORONTO, ON M6J 1X3                       STE 25-2275 CREDIT VALLEY RD
                                         CANADA                                    MISSISSAUGA, ON L5M 4N5
                                                                                   CANADA



[NAME REDACTED]                          KAI MORIMOTO, MD                          KAILASH NARASIMHAN, MD
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




KAISER FOUNDATION HEALTH PLAN, INC.      KAISER PERMANENTE ORANGE COUNTY -         KAISER PERMANENTE WASHINGTON
P.O. BOX 741562                          IRVINE MEDICAL CENTER                     ATTN: AP
LOS ANGELES, CA 90074                    ACCOUNTS PAYABLE                          P.O. BOX 12929
                                         393 E WALNUT ST, 4TH FL SOUTH SIDE        OAKLAND, CA 94604
                                         PASADENA, CA 91188



KAISER--NORTHERN CALIFORNIA              KAISER--NORTHWESTERN                      [NAME REDACTED]
MARINA SHEYMAN                           ATTN: ACCOUNTS PAYABLE                    ADDRESS ON FILE
PO BOX 12929                             PO BOX 2943
OAKLAND, CA 94604                        PORTLAND, OR 97208




KALEIDA HEALTH                           KAMAKSHI R. ZEIDLER, MD                   KAMERON REZZADEH, MD
ATTN: ACCOUNTS PAYABLE                   ADDRESS ON FILE                           ADDRESS ON FILE
726 LARKIN ST
BUFFALO, NY 14210
KAMRAN KHOOBEHI, M.D.    Case 24-10245-JTD    DocSKIN
                                       KANSAS CITY 219& CANCER
                                                          FiledCENTER
                                                                03/28/24   Page 98 of
                                                                             KANSAS   226
                                                                                    DEPARTMENT OF HEALTH & ENV
ADDRESS ON FILE                         GAYE X                                1000 SW JACKSON ST
                                        5810 NW BARRY ROAD, SUITE 100         TOPEKA, KS 66612
                                        KANSAS CITY, MO 64154




KANSAS DEPARTMENT OF REVENUE            KANSAS DEPT OF LABOR                  KANSAS DEPT OF REVENUE
DIVISION OF TAXATION                    401 SW TOPEKA BLVD                    120 SE 10TH AVE
P.O. BOX 3506                           TOPEKA, KS 66603                      TOPEKA, KS 66612-1588
TOPEKA, KS 66625




KANSAS PLASTIC SURGERY                  KANSAS PLASTIC SURGERY, LLC           KANSAS PLASTIC SURGERY, LLC
ADDRESS ON FILE                         ATTN: ACCOUNTS PAYABLE                ADDRESS ON FILE
                                        1923 N GREENWICH RD
                                        WICHITA, KS 67206




KANSAS SECURITIES COMMISSIONER          KANSAS SURGERY & RECOVERY CENTER      KANSAS SURGICAL ARTS
KANSAS INSURANCE DEPT                   NANCY WERNEKE                         KAYLYN GAULIN
1300 SW ARROWHEAD RD                    2770 N WEBB RD                        3460 N. RIDGE ROAD, SUITE 160
TOPEKA, KS 66604                        WICHITA, KS 67226                     WICHITA, KS 67205




KAPIL SAIGAL, M.D.                      KARA & ASSOCIATES, INC                [NAME REDACTED]
ADDRESS ON FILE                         6965 EL CAMINO REAL                   ADDRESS ON FILE
                                        SUITE 105-428
                                        CARLSBAD, CA 92009




KARA LIEBIG                             [NAME REDACTED]                       KARAN CHOPRA, MD
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




KAREN HORTON, M.D.                      [NAME REDACTED]                       [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                         KAREN LO                              [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




KARL BREUING, MD                        KARL W. SCHWARZ, MD                   [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE
[NAME REDACTED]          Case 24-10245-JTD     Doc 219
                                       KARNS, DIANA            Filed 03/28/24   Page 99GUTOWSKI,
                                                                                  KAROL of 226 M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                           KATARZYNA LECHOWSKA
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         KATHERINE D. HEIN, MD                     KATHERINE D. HEIN, MD
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




KATHERINE D. HEIN, MD                   [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                           KATRINA DAYMUDE
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




KATTEN MUCHIN ROSENMAN LLP              KATTEN MUCHIN ROSENMAN LLP                KAUR, ARSHDEEP
525 WEST MONROE ST                      ATTN: MARK D. WOOD & JONATHAN D.          ADDRESS ON FILE
CHICAGO, IL 60661                       WEINER
                                        525 WEST MONROE STREET
                                        CHICAGO, IL 60661



KAVALI PLASTIC SURGERY                  KAVEH ALIZADEH, M.D.                      KAVEH ALIZADEH.
ERIK VAN NAME                           ADDRESS ON FILE                           ADDRESS ON FILE
6045 BARFIELD ROAD, SUITE 100
ATLANTA, GA 30328




KAYAL DERMATOLOGY                       KAYAN PLASTIC SURGERY                     [NAME REDACTED]
KATRINA COBB                            ATTN: ACCOUNTS PAYABLE                    ADDRESS ON FILE
141 LACY STREET, SUITE 200              15450 HIGHWAY 7, SUITE 225
MARIETTA, GA 30060                      MINNETONKA, MN 55345
[NAME REDACTED]           Case 24-10245-JTD     Doc 219
                                         [NAME REDACTED]      Filed 03/28/24   Page  100REDACTED]
                                                                                  [NAME  of 226
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           KAYLEIGH ALLENDER                       [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




KEAGLE MEDICAL, INC                       KEAGLE MEDICAL, INC.                    KEAGLE MEDICAL, INC.
1245 WILSHIRE BLVD                        EMELIA RINKE                            JUDY CHAVEZ
SUITE 601                                 1245 WILSHIRE BLVD                      3600 LOMITA BLVD
LOS ANGELES, CA 90017                     SUITE 601                               SUITE 100
                                          LOS ANGELES, CA 90017                   TORRANCE, CA 90505



KEEN VISION SYSTEMS LLC                   KEENEY, TAIKEN                          [NAME REDACTED]
4760 WOODVIEW DRIVE                       ADDRESS ON FILE                         ADDRESS ON FILE
SANTA ROSA, CA 95405




KEITH A. HURVITZ, M.D.                    KEITH SULLIVAN                          KELDERHOUSE, REBECCA
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




KELL WEST REGIONAL HOSPITAL               KELLANG XIAO                            KELLEY KEANE
LYNN DEHOYOS                              ADDRESS ON FILE                         ADDRESS ON FILE
5420 KELL BLVD
WICHITA FALLS, TX 76310-1610




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         KELLY CONDLEY
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           KELLY KUNKEL, M.D                       [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE
KELTER                  Case 24-10245-JTD
                                       KELTER,Doc 219
                                              DERYA         Filed 03/28/24   Page 101MICHELE
                                                                                KEMP,  of 226
C/O MARALAN LAW P.C.                   ADDRESS ON FILE                          ADDRESS ON FILE
SAM MARALAN
3080 BRISTOL STREET, STE 630
COSTA MESA, CA 92626



[NAME REDACTED]                       KENDALL NICOLE NORRIS                     KENDALL REGIONAL MEDICAL CENTER
ADDRESS ON FILE                       ADDRESS ON FILE                           PEGGY WOOD
                                                                                11750 SW 40TH STREET
                                                                                MIAMI, FL 33175




[NAME REDACTED]                       [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




KENNA PLASTIC SURGERY                 [NAME REDACTED]                           KENNEDY, SHAKIRA
SUSAN HALL                            C/O SCOTT ALLEN LAW                       ADDRESS ON FILE
2350 FREEDOM WAY, SUITE 107           SCOTT ALLEN
YORK, PA 17402                        24196 E. HWY 51
                                      BROKEN ARROW, OK 74014



KENNETH D CHRISTMAN, MD               KENNETH D. DEMBNY, M.D.                   KENNETH D. DEMBNY, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




KENNETH K. KIM, M.D.                  KENNETH ODINET , M.D                      KENNETH SHAHEEN, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




KENNETH SUMIDA                        KENT V. HASEN, M.D.                       KENTUCKY CABINET FOR HEALTH
ADDRESS ON FILE                       ADDRESS ON FILE                           AND FAMILY SERVICES
                                                                                275 E. MAIN ST.
                                                                                FRANKFORT, KY 40621




KENTUCKY DEPARTMENT OF REVENUE        KENTUCKY DEPT OF REVENUE                  KENTUCKY LABOR CABINET
KY DEPT OF REVENUE                    501 HIGH ST, STATION 38                   500 METRO ST, 3RD FL
FRANKFORT, KY 40620                   FRANKFORT, KY 40601-2103                  FRANKFORT, KY 40601




KENTUCKY MEDICAID SERVICES            KENTUCKY SECURITIES DIVISION              KERALTY HOSPITAL MIAMI
DEPARTMENT                            500 METRO ST                              JEANIE FERNANDEZ
275 E. MAIN STREET                    FRANKFORT, KY 40601                       2500 SW 75TH AVE
6W-A                                                                            MIAMI, FL 33155
FRANKFURT, KY 40621



[NAME REDACTED]                       KERZNER PALMILLA HOTEL                    KETAN PATEL, M.D.
ADDRESS ON FILE                       KERZNER INTERNATIONAL NEW YORK            ADDRESS ON FILE
                                      31 HUDSON YARDS, 11TH FL
                                      NEW YORK, NY 10001
KETTERING HEALTH       Case 24-10245-JTD     Doc 219 M.D.
                                      KEVIN DIEFFENBACH, Filed 03/28/24   Page 102
                                                                             KEVIN   of 226
                                                                                   OBOYLE
ATTN: ACCOUNTS PAYABLE                ADDRESS ON FILE                        ADDRESS ON FILE
1 PRESTIGE PLACE
MIAMISBURG, OH 45342




KEVIN PERMAN, M.D.                    KEY LASER INSTITUTE                    KEYENCE CORP OF AMERICA
ADDRESS ON FILE                       HEIDI X                                DEPT LA 22198
                                      9755 SW BARNES ROAD, SUITE 155         PASADENA, CA 91185-2198
                                      PORTLAND, OR 97225




KEYIAN PAYDAR, M.D.                   KEYSIGHT TECHNOLOGIES, INC             KEYSTONE COMPLIANCE,LLC
ADDRESS ON FILE                       1400 FOUNTAINGROVE PARKWAY             131 NORTH COLUMBUS INNERBELT
                                      SANTA ROSA, CA 95403                   NEW CASTLE, PA 16101




KEYSTONE UNIVERSAL CORPORATION        KH PLASTIC SURGERY                     KHANMOHAMMADI, MARTHA
18400 RIALTO                          DARIA FASCINA                          ADDRESS ON FILE
MELVINDALE, MI 48122                  143 N. LONG BEACH ROAD, SUITE 4
                                      ROCKVILLE CENTRE, NY 11570




KHP 11 CANARY, LLC                    KHURSHID, MOHAMMAD                     KIERNEY AND CHUNG, MD, PS
CANARY HOTEL & FINCH AND FORK         ADDRESS ON FILE                        ADDRESS ON FILE
RESTAURANT
SANTA BARBARA, CA 93101




KILBRIDGE ASSOCIATES                  [NAME REDACTED]                        KIM C. TAUNTON, RN
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                        KIM, DANIEL
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




KIMBERLY A. HENRY, M.D.               KIMBERLY A. HENRY, M.D.                [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




KIMPTON JOURNEYMAN HOTEL              KING, RICKY                            KINGS DAUGHTERS MEDICAL CENTER
310 E CHICAGO STREET                  ADDRESS ON FILE                        MICHELLE ABLES
MILWAUKEE, WI 53202                                                          PO BOX 1245
                                                                             PICO RIVERA, CA 90660
                      Case
KINGS DAUGHTERS MEDICAL     24-10245-JTD
                        CENTER                Doc 219 MD,
                                      KIRK A. CHURUKIAN, Filed
                                                           FACS03/28/24      Page  103
                                                                                KIRK     of 226 MD, FACS
                                                                                     A. CHURUKIAN,
PAM SHOCKEY                           ADDRESS ON FILE                           ADDRESS ON FILE
2301 LEXINGTON AVE
ASHLAND, KY 41101




[NAME REDACTED]                          KIRK TIPPERY DBA KTI INDUSTRIAL        KIRKLAND & ELLIS LLP
ADDRESS ON FILE                          ADDRESS ON FILE                        601 LEXINGTON AVENUE
                                                                                NEW YORK, NY 10022




KIRST, MICHAEL                           KIRSTEN ANGELA MACFARLANE              [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                        KIYA MOVASSAGHI, MD, PC.
ADDRESS ON FILE                          ADDRESS ON FILE                        ADDRESS ON FILE




KLAPPER EYELID AND FACIAL PLASTIC SURG   KLEAR-COM LTD                          KLEINERT KUTZ HAND CARE CENTER
CARON ABES                               MATAM HIGH TECH PARK,                  LINDA GAUBATZ
11590 N. MERIDIAN STREET, SUITE 100      BUILDING 25, FLOOR 7                   3605 NORTHGATE CT. SUITE 101
CARMEL, IN 46032                         HAIFA 3508403                          NEW ALBANY, IN 47150
                                         ISRAEL



KLEMAN, JESUSITA                         KLIMECKI, MEGAN                        KNIGHTSBRIDGE SURGERY CENTER
ADDRESS ON FILE                          ADDRESS ON FILE                        ERIN KNAPP
                                                                                4845 KNIGHTSBRIDGE BLVD, STE 110
                                                                                COLUMBUS, OH 43214




KOBELLARI, SONIL                         KOCH AND CARLISLE PLASTIC SURGERY      KOCJANCIC, JULIE
ADDRESS ON FILE                          SUE GRANDQUIST                         ADDRESS ON FILE
                                         4855 MILLS CIVIC PKWY, STE 100
                                         WEST DES MOINES, IA 50265




KOEPKE, KEVIN                            KOLVENBACH, ROBERT                     KONICA MINOLTA BUSINESS SOLUTIONS USA
ADDRESS ON FILE                          ADDRESS ON FILE                        DEPT. LA 22988
                                                                                PASADENA, CA 91185




KOOTENAI HEALTH                          KOPP, KATHRYN                          [NAME REDACTED]
APRIL JOHNSON                            ADDRESS ON FILE                        ADDRESS ON FILE
2003 KOOTENAI HEALTH WAY
COEUR DALENE, ID 83814




KORN FERRY (US)                          [NAME REDACTED]                        KOTIS PLASTIC SURGERY
1900 AVENUE OF THE STARS                 ADDRESS ON FILE                        MARY ANN X
SUITE 2600                                                                      3443 N. KENNICOTT AVENUE
LOS ANGELES, CA 90067                                                           ARLINGTON HEIGHTS, IL 60004
KOTLOW, DANIEL           Case 24-10245-JTD     Doc 219
                                        [NAME REDACTED]      Filed 03/28/24   Page 104
                                                                                 KPMG   of 226
                                                                                      LLP
ADDRESS ON FILE                          ADDRESS ON FILE                         DEPT 0922
                                                                                 PO BOX 120922
                                                                                 DALLAS, TX 75312-0922




KPMG LLP                                 KPMG LLP                                KRANTZ, PATRICIA
GERALD SCHEMIDT                          GERALD SCHEMIDT                         ADDRESS ON FILE
2323 ROSS AVENUE                         DEPT 0922
SUITE 1400                               PO BOX 120922
DALLAS, TX 75201                         DALLAS, TX 75312-0922



KRASCZYK, JOSEPH                         KREITZBERG PLASTIC SURGERY              KRESGE, KALTOUMI
ADDRESS ON FILE                          DEBRA HUENEFELD                         ADDRESS ON FILE
                                         8424 S 69TH EAST AVE
                                         TULSA, OK 74133-5091




KRIEL FAMILY PRACTICE                    KRIS CRAIGO                             KRIS CRAIGO
4-1224 STRACHAN RD SE                    ADDRESS ON FILE                         ADDRESS ON FILE
ALBERTA, AB T1B 4R2
CANADA




KRIS PATRICK CORRIGAN DBA SIGNATURE      KRIS TURNER                             KRISSY DEMONTE
PROD                                     ADDRESS ON FILE                         ADDRESS ON FILE
ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




KRISTEN RICHARDS, M.D.                   [NAME REDACTED]                         KRISTIN KURODA JACKSON
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                          KRISTIN VOTH                            [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




KRISTINE HEDBERG                         [NAME REDACTED]                         KRISTOPHER M DAY, MD FACS
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE
KRUSZKA, PAUL           Case 24-10245-JTD     Doc 219
                                       [NAME REDACTED]     Filed 03/28/24    Page
                                                                                KS 105 of 226 SERV, KELSEY SEYBOLD
                                                                                   MANAGEMENT
ADDRESS ON FILE                         ADDRESS ON FILE                         CLINC
                                                                                BELA PATEL
                                                                                8900 LAKES AT 610
                                                                                HOUSTON, TX 77054



KUAKINI MEDICAL CENTER                  KUHLMAN, TRAVIS                         KUKURUZOVIC, OLIVERA
KATHY OSHIRO-KIM HANSON                 ADDRESS ON FILE                         ADDRESS ON FILE
347 N KUAKINI ST
HONOLULU, HI 96817




KUMAR, ARUN                             KUNG, JILL                              KUPCHO, ANTHONY
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




KURTIS MARTIN, M.D.                     KURZ INDUSTRIAL SOLUTIONS INC           KUY PLASTIC SURGERY
ADDRESS ON FILE                         1325 MCMAHON DRIVE                      3825 EDWARDS RD, STE 550
                                        NEENAH, WI 54956                        CINCINNATI, OH 45209




KYLE BALTRUSCH                          [NAME REDACTED]                         KYLENES PHOTOGRAPHY
ADDRESS ON FILE                         ADDRESS ON FILE                         LISA KYLENE WHITE
                                                                                1915 WROCKLAGE AVE, APT 206
                                                                                LOUISVILLE, KY 40205




KYLES, LEROY                            KYOUNG KIM, M.D.                        L. MICHAEL DIAZ, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




LA BELLE VIE PLASTIC SURGERY            LA JOLLA CENTER FOR FACIAL PLASTIC      LA JOLLA COSMETIC SURGERY CENTRE
ANDREA BLOCKSIDGE                       SURG                                    KAREN YORK
1122 MEDICAL CENTER DR                  MISTY GEARY                             9850 GRENESEE AVENUE, SUITE 130
WILMINGTON, NC 28401                    3252 HOLIDAY CT., SUITE 206             LA JOLLA, CA 92037
                                        SAN DIEGO, CA 92037



LA JOLLA COSMETIC SURGERY CENTRE        LA LASER CENTER, PC                     LA LASER CENTER, PC
LYNETTE CONTRERAS                       MICHELLE SAADY                          MICHELLE SAADY
9850 GRENESEE AVENUE                    40663 MURIETTA HOT SPRINGS ROAD         40663 MURIETTA HOT SPRINGS ROAD, STE C-
SUITE 130                               MURRIETA, CA 92562                      3
LA JOLLA, CA 92037                                                              MURRIETA, CA 92562



LA LIPOSUCTION CENTERS                  LA SOCIETY OF PLASTIC SURGEONS          LA VETA SURGICAL CENTER
REBECCA DUNSWORTH                       465 N ROXBURY DRIVE PENTHOUSE           MARLENE GUZMAN
17525 VENTURA BLVD, SUITE 203           BEVERLY HILLS, CA 90210                 681 S. PARKER STREET, SUITE 150
ENCINO, CA 91316                                                                ORANGE, CA 92868




LABORATOIRE NATIONAL                    LABORDE, MICHAEL                        LACKAWANNA VALLEY DERMATOLOGY
DE METROLOGIE ET DESSAIS (LNE)          ADDRESS ON FILE                         ASSOCIATES
29 AVENUE ROGER HENNEQUIN                                                       KATHY COLOMBO
TRAPPE 78197                                                                    327 N. WASHINGTON AVENUE
FRANCE                                                                          SCRANTON, PA 18503
[NAME REDACTED]       Case 24-10245-JTD    DocGENERAL
                                     LAFAYETTE 219 Filed 03/28/24           Page 106 CLIFFS
                                                                               LAGUNA of 226MARRIOT RESORT & SPA
ADDRESS ON FILE                      DESTINY EDMOND                            25135 PARK LANTERN
                                     PO BOX 52009                              DANA POINT, CA 92629
                                     LAFAYETTE, LA 70502




LAGUNA HILLS SURGERY CENTER          LAHAR PLASTIC SURGERY                     LAHLOUH, INC
PATRICE ROCK                         KATIE GREER                               1649 ADRIAN ROAD
24331 EL TORO RD, SUITE 150          436 N ROXBURY DR, SUITE 117               BURLINGAME, CA 94010
LAGUNA WOODS, CA 92637               BEVERLY HILLS, CA 90210




LAHOTI, SHILPI                       LAKE CHARLES MEMORIAL HOSPITAL            LAKE HOSPITAL SYSTEM
ADDRESS ON FILE                      ATTN: ACCOUNTS PAYABLE                    BARBARA PARRISH
                                     PO BOX 3744                               7590 AUBURN RD
                                     LAKE CHARLES, LA 70601                    CONCORD, OH 44077




LAKE MARY SURGERY CENTER             LAKE REGION HEALTHCARE CORPORATION        LAKE REGION HEALTHCARE CORPORATION
ATTN: ACCOUNTS PAYABLE               ATTN: ACCOUNTS PAYABLE                    SHANNON PITRE
PO BOX 2248                          PO BOX 728                                712 S CASCADE ST, PO BOX 728
BRENTWOOD, TN 37027                  FERGUS FALLS, MN 56537                    FERGUS FALLS, MN 56537




LAKE REGION HEALTHCARE CORPORATION   LAKELAND REGIONAL HEALTH SYSTEMS          LAKELAND SURGICAL AND DIAGNOSTIC
SHANNON PITRE                        MONIKA WILEY                              CENTER
712 S CASCADE ST, PO BOX 728         PO BOX 31231                              BERYL WRIGHT
FERGUS FALLS, MN 56538-0728          SALT LAKE CITY, UT 84131                  115 S. MISSOURI AVE, SUITE 101
                                                                               LAKELAND, FL 33815



[NAME REDACTED]                      LAKEVIEW HOSPITAL                         LAKEVIEW HOSPITAL
ADDRESS ON FILE                      BETTY LOWRIMORE                           JACQUELINE ZETINO
                                     630 E. MEDICAL DR                         1151 ENTERPRISE DRIVE, SUITE 100
                                     BOUNTIFUL, UT 84010                       COPPELL, TX 75019




LAKEVIEW REGIONAL MEDICAL CENTER     LAKEVIEW SURGERY CENTER                   LAKEWALK SURGERY CENTER
NASHVILLE CSC                        BRANDON JOHNSON                           ATTN: AP
245 B GREAT CIRCLE RD                1750 60TH ST                              1420 LONDON RD, SUITE 100
NASHVILLE, TN 37228                  WEST DES MOINES, IA 50266                 DULUTH, MN 55805




LAKEWOOD RANCH MEDICAL CENTER        LAKEWOOD RANCH MEDICAL CENTER             LAKEWOOD REGIONAL MEDICAL CENTER
ATTN: ACCOUNTS PAYABLE               JEFFREY STORM                             ATTN: ACCOUNTS PAYABLE
206 2ND ST E                         8330 LAKEWOOD RANCH BLVD.                 PO BOX 928
BRADENTON, FL 34208-1042             BRADENTON, FL 34202                       CHESTERTON, IN 46304




[NAME REDACTED]                      LAMAS, ANA                                LAMB PLASTIC SURGERY CENTER
ADDRESS ON FILE                      ADDRESS ON FILE                           ATTN: AP
                                                                               1507 S UNIVERSITY DR
                                                                               FARGO, ND 58103




[NAME REDACTED]                      LANAUDIERE SUICIDE PREVENTION CENTER      LANCASTER GENERAL HOSPITAL
ADDRESS ON FILE                      CP 39                                     TAYLA RODRIGUEZ
                                     JOLIETTE, QC J6E 3Z3                      PO BOX 3555
                                     CANADA                                    LANCASTER, PA 17602
LANDA, ALLYSON             Case 24-10245-JTD    Doc
                                          LANDFORD   219 SURGERY
                                                   PLASTIC Filed 03/28/24   Page  107REDACTED]
                                                                               [NAME  of 226
ADDRESS ON FILE                            RANDALL HUDGINS                     ADDRESS ON FILE
                                           35 FAIRWOOD VIEW CT
                                           PHOENIX, MD 21131




LANGE, CAMERON                             LANGUAGE INTELLIGENCE LTD           LANKENAU MEDICAL CENTER
ADDRESS ON FILE                            16 N GOODMAN ST                     MARK BENNER
                                           ROCHESTER, NY 14607                 PO BOX 12603
                                                                               WYNNEWOOD, PA 19096




LANSDALE PLASTIC SURGERY                   LAPLANT, RACHEL                     LARIMAR MEDSPA
BOBBIE MARTINO                             ADDRESS ON FILE                     DEIDRE THOMPSON
1101 S. BROAD STREET                                                           307 MANUFACTURERS ROAD, SUITE 201
LANSDALE, PA 19446                                                             CHATTANOOGA, TN 37405




LARRY JONAS, M.D                           LARRY K. FAN, M.D.                  LARRY LEVERETT, M.D
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




LARS P. ENEVOLDSEN, M.D.                   [NAME REDACTED]                     LATHAM & WATKINS LLP
ADDRESS ON FILE                            ADDRESS ON FILE                     555 WEST FIFTH STREET
                                                                               SUITE 300
                                                                               LOS ANGELES, CA 90013




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




LAURENCE WEIDER, M.D.                      [NAME REDACTED]                     LAURIE A. CASAS, M.D.
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




LAURIE A. CASAS, MD                        [NAME REDACTED]                     LAURIE D FOSTER
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




[NAME REDACTED]                            LAWNER, TRACY                       LAWNWOOD REGIONAL MEDICAL CENTER
ADDRESS ON FILE                            ADDRESS ON FILE                     TODD CAIAZZO
                                                                               1700 S 23RD ST
                                                                               FORT PIERCE, FL 34950
LAWRENCE ITELD, M.D.    Case 24-10245-JTD    DocM.219
                                       LAWRENCE   KOPLIN Filed 03/28/24    Page 108 of M.
                                                                              LAWRENCE 226KOPLIN, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




LAWRENCE N GRAY, MD                     LAWRENCE S. REED, M.D.                LAWRENCE S. REED, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




LAWRENCE SCOTT ENNIS, M.D.              LAWRENCE W. SHAW, M.D.                LAWTON W. TANG, MD
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                         LAYTON AESTHETIC PLASTIC SURGERY      LAZARO, DANIEL
ADDRESS ON FILE                         MORIAH WILLIAMS                       ADDRESS ON FILE
                                        929 GESSNER, SUITE 2200
                                        HOUSTON, TX 77024




LBA IV-PPI, LLC                         LBA IV-PPI, LLC                       LBA IV-PPII-OFFICE, LLC
C/O LBA REALTY LLC                      PO BOX 740611                         3347 MICHELSON DRIVE
ATTN: GENERAL MANAGER – PARK PLACE      LOS ANGELES, CA 90074-0611            SUITE 200
3347 MICHELSON DRIVE, SUITE 200                                               IRVINE, CA 92612
IRVINE, CA 92612



LBA REALTY LLC                          LE SPA PLASTIC SURGERY                LE, KENNY
ATTN: SVP—OPERATIONS                    ATTN: ACCOUNTS PAYABLE                ADDRESS ON FILE
3347 MICHELSON DRIVE, SUITE 200         215 N NEW RIVER DR E, STE B
IRVINE, CA 92612                        FORT LAUDERDALE, FL 33301-1066




LEA PLASTIC SURGERY                     LEA PLASTIC SURGERY                   [NAME REDACTED]
DONNA WARD                              DONNA WARD                            ADDRESS ON FILE
20360 SW BIRCH STREET, SUITE 160        20360 SW BIRCH STREET, SUITE 180
NEWPORT BEACH, CA 92660                 NEWPORT BEACH, CA 92660




LEAPING GECKO, INC                      LEARY, DAVID                          LECHOWSKA, KATARZYNA
4018 E. MASSACHUSETTS ST.               ADDRESS ON FILE                       ADDRESS ON FILE
LONG BEACH, CA 90814




LEE INSTITUTE OF PLASTIC SURGERY        LEE INSTITUTE OF PLASTIC SURGERY      LEE, CAROL
ATTN: ACCOUNTS PAYABLE                  JASMINE BASHENKO                      ADDRESS ON FILE
6815 FIVE STAR BLVD SUITE 100           5 MEDICAL PLAZA, SUITE 210
ROCKLIN, CA 95677                       ROSEVILLE, CA 95661




LEE, THOMAS                             LEE, YER                              LEEDS BROWN LAW, PC
ADDRESS ON FILE                         ADDRESS ON FILE                       ONE OLD COUNTRY ROAD, SUITE 347
                                                                              CARLE PLACE, NY 11514
[NAME REDACTED]           Case 24-10245-JTD
                                         LEEVCODoc
                                               LLC 219       Filed 03/28/24   Page  109 of PLASTIC
                                                                                 LEFKOWITZ 226 SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                         MOLLIE ALLEN
                                                                                 3566 SUNSET BLVD
                                                                                 WEST COLUMBIA, SC 29169




LEGACY DERMATOLOGY GROUP                 LEGACY FILMS                            LEGACY HEALTH SYSTEM
MARILYN NA                               ADDRESS ON FILE                         JULIE PATTERSON
1900 S. TELEGRAPH ROAD, SUITE 100                                                PO BOX 2904
BLOOMFIELD HILLS, MI 48302                                                       PORTLAND, OR 97208




LEGENT ORTHOPEDIC & SPINE HOSPITAL       LEH, MU                                 LEHIGH VALLEY HEALTH NETWORK
LYNDSEY ANDREWS                          ADDRESS ON FILE                         BENITA VANLIEU
5330 N LOOP 1604 W                                                               PO BOX 1110
SAN ANTONIO, TX 78249                                                            ALLENTOWN, PA 18105




LEHIGH VALLEY HOSPITAL POCONO            LEHIGH VALLEY HOSPITAL POCONO           LEHR, JOSH
ATTN: AP                                 MARY TULLOCH                            ADDRESS ON FILE
PO BOX 1110                              206 E. BROWN STREET
ALLENTOWN, PA 18105                      EAST STROUDSBURG, PA 18301




LEIA CROMWELL                            LEIF ROGERS, M.D.                       LEIGH ANNE FERNANDES
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                          LEILANI SAXON                           LELAND H. WEBB, M.D. PLASTIC SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                         PLC
                                                                                 5410 N SCOTTSDALE RD, C-100
                                                                                 PARADISE VALLEY, AZ 85253




LELAND H. WEBB, MD FACS                  LEMBERG ELECTRIC CO INC                 [NAME REDACTED]
ADDRESS ON FILE                          4085 N. 128TH STREET                    ADDRESS ON FILE
                                         BROOKFIELD, WI 53005




[NAME REDACTED]                          LEO R. MCCAFFERTY, M.D.                 [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




LEONARD A. ROUDNER, M.D., P.A.           LEONARD A. ROUDNER, M.D., P.A.          LEONARD GRAY, M.D.
BARBARA MARCOS                           CINDY ARANGO                            ADDRESS ON FILE
550 BILTMORE WAY, SUITE 890              14 S. HIBISCUS DRIVE
CORAL GABLES, FL 33134                   MIAMI BEACH, FL 33139




LEONARD M HOCHSTEIN, MD                  LEONARD M. HOCHSTEIN, M.D.              LEONARD PLASTIC SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                         DAWN HARRIS
                                                                                 700 BELLEVUE STREET S
                                                                                 SUITE 280
                                                                                 SALEM, OR 97301
LEONARD T. YU, M.D.      Case 24-10245-JTD    DocNARISARA
                                        LEONARDO, 219 Filed 03/28/24          Page  110REDACTED]
                                                                                 [NAME  of 226
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         LESLIE E. COHEN, M.D.                    LESLIE RIMBOECK
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




LEVON INVESTMENTS, LLC                  LEWIS BRISBOLS BISAARD & SMITH, LLP      LEWIS PLASTIC SURGERY
200 E CARRILLO ST. STE 200              633 WEST 5TH STREET                      ERIN STEVENSON
SANTA BARBARA, CA 93101                 SUITE 4000                               2331 A ROBIOUS STATION CIRCLE
                                        LOS ANGELES, CA 90071                    MIDLOTHIAN, VA 23113




LEWIS PLASTIC SURGERY                   LEWIS PLASTIC SURGERY                    LEWIS, KENNETH
SHAHANA BAIG-LE                         TISH MCKAY                               ADDRESS ON FILE
1200 SW NAITO PKWY, STE 330             10201 SE MAIN STREET, SUITE 20
PORTLAND, OR 97209-2878                 PORTLAND, OR 97216




LEWISBURG PLASTIC SURGERY &             LEXAMED, LTD                             LEXINGTON MEDICAL CENTER
DERMATOLOGY                             705 FRONT STREET                         JULIE RHODES
WENDY BROWN                             TOLEDO, OH 43605                         2720 SUNSET BLVD.
135 WALTER DRIVE                                                                 WEST COLUMBIA, SC 29169
LEWISBURG, PA 17837



LEXINGTON PLASTIC SURGERY               LEXINGTON SURGERY CENTER                 LEXISNEXIS RISK SOLUTIONS
CJ RATLIFF                              JAYNE UZL                                BILLING ID 1458090
3363 TATES CREEK ROAD                   PO BOX 4449                              28330 NETWORK PLACE
LEXINGTON, KY 40502                     LEXINGTON, KY 40544                      CHICAGO, IL 60673




LI PLASTIC SURGERY                      [NAME REDACTED]                          LIBERACKI, KRISTINE
KAREN ZAMORA                            ADDRESS ON FILE                          ADDRESS ON FILE
3110-C INLAND EMPIRE BLVD
ONTARIO, CA 91764




LIBERTINI, JULIE                        LIDO HOUSE, LLC                          LIFE AESTHETIC CENTER
ADDRESS ON FILE                         3300 NEWPORT BLVD                        PAT TIDMARSH
                                        NEWPORT BEACH, CA 92663                  2940 SQUALICUM PARKWAY, SUITE 206
                                                                                 BELLINGHAM, WA 98225




LIFE INSURANCE COMPANY OF NORTH         LIFE SCIENCE RISK                        LIFE SCIENCE RISK
AMERICA                                 155 NORTH WACKER DRIVE                   155 NORTH WACKER DRIVE
PO BOX 782447                           SUITE 4000                               SUITE 4000
PHILADELPHIA, PA 19178                  CHICAGO, IL                              CHICAGO, IL 60606




LIFESPAN                                LIFT PLASTIC SURGERY                     LIMA RECON & PLASTIC SURGERY
SHARON MCNULTY                          MICHELLE NOLEN                           ERICKA SPIVEY
PO BOX 6363                             410 GENESIS BLVD, STE A                  825 W MARKET ST.
PROVIDENCE, RI 02940                    WEBSTER, TX 77598                        LIMA, OH 45805-2799
LIMBLE SOLUTIONS, INC   Case 24-10245-JTD     Doc 219
                                       [NAME REDACTED]       Filed 03/28/24   Page  111INTERNATIONAL
                                                                                 LINAGE of 226
3290 W MAYFLOWER AVE                    ADDRESS ON FILE                          RUSSELL SHEPHERD
LEHI, UT 84043                                                                   28049 SMYTH DRIVE
                                                                                 VALENCIA, CA 91355




LINCOLN AESTHETIC & RECON SURG, PC      LINCOLN AESTHETIC SURG INST              [NAME REDACTED]
DARCY PARR                              ABBY CRIST                               ADDRESS ON FILE
2222 S 16TH ST STE 300                  2222 S 16TH ST, STE 340
LINCOLN, NE 68502-3785                  LINCOLN, NE 68502-3785




LINDA HUANG, M.D                        [NAME REDACTED]                          LINDA K. SAVAGE
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         LINDA L. SWANSON, M.D.                   [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         LINDEN SWEDEN                            LINDNER LOGISTICS,LLC
ADDRESS ON FILE                         7609 WASHINGTON AVE S                    W229 N1492 WESTWOOD DRIVE
                                        EDINA, MN 55439                          WAUKESHA, WI 53186




[NAME REDACTED]                         LINDSAY K BARNETT COACHING               [NAME REDACTED]
ADDRESS ON FILE                         531 MAIN STREET 1122                     ADDRESS ON FILE
                                        EL SEGUNDO, CA 90245




[NAME REDACTED]                         LINDSEY CARMICHAEL                       [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




LINDSEY, JENEEN                         LINE PLASTIC SURGERY                     LINE PLASTIC SURGERY
ADDRESS ON FILE                         ELIANA MORENO                            ZUNWOO KIMN
                                        9033 WILSHIRE BLVD, SUITE 408            3424 WILSHIRE BLV, SUITE 1100
                                        BEVERLY HILLS, CA 90211                  LOS ANGELES, CA 90010




LINKEDIN CORP                           [NAME REDACTED]                          LINVILLE AESTHETIC & RECONSTRUCTIVE
1000 WEST MAUDE AVE.                    ADDRESS ON FILE                          SURG
SUNNYVALE, CA 94085                                                              VALERIE BROWNING
                                                                                 7400 FANNIN STREET, SUITE 850
                                                                                 HOUSTON, TX 77054



[NAME REDACTED]                         LISA B. CASSILETH, M.D., INC.            [NAME REDACTED]
ADDRESS ON FILE                         436 N BEDFORD DRIVE, SUITE 103           ADDRESS ON FILE
                                        BEVERLY HILLS, CA 90210
LISA BROSTROM, MD        Case 24-10245-JTD     Doc 219
                                        [NAME REDACTED]        Filed 03/28/24   Page  112REDACTED]
                                                                                   [NAME  of 226
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




LISA DIFRANCESCO, M.D.                   LISA GFRERER                              [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




LISA HWANG, MD                           [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




LISA SANTOS, M.D.                        LISA SANTOS, M.D.                         LISA TAYLOR, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                           LISCOPPI, SAVANNAH
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




LISTENGAGE LLC                           LIU PLASTIC SURGERY                       LIU, REBECCA
5 EDGELL ROAD SUITE 20                   CARMEN CHAVEZ                             ADDRESS ON FILE
FRAMINGHAM, MA 01701                     15055 LOS GATOS BLVD, SUITE 250
                                         LOS GATOS, CA 95032




LIVE OAK SURGERY CENTER                  LIVE SPARK                                LIVEDATA TECHNOLOGIES
AMANDA WYSE                              2804 33RD AVE NE                          1222 STATE STREET
7211 PRESTON ROAD, SUITE 2100            SAINT ANTHONY, MN 55418                   SANTA BARBARA, CA 93110
PLANO, TX 75024




LIZETH PANUCO MUA                        LLOYD A. HOFFMAN, M.D.                    LLOYD A. HOFFMAN, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




LLOYD KRIEGER, M.D.                      LLOYD KRIEGER, M.D.                       LLOYDS OF LONDON
ADDRESS ON FILE                          ADDRESS ON FILE                           FALVEY CARGO UNDERWRITING
                                                                                   KAREN COPPA
                                                                                   66 WHITECAP DRIVE
                                                                                   NORTH KINGSTOWN, RI 02852



LLOYDS OF LONDON                         LOGAN HEALTH                              LOGIS CFO, LLC
RT SPECIALTY                             RICH STEWART                              22287 MULHOLLAND HIGHWAY 202
PAUL JACKSON                             320 SUNNYVIEW LANE                        CALABASAS, CA 91302
540 W MADISON, 9TH FLOOR                 KALISPELL, MT 59901
CHICAGO, IL 60661
LOGMEIN USA, INC.        Case 24-10245-JTD     Doc 219M.D.Filed 03/28/24
                                        LOIS WAGSTROM,                           Page 113
                                                                                    LOMA    of 226
                                                                                         LINDA UNIVERSITY MEDICAL CENTER
320 SUMMER STREET                        ADDRESS ON FILE                            KARINA CANTUNA
BOSTON, MA 02210                                                                    11175 CAMPUS STREET, SUITE 21126
                                                                                    LOMA LINDA, CA 92354




LOMA LINDA VA HOSPITAL                   LOMELI, ALICIA                             LONE PEAK HOSPITAL
CHARLES CHILDRESS                        ADDRESS ON FILE                            PHILIP RUIZ
11201 BENTON STREET                                                                 1151 ENTERPRISE DRIVE, SUITE 100
LOMA LINDA, CA 92357                                                                COPPELL, TX 75019




LONG ISLAND PLASTIC SURGICAL GROUP,      LONG ISLAND PLASTIC SURGICAL GROUP,        LONGMONT UNITED HOSPITAL
P.C.                                     P.C.                                       TAMI WILCOX
MATT REDER, 2ND FLR; 999 FRANKLIN AVE    MATT REDER, 2ND FLR; 999 FRANKLIN AVE      1950 W MOUNTAIN AVE
GARDEN CITY, NY 11530                    GARDEN CITY, NY 11550                      LONGMONT, CO 80501




LONGWOOD PLASTIC SURGERY                 LOPEZ, CRYSTAL                             LOPEZ, GABRIEL
IDALIA GARCIA                            ADDRESS ON FILE                            ADDRESS ON FILE
235 CYPRESS STREET, SUITE 210
BROOKLINE, MA 02445




[NAME REDACTED]                          LORI H. SALTZ, MD, INC                     LORI H. SALTZ, MD, INC.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




LORI LANKFORD                            LORI PODANY                                LOS ROBLES HOSPITAL & MED CTR
ADDRESS ON FILE                          ADDRESS ON FILE                            BECKY PETERS
                                                                                    PO BOX 788
                                                                                    KAYSVILLE, UT 84037




LOS ROBLES HOSPITAL & MED CTR            LOS ROBLES SURGICENTER                     LOUIS C. CUTOLO, JR., M.D.
RICHARD VALERIO                          ATTN: ACCOUNTS PAYABLE                     ADDRESS ON FILE
1151 ENTERPRISE DRIVE, SUITE 100         2190 LYNN RD, SUITE 100
COPPELL, TX 75019                        THOUSAND OAKS, CA 91360




LOUISIANA DEPARTMENT OF HEALTH           LOUISIANA DEPARTMENT OF HEALTH             LOUISIANA DEPT OF REVENUE
628 N. 4TH ST.                           PO BOX 629                                 617 N THIRD ST
BATON ROUGE, LA 70802                    BATON ROUGE, LA 70821-0629                 BATON ROUGE, LA 70802




LOUISIANA DEPT OF REVENUE                LOUISIANA OFFICE OF FINANCIAL INST         LOUISIANA WORKFORCE COMMISSION
PO BOX 751                               SECURITIES DIVISION                        1001 N 23RD ST
NEW ORLEANS, LA 70161-1030               8660 UNITED PLAZA BLVD.                    BATON ROUGE, LA 70802
                                         2ND FLOOR
                                         BATON ROUGE, LA 70809



LOUISVILLE SURGERY CENTER                LOUNGE SPA INC                             LOW COUNTRY PLASTIC SC BY HKB
JENNIFER PARKER                          3830 VALLEY CENTER DR. 705                 MARIA WEBER
444 S 1ST ST                             SAN DIEGO, CA 92130                        11208 STATESVILLE RD, STE 300
LOUISVILLE, KY 40202-1474                                                           MOUNT PLEASANT, SC 29466
                         Case 24-10245-JTD
LOW COUNTRY PLASTIC SURGERY                    Doc 219
                                        LOW, RICHARD        Filed 03/28/24    Page 114 GENERAL
                                                                                 LOWELL of 226 HOSPITAL
MICHELLE HENSEL                         ADDRESS ON FILE                          DONNA BEDORD
1205 TWO ISLAND CT, SUITE 203                                                    PO BOX 9518
MOUNT PLEASANT, SC 29466                                                         MANCHESTER, NH 03108




LOYOLA UNIVERSITY MEDICAL CENTER       LOZA, DAISY                               LPL FIN CORP (0075)
ATTN: AP                               ADDRESS ON FILE                           ATT CORPORATE ACTIONS
PO BOX 7067                                                                      1055 LPL WAY
TROY, MI 48007                                                                   FORT MILL, SC 29715




LUBBOCK PLASTIC SURGERY INSTITUTE      LUBBOCK PLASTIC SURGERY INSTITUTE         LUBIN, KATHERINE
CARLA LYNSKEY                          TRACI THORNE                              ADDRESS ON FILE
4102 24TH STREET, SUITE 305            1015 QUAKER AVENUE
LUBBOCK, TX 79410                      LUBBOCK, TX 79424




LUCIAN J RIVELA, M.D.                  LUCID SOFTWARE INC                        [NAME REDACTED]
ADDRESS ON FILE                        10355 SOUTH JORDAN GATEWAY                ADDRESS ON FILE
                                       SUITE 300
                                       SOUTH JORDAN, UT 84095




LUFKIN, STEVEN                         LUGO PLASTIC SURGERY                      LUIS CENEDESE, M.D.
ADDRESS ON FILE                        JESSICA STEWART                           ADDRESS ON FILE
                                       2053 EXPERIMENT STATION RD, BLDG 300
                                       WATKINSVILLE, GA 30677




LUIS MACIAS, M.D.                      [NAME REDACTED]                           LUMEN - LEVEL 3
ADDRESS ON FILE                        ADDRESS ON FILE                           PO BOX 910182
                                                                                 DENVER, CO 80291




LUMEN                                  LUNA PLASTIC SURGERY                      LUU Q. DOAN, M.D.
100 CENTURYLINK DRIVE                  GRACE ARMAS                               ADDRESS ON FILE
MONROE, LA 71203                       11315 JOHNS CREEK PKWY, STE 440
                                       JOHNS CREEK, GA 30097-1517




LUU Q. DOAN, M.D.                      LUXURGERY LLC                             LY, SAN
ADDRESS ON FILE                        880 FIFTH AVENUE - 1A/B/C/D               ADDRESS ON FILE
                                       NEW YORK, NY 10021




LYDIA DOBBS                            LYLE M. BACK, M.D.                        LYLE PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                           PAMELA MURPHY
                                                                                 3921 SUNSET RIDGE RD, STE 101
                                                                                 RALEIGH, NC 27607




LYNCH, DANIEL                          [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE
LYNN HOLLINS, RN        Case 24-10245-JTD
                                       LYNN L. Doc   219 MD.
                                               C. JEFFERS, Filed 03/28/24     Page  115REDACTED]
                                                                                 [NAME  of 226
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




LYNN REED                                LYNNE ANN HACKERT                       LYTLE PLASTIC SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                         ADRIENNE NEACE
                                                                                 25150 FORD RD, STE 240
                                                                                 DEARBORN HILLS, MI 48127




LYTLE, THOMAS                            M&H INDUSTRIAL SERVICE, INC             [NAME REDACTED]
ADDRESS ON FILE                          N60 W16512 KOHLER LANE                  ADDRESS ON FILE
                                         MENOMONEE FALLS, WI 53051




M. V. MAKHLOUF, M.D.                     M1 FINANCE (1497)                       MAAKAN TAGHIZADEH
ADDRESS ON FILE                          PROXY MGR                               ADDRESS ON FILE
                                         200 N LASALLE ST, SUITE 800
                                         CHICAGO, IL 60601




MACKIN, JOSEPH                           MACKINAW SURGERY CENTER                 MACRO MACHINE INCORPORATED
ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE                  2614 SOUTH 162ND STREET
                                         5400 MACKINAW RD, SUITE 11              NEW BERLIN, WI 53151
                                         SAGINAW, MI 48604




MADDOCKS, ASHLI                          MADE TO ORDER                           MADELYN DO
ADDRESS ON FILE                          PO BOX 848777                           ADDRESS ON FILE
                                         LOS ANGELES, CA 90084




MADIGAN ARMY MEDICAL CENTER              [NAME REDACTED]                         [NAME REDACTED]
IYUDHISHDHIR BHETWAL                     ADDRESS ON FILE                         ADDRESS ON FILE
9040A FITZSIMMONS DR
TACOMA, WA 98431




MADISON WILKES                           MADLAND TOYOTA-LIFT, INC                MADNANI FACIAL PLASTICS
ADDRESS ON FILE                          4485 BUCK OWENS BLVD.                   BRITTANY
                                         BAKERSFIELD, CA 93308                   135 CROSSWAYS PARK DR, STE 108
                                                                                 WOODBURY, NY 11797




MAFFI PLASTIC SURGERY                    MAGID GLOVE & SAFETY MANUFACTURING      MAGNET SALES & MANUFACTURING INC
SAMANTHA NAGEL                           CO                                      DBA INTEGRATED MA
5410 N SCOTTSDALE RD, SUITE E-200        1300 NAPERVILLE DR                      INTEGRATED MAGNETICS,
PARADISE VALLEY, AZ 85253                ROMEOVILLE, IL 60446                    MAGNETSHOP.COM
                                                                                 CULVER CITY, CA 90230



MAGNIFI GROUP, INC                       MAGNOLIA PLASTICS & AESTHETICS          MAGNOLIA REGIONAL HEALTH CENTER
2633 ARIANE DRIVE                        CHARLIE GOOCH                           ATTN: AP DEPARTMENT
SAN DIEGO, CA 92117                      611 ALCORN ROAD, SUITE 100              PO BOX 1202
                                         CORINTH, MS 38834                       PICO RIVERA, CA 90660
MAHER ANOUS, M.D.         Case 24-10245-JTD
                                         MAHIRA Doc 219, M.DFiled 03/28/24
                                                TANOVIC                          Page 116 of 226
                                                                                    MAIMONIDES MEDICAL CENTER
ADDRESS ON FILE                           ADDRESS ON FILE                           ATTN: ACCOUNTS PAYABLE
                                                                                    4802 10TH AVENUE
                                                                                    BROOKLYN, NY 11219




MAIN LINE CENTER FOR LASER SURGERY        MAIN STREET SPECIALTY SURGERY CENTER      MAINE DEPARTMENT OF HEALTH AND
THOMAS STIX                               JEFF BERNHARDT                            HUMAN SER
32 PARKING PLAZA, SUITE 200               280 S. MAIN STREET, SUITE 100             109 CAPITAL ST
ARDMORE, PA 19003                         ORANGE, CA 92868                          11 STATE HOUSE STATION
                                                                                    AUGUSTA, ME 04333



MAINE DEPT OF LABOR                       MAINE DEPT OF PROF & FINANCIAL REG        MAINE DEPT OF PROFESSIONAL & FINANCIAL
54 STATE HOUSE STATION                    OFFICE OF SECURITIES                      OFFICE OF SECURITIES
AUGUSTA, ME 04333                         76 NORTHERN AVE                           121 STATE HOUSE STATION
                                          GARDINER, ME 04345                        AUGUSTA, ME 04333




MAINE MEDICAL CENTER                      MAINE REVENUE SERVICES                    MAJEWSKI PLASTIC SURGERY AND SPA
ATTN: ACCOUNTS PAYABLE                    51 COMMERCE DRIVE                         CATHY HAUSMAN
22 BRAMHALL STREET                        AUGUSTA, ME 04330                         2241 HILL PARK CV, SUITE A
PORTLAND, ME 04102                                                                  JONESBORO, AR 72401-6251




MAKE YOU PERFECT, INC.                    [NAME REDACTED]                           [NAME REDACTED]
AMY SPENCER                               ADDRESS ON FILE                           ADDRESS ON FILE
9735 WILSHIRE BLVD, SUITE 330
BEVERLY HILLS, CA 90212




MALCOLM LESAVOY, M.D.                     MALHOTRA CENTER FOR PLASTIC SURGERY.      [NAME REDACTED]
ADDRESS ON FILE                           2320 WASHTENAW AVE.                       ADDRESS ON FILE
                                          ANN ARBOR, MI 48104




[NAME REDACTED]                           [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                           MALTZ, LEZLIE
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




MAMAN PLASTIC SURGERY                     MAMMOTH MOVING HOLDING CORPORATION        MANATEE SURGICAL CENTER
JOHN MCCOLLUM                             5390 OVERPASS ROAD                        CHRISTI HENDRICKS
1165 PARK AVE, 1B                         SUITE E                                   601 MANATEE AVE W
NEW YORK, NY 10128-1248                   SANTA BARBARA, CA 93111                   BRADENTON, FL 34205




MANCHESTER MEMORIAL HOSPITAL              MANCOLL COSMETIC & PLASTIC SURGERY        [NAME REDACTED]
ATTN: ACCOUNTS PAYABLE                    CHER STREET                               ADDRESS ON FILE
71 HAYNES ST                              1925 GLENN MITCHELL DR., STE 206
MANCHESTER, CT 06040                      VIRGINIA BEACH, VA 23456-0177
MANGAT, HOLZAPFEL & LIEDCase  24-10245-JTD
                         PLASTIC        MANIACI,Doc  219
                                                 NATALIA       Filed 03/28/24   Page 117 of
                                                                                   MANILLA,   226
                                                                                            MARCELLINO
SURGERY                                 ADDRESS ON FILE                            ADDRESS ON FILE
JESSICA ADMIN
133 BARNWOOD DRIVE
EDGWOOD, KY 41017



MANISH H. SHAH, M.D.                    MANISH H. SHAH, M.D.                       MANNING CONSULTING GRP DBA MCG
ADDRESS ON FILE                         ADDRESS ON FILE                            LOGISTICS
                                                                                   23456 MADERO
                                                                                   SUITE 100
                                                                                   MISSION VIEJO, CA 92691



MANUEL M. PENA, M.D.                    MANZO, JESUS                               MARBORG INDUSTRIES
ADDRESS ON FILE                         ADDRESS ON FILE                            P.O. BOX 4127
                                                                                   SANTA BARBARA, CA 93140




MARC J. SALZMAN, MD                     MARC J. SALZMAN, MD.                       MARC KLEIN, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                            ADDRESS ON FILE




MARC MALEK, M.D.                        MARC MALEK, M.D.                           MARC MANI, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                            ADDRESS ON FILE




MARC S. ZIMBLER, M.D.                   MARC SALZMAN, M.D.                         MARC SCHNEIDER, MD, PA
ADDRESS ON FILE                         ADDRESS ON FILE                            ADDRESS ON FILE




MARC SOARES, MD                         MARC SOARES, MD                            MARCADIS PLASTIC SURGERY
ADDRESS ON FILE                         ADDRESS ON FILE                            BETSY MARCADIS
                                                                                   2615 SWANN AVENUE
                                                                                   TAMPA, FL 33609




MARCEL DANIELS, M.D.                    [NAME REDACTED]                            MARCOMCENTRAL
ADDRESS ON FILE                         ADDRESS ON FILE                            PTI MARKETING TECHNOLOGIES INC
                                                                                   201 LOMAS SANTA FE DRIVE, 300
                                                                                   SOLANA BEACH, CA 92075




MARCUS MEDICAL SPA                      [NAME REDACTED]                            MARES-PEREZ, JOSE
1815 VIA EL PRADO, SUITE 102            ADDRESS ON FILE                            ADDRESS ON FILE
REDONDO BEACH, CA 90277




MARGARET MARY HEALTH                    MARGARET R PARDEE MEMORIAL HOSPITAL        MARGOT SILVERSTEIN
RHONDA HOOG                             CAROLYN ANGUS                              ADDRESS ON FILE
PO BOX 226                              800 N JUSTICE ST
BATESVILLE, IN 47006-0226               HENDERSONVILLE, NC 28791
[NAME REDACTED]          Case 24-10245-JTD     Doc 219
                                        [NAME REDACTED]         Filed 03/28/24   Page  118REDACTED]
                                                                                    [NAME  of 226
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




MARIA M LOTEMPIO, MD                     [NAME REDACTED]                            MARIAM AWADA, MD
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




MARIAN REGIONAL MEDICAL CENTER           MARIETTA PLASTIC SURGERY                   MARIETTA SURGICAL CENTER
1400 E CHURCH ST                         BETHANN PHIFER                             ALICE ELLIOTT
SANTA MARIA, CA 93454                    823 CAMPBELL HILL STREET                   780 CANTON RD, STE 100
                                         MARIETTA, GA 30060                         MARIETTA, GA 30060




MARIN GENERAL HOSPITAL                   MARIN SPECIALTY SURGERY CENTER             MARINA PLASTIC SURGERY
LORENA MARTINEZ                          BERENICE COBB                              IRMA PALIANI
PO BOX 8010                              505 SIR FRANCIS DRAKE BLVD                 SUITE 552
SAN RAFAEL, CA 94912                     GREENBRAE, CA 94904                        4644 LINCOLN BLVD.
                                                                                    MARINA DEL REY, CA 90292



MARINA PLASTIC SURGERY                   [NAME REDACTED]                            [NAME REDACTED]
JUDY X                                   ADDRESS ON FILE                            ADDRESS ON FILE
4644 LINCOLN BLVD., SUITE 552
MARINA DEL REY, CA 90292




[NAME REDACTED]                          MARK D. EPSTEIN, MD                        MARK D. WIGOD, MD,PA
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




MARK E. DEEM                             MARK E. MASON, M.D.                        MARK FREEMAN
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




MARK FREEMAN.                            MARK GAON, M.D.                            MARK GRUSZYNSKI, MD
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




MARK GRUSZYNSKI, MD                      MARK H. PETERS, M.D.                       MARK H. SCHWARTZ, M.D., P.C.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




MARK M. JONES, M.D.                      MARK MARKARIAN, M.D.                       MARK MOFID, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE
MARK MULKEY, M.D.     Case 24-10245-JTD
                                     MARK R.Doc 219 MD
                                            KOBAYASHI Filed
                                                       INC 03/28/24       Page 119
                                                                             MARK   of 226
                                                                                  SUSKI, M.D
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




MARK V. SOFONIO, MD                  MARLIN BUSINESS BANK                    MARLIN LEASING CORPORATION
ADDRESS ON FILE                      P.O. BOX 1626                           300 FELLOWSHIP ROAD
                                     MT. LAUREL, NJ 08054-0637               MOUNT LAUREL, NJ 08054




MARLIN LEASING CORPORATION           [NAME REDACTED]                         MARQUIS PLASTIC SURGERY
PO BOX 13604                         ADDRESS ON FILE                         JORDAN CARROLL
PHILADELPHIA, PA 19101                                                       6705 SW 57TH STREET, SUITE 516
                                                                             CORAL GABLES, FL 33143




MARRIOTT IRVINE SPECTRUM             MARSCO INVESTMENT CORP (0287)           MARSH & MCLENNAN AGENCY LLC
7905 IRVINE CENTER DRIVE             ATT KAREN JACOBSEN/PROXY MGR            350 S GRAND AVE, STE 3410
IRVINE, CA 92618                     101 EISENHOWER PKWY                     LOS ANGELES, CA
                                     ROSELAND, NJ 07068




MARSH & MCLENNAN AGENCY LLC          MARSH & MCLENNAN AGENCY LLC             MARSH & MCLENNAN INS AGENCY LLC
350 S GRAND AVE, STE 3410            MARSH USA, INC.                         9171 TOWNE CENTRE DR, STE 100
LOS ANGELES, CA 90071                LOCKBOX 740663                          SAN DIEGO, CA
                                     LOS ANGELES, CA 90074




MARSH & MCLENNAN INS AGENCY LLC      MARSH USA INC                           MARSHALL PARTINGTON, MD
PO BOX 85638                         PO BOX 846112                           ADDRESS ON FILE
SAN DIEGO, CA 92186                  DALLAS, TX 75284-6112




MARSHALL PLASTIC SURGERY             MARSHALL PLASTIC SURGERY                MARTIN PLASTIC AND RECONSTRUCTIVE
AMY MERRITT                          RACHEL SCARBERRY                        SURGERY PC
2561 THIRD AVE                       1600 MEDICAL CENTER DR, SUITE 2500      MONICA WARREN
HUNTINGTON, WV 25703                 HUNTINGTON, WV 25701                    2431 W. MAIN STREET, SUITE 302
                                                                             DOTHAN, AL 36301



MARTONY, POLLY ANN                   MARY A. POWERS, M.D.                    MARY ALICE CLAYTON
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                      MARY DOBRY, M.D.                        MARY E. LAUTENBACH
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




MARY FISHER                          [NAME REDACTED]                         MARY HITCHCOCK MEMORIAL HOSPITAL
ADDRESS ON FILE                      ADDRESS ON FILE                         DANIELLE AP CONTACT
                                                                             1 MEDICAL CENTER DR
                                                                             LEBANON, NH 03756
[NAME REDACTED]           Case 24-10245-JTD     Doc 219
                                         [NAME REDACTED]      Filed 03/28/24     Page  120REDACTED]
                                                                                    [NAME  of 226
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




MARYLAND DEPARTMENT OF HEALTH             MARYLAND DEPT OF LABOR                    MARYLAND DEPT OF LABOR
HERBERT R OCONNOR STATE OFFICE BLDG       1100 NORTH EUTAW ST                       DIVISION OF LABOR AND INDUSTRY
201 W PRESTON ST                          BALTIMORE, MD 21201                       10946 GOLDEN W DR, STE 160
BALTIMORE, MD 21201-2399                                                            HUNT VALLEY, MD 21031




MARYLAND OFFICE OF THE COMPTROLLER        MARYLAND SOCIETY OF PLASTIC SURGEONS      MASON CITY SURGERY CENTER
REVENUE ADMINISTRATION CENTER             1211 CATHEDRAL STREET                     SULA- ACCOUNTS PAYABLE
TAXPAYER SERVICES DIVISION                BALTIMORE, MD 21201                       ATTN: ACCOUNTS PAYABLE
110 CARROL ST                                                                       990 4TH STREET S.W.
ANNAPOLIS, MD 21411-0001                                                            MASON CITY, IA 50401



MASS GENERAL BRIGHAM                      MASS GENERAL BRIGHAM                      MASS GENERAL BRIGHAM
DONNA LEAVITT                             KEVIN SCHEFFLER                           ZELJANA CAUSEVIC
PO BOX 9127                               55 FRUIT STREET                           399 REVOLUTION DR, STE 327
CHARLESTOWN, MA 02129                     BOSTON, MA 02114                          SOMERVILLE, MA 02145-1495




MASSACHUSETTS DEPT OF LABOR AND           MASSACHUSETTS DEPT OF REVENUE             MASSACHUSETTS OFFICE OF HEALTH &
WORKFORCE DEVELOPMENT                     DIVISION OF LOCAL SERVICES                HUMAN
ONE ASHBURTON PLC, STE 2112               100 CAMBRIDGE ST, 6TH FL                  SERVICES
BOSTON, MA 02108                          BOSTON, MA 02114-9569                     EXECUTIVE OFFICE
                                                                                    1 ASHBURTON PLACE
                                                                                    BOSTON, MA 02108


MASSACHUSETTS SECURITIES DIVISION         MASTERS PLASTIC SURGERY                   MATHIAS DIE COMPANY, INC
ONE ASHBURTON PLACE                       MARY JOHNSON                              391 MALDEN ST
BOSTON, MA 02108                          10900 HEFNER POINTE DR, SUITE 505         SOUTH SAINT PAUL, MN 55075
                                          OKLAHOMA CITY, OK 73120




MATILIJA PURE WATER                       MATT CONCANNON, MD.                       MATTHEW GOODWIN, MD
P.O. BOX 510                              ADDRESS ON FILE                           ADDRESS ON FILE
SANTA BARBARA, CA 93102




MATTHEW H. CONRAD, M.D.                   MATTHEW H. CONRAD, MD, PA                 MATTHEW H. CONRAD, MD, PA.
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




MATTHEW PIFER, M.D.                       MATTHEW SCHULMAN, M.D.                    MATTHEW TROVATO, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE
MATTHEW WARWICK           Case 24-10245-JTD
                                         MAUPIN,Doc 219
                                                AMANDA      Filed 03/28/24   Page 121 ofJ. 226
                                                                                MAURICIO   CASTELLON, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                        ADDRESS ON FILE




MAURO C. ROMITA, M.D.                    MAURY REGIONAL MEDICAL CENTER          MAXWELL AESTHETICS
ADDRESS ON FILE                          BETH TOSH                              GLENDA ROBINSON
                                         1224 TROTWOOD AVE                      2020 21ST AVENUE SOUTH, SUITE 100
                                         COLUMBIA, TN 38401-4802                NASHVILLE, TN 37212




MAYO CLINIC                              [NAME REDACTED]                        [NAME REDACTED]
ORDER CONFIRMATION                       ADDRESS ON FILE                        ADDRESS ON FILE
200 FIRST ST SW, DEPT. 1000
ROCHESTER, MN 55905




MAYS PLASTIC SURGERY                     MB INTERIM LEADERS, LLC                MB SEARCH LLC DBA MCDERMOTT & BULL
JULIA GENTRY                             2 VENTURE                              2 VENTURE SUITE 100
1014 ANCHORAGE WOODS CIR                 SUITE 100                              IRVINE, CA 92618
LOUISVILLE, KY 40223                     IRVINE, CA 92618




MCB - CITY OF ALABASTER                  MCB - CITY OF ALABASTER                MCCABE, JOSEPH
ATTN: AP DEPARTMENT                      XYLENE GOJAR                           ADDRESS ON FILE
PO BOX 1057                              PO BOX 830622
CHESTERTON, IN 46304                     BIRMINGHAM, AL 35283




MCCAIN, JOSHUA                           MCCLELLAN, W THOMAS, MD                MCCLELLAN, W THOMAS, MD
ADDRESS ON FILE                          ADDRESS ON FILE                        C/O BOWLES RICE LLP
                                                                                ATTN AMY J TAWNEY
                                                                                600 QUARRIER ST
                                                                                CHARLESTON, WV 25301



MCCLELLAN, WILLIAM T, MD                 MCCOLLISTER-ELDRED, KELLI              MCCOY, LINDSEY
4325 BRETTWOOD LN                        ADDRESS ON FILE                        ADDRESS ON FILE
MORGANTOWN, WV 26508




MCDERMOTT & BULL                         MCGUINESS DERMATOLOGY                  MCKENZIE SURGERY CENTER
2 VENTURE                                6000 W SPRING CREEK PKWY               DEVIN WERNER
SUITE 100                                PLANO, TX 75024                        940 COUNTRY CLUB RD
IRVINE, CA 92618                                                                EUGENE, OR 97401




MCKINNEY, KELSEY                         MCLAREN BAY REGION                     MCLAREN MACOMB HOSPITAL
ADDRESS ON FILE                          MARY MARKOWITZ                         ATTN: ACCOUNTS PAYABLE
                                         1900 COLUMBUS AVE                      ONE MCLAREN PKWY
                                         BAY CITY, MI 48708                     GRAND BLANC, MI 48439




MCLEAN DERMATOLOGY AND SKINCARE          MCLEOD HEALTH                          MCLEOD HEALTH
CENTER                                   HEATHER MARTINDALE                     SHAKERA BROWN
EMILY X                                  P.O. BOX 100551                        PO BOX 100551
PO BOX 9143                              FLORENCE, SC 29501-0551                FLORENCE, SC 29501
MCLEAN, VA 22102
                       Case 24-10245-JTD
MCMASTER-CARR SUPPLY COMPANY                DocKATINA
                                      MCMURTRY,  219     Filed 03/28/24    Page 122 of 226
                                                                              MCNAMARA, KAREN
PO BOX 7690                           ADDRESS ON FILE                         ADDRESS ON FILE
CHICAGO, IL 60680-7690




MCNAUGHTON PLASTIC SURGERY           MCVEIGH, JOSHUA                          MD ANDERSON HOSPITAL
JENNY GRIFFITH                       ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE
302 JONES ST STE 330                                                          PO BOX 301401
SIOUX CITY, IA 51101                                                          HOUSTON, TX 77230




MEAD, FRANKIE                        MEADOW LAKE SURGERY CENTER               [NAME REDACTED]
ADDRESS ON FILE                      KIM WIGOD                                ADDRESS ON FILE
                                     3630 E LOUISE DRIVE
                                     MERIDIAN, ID 83642




MEAGAN WELSH                         MECA, LLC                                MED HEALTH DBA SETTY PLASTIC SURGERY
ADDRESS ON FILE                      140 E RAWSON AVENUE                      ATTN: ACCOUNTS PAYABLE
                                     SUITE 301                                6347 S CUSTER RD
                                     OAK CREEK, WI 53154                      MCKINNEY, TX 75070




MED INSTITUTE, INC                   MEDCOMPLI, LLC                           MEDDAUGH, CHRIS
1330 WIN HENTSCHEL BLVD, STE100      13900 TECH CITY CIRCLE                   ADDRESS ON FILE
LAFAYETTE, IN 47906                  SUITE 200
                                     ALACHUA, FL 32615




MEDIA BROKERS INTERNATIONAL INC      MEDIANT COMMUNICATIONS                   MEDICAL CENTER AT BOWLING GREEN
1200 ABERNATHY RD STE 1600           PO BOX 75185                             KIM DRANE
ATLANTA, GA 30328                    CHICAGO, IL 60675                        PO BOX 2635
                                                                              BOWLING GREEN, KY 42102




MEDICAL CENTER CLINIC                MEDICAL CENTER HOSPITAL                  MEDICAL CENTER OF AURORA
CAROLYN PIPKIN                       ATTN: ACCOUNTS PAYABLE                   ATTN: ACCOUNTS PAYABLE
8333 N DAVIS HWY                     PO BOX 7239                              1151 ENTERPRISE DR, 100
PENSACOLA, FL 32514                  ODESSA, TX 79760                         COPPELL, CO 75019




MEDICAL CENTER OF THE ROCKIES        MEDICAL CITY DALLAS ASC                  MEDICAL COLLEGE OF WISCONSIN
DINA AP                              ATTN: ACCOUNTS PAYABLE                   8701 WATERTOWN PLANK ROAD
2315 E HARMONY RD, SUITE 200         7777 FOREST LANE, SUITE C-150            MILWAUKEE, WI 53226
FORT COLLINS, CO 80528               DALLAS, TX 75230




MEDICAL DERMATOLOGY ASSOC OF         MEDICAL DEVICE MANUFACTURERS ASSOC.      MEDICAL DEVICE MANUFACTURERS
CHICAGO                              SHERI DEVINNEY                           ASSOCIATION
ORIANE STEKELYTTIOI                  1333 H ST NW, STE 400 W                  1333 H ST NW, STE 400 W
363 W. ERIE STREET, SUITE 350        WASHINGTON, DC 20005                     WASHINGTON, DC 20005
CHICAGO, IL 60654



MEDICAL INSIGHT                      MEDICAL SUPPLY SYSTEMS INC               MEDICAL U & A INC
16 ROUNDTREE COURT                   ALICIA DUNLAP                            ATTN MASATO SASAKI, MGR, QOL TEAM
ALISO VIEJO, CA 92656                107 QUINCY PL, NE UNIT B                 4-27 SHIN FUJITA, BLDG 5F
                                     WASHINGTON, DC 20002                     DOJIMA 2 CHOME, KITA-KU
                                                                              OSAKA-SHI JAPAN
                         Case
MEDICAL UNIVERSITY HOSPITAL     24-10245-JTD
                              AUTHORITY   MEDICALDoc  219 HOSPITAL
                                                  UNIVERSITY Filed 03/28/24
                                                                     AUTHORITY Page  123 of 226LLC
                                                                                  MEDICORUM360,
JONATHAN PEARSON                          KIANDRA SCOTT                           5019 CATFISH LOOP
PO BOX 31244                              MSC 903                                 JOHNS ISLAND, SC 29455
SALT LAKE CITY, UT 84131-0244             CHARLESTON, SC 29455




MEDLINE INDUSTRIES LP                    MEDPRO SYSTEMS LLC                        MEDRESULTS, LLC
3 LAKES DR                               100 STIERLI COURT                         20 TOWER LANE, STE 500
NORTHFIELD, IL 60093                     MOUNT ARLINGTON, NJ 07856                 AVON, CT 06001




MEDSHIFT LLC                             MEDSHIFT LLC                              MEDSHIFT, LLC
525 N TYRON ST, STE 1600                 ATTN LEGAL DEPT                           525 N TRYON ST
CHARLOTTE, NC 28202                      2211 N 1ST ST                             SUITE 1600
                                         SAN JOSE, CA 95131                        CHARLOTTE, NC 28202




MEDSTAR DIVISION OF PLASTIC SURGERY      MEDSTAR                                   MEDSTAR
CHERRELL FREEMAN-DAVIS                   DYAN SMELSER                              MARIA FLORES
106 IRVING STREET NW POB 420S            PO BOX 44250                              PO BOX 518
WASINGTON, DC 20010                      BALTIMORE, MD 21236                       ELMSFORD, NY 10523-0518




MEECH STATIC ELIMATORS USA, INC          MEETING DESIGNS LLC                       [NAME REDACTED]
1298 CENTERVIEW CIRCLE                   36 MECHANIC STREET, SUITE 207             ADDRESS ON FILE
AKRON, OH 44321                          FOXBORO, MA 02035




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MEHDI K MAZAHERI, MD                     MEHUL KAMDAR MD                           MEHUL KAMDAR, MD
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MEINTSMA, CAROLYN                        MEJIA, SHANNON                            MELANIE AYA-AY, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                           MELDA ISAAC, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE
MELINDA A. COSTA, M.D.   Case 24-10245-JTD
                                        MELISSADoc   219 M.D.,
                                                A. CROSBY, Filed  03/28/24
                                                               PLLC            Page  124REDACTED]
                                                                                  [NAME  of 226
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




MELISSA LAZARUS, M.D.                     [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                           MEMORIAL CARE HEALTH SYSTEM             MEMORIAL HEALTH SYSTEM
ADDRESS ON FILE                           CYNTHIA GATTIS                          JENNY FOSTER
                                          PO BOX 20892                            PO BOX 19288
                                          FOUNTAIN VALLEY, CA 92728               SPRINGFIELD, IL 62794




MEMORIAL HEALTHCARE SYSTEM                MEMORIAL HEALTHCARE SYSTEM              MEMORIAL HERMANN HEALTHCARE SYSTEM
AIMEE HARPER                              BRYAN CRAMER                            JEFF GARCIA
PO BOX 269001                             P.O. BOX 269001                         909 FROSTWOOD, SUITE 2.102
HOLLYWOOD, FL 33026-9001                  HOLLYWOOD, FL 33026-9001                HOUSTON, TX 77024




MEMORIAL HERMANN SURGERY CENTER SW        MEMORIAL HERMANN SURGERY CENTER SW      MEMORIAL HOSPITAL AT GULFPORT
ATTN: ACCOUNTS PAYABLE                    MONICA MACIAS                           LYNN HAIR
7789 SW FREEWAY, STE 200                  7789 SOUTHWEST FREEWAY, SUITE 200       PO BOX 1810
HOUSTON, TX 77074                         HOUSTON, TX 77074                       GULFPORT, MS 39502-1810




MEMORIAL HOSPITAL                         MEMORIAL HOSPITAL-JACKSONVILLE          MEMORIAL HOUSTON SURGERY CENTER
TAMI RAUSCH                               ATTN: ACCOUNTS PAYABLE                  BARBARA RAMIREZ
500 LONDON AVE                            8501-1 WESTSIDE INDUSTRIAL DR           9320 KATY FWY, STE 601
MARYSVILLE, OH 43040                      JACKSONVILLE, FL 32219                  HOUSTON, TX 77055




MEMORIAL PLASTIC SURGERY                  MEMORIAL PLASTIC SURGERY                MEMORIAL PLASTIC SURGERY, LLLP
ANITA AP                                  LORI KIRSCHKE                           ATTN: AMBER VIRAY
8731 KATY FWY, STE 500                    929 GESSNER ROAD, SUITE 2250            8731 KATY FREEWAY, STE 500
HOUSTON, TX 77024                         HOUSTON, TX 77024                       HOUSTON, TX 77024




MEMORIAL SLOAN KETTERING                  MEMORIALCARE OUTPTNT SURG CTR OF        MEMPHIS SURGERY CENTER
YA FEI HUANG                              LONG BEACH                              ATTN: ACCOUNTS PAYABLE
633 3RD AVENUE                            DONA SATH                               1044 CRESTHAVEN ROAD
NEW YORK, NY 10017                        3833 WORSHAM AVE, 200                   MEMPHIS, TN 38119
                                          LONG BEACH, CA 90808-1766
MENEZES, RONALD         Case 24-10245-JTD    Doc
                                       MENEZES,   219
                                                RONALD        Filed 03/28/24   Page 125 ofMEDICAL
                                                                                  MENORAH  226 CENTER
ADDRESS ON FILE                         ADDRESS ON FILE                           CONSTANCE KOLICH
                                                                                  245 B CIRCLE RD
                                                                                  NASHVILLE, TN 37228




MERCADO, ALBERTO                        MERCY FOUNDATION                          MERCY HEALTH - ST RITAS MEDICAL CENTER
ADDRESS ON FILE                         3400 DATA DRIVE                           SUZIE KEENE
                                        RANCHO CORDOVA, CA 95670                  PO BOX 636372
                                                                                  CINCINATI, OH 45263-6372




MERCY HEALTH PARTNERS                   MERCY HEALTH                              MERCY HOSPITAL AND MED CTR
JULIE POHORECKI                         ATTN: ACCOUNTS PAYABLE                    SARA SANCHEZ
PO BOX 5203                             PO BOX 10386                              2525 S MICHIGAN AVE
CINCINNATI, OH 45201-5203               SPRINGFIELD, MO 65808                     CHICAGO, IL 60616




MERCY HOSPITAL                          MERCY HOSPITAL                            MERCY MED CENTER OF NORTH IOWA
ALETHEA ORANGE                          INVOICING                                 ATTN: ACCOUNTS PAYABLE
3663 S. MIAMI AVENUE                    500 E MARKET ST                           PO BOX 7007
MIAMI, FL 33133                         IOWA CITY, IA 52245                       TROY, MI 48007




MERCY MEDICAL CENTER - SIOUX CITY       MERCY MEDICAL CENTER                      MERCY PLASTIC & RECONSTRUCTIVE
ATTN: ACCOUNTS PAYABLE                  ATTN: AP                                  SURG - AR
PO BOX 5032                             301 ST. PAUL PLACE                        DESIRAE SAMPLEY
TROY, MI 48007                          BALTIMORE, MD 21202                       2717 S 74TH ST
                                                                                  FORT SMITH, AR 72903



MERCY PLASTIC SURG - COLETTA            MERCY PLASTIC SURGERY                     MERCY ROCKFORD HEALTH SYSTEM
TARA STREETER                           ATTN: ACCOUNTS PAYABLE                    DEON WAGNER
4401 W MCAULEY BLVD, STE 2200           621 S NEW BALLAS RD, STE 7008B            2300 N ROCKTON AVE
OKLAHOMA CITY, OK 73120-8561            SAINT LOUIS, MO 63141                     ROCKFORD, IL 61103




MERCY SURGERY CENTER                    MERCYONE WEST DES MOINES                  [NAME REDACTED]
MICHELE YARBRO                          ATTN: ACCOUNTS PAYABLE                    ADDRESS ON FILE
2175 ROSALINE AVE, SUITE A              PO BOX 63600
REDDING, CA 96001                       LITTLETON, CO 80163




MEREDITH VANDEGRIFT, MD                 MERIDIAN GROUP                            MERIDIAN PLASTIC SURGEONS
ADDRESS ON FILE                         5290 OVERPASS ROAD                        170 W 106TH STREET
                                        BUILDING C                                INDIANAPOLIS, IN 46290
                                        SANTA BARBARA, CA 93111




MERIDIAN PLASTIC SURGERY CENTER         MERIDIAN SURGERY                          MERISA PIPER
SUMMER HARVEY                           4220 BULL CREEK ROAD                      ADDRESS ON FILE
170 W 106TH ST                          AUSTIN, TX 78731
INDIANAPOLIS, IN 46290




MERIT HEALTH CENTRAL                    MERIT HEALTH MADISON                      MERLOT MEDICAL SPA
SUSIE COX                               SHARON HORN                               WENDY CHEN
1850 CHADWICK DRIVE                     161 RIVER OAKS DR                         3654 S. NOGALES ST,
JACKSON, MS 39204                       CANTON, MS 39046-5375                     WEST COVINA, CA 91792-2714
[NAME REDACTED]         Case 24-10245-JTD
                                       MERRILLDoc  219
                                               LYNCH (8862) Filed 03/28/24      Page 126 ofPACKAGING,
                                                                                   MERRILLS 226       INC
ADDRESS ON FILE                          ATT PROXY DEPT                            1529 ROLLONS ROAD
                                         C/O MERRILL LYNCH CORP ACTIONS            BURLINGAME, CA 94010
                                         4804 DEER LAKE DR. E.
                                         JACKSONVILLE, FL 32246



METAMORPHOSIS PLASTIC SURGERY            METHODIST ASC LANDMARK                    METHODIST DALLAS MEDICAL CENTER
NANCY WEAKLY                             KATHLEEN WRIGHT                           JOEL PEREZ
9171 BALTIMORE NAT PIKE, SUITE 205       5510B PRESIDIO PKWY, STE 100              PO BOX 227116
ELLICOTT CITY, MD 21042                  SAN ANTONIO, TX 78249                     DALLAS, TX 75222




METHODIST HEALTHCARE LE BONHEUR          METHODIST HOSPITAL - LANDMARK             METHODIST HOSPITAL - LANDMARK
ARLISS COTTRELL                          AP AND PURCHASING                         FRANK SUNIGA
PO BOX 41058                             1151 ENTERPRISE DR, STE 100               12222 N. CENTRAL EXPRESSWAY STE 350
MEMPHIS, TN 38174-1058                   COPPELL, TX 75019                         LB34
                                                                                   SAN ANTONIO, TX 75243



METHODIST HOSPITAL                       METHODIST HOSPITAL                        METHODIST SURGERY CENTER
ATTN: AP                                 RICHARD KERN                              GERMANTOWN
PO BOX 60016                             P.O. BOX 300528                           ATTN: ACCOUNTS PAYABLE
ARCADIA, CA 91066                        HOUSTON, TX 77230                         1363 S. GERMANTOWN RD
                                                                                   GERMANTOWN, TN 38138



METRO CASTER CORPORATION                 METROHEALTH SYSTEM                        METROPOLITAN DERMATOLOGY
8301 WEST CALUMET ROAD                   YVETTE JACKSON                            JARROD COLON
MILWAUKEE, WI 53223                      ATTN: ACCOUNTS PAYABLE                    469 MORRIS AVE, STE 3
                                         2500 METROHEALTH DRIVE                    ELIZABETH, NJ 07208-2904
                                         CLEVELAND, OH 44109-1998



METROPOLITAN LIFE INSURANCE              METROPOLITAN LIFE INSURANCE               METROPOLITAN PLASTIC SURGERY
200 PARK AV                              P.O. BOX 783895                           313 PARK AVENUE, SUITE 100A
NEW YORK, NY 10166                       PHILADELPHIA, PA 19178                    FALLS CHURCH, VA 22046




METTLER-TOLEDO, LLC                      MG CONSULTING GROUP                       MG PLASTIC SURGERY
1900 POLARIS PARKWAY                     3830 VALLEY CENTER DR., 705-836           NEV GIGENA
COLUMBUS, OH 43240                       SAN DIEGO, CA 92130                       2700 SE STRATUS AVE, STE 201
                                                                                   MCMINNVILLE, OR 97128




MGH SURGERY LLC                          MGH                                       MGH
TRUDY HARVEY                             399 REVOLUTION DRIVE, SUITE 720           LOCKBOX 415007 MA5-527-02-07
2000 MON HEALTH MEDICAL PARK DR STE      SOMERVILLE, MA 02145                      2 MORRISSEY BLVD
2200                                                                               DORCHESTER, MA 02125
MORGANTOWN, WV 26505



MGM RESORTS INTERNATIONAL                MIA TALMOR, M.D.                          MIA TALMOR, M.D.
880 GRIER DR                             ADDRESS ON FILE                           ADDRESS ON FILE
LAS VEGAS, NV 89119




MIAMI AESTHETIC ASSOCIATES               MIAMI ANATOMICAL RESEARCH CENTER LLC      MIAMI BEACH COSMETIC
ATTN: ACCOUNTS PAYABLE                   8850 NW 20TH STREET                       AND PLASTIC SURGERY CENTER
PO BOX 546068                            DORAL, FL 33172                           SHAUN DO NOT USE SPERANZA
MIAMI, FL 33154                                                                    400 ARTHUR GODFREY RD, SUITE 305
                                                                                   MIAMI BEACH, FL 33140
MIAMI CANCER INSTITUTE ATCase  24-10245-JTD
                          BAPTIST                Doc 219
                                         MIAMI CANCER          Filed
                                                        INSTITUTE    03/28/24
                                                                  AT BAPTIST    Page  127
                                                                                   MIAMI   of 226
                                                                                         CENTER FOR PLASTIC SURGERY
HEALTH                                   HEALTH                                    ATTN: ACCOUNTS PAYABLE
6855 RED ROAD, SUITE 200                 8900 NORTH KENDALL DRIVE                  4308 ALTON ROAD, SUITE 720
MIAMI, FL 33143                          MIAMI, FL 33176                           MIAMI BEACH, FL 33140




MIAMI CENTER FOR PLASTIC SURGERY         MIAMI PLASTIC SURGERY                     MIAMI PLASTIC SURGERY
CHRISTINA AGUIAR                         ADDRESS ON FILE                           ATTN: ACCOUNTS PAYABLE
4308 ALTON ROAD, SUITE 830                                                         8940 N KENDALL DRIVE
MIAMI BEACH, FL 33140                                                              SUITE 903-E
                                                                                   MIAMI, FL 33176



MIAMI PLASTIC SURGERY                    MIAMI VALLEY HOSPITAL NORTH               MIAMI VALLEY HOSPITAL SOUTH
ADDRESS ON FILE                          CARRIE MUTERSPAW                          CARRIE MUTERSPAW
                                         110 N MAIN ST, STE 450                    110 N MAIN ST, STE 450
                                         DAYTON, OH 45402-3712                     DAYTON, OH 45402-3712




MIAMI VALLEY HOSPITAL SOUTH              [NAME REDACTED]                           MICATO SAFARIS
MARGARET FILO                            ADDRESS ON FILE                           ADDRESS ON FILE
1 WYOMING ST
DAYTON, OH 45409-2722




MICHAEL A. BOGDAN, M.D., F.A.C.S.        MICHAEL A. BOGDAN, M.D., F.A.C.S.         MICHAEL A. EPSTEIN, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MICHAEL A. EPSTEIN, M.D.                 MICHAEL A. FIORILLO, JR., M.D.            MICHAEL ARNSTEIN, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MICHAEL BASSIRI-TEHRANI, MD              MICHAEL BIRNDORF , M.D                    MICHAEL BOHLEY, M.D
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MICHAEL BRUCK, M.D.                      MICHAEL C. BATEMAN, M.D.                  MICHAEL C. EDWARDS, MD, FACS.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MICHAEL CIARAVINO.                       MICHAEL D. DEPRIEST, M.D.                 MICHAEL DECHERD, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MICHAEL EDWARDS, M.D.                    MICHAEL FIORILLO, MD, PC                  MICHAEL G. MANCUSO, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE
MICHAEL HARRIGAN             Case 24-10245-JTD
                                            MICHAELDoc  219MD Filed
                                                    J BAUER,        03/28/24
                                                              ASSOCIATES INC   Page  128 of
                                                                                  MICHAEL     226
                                                                                          J. BRUCKER, M.D.
ADDRESS ON FILE                              200 S WILCOX ST                       ADDRESS ON FILE
                                             443
                                             CASTLE ROCK, CO 80104




MICHAEL J. LEE, M.D.                         MICHAEL J. ORSECK, M.D., LLC          MICHAEL J. SCHENDEN, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHAEL J. YOO, M.D., INC.                   MICHAEL K LEE, MD                     MICHAEL L. TAYLOR
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHAEL MARION, M.D.                         MICHAEL MCCORMACK                     MICHAEL MEININGER, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHAEL MIRMANESH, MD                        MICHAEL MIRZABEIGI                    MICHAEL MOSES, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHAEL NAGY, M.D.                           MICHAEL PLASTINI M.D.                 MICHAEL R. SCHWARTZ, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHAEL SCHWARTZ, MD                         MICHAEL STRATHMEYER                   MICHAEL ZARRABI, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHAEL ZARRABI, M.D.                        MICHEL C. SAMSON, M.D.                [NAME REDACTED]
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




MICHELE M. COOPER, M.D.                      [NAME REDACTED]                       MICHELLE ASZTERBAUM, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                              [NAME REDACTED]                       MICHELLE J. ZWEIFLER, M.D.
ADDRESS ON FILE                              ADDRESS ON FILE                       ADDRESS ON FILE
[NAME REDACTED]         Case 24-10245-JTD     Doc 219
                                       [NAME REDACTED]     Filed 03/28/24      Page  129REDACTED]
                                                                                  [NAME  of 226
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         MICHIGAN ACADEMY OF PLASTIC SURGEONS      MICHIGAN CORPORATIONS, SECURITIES &
ADDRESS ON FILE                         ATTN: LYNNE JANDASEK                      COMMECTIAL LIC
                                        2130 TAUBMAN CENTER, 1500 E. MEDICAL      PO BOX 30018
                                        DR.                                       LANSING, MI 48909
                                        ANN ARBOR, MI 48109



MICHIGAN DEPARTMENT OF COMMUNITY        MICHIGAN DEPT OF TREASURY                 MICHIGAN DEPT OF TREASURY
HEALTH                                  AUSTIN BLDG                               MICHIGAN DEPARTMENT OF TREASURY
PO BOX 30002                            430 W ALLEGAN ST                          LANSING, MI 48922
LANSING, MI 48909                       LANSING, MI 48933




MICHIGAN MEDICINE                       MICHIGAN WORKFORCE DEVELOPMENT            MICKEL PLASTIC SURGERY
MASON WYPYCH                            AGENCY                                    HOPE MCLEMORE
3003 S. STATE STREET                    PO BOX 30805                              903 N 2ND STREET
ANN ARBOR, MI 48109                     LANSING, MI 48909                         MONROE, LA 71201




MICROMAGNETS LLC                        MICROMAGNETS LLC                          MICROMAGNETS LLC
10 MIRAMICHI TRAIL                      10 MIRAMICHI TRL                          C/O BOWLES RICE LLP
MORGANTOWN, WV 26508                    MORGANTOWN, WV 26508                      ATTN AMY J TAWNEY
                                                                                  600 QUARRIER ST
                                                                                  CHARLESTON, WV 25301



MICROSOLUTIONS CONSULTING,LLC           MID AMERICA SURGERY INSTITUTE             MID OHIO PLASTIC SURGERY, LLC
1436 AARHUS DRIVE                       JESSICA KARL                              PATTY SCHULTHEIS
SOLVANG, CA 93463                       5525 W 119TH STREET, STE 100              370 CLINE AVE, STE 2
                                        LEAWOOD, KS 66209                         MANSFIELD, OH 44907




MIDCAP FINANCIAL IV TRUST, AS AGENT     MIDCAP FINANCIAL TRUST, AS AGENT          MIDCAP FINANCIAL X TRUST, AS AGENT
7255 WOODMONT AVE, STE 200              7255 WOODMONT AVE, STE 200                7255 WOODMONT AVE, STE 200
BETHESDA, MD 20814                      BETHESDA, MD 20814                        BETHESDA, MD 20814




MIDCAP FUNDING IV TRUST, AS AGENT       MIDCAP FUNDING X TRUST, AS AGENT          MIDDLESEX HOSPITAL
7255 WOODMONT AVE, STE 200              7255 WOODMONT AVE, STE 200                GLORIA RODRIGUEZ
BETHESDA, MD 20814                      BETHESDA, MD 20814                        28 CRESCENT ST
                                                                                  MIDDLETOWN, CT 06457




MIDLAND MEMORIAL HOSPITAL               MIDTOWN SURGERY CENTER                    MIDTOWN SURGERY CENTER
ATTN: ACCOUNTS PAYABLE                  AZIZA PATTERSON                           DEBORAH FANNON
400 ROSALIND REDFERN GROVER PKWY        1210 2ND AVE                              305 E. 47TH STREET
MIDLAND, TX 79701                       NEW YORK, NY 10065-7403                   NEW YORK, NY 10017




MIDTOWN SURGICAL CENTER                 MIDWEST BREAST & AESTHETIC SURGERY        MIDWEST PLASTIC SURG SPECIALISTS
MARIA FELICIANO                         BREE NA                                   GUDRUN JONSDOTTIR
4600 LINTON BLVD, STE 100               1329 CHERRY WAY DRIVE, SUITE 200          1474 MERCHANT DRIVE
DELRAY BEACH, FL 33445                  GAHANNA, OH 43230                         ALOGONQUIN, IL 60102
MIDWESTERN ASSOCIATIONCase     24-10245-JTD
                         OF PLASTIC      MIGUEL Doc  219
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                                                                                MIHYE  of 226
                                                                                            MD
SURG                                     ADDRESS ON FILE                        ADDRESS ON FILE
563 CARTER COURT, SUITE B
KIMBERLY, WI 54136




MIKE DAVIS                              [NAME REDACTED]                         MIKO PLASTIC SURGERY
ADDRESS ON FILE                         ADDRESS ON FILE                         VERONICA HERNANDEZ
                                                                                435 N ROXBURY DR, SUITE 205
                                                                                BEVERLY HILLS, CA 90210




MILA KOTE, DO                           [NAME REDACTED]                         MILES, CAROLINE
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




MILESTONE FINANCIAL ENGINEERS, LLC      MILESTONE TRAILER LEASING, LLC          MILFORD MD
448 E WINCHESTER ST, STE 225            1520 SOUTH 5TH STREET, SUITE 270        JIM SYRE
SALT LAKE CITY, UT 84107                SAINT CHARLES, MO 63303                 301-303 W. HARFORD STREET
                                                                                MILFORD, PA 18337




MILLARD PLASTIC SURGERY                 MILLARD PLASTIC SURGERY                 MILLENNIAL PLASTIC SURGERY, PLLC
PAULA MILLARD                           STACY DUCHANE                           BARBARA LEBRON
195 INVERNESS DR W, STE 200             9777 S. YOSEMITE STREET                 56 W 45TH ST, 4TH FLOOR
ENGLEWOOD, CO 80112-5211                SUITE 200A                              NEW YORK, NY 10036-4206
                                        LONE TREE, CO 80124



MILLENNIAL PLASTIC SURGERY, PLLC        MILLENNIUM SURGERY CENTER               MILLER COSMETIC SURGERY
NLE - ANDREA FLOROS                     KATHLEEN ALLMAN                         BETSI WALKER
128 E. 62ND STREET, SUITE 1A            3850 SAN DIMAS ST                       SCRIPPS MEDICAL OFFICE BLDG, SUITE 210
NEW YORK, NY 10065                      BAKERSFIELD, CA 93301-1456              9834 GENESEE AVENUE
                                                                                LA JOLLA, CA 92037



MILLER COSMETIC SURGERY                 MILLER, VALERIE                         MILLICENT ROVELO, M.D.
TANNAH MIINCH                           ADDRESS ON FILE                         ADDRESS ON FILE
SUITE 210
9834 GENESEE AVENUE
LA JOLLA, CA 92037



MILLS-PENINSULA HEALTH SRVS             MILLS-PENINSULA HEALTH SRVS             MILTON S. HERSHEY MEDICAL CENTER
ATTN: ACCOUNTS PAYABLE                  MITNESH REDDY                           LINDSEY DEMCHAK
PO BOX 61910                            PO BOX 619110                           PO BOX 857 MC A430
ROSEVILLE, CA 95661                     ROSEVILLE, CA 95661                     HERSHEY, PA 17033




MILWAUKEEWAREHOUSE-COM LLC              MINARS DERMATOLOGY                      [NAME REDACTED]
4611 N 32ND ST                          AMANDA BELITS                           ADDRESS ON FILE
MILWAUKEE, WI 53209                     4060 SHERIDAN STREET, SUITE C
                                        HOLLYWOOD, FL 33021




MINIMALLY INVASIVE SURGERY INST, LLC    MINITAB, LLC                            MINIVALVE INTERNATIONAL BV
LISA HAWKINSON                          1829 PINE HALL ROAD                     6100 OAK TREE BLVD., SUITE 200
10400 N CENTRAL EXPY                    STATE COLLEGE, PA 16801                 CLEVELAND, OH 44131
DALLAS, TX 75231-2297
MINKOFF, ELIZABETH     Case 24-10245-JTD    DocDEPARTMENT
                                      MINNESOTA 219 Filed OF 03/28/24
                                                             HEALTH      Page  131 of 226
                                                                            MINNESOTA DEPT OF LABOR AND INDUSTRY
ADDRESS ON FILE                        P.O. BOX 64975                       443 LAFAYETTE RD N
                                       ST. PAUL, MN 55164-0975              ST PAUL, MN 55155




MINNESOTA DEPT OF REVENUE              MINNESOTA REVENUE                    MINNESOTA REVENUE
600 N ROBERT ST. N                     MAIL STATION 1250                    MAIL STATION 1275
SAINT PAUL, MN 55101                   600 N. ROBERT ST.                    SAINT PAUL, MN 55145
                                       SAINT PAUL, MN 55145




MINNESOTA SOCIETY OF PLASTIC           MINUTEMAN PRESS                      MIRADRY ACQUISITION COMPANY INC.
SURGEONS                               6211 S.27TH STREET                   C/O 1315 CAPITAL
3346 OLD STONE WAY NE                  GREENFIELD, WI 53221                 2929 WALNUT ST, SUITE 1240
SAUK RAPIDS, MN 56379                                                       PHILADELPHIA, PA 19104




MIRAGE SURGERY CENTER                  MIRAI 3D SRL                         [NAME REDACTED]
SHANNON DALTON                         MERCEDES 3235                        ADDRESS ON FILE
71949 HWY 111, SUITE 300               CIUDAD DE BUENOS AIRES 12345
RANCHO MIRAGE, CA 92270                ARGENTINA




[NAME REDACTED]                        MIRMIR SAN DIEGO                     MISSION PLASTIC SURGERY
ADDRESS ON FILE                        1562 DIAMOND STREET                  NANCY YUHAS
                                       SAN DIEGO, CA 92109                  777 CORPORATE DRIVE, SUITE 110
                                                                            LADERA RANCH, CA 92694




MISSION PLASTICOS FOUNDATON            MISSION PLASTICOS FOUNDATON          MISSISSIPPI DEPARTMENT OF REVENUE
8502 E. CHAPMAN AVE. 447               SUSAN WILLIAMSON                     PO BOX 23075
ORANGE, CA 92869                       8502 E. CHAPMAN AVE. 447             39225-3075
                                       ORANGE, CA 92869                     JACKSON, MS 39225




MISSISSIPPI DEPT OF EMPLOYMENT         MISSISSIPPI DEPT OF LABOR            MISSISSIPPI DIVISION OF MEDICAID
SECURITY                               MCCOY FEDERAL BUILDING               550 HIGH STREET, SUITE 1000
OFFICE OF THE GOVERNOR                 100 W CAPITAL ST, STE 608            JACKSON, MS 39201
1235 ECHELON PKWY                      JACKSON, MS 39269
PO BOX 1699
JACKSON, MS 39215


MISSISSIPPI PREMIER PLASTIC SURGERY    MISSISSIPPI SECURITIES DIVISION      MISSISSIPPI SECURITIES DIVISION
LAUREN TRUMAN                          125 S. CONGRESS ST                   401 MISSISSIPPI ST
160 FOUNTAINS BLVD, SUITE B            JACKSON, MS 39201                    JACKSON, MS 39201
MADISON, MS 39110




MISSISSIPPI STATE TAX COMMISSION       MISSOURI DEPT OF LABOR AND           MISSOURI DEPT OF REVENUE
500 CLINTON CTR DR                     INDUSTRIAL RELATIONS                 301 W HIGH ST, RM 102
CLINTON, MS 39056                      421 E DUNKLIN ST                     JEFFERSON CITY, MO 65101
                                       PO BOX 504
                                       JEFFERSON CITY, MO 65102



MISSOURI DIVISION OF EMPLOYMENT        MISSOURI STATE DEPARTMENT OF         [NAME REDACTED]
SECURITY                               HEALTH AND SENIOR SERVICES           ADDRESS ON FILE
MISSOURI DEPARTMENT OF LABOR           912 WILDWOOD
AND INDUSTRIAL RELATIONS               PO BOX 570
PO BOX 59                              JEFFERSON CITY, MO 65102
JEFFERSON CITY, MO 65104
[NAME REDACTED]        Case 24-10245-JTD     Doc 219
                                      [NAME REDACTED]      Filed 03/28/24   Page  132REDACTED]
                                                                               [NAME  of 226
ADDRESS ON FILE                        ADDRESS ON FILE                         C/O BENTLEY & MORE LLP
                                                                               GREGORY BENTLET & FARNAZ SALESSI
                                                                               4931 BIRCH STREET
                                                                               NEWPORT BEACH, CA 92660



MIZUGUCHI PLASTIC SURGERY              MIZUGUCHI PLASTIC SURGERY               MOAB VALLEY HEALTHCARE, INC
KRISTEN KACSNEK                        MAGGIE LITER                            CORINNE LITSUE
5605 RIVER KNOLLS DRIVE                9913 SHELBYVILLE ROAD                   PO BOX 988
LOUISVILLE, KY 40222                   LOUISVILLE, KY 40223                    MOAB, UT 84532-0988




MOBILE INFIRMARY MEDICAL CENTER        MODERN WOMENS CARE                      MOE, ALEXANDRA
KELLY LAWRENCE                         BETTY X                                 ADDRESS ON FILE
PO BOX 2144                            3440 LOMITA BLVD, SUITE 240
MOBILE, AL 36652                       TORRANCE, CA 90505




MOHAMED, HAMDA                         MOHAMED, JUWERIA                        MOKHTAR ASAADI, MD, PA
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




MOLLBERG, BRIANNA                      [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                         MONARCH PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                         JESSIE STAPP
                                                                               4801 W 135TH STREET
                                                                               LEAWOOD, KS 66224




MONEER JAIBAJI, M.D.                   [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                        MONONGALIA GENERAL HOSPITAL             MONROE SURGICAL HOSPITAL
ADDRESS ON FILE                        MELISSIA DEWITT                         AMANDA MILLER
                                       1200 JD ANDERSON DRIVE                  2408 BROADMOOR BLVD.
                                       MORGANTOWN, WV 26505                    MONROE, LA 71201




MONTALVO, ANGELINA                     MONTANA CENTER FOR FACIAL PLASTIC       MONTANA COMMISSIONER OF SECURITIES &
ADDRESS ON FILE                        SURG                                    840 HELENA AVE.
                                       SHELBY FRONT DESK                       HELENA, MT 59601
                                       2975 STOCKYARD ROAD
                                       MISSOULA, MT 59808
MONTANA DEPARTMENT OFCase
                     PUBLIC24-10245-JTD
                            HEALTH   MONTANADoc  219 Filed
                                              DEPARTMENT     03/28/24
                                                         OF REVENUE     Page 133 ofDEPT
                                                                           MONTANA  226OF LABOR AND INDUSTRY
AND                                  DEPARTMENT OF REVENUE                 PO BOX 1728
HUMAN SERVICES                       PO BOX 8021                           HELENA, MT 59624-1728
111 NORTH SANDERS ST                 HELENA, MT 59604
HELENA, MT 59601



MONTANA STATE UNIVERSITY CENTER FOR   MONTANTE PLASTIC SURGERY AND         MONTAS, DILENIA
BIOFILM ENGINEERING                   AESTHETICS                           ADDRESS ON FILE
PO BOX 173980                         SHELLY MONTANTE
BOZEMAN, MT 59717                     5706 GROVE AVE, STE 201
                                      RICHMOND, VA 23226-2343



MONUMENT HEALTH RAPID CITY HOSPITAL   MOO, PAW                             MOON KIM
DORIS FRITTS                          ADDRESS ON FILE                      ADDRESS ON FILE
PO BOX 6000
RAPID CITY, SD 57709




MOORE DERMATOLOGY                     MORA, NANCY                          MOREHOUSE-COWLES, LLC (DBA)
LAUREN GRECO                          ADDRESS ON FILE                      NUSIL INVESTMENTS, LLC
501 W. NORTH AVE, SUITE 103                                                1050 CINDY LANE
MELROSE PARK, IL 60160                                                     CARPINTERIA, CA 93013




MORGAN E. NORRIS, III, M.D.           MORGAN MARTIN                        MORGAN MARTIN, MD
ADDRESS ON FILE                       ADDRESS ON FILE                      ADDRESS ON FILE




MORGAN STANLEY & CO. (0050)           MORGAN STANLEY/INTL PLC (7309)       MORGAN, ARIEL
ATT MS PROXY DEPT                     ATT MS PROXY DEPT                    ADDRESS ON FILE
1300 THAMES ST WHARF                  1300 THAMES ST WHARF
BALTIMORE, MD 21231                   BALTIMORE, MD 21231




MORGS VS THE WORLD, LLC               MORRIS, MYCHALL                      MOSAIC LIFE CARE
3301 DORSTONE PL                      ADDRESS ON FILE                      BECKY REILLY
UPPER MARLBORO, MD 20774                                                   5325 FARAON ST.
                                                                           SAINT JOSEPH, MO 64506




MOSES CONE HOSPITAL                   MOSHARRAFA PLASTIC SURGERY           MOSHARRAFA PLASTIC SURGERY
ATTN: ACCOUNTS PAYABLE                EMILIA BULATT                        LORI BOWYER
1200 N ELM ST                         4611 E SHEA BLVD, SUITE 230          4611 E SHEA BLVD
GREENSBORO, NC 27401                  PHOENIX, AZ 85028                    PHOENIX, AZ 85028




MOSTARDI PLATT                        MOTION INDUSTRIES, INC               MOTT, KATE
ADDRESS ON FILE                       1605 ALTON ROAD                      ADDRESS ON FILE
                                      BIRMINGHAM
                                      IRONDALE, AL 35210




MOUA, MAI KOU                         MOUNT CARMEL WEST HOSPITAL           MOUNT SINAI BETH ISRAEL
ADDRESS ON FILE                       KELLY HESSON                         LESLIE GONZALEZ
                                      PO BOX 5073                          PO BOX 790
                                      TROY, MI 48099-5073                  NEW YORK, NY 10276
MOUNT SINAI HOSPITAL     Case 24-10245-JTD    Doc MEDICAL
                                        MOUNT SINAI 219 Filed  03/28/24
                                                          CENTER             Page 134 ofLAKE
                                                                                MOUNTAIN 226PLASTIC SURGERY
BRIAN ROSENTHAL                          CHARLOTTE CARDONA                      ALEXA CARDINAL
BOX 7000 OR BOX 1662                     4300 ALTON ROAD                        105 WESTVIEW ROAD, SUITE 120
1 GUSTAVE LEVY PLAZA                     MIAMI BEACH, FL 33140                  COLCHESTER, WA 05446
NEW YORK, NY 10029



MOUNTAIN VIEW HOSPITAL                   MOUNTAIN VISTA MEDICAL CENTER          MOUNTAIN WEST DERMATOLOGY
ATTN: ACCOUNTS PAYABLE                   ATTN: ACCOUNTS PAYABLE                 TONY COLAIZZI
2325 CORONADO ST                         PO BOX 20308                           2655 LITTLE BOOKCLIFF DRIVE
IDAHO FALLS, ID 83404                    PHOENIX, AZ 85036                      GRAND JUNCTION, CO 81501




MOUNTAIN WEST PLASTIC SURGERY & MED      MOUNTAIN WEST SOCIETY OF PLASTIC       MOUNTAINVIEW HOSPITAL
SPA                                      SURGEON                                ATTN: ACCOUNTS PAYABLE
HEATHER ARLINT                           MWSPS FINANCE DEPARTMENT               1151 ENTERPRISE DR, STE 100
60 FOUR MILE DRIVE, SUITE 10             PO BOX 734963                          COPPELL, TX 75019
KALISPELL, MT 59901                      CHICAGO, IL 60673



MOUNTAINVIEW HOSPITAL                    MOUNTCASTLE PLASTIC SURGERY            MOVASSAGHI PLASTIC SURGERY & ZIBA MED
BECKY PETERS                             MELLISA COUNSELMAN                     330 S GARDEN WAY
PO BOX 788                               44095 PIPELINE PLAZA, SUITE 430        SUITE 100
KAYSVILLE, UT 84037                      ASHBURN, VA 20147                      EUGENE, OR 97401




MOVASSAGHI PLASTIC SURGERY               MOY FINCHER CHIPPS DERMATOLOGY         MP PLASTIC SURGERY
SARA TATE                                MICHELLE LATSON                        CASEY NORTON
330 S GARDEN WAY                         421 N RODEO DR, STE T7                 HTTP://WWW.MPPLASTICSURGERY.COM/
SUITE 100                                BEVERLY HILLS, CA 90210-4531           FORT WORTH, TX 76104
EUGENE, OR 97401



MP PLASTIC SURGERY                       MRIGLOBALSEARCH                        MS CENTER FOR PLASTIC SURGERY
HOLLI FILECCIA                           9515 DEERECO ROAD                      SUSAN STECKLER
800 8TH AVE, SUITE 206                   STE 900                                200 W. JACKSON STREET, SUITE 100
FORT WORTH, TX 76104                     TIMONIUM, MD 21093                     RIDGELAND, MS 39157




MS SURGICAL INC                          MSSB (0015)                            MT. AUBURN PROFESSIONAL SERVICES
683 JACOB ROAD                           ATT MS PROXY DEPT                      HILDA AVEDISSIAN
SOUTHBURY, CT 06488                      1300 THAMES ST WHARF                   1 ARSENAL MARKET PL
                                         BALTIMORE, MD 21231                    WATERTOWN, MA 02472-5018




MUHAMMAD, AKIRAH                         MULLENLOWE US INC                      MULLIGAN, BRIAN
ADDRESS ON FILE                          386 PARK AVENUE SOUTH, 14TH FLOOR      ADDRESS ON FILE
                                         NEW YORK, NY 10016




MULTICARE CASCADE SURGICAL CENTER        MULTICARE HEALTH SYSTEM                MUNE GOWDA, M.D
YELENA RYMARUK                           ELAINE TICE                            ADDRESS ON FILE
122 3RD ST NE                            PO BOX 5299
AUBURN, WA 98002                         TACOMA, WA 98415




MUNEYYIRCI, TOM                          MUNISH K. BATRA, M.D.                  MUNOZ, KRYSTAL
ADDRESS ON FILE                          ADDRESS ON FILE                        ADDRESS ON FILE
MUNSAYAC, PAULITA       Case 24-10245-JTD   Doc
                                       MUNSON, TAMI219       Filed 03/28/24   Page 135 of 226
                                                                                 MUNZINGER, TAYLOR
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




MURFREESBORO MEDICAL CLINIC &           MURFREESBORO MEDICAL CLINIC              MUSE PLASTIC SURGERY
SURGICNTER                              DIANNE VAN PATTEN                        GWENDLYN MARTIN
JENNIFER ZACHARY                        1430 MEDICAL CENTER PKWY, SUITE 2A       3400 PEACHTREE RD NE, SUITE 15376
1272 GARRISON DR                        MURFREESBORO, TN 37129                   ATLANTA, GA 30326
MURFREESBORO, TN 37129



MY COSMETIC SURGERY                     MYHOUSTONSURGEONS                        MYMICHIGAN HEALTH
LISSETTE P                              STEPHANIE COOPER                         ATTN: ACCOUNTS PAYABLE
7360 SW 24TH STREET, SUITE 11           9230 KATY FREEWAY, SUITE 600             4000 WELLNESS DR
MIAMI, FL 33155                         HOUSTON, TX 77055                        MIDLAND, MI 48670-2000




MYTIEN GOLDBERG, M.D.                   N. TRIDENT REGIONAL HOSPITAL             N.D. OFFICE OF STATE TAX COMMISSIONER
ADDRESS ON FILE                         SHARON LIGHTFOOT                         600 E BLVD AVE
                                        200 WADSWORTH DRIVE                      DEPT 127
                                        RICHMOND, VA 23236                       BISMARCK, ND 58505-0599




NACM COMMERCIAL SERVICES                NADIA AFRIDI, M.D.                       NADIA BLANCHET, M.D.
606 N PINES RD, STE 102                 ADDRESS ON FILE                          ADDRESS ON FILE
SPOKANE VALLEY, WA 99206




NAH, MU                                 NAKANO, MICHAEL                          NAMSA
ADDRESS ON FILE                         ADDRESS ON FILE                          PO BOX 710970
                                                                                 CINCINNATI, OH 45271




NANCY BELL & ASSOCIATES, LLC            [NAME REDACTED]                          NANOS, TIMOTHY
2519 E. BEAVER LAKE DR. SE              ADDRESS ON FILE                          ADDRESS ON FILE
SAMMAMISH, WA 98075




[NAME REDACTED]                         NAPUTI, PETER                            NARGES L HORRIAT
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




NASDAQ                                  NASDAQ, INC                              NASDAQ, INC
151 W. 42ND STREET                      SHARON ASPRER                            SHARON ASPRER
NEW YORK, NY 10036                      THE NASDAQ STOCK MARKET, LLC             THE NASDAQ STOCK MARKET, LLC
                                        FMC TOWER, LEVEL 8, 2929 WALNUT ST.      LOCKBOX 20200, PO BOX 780200
                                        PHILADELPHIA, PA 19104                   PHILADELPHIA, PA 19178



NASHVILLE GULCH HOTEL LLC               NASIF, HICKS, HARRIS & CO, LLP           NASSAU HEALTHCARE CORPORATION
150 4TH AVE N STE 1100                  104 WEST ANAPAMU STREET                  EILEEN MCCLEARY-GRATTA
NASHVILLE, TN 37219                     SUITE B                                  ATTN: ACCOUNTS PAYABLE
                                        SANTA BARBARA, CA 93101                  2201 HEMPSTEAD TURNPIKE BOX 45
                                                                                 EAST MEADOW, NY 11554
NASSCO INC             Case 24-10245-JTD
                                      NATALIEDoc 219 M.D.
                                             DRIESSEN, Filed 03/28/24        Page 136 DRIESSEN,
                                                                                NATALIE of 226 MD
5365 S MOORLAND RD                     ADDRESS ON FILE                          ADDRESS ON FILE
NEW BERLIN, WI 53151




[NAME REDACTED]                        [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




NATASHA LUCKEY, MD                     [NAME REDACTED]                          NATHAN W. PATTERSON MD, PL
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




NATHAN W. PATTERSON MD, PL             NATHAN W. PATTERSON MD, PL               NATIONAL BREAST CENTER
ADDRESS ON FILE                        ADDRESS ON FILE                          BIB THURBER
                                                                                277 S. WASHINGTON ST, SUITE 100
                                                                                ALEXANDRIA, VA 22314




NATIONAL CENTER FOR PLASTIC SURGERY    NATIONAL CENTER FOR PLASTIC SURGERY      NATIONAL FIRE INSURANCE CO OF
7601 LEWINSVILLE ROAD                  ALEX MESBAHI                             HARTFORD
400                                    7601 LEWINSVILLE RD, SUITE 400           CONTINENTAL CASUALTY COMPANY / CNA
LEWINSVILLE, VA 22102                  MCLEAN, VA 22102                         FERNANDO MENDOZA
                                                                                4150 DRINKWATER BLVD. STE 410
                                                                                SCOTTSDALE, AZ 85251


NATIONAL FIRE INSURANCE OF HARTFORD    NATIONAL LYMPHEDEMA NETWORK, INC         NATIONAL UNION FIRE INS CO PA
151 N FRANKLIN STREET, FLOOR 9         93 4TH AVENUE                            AIG FINANCIAL LINES
CHICAGO, IL 60606                      NEW YORK, NY 10003                       ERIC YOON
                                                                                777 S. FIGUEROA STREET., 17TH FLOOR
                                                                                LOS ANGELES, CA 90017



NATIONWIDE CHILDRENS HOSPITAL          NATL FIN SVCS. (0226)                    NAT'L FIRE INS CO OF HARTFORD
LEIGH HILL                             ATT SEAN COLE OR PROXY DEPT              151 N FRANKLIN ST
P. O. BOX 7200                         NEWPORT OFFICE CTR III                   CHICAGO, IL 60604
COLUMBUS, OH 43205                     499 WASHINGTON BLVD
                                       JERSEY CITY, NJ 07310



NATURAL RESULTS                        NAVAL MEDICAL CENTER                     NAVAL MEDICAL CENTER
NAYDINE REILL                          ATTN: ACCOUNTS PAYABLE                   ATTN: AP DEPARTMENT
7930 E. THOMPSON PEAK PKWY             34800 BOB WILSON DRIVE                   SO CAL RDC 65
SCOTTSDALE, AZ 85255                   SAN DIEGO, CA 92134                      PO BOX 85007
                                                                                RICHMOND, VA 23285-5007



NAVARRO, THALIA                        NAVEEN C. SETTY MD PA                    NAVES, ERANDY
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




NAVEX GLOBAL, INC                      NAWAS EXECUTIVE CONSULTING LTD           [NAME REDACTED]
PO BOX 60941                           THE RITZ RPO                             ADDRESS ON FILE
CHARLOTTE, NC 28260-0941               PO BOX 17526
                                       VANCOUVER, BC V6E 0B2
                                       CANADA
NAZARIAN PLASTIC SURGERY  Case 24-10245-JTD
                                         NAZARIANDoc   219 SURGERY
                                                   PLASTIC    Filed 03/28/24   Page 137
                                                                                  NBCN    of/CDS
                                                                                       INC.   226(5008)
ANNABEL NEWULL                           SID NEAL                                  ATT DANIEL NTAP OR PROXY MGR
120 S. SPALDING DR, SUITE 315            120 S. SPALDING DR, SUITE 315             1010 DE LA GAUCHETIERE OUEST
BEVERLY HILLS, CA 90212                  BEVERLY HILLS, CA 90212                   STE 1925
                                                                                   MONTREAL, QC H3B 5J2 CANADA



NCH NORTH NAPLES HOSPITAL                NCSPS                                     NEAL D. GOLDBERG, M.D.
BILLING CONTACT                          ATTN: SUSAN RUSSELL                       ADDRESS ON FILE
PO BOX 413001                            6300 SAGEWOOD DR, STE H255
NAPLES, FL 34101                         CHARLOTTE, NC 28202




NEAL HANDEL, MD                          NEAL HANDEL, MD                           NEARLY ME TECHNOLOGIES, LLC
ADDRESS ON FILE                          ADDRESS ON FILE                           200 N INDUSTRIAL DRIVE
                                                                                   WACO, TX 76710




NEBRASKA DEPARTMENT OF BANKING &         NEBRASKA DEPARTMENT OF                    NEBRASKA DEPT OF HEALTH AND HUMAN
FINANCE                                  HEALTH AND HUMAN SERVICES                 SERV
1526 K ST                                PO BOX 95026                              301 CENTENNIAL MALL SOUTH
300                                      LINCOLN, NE 68509-5026                    LINCOLN, NE 68509
LINCOLN, NE 68508



NEBRASKA DEPT OF LABOR                   NEBRASKA DEPT OF REVENUE                  NEBRASKA METHODIST HOSPITAL
AMERICAN JOB CENTER , LINCOLN            301 CENTENNIAL MALL S                     ATTN: ACCOUNTS PAYABLE
1330 N ST, STE A                         LINCOLN, NE 68508                         825 SOUTH 169TH STREET
LINCOLN, NE 68508                                                                  OMAHA, NE 68118




NED SNYDER, IV, M.D.                     NEFF GROUP DISTRIBUTORS,INC.              NEINSTEIN PLASTIC SURGERY
ADDRESS ON FILE                          PO BOX 8604                               BEATRICE ROTHMAN
                                         7114 INNOVATION BLVD                      214 SULLIVAN STREET
                                         FORT WAYNE, IN 46898                      NEW YORK, NY 10012




NEINSTEIN PLASTIC SURGERY                [NAME REDACTED]                           NELSON GOLDBERG, M.D.
BELLA PATEISON                           ADDRESS ON FILE                           ADDRESS ON FILE
135 E. 74TH ST.
NEW YORK, NY 10021-3272




NELSON LABORATORIES, LLC                 NESMITH SURGERY CENTER                    NESPS
29471 NETWORK PLACE                      CONNIE GRUENWALD                          NE SOCIETY OF PLASTIC SURGEONS
CHICAGO, IL 60673-1294                   6801 NW 9TH BLVD, SUITE 2                 500 CUMMINGS CENTER, STE 4400
                                         GAINESVILLE, FL 32605                     BEVERLY, MA 01915




[NAME REDACTED]                          NETZEL, BRIAN                             NEUENFELDT, BRITTANY
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




NEVADA DEPARTMENT OF TAXATION            NEVADA DEPARTMENT OF TAXATION             NEVADA DEPT OF TAXATION
1550 COLLEGE PKWY NO 115                 GRANT SAWYER OFFICE BLDG                  1550 COLLEGE PKWY
CARSON CITY, NV 89706                    STE 1300, 555 E WASHINGTON AVE            STE 115
                                         LAS VEGAS, NV 89101                       CARSON CITY, NV 89706
                        Case 24-10245-JTD
NEVADA DIV OF PUBLIC & BEHAVIORAL      NEVADADoc    219
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                                                                                  NEVADA of 226OF THE LABOR
HEALTH                                 COMMISSIONER                               COMMISSIONER
4150 TECHNOLOGY WAY                    1818 COLLEGE PKWY, STE 102                 3340 W SAHARA AVE
CARSON CITY, NV 89706                  CARSON CITY, NV 89706                      LAS VEGAS, NV 89102




NEVADA SECRETARY OF STATE               NEW BEAUTIFUL YOU                         NEW CENTURY SPINE &
SECURITIES DIVISION                     MELISSA BLACK                             OUTPATIENT SURGICAL INSTITUTE
NORTH LAS VEGAS CITY HALL               204 S DURBIN ST                           JUDY BOEHM
2250 LAS VEGAS BLVD, N, STE 400         CASPER, WY 82601                          37 WEST CENTURY RD. STE. 106
LAS VEGAS, NV 89030                                                               PARAMUS, NJ 07652



NEW ENGLAND PLASTIC SURGERY             NEW ENGLAND SOCIETY OF PLASIC &           NEW FACE MD
ASSOCIATES                              RECONSTRUCTIVE SURGEONS INC               ADDRESS ON FILE
MARCELA NICOLA                          PO BOX 273
29 CRAFTS STREET, SUITE 370             NASHUA, NH 03061
NEWTON, MA 02458



NEW HAMPSHIRE BUREAU OF SECURITIES      NEW HAMPSHIRE DEPT OF HEALTH & HUMAN      NEW HAMPSHIRE DEPT OF LABOR
REG                                     129 PLEASANT ST                           95 PLEASANT ST
107 N MAIN ST                           CONCORD, NH 03301-3852                    CONCORD, NH 03301
CONCORD, NH 03301




NEW HORIZONS CTR FOR COSM SURG          NEW IMAGE COSMETIC SURG CTR               NEW IMAGE PLASTIC SURGERY
ISIDRA WYSZAMIRSKI                      MARIA JACOBSON                            1800 TOWN CENTER DR. 412
9843 GROSS POINT ROAD                   10167 W SUNRISE BLVD, STE 104             RESTON, VA 20190
SKOKIE, IL 60076                        PLANTATION, FL 33322




NEW IMAGE PLASTIC SURGERY               NEW IMAGE PLASTIC SURGERY                 NEW JERSEY BUREAU OF SECURITIES
LAUREN WIENER                           TANJA HOMAS                               OFFICE OF NEW JERSEY ATTORNEY
7425 EAST SHEA BLVD                     7902 JONES MALTSBERGER ROAD               GENERAL
SUITE 105                               SAN ANTONIO, TX 78216                     153 HALSEY ST
SCOTTSDALE, AZ 85260                                                              6TH FL
                                                                                  NEWARK, NJ 07102


NEW JERSEY DEPT OF HEALTH               NEW JERSEY DEPT OF HEALTH                 NEW JERSEY DEPT OF LABOR
55 N WILLOW ST                          PO BOX 360                                AND WORKFORCE DEVELOPMENT
TRENTON, NJ 08608-2308                  TRENTON, NJ 08625-0360                    1 JOHN FITCH PLAZA
                                                                                  TRENTON, NJ 08611




NEW JERSEY DEPT OF LABOR                NEW JERSEY DEPT OF THE TREASURY           NEW JERSEY DEPT OF THE TREASURY
DIV OF WAGE AND HOUR COMPLIANCE         DIVISION OF ADMINISTRATION                DIVISION OF TAXATION
1 JOHN FITCH PLAZA                      PO BOX 211                                3 JOHN FITCH WAY, 1ST FL LOBBY
TRENTON, NJ 08611                       TRENTON, NJ 08625-0211                    TRENTON, NJ 08611




NEW JERSEY DIVISION OF REVENUE          NEW JERSEY PLASTIC SURGERY                NEW LEAF PLASTIC & RECONSTRUCTIVE
ATT: ANNUAL REPORT REVIEW UNIT          KATHLEEN LYNCH                            SURG
P.O. BOX 302                            29 PARK STREET                            MERIA AULDS
TRENTON, NJ 08646                       MONTCLAIR, NJ 07042                       4400 HERITAGE TRACE PKWY, SUITE 200
                                                                                  FORT WORTH, TX 76244



NEW LIFE PLASTIC SURGERY                NEW MEXICO DEPARTMENT OF HEALTH           NEW MEXICO DEPT OF WORKFORCE
CLAUDIA BORGES                          HAROLD RUNNELS BUILDING                   SOLUTIONS
8400 SW 8TH STREET                      1190 S. ST. FRANCIS DRIVE                 401 BROADWAY NE
MIAMI, FL 33144                         SANTA FE, NM 87505                        ALBUQUERQUE, NM 87102
                      Case 24-10245-JTD
NEW MEXICO DEPT OF WORKFORCE                Doc HUMAN
                                     NEW MEXICO    219 SERVICES
                                                         Filed 03/28/24    Page 139
                                                                              NEW    of 226
                                                                                  MEXICO SECUIRITIES DIVISION
SOLUTIONS                            DEPARTMENT                               2550 CERRILLOS RD
PO BOX 1928                          NM HUMAN SERVICES DEPT                   3RD FL
ALBUQUERQUE, NM 87103                P.O. BOX 2348                            SANTE FE, NM 87505
                                     SANTA FE, NM 87504-2348



NEW ORLEANS CENTER FOR AESTHETICS     NEW YORK BARIATRIC GROUP                NEW YORK BARIATRIC GROUP
AND                                   CATHERINE CHEONG                        LILLIAN SIEGLER-PALEY
PLASTIC SURGERY, LLC                  125 MINEOLA AVE                         646 PARK AVE
MELISSA MURPHY                        ROSLYN HEIGHTS, NY 11577                NEW YORK, NY 10065-6105
2633 NAPOLEON AVE, SUITE 920
NEW ORLEANS, LA 70115


NEW YORK DEPT. OF FINANCE             NEW YORK FACIAL PLASTIC SURGERY         NEW YORK GROUP FOR PLASTIC SURGERY
CORRESPONDENCE UNIT                   GEORGE P                                DIANA MENDEZ
ONE CENTRE ST, 22ND FL                440 NORTHERN BLVD                       1 GUSTAVE L. LEVY PLACE
NEW YORK, NY 10007                    GREAT NECK, NY 11021                    NEW YORK, NY 10029




NEW YORK GROUP FOR PLASTIC SURGERY    NEW YORK HOSPITAL                       NEW YORK INVESTOR PROTECTION BUREAU
JOHNNY MENDEZ                         SIMONE MILLER                           28 LIBERTY ST
155 WHITE PLAINS ROAD                 525 E. 68TH STREET, BOX 156             15TH FL
SUITE 105                             NEW YORK, NY 10065                      NEW YORK, NY 10005
TARRYTOWN, NY 10591



NEW YORK METHODIST HOSPITAL           NEW YORK REG SOCIETY OF PLASTIC         NEW YORK STATE DEPARTMENT OF HEALTH
CALVIN HARRISON                       SURGEONS                                EMPIRE STATE PLAZA
506 6TH STREET                        444 E ALGONQUIN RD.                     ALBANY, NY 122
BROOKLYN, NY 11215                    ARLINGTON HEIGHTS, IL 60005




NEW YORK STATE DEPT OF LABOR          NEW YORK STATE SOCIETY OF PLASTIC       NEW YORK STATE WORKERS
BLDG 12                               SURG                                    COMPENSATION BRD
W.A. HARRIMAN CAMPUS                  136 STATE STREET                        ACCOUNTS - DB PENALTY
ALBANY, NY 12226                      SUITE 501                               328 STATE STREET
                                      ALBANY, NY 12207                        SCHENECTADY, NY 12305



NEWBEAUTY MEDIA GROUP, LLC            NEWBEAUTY MEDIA GROUP, LLC              NEWEGG BUSINESS INC
3651 NW 8TH AVE                       DEPT 0539                               P.O. BOX 31001-2895
BOCA RATON, FL 33431                  P.O. BOX 120539                         PASADENA, CA 91110
                                      DALLAS, TX 75312




NEWMAN MD PLASTIC SURGERY             NEWPORT BEACH SURGERY CENTER            NEWPORT CENTER WOMENS HEALTH
ADDRESS ON FILE                       KRISTIN PINKSTON                        KRITIN VERHOEF
                                      361 HOSPITAL RD, SUITE 124              180 NEWPORT CENTER DRIVE, SUITE 265
                                      NEWPORT BEACH, CA 92663                 NEWPORT BEACH, CA 92660




NEWPORT DERMATOLOGY & LASER           NEWPORT PLASTIC                         NEWVUE PLASTIC SURGERY, PC
ASSOCIATES                            TATIANA WESTON                          ANGELA GOETZ
BIVIANA ORTIZ                         20301 SW BIRCH STREEET, SUITE 100       10047 MAIN ST, SUITE 103
1441 AVOCADO AVENUE, SUITE 806        NEWPORT BEACH, CA 92660                 BELLEVUE, WA 98004
NEWPORT BEACH, CA 92660



NEXT MANAGEMENT LLC                   NEXUS THREE SIXTY SERVICES COMPANY      NG, INC.
15 WATTS STREET                       354 SOUTH BROAD STREET                  JANN BANZON
NEW YORK, NY 10013                    SUITE 104                               111 KIMBALL WAY
                                      TRENTON, NJ 08608                       SOUTH SAN FRANCISCO, CA 94080-6216
NGUYEN, TRISTAN        Case 24-10245-JTD    Doc
                                      NGUYEN,     219
                                              TRISTAN        Filed 03/28/24   Page  140 ofHOWLAND,
                                                                                 NICHOLAS  226     M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




NICHOLAS JOHNSON, MD                   NICHOLAS R. NIKOLOV, M.D.                 NICHOLAS R. NIKOLOV, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




NICKLAUS CHILDRENS HOSPITAL            [NAME REDACTED]                           [NAME REDACTED]
MARIA TUERO                            ADDRESS ON FILE                           ADDRESS ON FILE
3100 S.W. 62ND AVENUE
MIAMI, FL 33155




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                        NIMA NAGHSHINEH, MD                       NIMA NAGHSHINEH, MD
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




NIMA NAGHSHINEH, MD                    NINA S. NAIDU, M.D.                       NIP TUCK AESTHETICS
ADDRESS ON FILE                        ADDRESS ON FILE                           ANA TORRES
                                                                                 12100 SW 1ST ST
                                                                                 MIAMI, FL 33184-1623




NIRAV SAVALIA, M.D.                    NIRMAL NATHAN, MD                         [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




NJ SOCIETY OF PLASTIC SURGEONS         [NAME REDACTED]                           NOESKE, GREG
272 DUNNS MILL RD                      ADDRESS ON FILE                           ADDRESS ON FILE
BORDENTOWN, NJ 08505
NOJI, ANNA               Case 24-10245-JTD    Doc MD
                                        NOLAN KARP, 219     Filed 03/28/24     Page 141 PLASTIC
                                                                                  NORCAL of 226 SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                          SIRENA LARANCE
                                                                                  575 SIR FRANCIS DRAKE BLVD, 2
                                                                                  GREENBRAE, CA 94904




NORFOLK PLASTIC SURGERY, PC              NORI EBERSOLE                            NORMAN BAKSHANDEH, M.D.
KATRINA STARCESKI                        ADDRESS ON FILE                          ADDRESS ON FILE
6261 E VIRGINIA BEACH BLVD, SUITE 100
NORFOLK, VA 23502




NORMAN ROWE, M.D.                        NORTH ATLANTA PLASTIC SURGERY            NORTH BRANCH DERMATOLOGY, LLC
ADDRESS ON FILE                          KATIE BAKER                              CHRISTINA DUNN
                                         5505 PEACHTREE DUNWOODY ROAD, SUITE      7447 W. TALCOTT AVE., SUITE 425
                                         640                                      CHICAGO, IL 60631
                                         ATLANTA, GA 30342



NORTH BROWARD HOSPITAL DISTRICT          NORTH CAROLINA DEPARTMENT OF             NORTH CAROLINA DEPARTMENT OF
JENNIFER NICHOLS                         REVENUE                                  HEALTH AND HUMAN SERVICES
1608 S.E. 3RD AVENUE                     PO BOX 25000                             2001 MAIL SERVICE CENTER
FORT LAUDERDALE, FL 33316                RALEIGH, NC 27640-0520                   RALEIGH, NC 27699-2000




NORTH CAROLINA DEPT OF LABOR             NORTH CAROLINA DEPT OF LABOR             NORTH CAROLINA DEPT OF REVENUE
1101 MAIL SERVICE CTR                    4 W EDENTON ST                           501 N WILMINGTON ST
RALEIGH, NC 27699                        RALEIGH, NC 27603                        RALEIGH, NC 27604




NORTH CAROLINA MEDICAID                  NORTH CAROLINA SECURITIES DIVISION       NORTH CENTRAL BAPTIST
DIVISION OF HEALTH BENEFITS              2 SOUTH SALISBURY ST                     ATTN: ACCOUNTS PAYABLE
2501 MAIL SERVICE CENTER                 RALEIGH, NC 27601                        PO BOX 957
RALEIGH, NC 27699-2501                                                            CHESTERTON, IN 46304




NORTH CENTRAL BAPTIST                    NORTH CENTRAL SURGICAL CENTER            NORTH COUNTY SURGICENTER
TIM SANTERLLAN                           MARLA JACKSON                            LAURA BUTRICK
1150 BRUSSELS, MAIL STATION 88           9301 N CENTRAL EXPWY, SUITE 100          4000 BURNS RD
SAN ANTONIO, TX 78219                    DALLAS, TX 75231                         PALM BEACH GARDENS, FL 33410




NORTH DAKOTA DEPARTMENT OF HEALTH        NORTH DAKOTA DEPT OF LABOR               NORTH DAKOTA SECURITIES DEPARTMENT
AND HUMAN SERVICES                       600 E BLVD AVE DEPT 406                  600 E BOULEVARD AVE
600 E BLVD AVE                           BISMARCK, ND 58501                       BISMARCK, ND 58501
DEPT 325
BISMARCK, ND 58505-0250



NORTH DALLAS PLASTIC SURGERY ASSOC.      NORTH FLORIDA REGIONAL MED CTR           NORTH FLORIDA SURGERY
ATTN: ACCOUNTS PAYABLE                   TRACEY JONES                             BREE ROTH
8305 WALNUT HILL LN, STE 210             200 WADSWORTH DRIVE                      1645 NANTAHALA BEACH RD
DALLAS, TX 75231                         RICHMOND, VA 23236                       GULF BREEZE, FL 32563




NORTH FLORIDA SURGERY                    NORTH FULLERTON SURGERY CENTER           NORTH KNOXVILLE MEDICAL CENTER
ELIZABETH NATHEY                         ATTN: ACCOUNTS PAYABLE                   LACEY LOTTER
600 E. GOVERNMENT STREET                 37 NOTH FULLERTON AVENUE                 ATTN: ACCOUNTING
PENSACOLA, FL 32502                      MONTCLAIR, NJ 07042                      PO BOX 1589
                                                                                  KNOXVILLE, TN 37901
NORTH MEMORIAL HEALTHCARECase 24-10245-JTD     Doc 219 MED
                                        NORTH MISSISSIPPI   Filed
                                                              CTR,03/28/24
                                                                  INC        Page 142MS
                                                                                NORTH ofAMBULATORY
                                                                                         226       SURGERY CENTER
ATTN: AP DEPARTMENT                     SHERI DODSON                            KRISTEN MINICH
P.O. BOX 31229                          830 SOUTH GLOSTER ST                    589 GARFIELD ST
SALT LAKE CITY, UT 84131                TUPELO, MS 38801-4934                   TUPELO, MS 38801




NORTH RALEIGH PLASTIC SURGERY           NORTH SHORE COSMETIC SURGERY            NORTH SHORE PLASTIC SURGERY LLC
LONNIE BUNN                             KATIE PYNE                              MIKE MONIZ
9104 FALLS OF NEUSE ROAD                510 BROADHOLLOW RD, STE 100             7 1ST AVE
RALEIGH, NC 27615                       MELVILLE, NY 11747                      PEABODY, MA 01960




NORTH SHORE PLASTIC SURGERY             NORTH TEXAS PLASTIC SURGERY             NORTH TEXAS PLASTIC SURGERY
TAYLOR NUNES                            415 E. SOUTHLAKE BLVD. 202              ADDRESS ON FILE
3401 E. CAUSEWAY APPROACH               SOUTHLAKE, TX 76092
MANDEVILLE, LA 70448




NORTH TEXASPLASTIC SURGERY              NORTH TEXASPLASTIC SURGERY              NORTH VALLEY SURGERY CENTER
ADDRESS ON FILE                         ADDRESS ON FILE                         LINDA BALOGH
                                                                                3033 N. 44TH ST, SUITE 200
                                                                                PHOENIX, AZ 85018




NORTHEAST PLASTIC SURGERY CENTER        NORTHEAST PLASTIC SURGERY CENTER,       NORTHEASTERN PLASTIC SURGERY
KIM AP                                  LLC                                     CHRISTINE MOREIRA
5 DAVIS ROAD EAST                       5 DAVIS ROAD EAST                       220 RIDGEDALE AVE, SUITE C-1
OLD LYME, CT 06371                      OLD LYME, CT 06371                      FLORHAM PARK, NJ 07932




NORTHEASTERN SOCIETY OF PLASTIC         NORTHERN LIGHT HEALTH                   NORTHERN MARIANA ISLANDS ATTY
SURGEONS                                ATTN: ACCOUNTS PAYABLE                  GENERAL
500 CUMMINGS CENTER SUITE 4400          43 WHITING HILL RD                      ATTN: EDWARD MANIBUSAN
BEVERLY, MA 01915                       BREWER, ME 04412                        CALLER BOX 10007
                                                                                SAIPAN, MP 96950-8907



NORTHERN MI SUPPLY ALLIANCE             NORTHERN NEVADA MEDICAL CENTER          NORTHERN TST CO, THE (2669)
REBECCA HARRIS                          DOUG METZGER                            ATT ANDREW LUSSEN OR PROXY MGR
PO BOX 669                              2375 E PRATER WAY                       801 S. CANAL ST
TRAVERSE CITY, MI 49685                 SPARKS, NV 89434                        ATT: CAPITAL STRUCTURES-C1N
                                                                                CHICAGO, IL 60607



NORTHSHORE UNIV HEALTH SYSTEM           NORTHSIDE HOSPITAL                      NORTHSIDE HOSPITAL
ROSE WILSON                             IGEOMA DAFE                             VANESSA BURROUGHS
1301 CENTRAL ST                         PO BOX 105606                           PO BOX 348
EVANSTON, IL 60201                      ATLANTA, GA 30348                       LAWRENCEVILLE, GA 30046




NORTHSIDE PLASTIC SURGERY               NORTHWELL HEALTH                        NORTHWELL HEALTH
TIFFANY DILLARD                         JOSHUA RIVERA                           YELENA RAPPOPORT
11681 HAYNES BRIDGE ROAD, SUITE 200     PO BOX 3856                             210 E. 64TH STREET
ALPHARETTA, GA 30009                    NEW HYDE PARK, NY 11040                 NEW YORK, NY 10065




NORTHWEST COMMUNITY HOSPITAL            NORTHWEST COSMETIC SURGERY              NORTHWEST HILLS SURGICAL HOSPITAL
ATTN: ACCOUNTS PAYABLE                  DEBYE W                                 INVOICING
3040 W. SALT CREEK LANE                 777 SW MILL VIEW WAY                    6818 AUSTIN CENTER BLVD, SUITE 100
ARLINGTON HEIGHTS, IL 60005             SUITE 100                               AUSTIN, TX 78731
                                        BEND, OR 97702-1140
NORTHWEST HOSPITAL          Case 24-10245-JTD   Doc HOSPITAL
                                           NORTHWEST 219 Filed 03/28/24          Page 143 of 226
                                                                                    NORTHWEST MEDICAL CENTER
ANA GONZALVO                               CALVIN MONTGOMERY                        ROB LOPEZ
1550 N 115TH STREET                        PO BOX 2667                              6180 N CORONA RD
SEATTLE, WA 98133                          BALTIMORE, MD 21215                      TUCSON, AZ 85741




NORTHWEST SOCIETY OF PLASTIC               NORTHWEST SOCIETY OF PLASTIC             NORTHWESTERN MEDICAL CENTER
SURGEONS                                   SURGEONS                                 VIRGINIA BLAIR
530 S. CROWLEY ST                          ATTN: DECI EVANS                         133 FAIRFIELD ST
SPOKANE, WA 99202                          4625 NE 178TH STREET                     ST. ALBANS, WA 05478-1726
                                           LAKE FOREST PARK, WA 98155



NORTHWESTERN MEDICINE PRIMARY              NORTHWESTERN MEMORIAL HOSPITAL           NORTHWESTERN PLASTIC SURGERY
AND SPECIALTY CARE                         LAURIE NELSON                            PATSY SCHWERDT
LINDA MARRA                                PO BOX 13776                             675 N ST CLAIR, SUITE 19-250
259 E. ERIE STREET, SUITE 2300             PHILADELPHIA, PA 19101                   CHICAGO, IL 60611
CHICAGO, IL 60611



NORTHWESTERN SKIN CANCER INSTITUTE,        NORTHWESTERN SPECIALISTS IN PLASTIC      NORTON HEALTHCARE
LTD                                        SURG                                     EMILY MILLER
STEPHANIE WHITE                            GABBY RUSO                               ATTN: ACCOUNTS PAYABLE
737 N. MICHIGAN AVE, SUITE 2310            676 N ST CLAIR, SUITE 1575               P.O. BOX 35070
CHICAGO, IL 60611                          CHICAGO, IL 60611                        LOUISVILLE, KY 40232-5070



NORTON HEALTHCARE                          NORWALK HOSPITAL ASSOCIATION             NOVAKOVIC, DRAGANA
KAREN RAMSEY                               SHARON ENGLISH                           ADDRESS ON FILE
P.O. BOX 34600                             24 STEVENS ST
LOUISVILLE, KY 40232-4600                  NORWALK, CT 06856




NOVANT HEALTH, INC.                        NOVANT HEALTH, INC.                      NPWR GROUP LLC
ATTN: ACCOUNTS PAYABLE                     CAROLYN BARNES                           13832 GIMBERT LN
P.O. BOX 25686                             PO BOX 25686                             SANTA ANA, CA 92705
WINSTON SALEM, NC 27114                    WINSTON SALEM, NC 27114




NUANCE COSMETIC SURGERY                    NUBODY CONCEPTS                          NUBODY CONCEPTS
ERINA SUMIDA                               DARLA SMITH                              PAULA VICKIE
1641 CREEKSIDE DRIVE                       2400 PATTERSON STREET                    1187 OLD HICKORY BLVD, SUITE 200
SUITE 100                                  SUITE 202                                NASHVILLE, TN 37027
FOLSOM, CA 95630                           NASHVILLE, TN 37203



NUNO, MARIA                                NUSIL TECHNOLOGY LLC                     NUSIL TECHNOLOGY LLC
ADDRESS ON FILE                            1050 CINDY LANE                          1050 CINDY LN
                                           CARPINTERIA, CA 93013                    CARPINTERIA, CA 93013




NUSIL TECHNOLOGY LLC                       NUSIL TECHNOLOGY LLC                     NUSIL TECHNOLOGY LLC
DEBBIE RICHARDSON                          DEBBIE RICHARDSON                        PO BOX 31001-2527
1050 CINDY LN                              PO BOX 31001-2527                        PASADENA, CA 91110
CARPINTERIA, CA 93013                      PASADENA, CA 91110




NW AMBULATORY SURGERY CENTER               NXTTHING RPO, LLC                        NXTTHING RPO, LLC
MELISSA GIBBONS                            20 N. MERIDIAN STREET                    AMINA MUKATI
1515 NW 18TH AVE, SUITE 200                SUITE 300                                20 N. MERIDIAN STREET
PORTLAND, OR 97209                         INDIANAPOLIS, IN 46204                   SUITE 300
                                                                                    INDIANAPOLIS, IN 46204
                      Case 24-10245-JTD
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                                     NYC HEALTH           Filed
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                                                                                      MEDICAL PRACTICE
PO BOX 3933                          ATTN: AP                                     ANN VANDYKE
NEW YORK, NY 10008                   462 1ST AVE, BLDG H 1ST FL                   251 W. 135TH STREET
                                     NEW YORK, NY 10016                           NEW YORK, NY 10030




NYS CORPORATION TAX                    NYS SOCIETY OF PLASTIC SURGEONS            NYSIF DISABILITY BENEFITS
NYS ESTIMATED CORPORATION TAX          NYSSPS                                     PO BOX 5520
P.O. BOX 15200                         150 STATE STREET, FLOOR 4                  BINGHAMTON, NY 13902
BINGHAMTON, NY 13902                   ALBANY, NY 12207




NYU AESTHETICS                         NYU GROSSMAN SCHOOL OF MEDICINE            NYU LANGONE MEDICAL CENTER
ATTN: ACCOUNTS PAYABLE                 550 FIRST AVENUE                           JESSENIA CRESPO
222 E 41ST ST, 6TH FL                  NEW YORK, NY 10016                         PO BOX 1901, MURRAY HILL STN
NEW YORK CITY, NY 10017                                                           NEW YORK, NY 10016




NYU LANGONE MEDICAL CENTER             O ARCH, INC                                OAKLEAF SURGICAL HOSPITAL
MICHELE RAVELO                         3 PARK PLAZA, SUITE 480                    LUCINDA BEDWARD
PO BOX 427                             IRVINE, CA 92614                           1000 OAKLEAF WAY
NEW YORK, NY 10523                                                                ALTOONA, WI 54720




OASIS SURGERY CENTER                   OBI PLASTIC SURGERY                        OBOYLE, KEVIN
LINDA PIPES                            JESSICA CURLEY                             ADDRESS ON FILE
5471 KEARNY VILLA RD, SUITE 100        3599 UNIVERSITY BLVD
SAN DIEGO, CA 92123                    SUITE 604
                                       JACKSONVILLE, FL 32216



OBRIEN, MARTIN                         OC DIGITAL LLC                             OCALA PLASTIC SURGERY
ADDRESS ON FILE                        42 RUE DU CHATEAU                          ATTN: ACCOUNTS PAYABLE
                                       ALISO VIEJO, CA 92656                      3320 S.W. 34TH CIRCLE
                                                                                  OCALA, FL 34474




OCAMPOS, URIEL                         OCHSNER MEDICAL CENTER                     OCONNOR
ADDRESS ON FILE                        SYBIL JOLLY                                C/O BENTLEY & MORE LLP
                                       1201 DICKORY                               GREGORY BENTLET & FARNAZ SALESSI
                                       HARAHAN, LA 70123                          4931 BIRCH STREET
                                                                                  NEWPORT BEACH, CA 92660



OCONNOR, DANIEL                        OFFICE FURNITURE WAREHOUSE OF              OFFICE OF SEC. OF STATE OF A.S.
ADDRESS ON FILE                        MILWAUKEE                                  HON. LEMANU PALEPOL S. MAUGA
                                       W184 S8400 CHALLENGER DR.                  LT GOVERNOR -E OFFICE OF THE
                                       MUSKEGO, WI 53150                          GOVERNOR
                                                                                  3RD FL, UTULEI
                                                                                  PAGO PAGO, AS 96799


OFFICE OF SEC. OF STATE OF ALABAMA     OFFICE OF SEC. OF STATE OF ALASKA          OFFICE OF SEC. OF STATE OF ARIZONA
HON. WES ALLEN                         HON. NANCY DAHLSTROM                       HON. ADRIAN FONTES
PO BOX 5616                            LIEUTENANT GOVERNOR -E                     1700 W WASHINGTON ST, FL 7
MONTGOMERY, AL 36103-5616              PO BOX 110015                              PHOENIX, AZ 85007-2808
                                       JUNEAU, AK 99811-0001



OFFICE OF SEC. OF STATE OF ARKANSAS    OFFICE OF SEC. OF STATE OF CALIFORNIA      OFFICE OF SEC. OF STATE OF COLORADO
HON. JOHN THURSTON                     HON. SHIRELY N WEBER                       HON. JENA GRISWOLD
STATE CAPITOL                          1500 11TH ST                               1700 BROADWAY, STE 550
500 WOODLANE ST, STE 256               SACRAMENTO, CA 95814                       DENVER, CO 80290
LITTLE ROCK, AR 72201
                        Case
OFFICE OF SEC. OF STATE OF CT. 24-10245-JTD      Doc
                                         OFFICE OF   219
                                                   SEC.      Filed
                                                        OF STATE OF 03/28/24
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                                                                                              226OF STATE OF DELAWARE
HON. STEPHANIE THOMAS                    HON. KIMBERLY A BASSETT                    HON. JEFFREY W. BULLOCK
PO BOX 150470                            1350 PENNSYLVANIA AVE, NW                  401 FEDERAL ST
STE 1000                                 STE 419                                    DOVER, DE 19901
HARTFORD, CT 06115-0470                  WASHINGTON, DC 20004



OFFICE OF SEC. OF STATE OF DELAWARE      OFFICE OF SEC. OF STATE OF FLORIDA         OFFICE OF SEC. OF STATE OF GEORGIA
HON. JEFFREY W. BULLOCK                  HON. CORD BYRD                             HON. BRAD RAFFENSPERGER
820 N FRENCH ST, 10TH FL                 R.A. GRAY BLDG                             214 STATE CAPITOL
WILMINGTON, DE 19801                     500 S BRONOUGH ST                          ATLANTA, GA 30334
                                         TALLAHASSEE, FL 32399



OFFICE OF SEC. OF STATE OF GUAM          OFFICE OF SEC. OF STATE OF HAWAII          OFFICE OF SEC. OF STATE OF IDAHO
HON. LOURDES (LOU) A. LEON GUERRERO      HON. SYLVIA LUKE                           HON. PHIL MCGRANE
LIEUTENANT GOVERNOR -E                   LIEUTENANT GOVERNOR -E                     450 N 4TH ST
PO BOX 2950                              STATE CAPITOL                              BOISE, ID 83702
HAGATNA, GU 96932                        HONOLULU, HI 96813



OFFICE OF SEC. OF STATE OF IDAHO         OFFICE OF SEC. OF STATE OF ILLINOIS        OFFICE OF SEC. OF STATE OF INDIANA
HON. PHIL MCGRANE                        HON. ALEXI GIANNOULIAS                     HON. DIEGO MORALES
PO BOX 83720                             213 STATE CAPITOL                          200 W WASHINGTON ST, ROOM 201
BOISE, ID 83720-0080                     SPRINGFIELD, IL 62756                      INDIANAPOLIS, IN 46204




OFFICE OF SEC. OF STATE OF IOWA          OFFICE OF SEC. OF STATE OF KANSAS          OFFICE OF SEC. OF STATE OF KENTUCKY
HON. PAUL D. PATE                        HON. SCOTT SCHWAB                          HON. MICHAEL G ADAMS
LUCAS BLDG, 1ST FL                       MEMORIAL HALL - 1ST FL                     700 CAPITAL AVE, STE 152
321 E 12TH ST                            120 SW 10TH AVE                            FRANKFORT, KY 40601
DES MOINES, IA 50319                     TOPEKA, KS 66612



OFFICE OF SEC. OF STATE OF LOUISIANA     OFFICE OF SEC. OF STATE OF MA.             OFFICE OF SEC. OF STATE OF MAINE
HON. R. KYLE ARDOIN                      HON. WILLIAM FRANCIS GALVIN                HON. SHENNA BELLOWS
PO BOX 94125                             1 ASHBURTON PLACE                          148 STATE HOUSE STATION
BATON ROUGE, LA 70804-9125               BOSTON, MA 02108                           AUGUSTA, ME 04333-0148




OFFICE OF SEC. OF STATE OF MARYLAND      OFFICE OF SEC. OF STATE OF MICHIGAN        OFFICE OF SEC. OF STATE OF MINNESOTA
HON. SUSAN C LEE                         HON. JOCELYN BENSON                        HON. STEVE SIMON
16 FRANCIS ST                            3315 E MICHIGAN AVE                        180 STATE OFFICE BLDG
ANNAPOLIS, MD 21401                      LANSING, MI 48912                          100 REV DR MLK JR BLVD
                                                                                    ST. PAUL, MN 55155-1299



OFFICE OF SEC. OF STATE OF MISSOURI      OFFICE OF SEC. OF STATE OF MONTANA         OFFICE OF SEC. OF STATE OF MS.
HON. JOHN R. ASHCROFT                    HON. CHRISTI JACOBSEN                      HON. MICHAEL WATSON
600 W MAIN ST                            PO BOX 202801                              125 S CONGRESS ST
JEFFERSON CITY, MO 65101                 HELENA, MT 59620-2801                      JACKSON, MS 39201




OFFICE OF SEC. OF STATE OF N.C.          OFFICE OF SEC. OF STATE OF N.H.            OFFICE OF SEC. OF STATE OF NEBRASKA
HON. ELAINE F. MARSHALL                  HON. DAVID M. SCANLAN                      HON. ROBERT B EVNEN
PO BOX 29622                             107 N MAIN ST                              PO BOX 94608
RALEIGH, NC 27626                        CONCORD, NH 03301                          LINCOLN, NE 68509-4608




OFFICE OF SEC. OF STATE OF NEVADA        OFFICE OF SEC. OF STATE OF NEW JERSEY      OFFICE OF SEC. OF STATE OF NEW MEXICO
HON. FRANCISCO V. AGUILAR                HON. SHEILA Y. OLIVER                      HON. MAGGIE TOULOUSE OLIVER
NEVADA STATE CAPITOL BLDG                LIEUTENANT GOVERNOR -E                     NEW MEXICO CAPITOL ANNEX NORTH
101 N CARSON ST, STE 3                   PO BOX 001                                 325 DON GASPAR, STE 300
CARSON CITY, NV 89701                    TRENTON, NJ 08625                          SANTA FE, NM 87501
                        Case
OFFICE OF SEC. OF STATE OF NEW 24-10245-JTD
                               YORK              Doc
                                         OFFICE OF    219
                                                   SEC.      Filed
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                                                                    NORTH       Page 146OF
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                                                                                             226OF STATE OF OHIO
HON. ROBERT J RODRIGUEZ                  DAKOTA                                    HON. FRANK LAROSE
ONE COMMERCE PLAZA                       HON. MICHAEL HOWE                         22 N FOURTH ST, 16TH FL
99 WASHINGTON AVE, STE1100               600 E BLVD AVE DEPT 108                   COLUMBUS, OH 43215
ALBANY, NY 12231                         BISMARCK, ND 58505-0500



OFFICE OF SEC. OF STATE OF OKLAHOMA      OFFICE OF SEC. OF STATE OF OREGON         OFFICE OF SEC. OF STATE OF P.R. (PDP)
HON. DAVE LOPEZ                          HON. SHEMIA FAGAN                         HON. LUIS G. RIVERA MARIN
2300 N LINCOLN BLVD                      255 CAPITAL ST NE                         SAN JOSE ST SAN FRANCISCO ST CORNER
ROOM 122                                 STE 151                                   OLD SAN JUAN, PR 00902
OKLAHOMA CITY, OK 73105-4897             SALEM, OR 97310-0722



OFFICE OF SEC. OF STATE OF               OFFICE OF SEC. OF STATE OF RHODE          OFFICE OF SEC. OF STATE OF S.C.
PENNSYLVANIA                             ISLAND                                    HON. MARK HAMMOND
HON. AL SCHMIDT                          HON. GREGG M AMORE                        1205 PENDLETON ST, STE 525
302 N OFFICE BLDG                        148 W RIVER ST                            COLUMBIA, SC 29201
401 N ST                                 PROVIDENCE, RI 02904
HARRISBURG, PA 17120


OFFICE OF SEC. OF STATE OF S.D.          OFFICE OF SEC. OF STATE OF TENNESSEE      OFFICE OF SEC. OF STATE OF TEXAS
HON. MONAE L JOHNSON                     HON. TRE HARGETT                          HON. JANE NELSON
500 E CAPITOL AVE, STE 204               STATE CAPITOL                             1100 CONGRESS
PIERRE, SD 57501-5070                    NASHVILLE, TN 37243-1102                  CAPITOL BLDG, ROOM 1E.8
                                                                                   AUSTIN, TX 78701



OFFICE OF SEC. OF STATE OF U.S. VI (I)   OFFICE OF SEC. OF STATE OF UTAH           OFFICE OF SEC. OF STATE OF VERMONT
HON. TREGENZA ROACH                      HON. DEIDRE HENDERSON                     HON. COPELAND HANZAS
LIEUTENANT GOVERNOR -E                   350 N STATE ST, STE 220                   128 STATE ST
1131 KING ST, STE 101 CHRISTIANSTED      PO BOX 142325                             MONTPELIER, VT 05633-1101
ST. CROIX, VI 00802                      SALT LAKE CITY, UT 84114-2325



OFFICE OF SEC. OF STATE OF VIRGINIA      OFFICE OF SEC. OF STATE OF W.V.           OFFICE OF SEC. OF STATE OF WASHINGTON
HON. KAY COLE JAMES                      HON. MAC WARNER                           HON. KIM WYMAN
PO BOX 1475                              STATE CAPITAL BUILDING                    PO BOX 40220
RICHMOND, VA 23218                       CHARLESTON, WV 25305-0770                 OLYMPIA, WA 98504-0220




OFFICE OF SEC. OF STATE OF WISCONSIN     OFFICE OF SEC. OF STATE OF WYOMING        OFFICE OF THE ATTORNEY GENERAL OF
HON. DOUGLAS LA FOLLETTE                 HON. CHUCK GRAY                           GUAM
STATE CAPITAL BUILDING                   HERSCHLER BUILDING EAST                   ATTN:DOUGLAS B. MOYLAN
ROOM B41W                                122 W 25TH ST, STE 100                    ADMINISTRATION DIVISION
MADISON, WI 53703                        CHEYENNE, WY 82002-0020                   590 S MARINE CORPS DR, STE 901
                                                                                   TAMUNING, GU 96913


OFFICE OF THE UNITED STATES ATTORNEY     OFFICE OF THE UNITED STATES TRUSTEE       OFFICE TEAM
DISTRICT OF DELAWARE                     DISTRICT OF DELAWARE                      PO BOX 743295
HERCULES BUILDING                        ATTN: John Henry Schanne, II              SAN FRANCISCO, CA 94160-3484
1313 N. MARKET STREET, SUITE 400         844 KING ST, STE 2207, LOCKBOX 35
WILMINGTON, DE 19801                     WILMINGTON, DE 19801



OGDEN REGIONAL MEDICAL CENTER            OHIO DEPARTMENT OF MEDICAID               OHIO DEPT OF JOB & FAMILY SERVICES
JENNIFER THORNOCK                        50 WEST TOWN STREET, SUITE 400            4020 EAST 5TH AVENUE
PO BOX 788                               COLUMBUS, OH 43215                        COLUMBUS, OH 43219
KAYSVILLE, UT 84037




OHIO DEPT OF TAXATION                    OHIO DIVISION OF SECURITIES               OHIO LUMEX CO., INC.
4485 NORTHLAND RIDGE BLVD.               77 SOUTH HIGH ST                          30350 BRUCE INDUSTRIAL PARKWAY
COLUMBUS, OH 43218-2131                  23RD FLOOR                                CLEVELAND, OH 44139
                                         COLUMBUS, OH 43215
                         Case 24-10245-JTD
OHIO PLASTIC SURG SPECIALISTS                  DocUNIVERSITY
                                        OHIO STATE  219 Filed   03/28/24
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                                                                                      STATE UNIVERSITY HEALTH SYSTEM
KATHIE J                                LYNNE BROPHY                             STEPHANY THOMAS
300 POLARIS PKWY, SUITE 2650-A          PO BOX 183104                            660 ACKERMAN RD, PO BOX 183104
WESTERVILLE, OH 43082                   COLUMBUS, OH 43218                       COLUMBUS, OH 43218




OHIO TREASURER OF STATE                 OHIO TREASURER OF STATE                  OHIO VALLEY SOCIETY OF PLASTIC
OHIO ATTORNEY GENERAL                   OHIO DEPARTMENT OF TAXATION              SURGEONS
PO BOX 89471                            PO BOX 16678                             37122 TAIL FEATHER DRIVE
CLEVELAND, OH 44101-6471                COLUMBUS, OH 43216                       NORTH RIDGEVILLE, OH 44039




OHIOHEALTH - DUBLIN                     OHIOHEALTH CORPORATION                   OJAICARES, INC
ATTN: ACCOUNTS PAYABLE                  STEVO STEFANOVSKI                        3000 E OJAI AVE
PO BOX 9                                P.O. BOX 9                               OJAI, CA 93023
COLUMBUS, OH 43216                      COLUMBUS, OH 43216




OKLAHOMA DEPARTMENT OF SECURITIES       OKLAHOMA DEPT OF LABOR                   OKLAHOMA STATE DEPARTMENT OF HEALTH
204 N ROBINSON AVE                      409 NE 28TH ST, 3RD FL                   123 ROBERT S KERR AVE, STE 1702
STE 400                                 OKLAHOMA CITY, OK 73105                  OKLAHOMA CITY, OK 73102-6406
OKLAHOMA CITY, OK 73102




OKLAHOMA SURGICARE                      OKLAHOMA TAX COMMISSION                  OKLAHOMA TAX COMMISSION
SUSANNE NICHOLS                         300 N BROADWAY AVE                       FRANCHISE TAX
4317 W MEMORIAL RD                      OKLAHOMA CITY, OK 73102                  PO BOX 26920
OKLAHOMA CITY, OK 73134                                                          OKLAHOMA CITY, OK 73126-0920




OKTA INC.                               OLANSKY DERMATOLOGY ASSOCIATES           OLATHE MEDICAL CENTER
PO BOX 743620                           ELAINE BENUCK                            NANCY MCCONNELL
LOS ANGELES, CA 90074                   3379 PEACHTREE ROAD, SUITE 500           ATTN: ACCOUNTS PAYABLE
                                        ATLANTA, GA 30326                        20333 W. 151ST STREET
                                                                                 OLATHE, KS 66061



OLATOMIDE FAMILUSI, MD                  OLD REPUBLIC INSURANCE CO                OLD REPUBLIC PROFESSIONAL LIABILITY INC
ADDRESS ON FILE                         OLD REPUBLIC PROFESSIONAL                ATTN UNDERWRITING DEPT
                                        DEVIN BILGI                              191 N WACKER DR, STE 1000
                                        191 NORTH WACKER DRIVE, SUITE 1000       CHICAGO, IL 60606
                                        CHICAGO, IL 60606



OLGA BACHILO, MD                        OLIVER HEALTHCARE PACKAGING COMPANY      OLIVIA HO
ADDRESS ON FILE                         PO BOX 8518                              ADDRESS ON FILE
                                        CAROL STREAM, IL 60197




[NAME REDACTED]                         [NAME REDACTED]                          OLLMAN, BILLIE
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




OLMSTED MEDICAL CENTER                  OLSON, ERIC                              OLYMPIC DERMATOLOGY
MARIE PELINKA                           ADDRESS ON FILE                          CRYSTAL SCHEPERS
1650 4TH ST SE                                                                   424 LILLY ROAD NE
ROCHESTER, MN 55904                                                              OLYMPIA, WA 98506
OMAR AHMED, MD          Case 24-10245-JTD     Doc 219
                                       OMAR, USAMA         Filed 03/28/24    Page 148
                                                                                ONE    of 226
                                                                                    FAMILY CLINIC
ADDRESS ON FILE                        ADDRESS ON FILE                          ESMERALDO PRIETO
                                                                                1840 W. 49TH STREET, SUITE 700
                                                                                HIALEAH, FL 33012




ONEIL SKIN AND LIPO MEDICAL CENTER     ONEILL PLASTIC SURGERY                   ONELIO GARCIA, JR., M.D.
ATTN: ACCOUNTS PAYABLE                 MARIE PRICE                              ADDRESS ON FILE
40971 WINCHESTER RD                    245 SEVEN FARMS DR, SUITE 210
TEMECULA, CA 92591                     CHARLESTON, SC 29492




ONIRACOM                               ONYX AND PEARL SURGICAL SUITES           OPEN AVENUES FOUNDATION
216 E. GUTIERREZ STREET                TERESA GARVEY                            609 GREENWICH STREET 5TH FLOOR
SANTA BARBARA, CA 93101                465 N. CLEVELAND AVE, SUITE 150          NEW YORK, NY 10014
                                       WESTERVILLE, OH 43082




OPHTHALMIC CONSULTANTS OF VERMONT      OPHTHALMIC SURGEONS & PHYSICIANS         OPPENHEIMER & CO. INC. (0571)
MICHELLE BROWNELL                      PAULINA THEISS                           ATT COLIN SANDY OR PROXY MGR
55 TIMBER LANE                         3200 S. COUNTRY CLUB WAY                 85 BROAD ST, 4TH FL
SOUTH BURLINGTON, WA 05403             TEMPE, AZ 85282                          NEW YORK, NY 10004




ORACLE AMERICA INC                     ORACLE AMERICA, INC                      ORACLE AMERICA, INC
ATTN GEN COUNSEL, LEGAL DEPT           ATTN: ACCOUNTS RECEIVABLE                ATTN: ACCOUNTS RECEIVABLE
500 ORACLE PKWY                        2300 ORACLE WAY                          PO BOX 884471
REDWOOD SHORES, CA 94065               AUSTIN, TX 78741                         LOS ANGELES, CA 90088




ORACLE AMERICA, INC                    ORANGE COUNTY ASSESSOR - CALIFORNIA      ORANGE COUNTY PLASTIC SURGERY
PO BOX 884471                          500 S. MAIN STREET                       CENTER
LOS ANGELES, CA 90088                  2ND FLOOR                                ATTN: ACCOUNTS PAYABLE
                                       ORANGE, CA 92868                         4968 BOOTH CIRCLE, SUITE 105
                                                                                IRVINE, CA 92604



ORANGE COUNTY SOCIEY OF PLASTIC        ORBIS CORPORATION                        ORCHARD CREEK SURGERY CENTER
SURGEONS                               1055 CORPORATE CENTER DRIVE              TERRI SANDERS
200 S MANCHESTER AVENUE                OCONOMOWOC, WI 53066                     6399 SAN IGNACIO AVE, SUITE 120
SUITE 650                                                                       SAN JOSE, CA 95119
ORANGE, CA 92868



ORDONEZ PLUMBING                       ORDONEZ PLUMBING                         OREGON BUREAU OF LABOR AND
ADDRESS ON FILE                        ADDRESS ON FILE                          INDUSTRIES
                                                                                800 NE OREGON ST
                                                                                SUTIE 1045
                                                                                PORTLAND, OR 97232



OREGON DEPARTMENT OF REVENUE           OREGON DIVISION OF FINANCIAL             OREGON EAR NOSE & THROAT CENTER
PO BOX 14950                           REGULATION                               JANNEY MARIN
SALEM, OR 97309                        PO BOX 14480                             1170 ROYAL AVENUE
                                       SALEM, OR 97309                          MEDFORD, OR 97504




OREGON HEALTH AUTHORITY                OREGON HEALTH AUTHORITY                  OREGON PLASTIC SURGEONS
500 SUMMER STREET                      PUBLIC HEALTH DIVISION                   KRISTIN OLIVEIRA
NE, E-20                               800 NE OREGON STREET                     875 OAK STREET SE
SALEM, OR 97301-1097                   PORTLAND, OR 97232                       SUITE 4060
                                                                                SALEM, OR 97301
OREN PAUL MUSHIN, MD        Case 24-10245-JTD
                                           ORKIN Doc 219      Filed 03/28/24      Page 149 ofCENTER
                                                                                     ORLANDO  226 FOR ADVANCED PLASTIC
ADDRESS ON FILE                            690-MILWAUKEE COMM, WI PO BOX 740589      SURG
                                           CINCINNATI, OH 45274                      NIKKI GUNN
                                                                                     1220 SLIGH BLVD.
                                                                                     ORLANDO, FL 32806



ORLANDO PLASTIC SURGERY INSTITUTE          ORLANDO REGIONAL MEDICAL CENTER           ORO VALLEY HOSPITAL
RINA PATEL                                 WANDA RUSSELL                             GREG SCOTT
801 N. ORANGE AVE, SUITE 600B              P.O. BOX 562008                           1551 E TANGERINE RD
ORLANDO, FL 32801-5202                     ORLANDO, FL 32856                         ORO VALLEY, AZ 85755




OROPEZA MARTINON, KARLA                    OROSZ, LAUREN                             ORTIZ, RAUL
ADDRESS ON FILE                            ADDRESS ON FILE                           ADDRESS ON FILE




OSBORNE HEAD & NECK INSTITUTE              OU MEDICAL CENTER                         OUTPATIENT PLASTIC SURGERY
KIM GALES                                  DARLA BROWN                               MELISSA MAGNAPERA
8631 W. 3RD STREET, SUITE 945E             PO BOX 248931                             1620 S. CONGRESS AVE, SUITE 100
LOS ANGELES, CA 90048                      OKLAHOMA CITY, OK 73124-8931              PALM SPRINGS, FL 33461




OUTPATIENT SURGERY CENTER OF               OVERLAKE MEDICAL CENTER                   OVERLAND PARK SURGERY CENTER
ASHEVILLE                                  SUSAN TANG                                TANYA PALMER
ATTN: AP                                   1035 116TH AVE NE                         10601 QUIVIRA RD, SUITE 100
29 NETTLEWOOD DR                           BELLEVUE, WA 98004                        OVERLAND PARK, KS 66215
ASHEVILLE, NC 28803



OWEN HEALTH GROUP                          OWENS & MINOR 53                          OWENS & MINOR 53
JAMIE OWEN                                 ATTN: ACCOUNTS PAYABLE                    MIKE EHARA
5028 122ND STREET                          SO CAL RDC 65                             ATTN: O.R. 6G - ROOM 603
LUBBOCK, TX 79424                          PO BOX 85007                              1 JARRETT WHITE ROAD
                                           RICHMOND, VA 23285-5007                   TRIPLER ARMY MED CTR, HI 96859-5001



OWNBACK UP, INC                            OXFORD UNIVERSITY PRESS                   P K ARCHITECTURE INC
940 SYLVAN AVE, FL1                        THE CASHIERS OFFICE                       29619 AGOURA ROAD
ENGLEWOOD CLIFFS, NJ 07632                 GREAT CLAREDON ST                         AGOURA HILLS, CA 91301
                                           OXFORD OX2 6DP
                                           UNITED KINGDOM



P & R COSMETIC ALLIANCE                    P & S SURGICAL HOSPITAL                   P.S.S..
COURTNEY SAUCIER                           JIMMY LAUDENHEIMER                        350 BON AIR RD., SUITE 300
421 S 28TH AVE, SUITE 110                  P.O. BOX 3187                             GREENBRAE, CA 94904
HATTIESBURG, MS 39401                      MONROE, LA 71210




PABLO PRICHARD, M.D.                       PACES PLASTIC SURGERY                     PACES PLASTIC SURGERY
ADDRESS ON FILE                            ALEXANDRA HART                            KEVIN HAIM
                                           3200 DOWNWOOD CIRCLE NW, SUITE 640        3200 DOWNWOOD CIRCLE NW, SUITE 640
                                           ATLANTA, GA 30327                         ATLANTA, GA 30327-1624




PACHECO DAVILA, GERALD                     PACHULSKI STANG ZIEHL & JONES LLP         PACIFIC CENTER FOR PLASTIC SURGERY
ADDRESS ON FILE                            919 N MARKET STREET 17TH FLOOR            KARLA IBARRA
                                           WILMINGTON, DE 19801                      3991 MACARTHUR BLVD, SUITE 320
                                                                                     NEWPORT BEACH, CA 92660
                         Case 24-10245-JTD
PACIFIC DERMATOLOGY & COSMETIC          PACIFIC Doc  219 Filed
                                                DERMATOLOGY  AND 03/28/24        Page 150 DERMATOLOGY
                                                                                    PACIFIC of 226    INSTITUTE
CENTER                                  COSMETIC LASER CENTER                       MARIA ROSAS
ATTN: ACCOUNTS PAYABLE                  KORINA CASTREJON                            9041 MAGNOLIA AVE, SUITE 206
11011 MERIDIAN AVE N, SUITE 102         8899 UNIVERSITY CENTER LANE, SUITE 150      RIVERSIDE, CA 92503
SEATTLE, WA 98133                       SAN DIEGO, CA 92122



PACIFIC DERMATOLOGY INSTITUTE             PACIFIC PLASTIC SURGERY GROUP             PACIFIC PLASTIC SURGERY INSTITUTE
TORI MCCRAY                               77 VAN NESS AVENUE, SUITE 302             MARCY YOCUM
240 NEWPORT CENTER DR                     SAN FRANCISCO, CA 94102                   15825 LAGUNA CANYON ROAD, SUITE 208
SUITE 105                                                                           IRVINE, CA 92618
NEWPORT BEACH, CA 92660



PACIFIC PLASTIC SURGERY                   PACIFIC SURGERY CENTER                    PACIFIC TRIAL ATTORNEYS, P.C. -
ELAINE                                    EDNA NARGIZ                               CLIENT TRUST ACCT
1722 STATE ST, SUITE 102                  21 TAMAL VISTA BLVD                       4100 NEWPORT PLACE DR, STE 800
SANTA BARBARA, CA 93101                   SUITE 103                                 NEWPORT BEACH, CA 92660
                                          CORTE MADERA, CA 94925



PACKAGING COMPLIANCE, LLC                 PADILLA, EDGAR                            PAGANO, MICHAEL
4334 BROCKTON DR SE SUITE E               ADDRESS ON FILE                           ADDRESS ON FILE
KENTWOOD, MI 49512




[NAME REDACTED]                           [NAME REDACTED]                           PAIGE HARRIS
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                           [NAME REDACTED]                           PALI MOMI PLASTIC SURGERY CLINIC
ADDRESS ON FILE                           ADDRESS ON FILE                           SASHA MAK
                                                                                    98-1079 MOANALUA RD, STE 640
                                                                                    AIEA, HI 96701




PALISADE SURGERY CENTER                   PALISADES MEDICAL CENTER                  PALMS OF PASADENA HOSPITAL
REBECCA MILLER                            IRENE ERRICO                              BONNIE BINNEY
1567 PALISADE AVE, 1ST FLOOR              7600 RIVER RD                             1501 PASADENA AVE S
FORT LEE, NJ 07024                        NORTH BERGEN, NJ 07047                    ST PETERSUBRG, FL 33707




PALO ALTO MEDICAL FOUNDATION              PALO ALTO MEDICAL FOUNDATION              PALO ALTO MEDICAL FOUNDATION
FREMONT                                   FREMONT                                   CICI ASKARI
JESSICA WALLACE                           SCOTT DONNELLY                            PO BOX 619110
3200 KEARNY ST                            PO BOX 619110                             ROSEVILLE, CA 95661
FREMONT, CA 94538                         ROSEVILLE, CA 95661



PALO ALTO MEDICAL FOUNDATION              PALOMAR HEALTH                            PALOMAR HEALTH
MYRIHA CADENA                             ELAINE PATRAO                             KRISTINE ROBERTS
715 ALTOS OAKS DRIVE                      2227 ENTERPRISE ST                        800 W. VALLEY PARKWAY, SUITE 201
LOS ALTOS, CA 94024                       ESCONDIDO, CA 92029                       ESCONDIDO, CA 92025




PALOS COMMUNITY HOSPITAL                  [NAME REDACTED]                           [NAME REDACTED]
KAREN MUCHOWICZ                           ADDRESS ON FILE                           ADDRESS ON FILE
12251 S. 80TH AVENUE
PALOS HEIGHTS, IL 60463
PAMELA S. MCNUTT        Case 24-10245-JTD
                                       PAMLICODoc  219 HOLDINGS,
                                               PRIZELOGIC Filed 03/28/24
                                                                   LLC        Page  151REDACTED]
                                                                                 [NAME  of 226
ADDRESS ON FILE                         (DBA PRIZE LOGIC, LLC)                   ADDRESS ON FILE
                                        25200 TELEGRAPH ROAD, STE 405
                                        SOUTHFIELD, MI 48033




[NAME REDACTED]                         PANHANDLE PLASTIC SURGERY                PAOLI HOSPITAL
ADDRESS ON FILE                         DEBORAH VILLARREAL                       ATTN: ACCOUNTS PAYABLE
                                        1301 S COULTER ST, STE 201               PO BOX 12605
                                        AMARILLO, TX 79106-1765                  WYNNEWOOD, PA 19096




PAPERFOLDER CO.                         PARADISE VALLEY MULTI-SPECIALTY          PARAGON MEDICAL
7340 PARK LAKE DRIVE                    SURGERY CENTER                           111 FORBES BLVD
DEXTER, MI 48130                        KELLEY MCDANIEL                          MANSFIELD, MA 02048
                                        7125 E LINCOLN DR, STE A201
                                        PARADISE VALLEY, AZ 85253



PARAGON MEDITECH CO LTD                 PARAGON MEDITECH CO LTD                  PAREXEL INTERNATIONAL (IRL) LIMITED
ATTN CATHERINE CHENG                    RM 306, A MANSION                        ONE KILMAINHAM SQUARE, INCHICORE RD
RM 805 SHANGHAI PLZ, NO.138 MIDDLE      291 FUNING RD                            DUBLIN 8
HUAIHAI RD                              SHANGHAI                                 IRELAND
SHANGHAI                                CHINA
CHINA


PARHAM MAFI, MD                         PARISI, ROBERT                           PARK AVENUE AESTHETIC SURGERY
ADDRESS ON FILE                         ADDRESS ON FILE                          SHANNON SANTANGELO
                                                                                 461 PARK AVE S, 7TH FLR
                                                                                 NEW YORK, NY 10016




PARK CITIES COSMETIC SURGERY            PARK CITIES SURGERY CENTER               PARK MEADOWS COSMETIC SURGERY
PIPER TOOHEY                            ATTN: ACCOUNTS PAYABLE                   ROSMARY GARCIA
4311 OAK LAWN AVENUE, SUITE 365         6901 SNIDER PLAZA, SUITE 300             7430 EAST PARKMEADOWS DRIVE
DALLAS, TX 75219                        DALLAS, TX 75205                         SUITE 300
                                                                                 LONE TREE, CO 80124



PARK PLACE SURGICAL HOSPITAL            PARK PLAZA HOSPITAL                      PARK PRINTING SOLUTIONS
PENNY DOTY                              ATTN: ACCOUNTS PAYABLE                   550 E VERONA AVE
4811 AMBASSADOR CAFFERY PARKWAY         1151 ENTERPRISE DR, STE 100              VERONA, WI 53593
LAFAYETTE, LA 70508                     COPPELL, TX 75019




PARKER CENTER FOR PLASTIC SURGERY       PARKINS PLASTIC SURGERY                  PARKLAND HEALTH & HOSPITAL SYS
SIMON SAMAHA                            INVOICING EMAIL                          RICHARD HUMPHREY
122 E RIDGEWOOD AVE                     685 VALLEY RD                            ATTN: ACCOUNTS PAYABLE
PARAMUS, NJ 07652                       OCONOMOWOC, WI 53066-4766                5200-5201 HARRY HINES BLVD.
                                                                                 DALLAS, TX 75235



PARKWEST MEDICAL CENTER                 PARTINGTON PLASTIC SURGERY CENTER        PARTINGTON PLASTIC SURGERY CENTER
CONNIE HARMON                           CHRISTEL SCHAEFERS                       KRISTEN STYCKET
1410 CENTERPOINT BLVD, SUITE 401        10220 NE POINTS DR,, SUITE 110           12301 NE 10TH PL, STE 100
KNOXVILLE, TN 37932                     KIRKLAND, WA 98033                       BELLEVUE, WA 98005




PARTNERS IN PLASTIC SURGERY OF          PASADENA ADVANCED SURGERY INSTITUTE      PASADENA ADVANCED SURGERY INSTITUTE
WEST MICHIGAN                           SHANT B                                  VALERIE KWAN
LAURIE ROBERSON                         35 E GLENARM ST                          1044 S. FAIR OAKS
4070 LAKE DRIVE SE, SUITE 202           PASADENA, CA 91105                       SUITE 101
GRAND RAPIDS, MI 49546                                                           PASADENA, CA 91105
                        Case 24-10245-JTD
PATEL PLASTIC SURGERY LLC                     Doc 219
                                       PATEL, DEENA        Filed 03/28/24   Page 152HETAL
                                                                               PATEL, of 226
                                                                                          MOHIT
ERICA PATEL                            ADDRESS ON FILE                         ADDRESS ON FILE
11459 JOHNS CREEK PKWY, STE 240
JOHNS CREEK, GA 30097-3517




PATEL, TEJAS                          PATIENT CARE ASSOCIATES                  PATINA SOLUTIONS GROUP, INC
ADDRESS ON FILE                       NEL SULIVERES                            13890 BISHOPS DRIVE, SUITE 320
                                      500 GRAND AVE, STE 200                   BROOKFIELD, WI 53005
                                      ENGLEWOOD, NJ 07631




PATRICIA A. DEPOLI, MD                [NAME REDACTED]                          PATRICIA E KRANTZ
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PATRICIA MARS, M.D.                   PATRICK H. POWNELL, M.D.                 PATRICK HSU, MD
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PATRICK J. BUDNY, MD                  PATRICK L BASILE MD PS & WEL             PATRICK L. BASILE, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PATRICK L. BASILE, M.D.               PATRICK L. BASILE, M.D.                  PATRICK M. KELLEY, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PATRICK SWIER, M.D                    PAUL BRIAN MILLS                         PAUL C. ZWIEBEL, MD, DMD, PC
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PAUL C. ZWIEBEL, MD, DMD, PC.         PAUL G PIN, MD                           PAUL M. GLAT, M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PAUL MCCLUSKEY, M.D.                  PAUL PAPILLION, MD                       PAUL RHEE, M.D., F.A.C.S.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




PAUL TRAN, MD                         PAUL VANEK, M.D., INC.                   PAUL VANEK, M.D., INC.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE
PAUL VANEK, MD            Case 24-10245-JTD     Doc MD.
                                         PAUL VANEK, 219       Filed 03/28/24    Page 153
                                                                                    PAUL    of 226
                                                                                         VITENAS JR, MD
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




PAVILION SURGERY CENTER                   PAVLIC VENDING SERVICE INC                PAVLO ISAK, MD
ATTN: ACCOUNTS PAYABLE                    W223 N750 SARATOGA DRIVE                  ADDRESS ON FILE
1140 W. LA VETA AVENUE, SUITE 300         WAUKESHA, WI 53186
ORANGE, CA 92868




PAY IT FORWARD FUND                       PAYAM JARRAH-NEJAD, M.D., F.A.C.S.        PAYMON RAHGOZER, MD
490 S. MAPLE STREET                       ADDRESS ON FILE                           ADDRESS ON FILE
WACONIA, MN 55387




PCAOB                                     PEACE HEALTH                              PEAK MODELS & TALENT
PO BOX 418631                             AMBER WRIGHT                              2591 DALLAS PARKWAY SUITE 300
BOSTON, MA 02241-8631                     1115 SE 164TH AVE, SUITE 332              FRISCO, TX 75034
                                          VANCOUVER, WA 98683




PEAK PLASTIC SURGERY                      PEARCE PLASTIC SURGERY                    PEARL-ERESO PLASTIC SURG CTR
KATIE GRACE                               ATTN: ACCOUNTS PAYABLE                    GINA LUM HOY
1055 N 300 W, STE 301                     1600 W. 38TH STREET, SUITE 300            525 SOUTH DRIVE
PROVO, UT 84604                           AUSTIN, TX 78731                          SUITE 203
                                                                                    MOUNTAIN VIEW, CA 94040



PEARLMAN AESTHETIC SURGERY                PEARLMAN AESTHETIC SURGERY                PEER GROUP PLASTIC SURGERY CENTER
DONNA FAY                                 STEPHANIE PENTOLIROS                      GIANNA DEGRAZIO
521 PARK AVENUE                           110 E 6TH ST, 908                         124 COLUMBIA TURNPIKE
NEW YORK, NY 10065                        NEW YORK, NY 10022                        FLORHAM PARK, NJ 07932




[NAME REDACTED]                           PEINKOFER, ROGER                          PEKO MD
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




PELED PLASTIC SURGERY                     PENINSULA PLASTIC SURGERY - MARYLAND      PENN CREDIT CORPORATION
2100 WEBSTER STREET                       COURTNEY RIGGIN                           2800 COMMERCE DRIVE
SUITE 109                                 314 W CARROLL ST                          PO BOX 69703
SAN FRANCISCO, CA 94115                   SALISBURY, MD 21801                       HARRISBURG, PA 17106-9703




PENN HIGHLAND DUBOIS                      PENN HIGHLAND DUBOIS                      PENN MEDICINE
TONIA BENNETT                             TRICIA BRIGGER                            KIA WOMACK
PO BOX 447                                100 HOSPITAL AVE                          PO BOX 60256
DUBOIS, PA 15801                          DUBOIS, PA 15801                          PHILADELPHIA, PA 19102




PENN MEDICINE                             PENN PLASTIC SURGERY                      PENN PLASTIC SURGERY
LARRY SIMMONS                             AP STATEMENTS                             ATTN: ACCOUNTS PAYABLE
ATTN: ACCOUNTS PAYABLE                    UPHS COPRORATE FINANCE OFFICE             ACCOUNTS PAYABLE
PO BOX 60256                              1500 MARKET ST, 8TH FLOOR WEST TOWER      PO BOX 60256
PHILADELPHIA, PA 19102                    PHILDELPHIA, PA 19102                     PHILDELPHIA, PA 19102
PENN PLASTIC SURGERY Case 24-10245-JTD      DocST.
                                     PENN STATE  219
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                                                               CTR         Page 154
                                                                              PENN   of 226
                                                                                   STATE ST. JOSEPH MED CTR
MARIA NIAMONITOS                     THERESA GREINER                          VAL HIMMELBERGER
UPHS COPRORATE FINANCE OFFICE        PO BOX 801                               2500 BERNVILLE RD
1500 MARKET ST, 8TH FLOOR WEST TOWER HERSHEY, PA 17033-0801                   READING, PA 19605-9453
PHILDELPHIA, PA 19102



[NAME REDACTED]                       PENNSYLVANIA DEPARTMENT OF BANKING      PENNSYLVANIA DEPARTMENT OF
ADDRESS ON FILE                       AND SECURITIES                          HUMAN SERVICES
                                      MARKET SQUARE PLAZA                     801 MARKET STREET
                                      17 N SECOND STREET, SUITE 1300          PHILADELPHIA, PA 19107
                                      HARRISBURG, PA 17101



PENNSYLVANIA DEPT OF LABOR AND        PENNSYLVANIA DEPT OF STATE              PENROD, LLC
INDUSTRY                              401 N ST                                219 N MILWAUKEE ST
1700 LABOR & INDUSTRY BLDG            HARRISBURG, PA 17120                    2ND FLOOR
HARRISBURG, PA 17120                                                          MILWAUKEE, WI 53202




PENSKE TRUCK LEASING CO, LP           PENSKE TRUCK LEASING CO, LP             PER HEDEN DBA BTS MEDICAL AB
2675 MORGANTOWN ROAD                  P.O. BOX 802577                         PER HEDEN DBA BTS MEDICAL AB
READING, PA 19607                     CHICAGO, IL 60680                       STOCKHOLM 114 30
                                                                              SWEDEN




PERCY H. LO, MD                       PERET, KATIE                            PEREZ PLASTIC SURGERY INC
ADDRESS ON FILE                       ADDRESS ON FILE                         4560 ADMIRALTY WAY, SUITE
                                                                              MARINA DEL REY, CA 90292




PEREZ, BRANDON                        PEREZ, CHRISTINA                        PEREZ, LETICIA
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




PEREZ, MARILYN                        PEREZ, TINA                             PEREZ, TRISHA
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




PERFECTENN                            PERIMETER PLASTIC SURGERY               PERLOVICH, JUNE
KAYLIE X                              YOLANDA FERRELL                         ADDRESS ON FILE
1601 HATCHER LANE                     980 JOHNSON FERRY RD, SUITE 510
COLUMBIA, TN 38401-4826               ATLANTA, GA 30342




PERMANENT VENTURES INC DBA            PERRY LIU, MD                           PERRY, CHRIS
TELESCOPED                            ADDRESS ON FILE                         ADDRESS ON FILE
177 HUNTINGTON AVE, SUITE 1703
66382
BOSTON, MA 02115-3153



PERSHING (0443)                       PERSICK, MARTIN                         PERSONAL ENHANCEMENT CENTER
ATT JOSEPH LAVARA/PROXY DEPT          ADDRESS ON FILE                         HEIDI MYHRE
1 PERSHING PLAZA                                                              1430 HOOPER AVE, STE 200A
JERSEY CITY, NJ 07399                                                         TOMS RIVER, NJ 08753
                      Case 24-10245-JTD
PERSONAL PLASTIC SURGERY                    Doc 219DO Filed 03/28/24
                                     PETER ANDRADE,                     Page 155ASHJIAN,
                                                                           PETER of 226M.D.
383 NORTHFIELD AVE                   ADDRESS ON FILE                       ADDRESS ON FILE
WEST ORANGE, NJ 07052




PETER CAPIZZI, M.D.                  PETER D. GELDNER, MD                  PETER GROSSMAN, M.D.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




PETER J. CAPIZZI, MD                 PETER K. DAVIS, M.D.                  PETER KOLTZ
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




PETER L. KARLSBERG, M.D. A MEDICAL   PETER NEWEN, MD                       PETER NEWEN, MD
CORP.                                ADDRESS ON FILE                       ADDRESS ON FILE
JILL PETERSON
1190 S. VICTORIA AVENUE, SUITE 300
VENTURA, CA 93003



PETER VITULLI, D.O.                  PETERSON REGIONAL MEDICAL CENTER      PFS EXPEDITED SERVICES
ADDRESS ON FILE                      DESIREE                               DBA STRAIGHT SHOT EXPRESS
                                     551 HILL COUNTRY DR.                  4400 S KANSAS AVE
                                     KERRVILLE, TX 78028                   SAINT FRANCIS, WI 53235




PFS EXPEDITED SERVICES               PHASE PLASTIC SURGERY                 PHASE PLASTIC SURGERY
DBA STRAIGHT SHOT EXPRESS            ATTN: ACCOUNTS PAYABLE                PAMELA HOGE
PO BOX 210888                        6100 219TH SW ST, STE 290             7630 115TH PLACE NE
MILWAUKEE, WI 53221                  MOUNTLAKE TERRACE, WA 98043           KIRKLAND, WA 98033




PHILIP LOTFI, MD                     PHILIPP FRANCK, MD                    PHILIPPE SCHAISON
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




PHILL CAP (8460)                     [NAME REDACTED]                       PHILLIP CRAFT, M.D.
ATT PROXY MGR                        ADDRESS ON FILE                       ADDRESS ON FILE
141 W JACKSON BLVD
CBOT BLDG, STE 3050
CHICAGO, IL 60604



PHILLIP DAHAN MD                     PHILLIP E. DAHAN, M.D.                PHOEBE PLASTIC & RECON SURGERY
ADDRESS ON FILE                      ADDRESS ON FILE                       AMANDA BIERY
                                                                           2709 MEREDYTH DR, STE 340
                                                                           ALBANY, GA 31707-0219




PHOEBE PLASTIC & RECON SURGERY       PHOEBE PUTNEY MEMORIAL HOSPITAL       PHOEBE PUTNEY MEMORIAL HOSPITAL
MEGAN THOMPSON                       BRIAN CHURCH                          LISA AP
2405 OSLER CT                        PO BOX 31248                          PO BOX 3770
ALBANY, GA 31707                     SALT LAKE CITY, GA 84131              ALBANY, GA 31707
PHOENIX PLASTIC SURGERY Case 24-10245-JTD
                                       PHOENIXDoc
                                                SKIN219      Filed 03/28/24   Page 156 of 226
                                                                                 PHYSICIANS ADMINISTRATIVE AND
9250 N 3RD ST, STE 1003                DIANA JOSEPH                              BILLING SERVICES, LLC
PHOENIX, AZ 85020                      5056 N CENTRAL AVE                        999 FRANKLIN AVENUE
                                       PHOENIX, AZ 85012                         GARDEN CITY, NY 11530




PHYSICIANS ADVENTIST SURGERY CENTER     PHYSICIANS CLINIC OF IOWA                PHYSICIANS REGIONAL MEDICAL CENTER
ELIZABETH LONTOC                        KELSY M.                                 SANDY BRADHAM
1500 E CHEVY CHASE DR, STE 101          PO BOX 37                                6101 PINE RIDGE ROAD
GLENDALE, CA 91206-4153                 CEDAR RAPIDS, IA 52406                   NAPLES, FL 34119




PI MIDLANTIC                            PICHLER, JASON                           PICKART PLASTIC SURGERY
105 EASTERN AVE, SUITE 104              ADDRESS ON FILE                          SHANNON LASPADA
ANNAPOLIS, MD 21403                                                              3438 LOMA VISTA RD
                                                                                 VENTURA, CA 93003




PICKERINGTON SURGERY CENTER             PIEDMONT HOSPITAL & HEALTHCARE           PIEDMONT HOSPITAL & HEALTHCARE
MICHAELA THOMPSON                       JULIE SNYDER                             KATHY ACUT
1030 REFUGEE RD                         PO BOX 31328                             PO BOX 78247
PICKERINGTON, OH 43147                  SALT LAKE CITY, UT 84131                 ATLANTA, GA 30357




PIEDMONT PLASTIC & ORAL SURGERY         PIEDMONT PLASTIC SURGERY &               PIEDMONT PLASTIC SURGERY
KIM JACOBS                              DERMATOLOGY                              SHANNON MILLER
310 JAKE ALEXANDER BLVD W.              1072 X RAY DR.                           1072 X RAY DRIVE
SALISBURY, NC 28147                     GASTONIA, NC 28054                       GASTONIA, NC 28054




PIEPER ELECTRIC, INC                    PIERCE STREET SAME DAY SURGERY           PIERSON, CORINA
PO BOX 88601                            CRAIG BRYAN                              ADDRESS ON FILE
MILWAUKEE, WI 53288                     2730 PIERCE ST, STE 100
                                        SIOUX CITY, IA 51104




PIETURA, DAVID                          PIH HEALTH                               PIKEVILLE MEDICAL CENTER, INC.
ADDRESS ON FILE                         MARIELA ROJAS                            TRISTA OSBOURNE
                                        12401 WASHINGTON BLVD.                   911 BY-PASS ROAD
                                        WHITTIER, CA 90602                       PIKEVILLE, KY 41501




PIMA DERMATOLOGY                        PINEHURST SURGICAL PLASTIC SURGERY       PINEHURST SURGICAL PLASTIC SURGERY
MARITZA GONZALEZ                        CNTER                                    CNTER
5150 E. GLENN STREET                    DANIELLE BENNETT                         LISA BOONE
TUCSON, AZ 85712                        PO BOX 2000                              5 FIRST VILLAGE DR
                                        PINEHURST, NC 28374                      PINEHURST, NC 28374



PINEHURST SURGICAL PLASTIC SURGERY      PINK RIBBON GIRLS, INC.                  PINNACLE DERMATOLOGY -
CNTER                                   32 EAST MAIN STREET                      WAYZATA SURGICAL CENTER
NICK ZEEDYK                             TIPP CITY, OH 45371                      ACCOUNTS PAYABLE
PO BOX 3387                                                                      5141 VIRGINIA WAY, STE 350
PINEHURST, NC 28374                                                              BRENTWOOD, MN 37027



PINNACLE DERMATOLOGY -                  PINNACLE DERMATOLOGY -                   PINNACLE HEALTH SYSTEM
WAYZATA SURGICAL CENTER                 WAYZATA SURGICAL CENTER                  ROSA CARABALLO
PAULA VOLLER                            PAULA VOLLER                             PO BOX 8700
935 WAYZATA BLVD E, STE 200             935 WAYZATA BLVD E, STE 200              HARRISBURG, PA 17105
WAYZATA, MN 55391                       WAYZATA, MN 55391-2513
PINSKY PLASTIC SURGERY Case 24-10245-JTD
                                      PIONEERDoc   219
                                               VALLEY     Filed
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                                                              SURGERY        Page  157
                                                                                PIPIA,   of 226
                                                                                       JOSEPH
AUTUMN INGRAHAM                       KELLI DESROCHES                           ADDRESS ON FILE
11020 RCA CENTER DR, SUITE 2010       100 WASON AVENUE
PALM BEACH GARDENS, FL 33410          SUITE 360
                                      SPRINGFIELD, MA 01107



PITNEY BOWES GLOBAL FINANCIAL          PITNEY BOWES PURCHASE POWER              PITTMAN PLASTIC SURGERY
PO BOX 981022                          PITNEY BOWES BANK INC PURCHASE           MICHELLE PEMBERTON
BOSTON, MA 02298                       POWER                                    3320 OLD JEFFERSON ROAD, BLDG 100
                                       PO BOX 981026                            ATHENS, GA 30607
                                       BOSTON, MA 02298



PITTMAN PLASTIC SURGERY                PITTSBURGH CENTER FOR PLASTIC            PLACENTIA LINDA HOSPITAL
PAMELA HENRY                           SURGERY                                  ATTN: ACCOUNTS PAYABLE
801 N ORANGE AVE, SUITE 815            KATHY OTTAVIANO                          1301 N. ROSE DRIVE
ORLANDO, FL 32801                      3109 FORBES AVE, STE 400                 PLACENTIA, CA 92870
                                       PITTSBURGH, PA 15213



PLACER DERMATOLOGY                     PLASTIC & HAND SURGICAL ASSOCIATES       PLASTIC & RECONSTRUCTIVE SURGEONS
ISABELLE HALADUS-HENKE                 KATHIE CHADBOURNE                        ATTN: ACCOUNTS PAYABLE
9285 SIERRA COLLEGE BLVD.              244 WESTERN AVENUE                       17930 TALBOT ROAD S
ROSEVILLE, CA 95661                    SOUTH PORTLAND, ME 04106                 RENTON, WA 98055




PLASTIC & RECONSTRUCTIVE SURGERY       PLASTIC SURG AFFIL - NASHVILLE           PLASTIC SURG OF SOUTH FLORIDA
SUMTER                                 MARTHA HUENEKE                           MARIE RODRIGUEZ
JUDY CULBERTSON                        1914 CHARLOTTE AVE, STE 101              1404 E BROWARD BLVD
18 MILLER ROAD                         NASHVILLE, TN 37203-2231                 FORT LAUDERDALE, FL 33301-2138
SUMTER, SC 29150



PLASTIC SURGEONS OF ALASKA, LLC        PLASTIC SURGEONS OF LEXINGTON            PLASTIC SURGERY & DERMATOLOGY OF
KIMBERLY VANG                          JULIE ADMIN                              NYC
2741 DEBARR ROAD                       1401 HARRODSBURG RD, SUITE B75           ANDI HANKEN
SUITE C-215                            LEXINGTON, KY 40504                      35A EAST 84TH STREET
ANCHORAGE, AK 99508                                                             NEW YORK, NY 10028



PLASTIC SURGERY AFFILIATES, INC.       PLASTIC SURGERY ARTS OF NJ               PLASTIC SURGERY ARTS
1914 CHARLOTTE AVE, STE 101            JOYCE CANCILLA                           TINA POLLEINER
NASHVILLE, TN 37203                    409 JOYCE KILMER AVE, STE 210            1886 W AUBURN RD
                                       NEW BRUNSWICK, NJ 08901                  SUITE 200
                                                                                ROCHESTER HILLS, MI 48309



PLASTIC SURGERY ASSOC OF               PLASTIC SURGERY ASSOC OF REDDING         PLASTIC SURGERY ASSOC OF SOUTH
MONTGOMERY                             JANET JORDAN                             DAKOTA
SHAN FINLEY                            2439 SONOMA STREET                       CHERI BEYER
6727 TAYLOR COURT                      REDDING, CA 96001                        4201 S MINNESOTA, SUITE 112
MONTGOMERY, AL 36117                                                            SIOUX FALLS, SD 57105



PLASTIC SURGERY ASSOCIATES -           PLASTIC SURGERY ASSOCIATES OF SANTA      PLASTIC SURGERY ASSOCIATES OF
BENBROOK                               ROSA                                     VALDOSTA
8601 CANTERA WAY                       CLAUDIA VALENCIA                         MANDY PARKS
BENBROOK, TX 76126-1133                4625 QUIGG DRIVE                         230 NORTHSIDE DRIVE
                                       SANTA ROSA, CA 95409                     VALDOSTA, GA 31602



PLASTIC SURGERY ASSOCIATES             PLASTIC SURGERY ASSOCIATES               PLASTIC SURGERY BELLINGHAM
DEBORAH HOUGHTON-REDDING               JILLIAN WISMER                           NANCY HARDER
220 LYON NW                            5089 S 900 E, SUITE 100                  2500 SQUALICUM PARKWAY, SUITE 102
SUITE 700                              SALT LAKE CITY, UT 84117                 BELLINGHAM, WA 98225
GRAND RAPIDS, MI 49503
PLASTIC SURGERY CAHABACase 24-10245-JTD
                                     PLASTICDoc   219 CENTER
                                              SURGERY    FiledOF03/28/24
                                                                  HAMPTON     Page  158 SURGERY
                                                                                 PLASTIC of 226 CENTER OF MERIDIAN,
CONNIE STEPHENS                      ROADS                                       LLC
2850 CAHABA ROAD                     PATTY STIBBS                                VICTORIA COOKE
SUITE 100                            895 CITY CENTER BLVD, SUITE 300             5002 HIGHWAY 39 N, BLDG C
MOUNTAIN BROOK, AL 35223             NEWPORT NEWS, VA 23606                      MERIDIAN, MS 39301



PLASTIC SURGERY CENTER OF NASHVILLE    PLASTIC SURGERY CENTER OF NASHVILLE       PLASTIC SURGERY CENTER OF NASHVILLE,
PLLC                                   1915 STATE ST.                            PLLC.
ADDRESS ON FILE                        NASHVILLE, TN 37203                       ADDRESS ON FILE




PLASTIC SURGERY CENTER OF TAMPA        PLASTIC SURGERY CENTER OF THE SOUTH       PLASTIC SURGERY CENTER, PA
RACHEL GONZALEZ                        SUNNY CAMPBELL                            JESSICA NICOLAY
307 S MACDILL AVE                      120 VANN STREET                           1861 NORTH WEBB ROAD
TAMPA, FL 33609                        SUITE 150                                 WICHITA, KS 67206
                                       MARIETTA, GA 30060



PLASTIC SURGERY CLINIC OF CHICAGO      PLASTIC SURGERY CLINIC OF EAU CLAIRE      PLASTIC SURGERY CLINIC OF JACKSON
OLIVIA GREENE                          COLLEEN THERMOS                           ANGELA HALL
PO BOX 11608                           3221 STEIN BLVD, SUITE 2                  10 LYNOAK COVE
CHICAGO, IL 60611                      EAU CLAIRE, WI 54701                      JACKSON, TN 38305




PLASTIC SURGERY CLINIC                 PLASTIC SURGERY CONSULTANTS               PLASTIC SURGERY CONSULTANTS, LLC
LORELEI CHAVEZ                         CHEYENNE CHEYENNE                         1220 BLANDING ST.
1601 E. 19TH AVENUE SUITE 5150         1220 BLANDING ST                          COLUMBIA, SC 29201
DENVER, CO 80218                       COLUMBIA, SC 29201




PLASTIC SURGERY CTR OF DULUTH          PLASTIC SURGERY GROUP OF ATLANTA          PLASTIC SURGERY INNOVATIONS
ATTN: ACCOUNTS PAYABLE                 KAREN WARDLAW                             LORI MLAKAR
324 W SUPERIOR ST, STE 100             755 MT VERNON HWY NE, SUITE 250           9933 DUPONT CIRCLE
DULUTH, MN 55802-1532                  ATLANTA, GA 30328                         FORT WAYNE, IN 46825




PLASTIC SURGERY INST. OF UTAH          PLASTIC SURGERY INSTITUTE & SPA           PLASTIC SURGERY NW
KARI BURGOYNE                          ADRIENNE GROSS                            MERCEDES BARNES
7535 UNION PARK AVENUE                 1702 OHIO AVE                             530 S COWLEY ST, STE 180
MIDVALE, UT 84047-3043                 LYNN HAVEN, FL 32444                      SPOKANE, WA 99202




PLASTIC SURGERY OF HOUSTON             PLASTIC SURGERY OF MICHIGAN               PLASTIC SURGERY OF NEW YORK
JESSICA G                              MICHELLE HENSON                           HOLLY JURKOVIC
1111 HWY 6, STE 10                     4050 W. MAPLE ROAD, SUITE 201             107 NORTHERN BLVD, SUITE 203
SUGAR LAND, TX 77478                   BLOOMFIELD HILLS, MI 48301                GREAT NECK, NY 11021




PLASTIC SURGERY OF RIVERSIDE LLUHC     PLASTIC SURGERY PARTNERS OF TX            PLASTIC SURGERY RESEARCH COUNCIL
NANCY LEROY                            PRESLEY SAVARINO                          500 CUMMINGS CENTER
3762 TIBBETTS ST                       7700 EASTERN AVE, UNIT 303                SUITE 4400
RIVERSIDE, CA 92506                    DALLAS, TX 75209-5121                     BEVERLY, MA 01915




PLASTIC SURGERY SERVICES               PLASTIC SURGERY SERVICES                  PLASTIC SURGERY SPECIALISTS OF S
FREDERICKSBURG                         SARA WILLIS                               FLORIDA
MARGO CABRERO                          1140 CONRAD COURT                         MARI JUAN
3312 FALL HILL AVENUE                  HAGERSTOWN, MD 21740                      1201 N. 35TH AVENUE, SUITE 200
FREDERICKSBURG, VA 22401                                                         HOLLYWOOD, FL 33021
                       Case 24-10245-JTD
PLASTIC SURGERY SPECIALISTS           PLASTICDoc  219 SPECIALISTS,
                                              SURGERY    Filed 03/28/24
                                                                    PC     Page  159 SURGERY
                                                                              PLASTIC of 226 SPECIALISTS, PC.
LYVIA TOLEDO-GARCIA                   2000 STONEGATE TRAIL, STE 100           2000 STONEGATE TRAIL, STE 100
350 BON AIR ROAD                      BIRMINGHAM, AL 35242                    BIRMINGHAM, AL 35242
SUITE 300
GREENBRAE, CA 94904



PLASTIC SURGERY, LLC BROADWAY         PLASTIC SURGICAL CENTER OF MS           PLASTICS INTERNATIONAL, INC
9777 S YOSEMITE ST. STE 200           TAMMY BURNETT                           7600 ANAGRAM DRIVE
LONE TREE, CO 80124                   2550 FLOWOOD DRIVE                      EDEN PRAIRIE, MN 55344
                                      SUITE 101
                                      FLOWOOD, MS 39232



PLATINUM PLASTIC SURGERY              PLAZA AMBULATORY SURGERY CENTER         PLAZA SURGICAL CENTER, INC
AMBERLYNN BEARD                       DHIA MEYERS                             DANIELLE DEPEDRO
ATTN:                                 5050 NE HOYT STREET, SUITE 156          525 E PLAZA DR
870 SEVEN HILLS DR, STE 101           PORTLAND, OR 97213                      SANTA MARIA, CA 93454
HENDERSON, NV 89052



PLAZA SURGICAL CENTER, INC            PLEXUS COMMUNICATIONS                   POE, MICHAEL
SARA LEE                              199 DURAN DRIVE                         ADDRESS ON FILE
168 N BRENT STREET                    SAN RAFAEL, CA 94903
SUITE 403
VENTURA, CA 93003



POGGI PLASTIC SURGERY                 POLAVARAPU PLASTIC SURGERY, PLLC        POLAVARAPU PLASTIC SURGERY, PLLC
SARA GALE                             4455 CAMP BOWIE BLVD                    KENDALL A
3510 N. RIDGE RD, SUITE 100           SUITE 114-30                            4455 CAMP BOWE BLVD, SUITE 11430
WICHITA, KS 67205                     FORT WORTH, TX 76107                    FORT WORTH, TX 76107




POLEWCZYNSKI, AMY                     POMONA VALLEY HOSPITAL MEDICAL          PONSKY FACIAL AESTHETIC AND PLASTIC
ADDRESS ON FILE                       CENTER                                  SURG
                                      ATTN: ACCOUNTS PAYABLE                  DAN X
                                      PO BOX 2766                             3700 PARK EAST DRIVE SUITE 160
                                      POMONA, CA 91767                        BEACHWOOD, OH 44122



PONTE VEDRA PLASTIC SURGERY           POREX TECHNOLOGIES CORP                 PORIS PLASTIC SURGERY
SUZI VEAL                             5301 S GRAHAM RD                        GINA SEMACHKO
209 PONTE VEDRA PARK DRIVE            SAINT CHARLES, MI 48655                 324 E PAR ST
PONTE VEDRA BEACH, FL 32082                                                   ORLANDO, FL 32804




PORT CNC, INC                         PORTER PREMIER DERMATOLOGY &            PORTER, KIMBERLY
4702 SOUTH 47TH STREET                SURGERY CNTR                            ADDRESS ON FILE
GREENFIELD, WI 53220                  KEREEN CRIDER
                                      1515 W. NASA BLVD, SUITE 101
                                      MELBOURNE, FL 32901



PORTFOLIO MEDIA, INC                  PORTLAND PLASTIC SURGERY GROUP LLC      PORTLAND PLASTIC SURGERY GROUP LLC
P.O. BOX 9570                         CLAUDETTE HARGREAVES                    ERICA ESPINOZA
NEW YORK, NY 10087                    1040 NW 22ND AVENUE                     1200 NW NAITO PARKWAY, SUITE 310
                                      SUITE 610                               PORTLAND, OR 97209
                                      PORTLAND, OR 97210



PORTSMOUTH AMBULATORY SURGERY         POSH PLASTIC SURGERY                    POSH PLASTIC SURGERY
CENTER                                ANA TAYLOR                              MAIRA HERNANDEZ
STEPHANIE MCLAREN                     9066 CYPRESS GREEN DR.                  167 REGENCY PKWY, STE 101
333 BORTHWICK AVE, SUITE 200          JACKSONVILLE, FL 32256                  MANSFIELD, TX 76063
PORTSMOUTH, NH 03801
POSH PLASTIC SURGERY Case 24-10245-JTD     Doc 219
                                    POST STREET  SURGERYFiled
                                                          CENTER03/28/24       Page 160 ANDERSON
                                                                                  POTTER of 226 & CORROON LLP
STEPHANIE FRY                       JANET LOPEZ                                   CHRISTOPHER SAMIS & AARON STULMAN
1021 MATLOCK ROAD, SUITE 103        2299 POST STREET, SUITE 108                   1313 N. MARKET STREET
MANSFIELD, TX 76063                 SAN FRANCISCO, CA 94115                       WILMINGTON, DE 19801




POWER GATE ENTERTAINMENT               PRACTICE ENHANCEMENT SPECIALISTS, INC      PRADHAN, AJAY
1221 S CONGRESS AVE 1335               4261 E UNIVERSITY DR                       ADDRESS ON FILE
AUSTIN, TX 78704                       STE 30-242
                                       PROSPER, TX 75078




PRAIRIE ORTHOPAEDIC AND PLASTIC        PRECISION FLUOROCARBON INC                 PRECISION PLASTIC & HAND SURGERY
SURGERY                                9930 FM 2920 RD                            CAROL LIESE
JILL HURLBUT                           TOMBALL, TX 77375                          2801 YOUNGFIELD ST, STE 371
4130 PIONEER WOODS DRIVE                                                          GOLDEN, CO 80401
STE 1
LINCOLN, NE 68506


PREMED, LLC                            PREMED, LLC                                PREMIER AESTHETIC SURGERY, INC
MELINDA MOLINA                         PO BOX 474                                 LISBET ZALDIVAR
PO BOX 474                             TRUJILLO ALTO, PR 00977                    11479 SW 40TH ST
TRUJILLO ALTO, PR 00977-0474                                                      MIAMI, FL 33165




PREMIER COSMETIC SURGERY & MEDICAL     PREMIER DERMATOLOGY & COSMETIC             PREMIER DISPLAYS & EXHIBITS
SPA                                    SURGERY                                    5275 W. DIABLO DRIVE
ANGELA CHU                             NANCY MELVIN                               SUITE A2
59 LAS TUNAS DR.                       537 STANTON CHRISTIANA RD, SUITE 109       LAS VEGAS, NV 89118
ARCADIA, CA 91007                      NEWARK, DE 19713



PREMIER HEALTHCARE ALLIANCE, LP        PREMIER OUTPATIENT SURGERY CENTER          PREMIER PLASTIC SURGERY CENTER
13034 BALLANTYNE CORPORATE PL.         MIMI DESBIN                                ERIN SHEFFIELD
CHARLOTTE, NC 28277                    900 E WASHINGTON ST, SUITE 155             1635 MATTHEWS TOWNSHIP PKWY
                                       COLTON, CA 92324                           MATTHEWS, NC 28105




PREMIER PLASTIC SURGERY CENTER.        PREMIER PLASTICS INC                       PREMIER SURGERY CENTER
1635 MATTHEWS TOWNSHIP PKWY            9680 S OAKWOOD PARK DR                     DAWN HOFFMAN
MATTHEWS, NC 28105                     FRANKLIN, WI 53132                         2222 EAST STREET STE 200
                                                                                  CONCORD, CA 94520




PREMIER SURGICAL ASSOCIATES            PREMIER SURGICAL CENTER                    PREMIER SURGICAL SUITES, LLC
JESSICA HOWARD                         ELIZABETH HENDERSON                        JAHAYRA TORRELLI
6408 PAPERMILL DR                      160 FOUNTAINS BLVD, STE C                  2111 DREW ST, STE 100
KNOXVILLE, TN 37919-4858               MADISON, MS 39110                          CLEARWATER, FL 33765




PREMIERE PLASTIC SURGERY CENTER        PRENT CORPORATION                          PRESIDIO DERMATOLOGY
CYNTHIA                                2225 KENNEDY ROAD, PO BOX 471              MEREDITH EDGAR
1044 S FAIR OAKS, SUITE 101            JANESVILLE, WI 53547                       2211 POST STREET, SUITE 404
PASADENA, CA 91105                                                                SAN FRANCISCO, CA 94115




PRESIDIO SURGERY CENTER                PRESTIGE PLASTIC SURGERY                   PRETEND CITY, THE CHILDREN MUSEUM OF
JESSIE SCOTT                           EMILY CARR                                 ORANGE COUNTY
1635 DIVISADERO STREET, SUITE 200      8600 SNOWDEN RIVER PKWY, SUITE 308         29 HUBBLE
SAN FRANCISCO, CA 94115                COLUMBIA, MD 21045                         IRVINE, CA 92618
                       Case
PRIMA CENTER FOR PLASTIC      24-10245-JTD
                         SURGERY               Doc 219
                                        PRIMA CENTER        Filed SURGERY
                                                     FOR PLASTIC  03/28/24        Page  161 of
                                                                                     PRIMARY   226SYSTEMS CORP
                                                                                             COLOR
CAROLYN MOREY                           CAROLYN MOREY                                11130 HOLDER STREET
3096 PEACHTREE INDUSTRIAL BLVD          3096 PEACHTREE INDUSTRIAL BLVD               CYPRESS, CA 90630
DULUTH, GA 30097                        DULUTH, GA 30097-7918




PRIME HEALTHCARE SERVICES               PRIME PLASTIC SURGERY                        PRIME PLASTIC SURGERY
HULDA CARLSON                           ANTONIO LANDA                                DAVID HOOSTON
235 W 6TH STR                           8200 LA MESA BLVD                            9834 GENESSEE AVE, STE 100
RENO, NV 89503                          LA MESA, CA 91942                            LA JOLLA, CA 92037-1214




PRIME PLASTIC SURGERY                   PRIME PLASTIC SURGERY                        PRIME SOURCE RECRUITING, INC
HEATHER BARENO                          HELEN SANCHEZ                                90 VANTIS DRIVE 4086
499 N EL CAMINO REAL, SUIRE C-200       8851 CENTER DRIVE                            ALISO VIEJO, CA 92656
SAN DIEGO, CA 92024                     SUITE 300
                                        LA MESA, CA 91942



PRIME SURGICAL CENTER OF FOOTHILL       PRIMO MEDICAL GROUP INC. (STD MED INC.)      PRINCETON COMMUNITY HOSPITAL
RANCH                                   75 MILL STREET PO BOX 420                    ANN HAZELWOOD
PRENA HAKOBIAN                          STOUGHTON, MA 02072                          PO BOX 1369
550 N BRAND BLVD, STE 900                                                            PRINCETON, WV 24740
GLENDALE, CA 91203



PRINCETON REJUVENATION INSTITUTE        PRISMA HEALTH MEDICAL GROUP                  PRISMA HEALTH RICHLAND
NATALIE WISSER                          ATTN: AP                                     BEVERLY ODOM
300B PRINCETON HIGHSTOWN RD, STE 101    PO BOX 26869                                 PO BOX 100168
EAST WINDSOR, NJ 08520                  GREENVILLE, SC 29616-1869                    COLUMBIA, SC 29202




PRISMA HEALTH RICHLAND                  PRISMA HEALTH TUOMEY HOSPITAL                [NAME REDACTED]
SHERRY ALLS                             ANNA WISE                                    ADDRESS ON FILE
PO BOX 26869                            129 N WASHINGTON ST
GREENVILLE, SC 29616-1869               SUMTER, SC 29150




PRIZELOGIC                              PRMA PLASTIC SURGERY                         PROCTOR HOSPITAL
TWO TOWNE SQUARE                        MEGAN LARA                                   ATTN: ACCOUNTS PAYABLE
SUITE 200                               PO BOX 29130                                 611 W PARK ST
SOUTHFIELD, MI 48076                    SAN ANTONIO, TX 78229                        URBANA, IL 61801




PROCTOR HOSPITAL                        PROFFER SURGICAL ASSOCIATES, LLP             PROFORMA SALANT MARKETING
ATTN: AP                                JEANNIE GRAY                                 421 MOORESVILLE PIKE
PO BOX 5048                             1611 WALLACE BLVD                            COLUMBIA, TN 38401
ROCK ISLAND, IA 61204                   AMARILLO, TX 79106




PROMEDICA                               PROMEDICA                                    PROSHRED SECURITY
ABIGAIL WALLA                           PROMEDICA AP                                 17951 SKY PARK CIRCLE
300 N. SUMMIT ST.                       1695 INDIANWOOD CIRCLE, 100                  SUITE D
TOLEDO, OH 43604                        MAUMEE, OH 43537                             IRVINE, CA 92614




PROTIVITI INC                           PROTO LABS, INC                              PROTO LABS, INC
2613 CAMINO RAMON                       5540 PIONEER CREEK DRIVE                     P.O. BOX 856933
SAN RAMON, CA 94583                     MAPLE PLAIN, MN 55359                        MINNEAPOLIS, MN 55485
                      Case 24-10245-JTD
PROTON PROJECTS & CONSULTING                 DocSOLUTIONS
                                     PROTOTYPE    219 Filed   03/28/24
                                                           GROUP, INC       Page 162 of 226
                                                                               PROVIDENCE HEALTH - OREGON AREA
REGUS BUSINESS CENTRE                1621 INDIANHEAD DRIVE E                   ATTN: ACCOUNTS PAYABLE
HYDERABAD 500072                     MENOMONIE, WI 54751                       PO BOX 31263
INDIA                                                                          SALT LAKE CITY, UT 84131




PROVIDENCE HEALTH - OREGON AREA        PROVIDENCE HEALTH - WA AREA             PROVIDENCE HEALTH - WA AREA
KEERTHANA GOPALAKRISHNAN               CATHY KAYSER                            INVOICING
PO BOX 389673                          PO BOX 389675                           PO BOX 696430
SEATTLE, WA 98138                      SEATTLE, WA 98138                       SAN ANTONIO, TX 78269-6430




PROVIDENCE HEALTH & SERVICES ALASKA    PROVIDENCE HEALTH SERVICES - CA         PROVIDENCE HEALTH SERVICES - CA
ATTN: AP                               ATTN: ACCOUNTS PAYABLE                  SRI BEL
PO BOX 196501                          PO BOX 389673                           PO BOX 696430
ANCHORAGE, AK 99519                    SEATTLE, WA 98138-9673                  SAN ANTONIO, TX 78269




PROVIDENCE HOSPITAL OF NORTH           PROVIDENCE LITTLE CO OF MARY            PROVIDENCE LITTLE CO OF MARY
HOUSTON                                ATTN: ACCOUNTS PAYABLE                  SALLY AMPARO
MARITA REYES                           PO BOX 696430                           501 S BUENA VISTA ST
16750 RED OAK DRIVE                    SAN ANTONIO, TX 78269-6430              BURBANK, CA 91505
HOUSTON, TX 77090



PROVIDENCE MEDICAL GROUP               PROVIDENCE MEMORIAL HOSPITAL            PROVIDENCE PLASTIC SURGERY
MARISA BETZ                            SHANE DINO                              HEATHER GEAR
12800 BOTHELL-EVERETT HWY, SUITE 260   PO BOX 431                              11030 GOLF LINKS DR, STE 103
EVERETT, WA 98208                      EL PASO, TX 79943                       CHARLOTTE, NC 28277-8047




PROVIDENCE ST. JOSEPH HEALTH           PROVIDENCE ST. JOSEPH HEALTH            PROVIDER PPI, LLC
REBECCA DACANAY                        SHERI BROWN                             P.O. BOX 645366
501 S. BUENA VISTA STREET              PO BOX 696431                           PITTSBURGH, PA 15264-5366
BURBANK, CA 91504                      SAN ANTONIO, TX 78269-6431




PRUST, JUNNA                           PS SURGERY CENTER                       PSC CONSULTING LLC
ADDRESS ON FILE                        LETICIA SIFUENTES - AP                  20 OBERLIN STREET
                                       14018 AESTHETIC CIRCLE                  MAPLEWOOD, NJ 07040
                                       HOUSTON, TX 77062




PSINC                                  PUBLIC COMPANY ACCTING OVERSIGHT        PUERTO RICO DEPARTMENT OF THE
ATTN: ACCOUNTS PAYABLE                 BOARD                                   TREASURY
45 CASTRO STREET, SUITE 121            PO BOX 418631                           DEPARTMENT OF FINANCE
SAN FRANCISCO, CA 94114                BOSTON, MA 02241                        10 PASEO COVADONGA
                                                                               SAN JUAN, PR 00901



PUERTO RICO DEPT OF HEALTH             PUERTO RICO DEPT OF LABOR AND           PUERTO RICO SOCIETY OF PLASTIC
1111 CALLE TENIENTE CESAR LUIS         HUMAN RESOURCES                         SURGERY
GONZALEZ                               505 MUNIZ RIVERA AVENUE                 500 AVE DEGETAU HIMA PLAZA 1
SAN JUAN, PR 00927                     GPO BOX 3088                            SUITE 710
                                       HATO REY, PR 00918                      CAGUAS, PR 00725



PUFFER, EMILY                          PUGET SOUND PLASTIC SURGICAL GROUP      PUGLIESE, CHELSI
ADDRESS ON FILE                        PO BOX 723                              ADDRESS ON FILE
                                       KIRKLAND, WA 98083
PUMPORTAL                Case 24-10245-JTD    Doc 219 Filed 03/28/24
                                        PURA DERMATOLOGY               Page 163
                                                                          PURA   of 226
                                                                               PLASTIC SURGERY
1642 MCGAW AVENUE                        JARLYNNE SEVERINO                MICHELLE COX
IRVINE, CA 92614                         446 W 38TH ST                    5351 SUNSET BLVD.
                                         NEW YORK, NY 10018-2835          LEXINGTON, SC 29072




PURE COSMETIC CENTER                     PURLEE, MIRANDA                  PUTNAM HOSPITAL CENTER
JENNIFER LEE                             ADDRESS ON FILE                  SUZANNE KANTOR
15 VILLAGE SQUARE                                                         54 PAGE PARK DRIVE
CHELMSFORD, MA 01824-2712                                                 POUGHKEEPSIE, NY 12603




PUTNAM, COLLEEN                          Q4 INC                           QUALITY FREIGHT SERVICES, INC
ADDRESS ON FILE                          219 DUFFERIN ST, STE 211C        PO BOX 2472
                                         CHICAGO, IL 60677                GRAPEVINE, TX 76099




QUALITY MEDICAL PUBLISHING, INC          QUANTUM TECHNOLOGY               QUEEN CITY PLASTIC SURGERY
11802 BORMAN DRIVE                       409 LEVERING MILL RD             CHRISTINA UHL
SAINT LOUIS, MO 63146                    BALA CYNWYD, PA 19004            3025 SPRINGBANK LN, SUITE 240
                                                                          CHARLOTTE, NC 28226




QUEST DIAGNOSTICS                        QUESTRADE INC./CDS (5084)        QUICK DRAW & MACHINING, INC
PO BOX 740709                            ATT AL NANJI OR PROXY MGR        4869 MCGRATH ST. SUITE 130
ATLANTA, GA 30374-0709                   5650 YONGE ST                    VENTURA, CA 93003
                                         TORONTO, ON M2M 4G3
                                         CANADA



QUICKSILVER EXPRESS COURIER OF WI, INC   QUILES, MARITZA                  QUINTESSA
PO BOX 64417                             ADDRESS ON FILE                  ATTN: ACCOUNTS PAYABLE
SAINT PAUL, MN 55164                                                      10604 N. PORT WASHINGTON ROAD
                                                                          MEQUON, WI 53092




QY RESEARCH, INC                         R S HUGHES                       R. LAURENCE BERKOWITZ, MD
17890 CASTLETON ST.                      ADDRESS ON FILE                  ADDRESS ON FILE
SUITE 218
ROWLAND HEIGHTS, CA 91748




R. LEE STEELY                            RAAD TAKI, MD                    RAAD TAKI, MD
ADDRESS ON FILE                          ADDRESS ON FILE                  ADDRESS ON FILE




RABALAIS, KRISTEN                        [NAME REDACTED]                  RACHAEL PARRISH
ADDRESS ON FILE                          ADDRESS ON FILE                  ADDRESS ON FILE




RACHEL BLUEBOND-LANGNER, M.D.            [NAME REDACTED]                  RACZKA, ALEXIS
ADDRESS ON FILE                          ADDRESS ON FILE                  ADDRESS ON FILE
RADBEH TORABI, MD, RSAT Case 24-10245-JTD
                                       RADIANCEDoc  219 AESTHETICS
                                                 MEDICAL    Filed 03/28/24   Page 164 ofPLASTIC
                                                                                RADIANCE 226 SURGERY
ADDRESS ON FILE                        KENDALL BEISWANGER                       DIANA SERPA
                                       5399 WILLISTON RD, STE 101               701 BOYCE ROAD
                                       WILLISTON, WA 05495-5321                 BRIDGEVILLE, PA 15017




RADKANI, MONA                           RADY CHILDRENS HOSPITAL                 RADY RAHBAN, M.D.
ADDRESS ON FILE                         DELORES RODRIGUEZ                       ADDRESS ON FILE
                                        3010 CHILDRENS WAY
                                        SAN DIEGO, CA 92117




RAFAEL GOTTENGER, M.D.                  RAFAEL GOTTENGER, MD PA                 RAFFY KARAMANOUKIAN, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




RAFI FREDMAN, MD                        RAFI S. BIDROS, M.D., P.A.              RAHUL VEMULA
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




RAHUL VEMULA, MD                        RAHUL, MOHAMAD                          [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




RAJ PLASTIC SURGERY, LLC                RALEIGH PLASTIC SURGERY                 RALPH F. COZART, M.D.
CINDY MARX                              PAVLA STRANSKY                          ADDRESS ON FILE
30400 DETROIT ROAD, SUITE LL10          1112 DRESSER COURT
WESTLAKE, OH 44145                      RALEIGH, NC 27609




RALPH R. GARRAMONE, M.D.                RALPH ROSATO                            RALPH ROSATO, MD
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




RAM KALUS, M.D.                         RAMAN MAHABIR, MD                       RAMAN MAHABIR, MD
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




RAMAN MAHABIR, MD                       RAMIREZ, KATHERINE                      RAMIREZ-HERNANDEZ, LUCIA
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




RAMMOS PLASTIC SURGERY & MEDSPA         RAMON A. ROBLES, M.D.                   RAMON M. DELA CRUZ
BRAD PRUIS                              ADDRESS ON FILE                         ADDRESS ON FILE
4911 N EXECUTIVE DR, STE 100
PEORIA, IL 61614
RAN STARK, MD             Case 24-10245-JTD    Doc 219
                                         RANA DAVIDSON        Filed 03/28/24   Page 165&of
                                                                                  RANCH    226PLASTIC SURGERY
                                                                                        COAST
ADDRESS ON FILE                          ADDRESS ON FILE                          RACHEL RITTMUELLER
                                                                                  1431 CAMINO DEL MAR
                                                                                  DEL MAR, CA 92014




RANDAL D. HAWORTH, M.D.                  RANDAL RUDDERMAN, M.D.                   [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




RANDY CRAFT, MD                          RANDY CRAFT, MD                          RANDY D. PROFFITT, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




RANSOM, EMILY                            RASHID PLASTIC SURGERY                   RATTANASAMAY, ANTHONY
ADDRESS ON FILE                          KATIE LEWIS                              ADDRESS ON FILE
                                         804 W TRAILCREEK DR
                                         PEORIA, IL 61614




RAU PLASTIC SURGERY                      RAVI TANDON, MD                          [NAME REDACTED]
CRYSTAL BERGERON                         ADDRESS ON FILE                          ADDRESS ON FILE
5619 LA-311, SUITE C
HOUMA, LA 70360




RAYMOND A. CAPONE, JR., M.D.             RAYMOND JAMES ASSOC INC (0725)           RAYMOND, JAYLON
ADDRESS ON FILE                          ATT ROBERTA GREEN OR PROXY MGR           ADDRESS ON FILE
                                         880 CARILION PKWY
                                         TOWER 2, 4TH FL
                                         ST. PETERSBURG, FL 33716



RBC CAPITAL MKTS CORP (0235)             RBC DOMINION /CDS (5002)                 RC CAYMAN HOTEL HOLDINGS LTD
ATT STEVE SCHAFER OR PROXY MGR           ATT PROXY MGR                            DBA THE RITZ-CARLTON
60 S 6TH ST - P09                        2 BLOOR ST E 2300                        WEST BAY ROAD, SEVEN MILE BEACH
MINNEAPOLIS, MN 55402-1106               TORONTO, ON M4W 1A8                      GRAND CAYMAN
                                         CANADA                                   CAYMAN ISLANDS



RCA BIGNAMI SRL                          RCHP-FLORENCE, LLC                       REACTION GFX LLC
VIA CA BASSA 61                          NANCY BUGG                               5050 W LINCOLN AVE
VARESE 21100                             PO BOX 10005                             MILWAUKEE, WI 53219
ITALY                                    FLORENCE, AL 35631




READYREFRESH BY NESTLE                   REAGAN, ROBYN                            REAL CHEMISTRY, INC
PO BOX 856158                            ADDRESS ON FILE                          9465 WILSHIRE BLVD, SUITE 440
LOUISVILLE, KY 40285-6158                                                         BEVERLY HILLS, CA 90212




REAL CHEMISTRY, INC                      REALSELF, INC                            REALSELF, INC
P.O. BOX 23718                           1008 WESTERN AVE, SUITE 206              83 S. KING STREET
NEW YORK, NY 10087                       83 SOUTH KING STREET,SUITE 800           SUITE 700
                                         SEATTLE, WA 98104                        SEATTLE, WA 98104
REALTIME MEDIA, LLC  Case 24-10245-JTD
                                    REALTIMEDoc 219LLC Filed 03/28/24
                                              MEDIA,                    Page  166REDACTED]
                                                                           [NAME  of 226
1001 CONSHOHOCKEN STATE RD          JACKIE STERN                           ADDRESS ON FILE
STE 2-100                           1001 CONSHOHOCKEN STATE RD
WEST CONSHOHOCKEN, PA 19428         STE 2-100
                                    WEST CONSHOHOCKEN, PA 19428



[NAME REDACTED]                      REBECCA GARZA, MD                     REBECCA VLASZOF
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                      [NAME REDACTED]                       RECORDERS CHARTS AND PENS, LLC
ADDRESS ON FILE                      ADDRESS ON FILE                       13650 TI BLVD SUITE 305
                                                                           DALLAS, TX 75243




RECTOR ENGINEERING, INC              REDA SAAD MEDICAL                     REDLANDS COMMUNITY HOSPITAL
PO BOX 172                           AHMED SAAD                            ATTN: ACCOUNTS PAYABLE
HAMILTON, MT 59840                   4601 CENTRE AVE                       PO BOX 3391
                                     PITTSBURGH, PA 15213                  REDLANDS, CA 92373




REDMOND, BRENDA                      REFINE COMMUNICATION                  REFINE PLASTIC SURGERY
ADDRESS ON FILE                      64 RAINFORD ROAD                      LEIGH MANSELL
                                     TORONTO, ON M4L 3N5                   1340 E 7TH ST
                                     CANADA                                MIDLAND, TX 79765




REGINA BAKER, MD                     REGINA L. ROSENTHAL, M.D.             REGIONAL MEDICAL CENTER
ADDRESS ON FILE                      ADDRESS ON FILE                       ATTN: AP
                                                                           PO BOX 359
                                                                           MANCHESTER, IA 52057




REGIONAL PLASTIC SURGERY CENTER      REGIONAL WEST MEDICAL CENTER          REGIONS HOSPITAL
JANICE COUCH                         ATTN: ACCOUNTS PAYABLE                LINDA BAKER
3201 E. GEORGE BUSH HWY. STE. 101    4021 AVENUE B                         PO BOX 9480
RICHARDSON, TX 75082                 SCOTTSBLUFF, NE 69361                 MINNEAPOLIS, MN 55440




REGISTERED AGENT SOLUTIONS, INC      REINHART BOERNER VAN DEUREN S.C.      REJUVENE
1701 DIRECTORS BLVD, STE 300         1000 NORTH WATER STREET               ATTN: ACCOUNTS PAYABLE
AUSTIN, TX 78744                     SUITE 1700                            2940 HEBRON PARK DR, SUITE 301
                                     MILWAUKEE, WI 53202                   HEBRON, KY 41048




RELIABLE ENGINEERING SERVICES        RELIANCE TST CO (5409)                RELIANT SURGICAL CENTER, LLC
3719 HITCHCOCK RANCH ROAD            ATT TONIE MONTGOMERY                  300B PRINCETON HIGHTSTOWN RD
SANTA BARBARA, CA 93105              1100 ABERNATHY RD                     EAST WINDSOR, NJ 08520
                                     STE 400
                                     ATLANTA, GA 30328



RELYCO SALES INC                     REMAGIN                               REMINGTON PLASTIC SURGERY
121 BROADWAY                         MIKE SPAHR                            ANNA ELLSWORTH
DOVER, NH 03820                      4750 THE GROVE DRIVE, SUITE 230       12303 NE 130TH LANE
                                     WINDERMERE, FL 34786                  SUITE 350
                                                                           KIRKLAND, WA 98034
[NAME REDACTED]         Case 24-10245-JTD    Doc 219
                                       RENAISSANCE PLASTICFiled 03/28/24
                                                           SURGERY             Page 167 of 226
                                                                                  RENAISSANCE PLASTIC SURGERY
ADDRESS ON FILE                          1414 116TH AVE NE, SUITE C               145 ST. PETERS CENTRE BLVD
                                         BELLEVUE, WA 98004                       SAINT PETERS, MO 63376




RENAISSANCE PLASTIC SURGERY              RENAISSANCE PLASTIC SURGERY              RENAISSANCE PLASTIC SURGERY
ASHLEY FRITZ                             MICHELLE STEVENS                         TONI ROMERO
1414 116TH AVE NE                        190 E. BANNOCK STREET                    738 N COLLEGE RD, SUITE A
SUITE C                                  BOISE, ID 83712                          TWIN FALLS, ID 83301
BELLEVUE, WA 98004



RENEE BURKE, M.D.                        RENEE SMITH                              RENEW PLASTIC SURGERY
ADDRESS ON FILE                          ADDRESS ON FILE                          ATTN: ACCOUNTS PAYABLE
                                                                                  7507 OLD CHAPEL DR.
                                                                                  BOWIE, MD 20715




RENEWAL DERMATOLOGY & MED SPA            RENEWALMD                                RENEWALMD
ASHLEIGH BEACH                           ELIZABETH TURNER                         SCOTT REGAN
7512 GARDNER PARK DRIVE                  900 MOHAWK ROAD                          900 MOHAWK STREET
GAINESVILLE, VA 20155                    SUITE A                                  SAVANNAH, GA 31419
                                         SAVANNAH, GA 31419



RENKEN, SEAN                             RENOWN HEALTH                            RENTERIA, CLAUDIA
ADDRESS ON FILE                          ATTN: AP                                 ADDRESS ON FILE
                                         1155 MILL STREET
                                         RENO, NV 89511




RENUANCE COSMETIC SURGERY CENTER         RESIDENCE INN BY MARRIOTT LLC            RESONETICS, LLC
JACOB COOLEY                             P.O. BOX 741574                          26 WHIPPLE STREET
24687 MONROE AVE                         ATLANTA, GA 30374                        NASHUA, NH 03060
MURRIETA, CA 92562




RESTON HOSPITAL CENTER                   RESTORA AUSTIN PLASTIC SURGERY           RESTORATIVE INK SPECIALISTS
RENEE ROBERSON                           CENTER                                   11301 WEST OLYMPIC BLVD 492
200 WADSWORTH DRIVE                      BRANDY STOEVER                           LOS ANGELES, CA 90064
RICHMOND, VA 23236                       901 W 38TH ST, 401
                                         AUSTIN, TX 78705



RESTORE SD PLASTIC SURGERY               RESURRECTION MEDICAL CENTER CHICAGO      RETIEF SKIN CENTER
BRENDA KHALIL                            ATTN: ACCOUNTS PAYABLE                   JANE METTS
8899 UNIVERSITY CENTER LANE, SUITE 200   PO BOX 33902                             4301 HILLSBORO PIKE, SUITE 200
SAN DIEGO, CA 92122                      INDIANAPOLIS, IN 46203                   NASHVILLE, TN 37215




REVALLA PLASTIC SURGERY                  REVALLA PLASTIC SURGERY                  REVEAL AESTHETIC SURGERY
LINDA BURNS                              LINDA BURNS                              ADDRESS ON FILE
7750 S BROADWAY, SUITE 150               7750 S BROADWAY, SUITE 220
LITTLETON, CO 80122                      LITTLETON, CO 80122




REVEAL AESTHETIC SURGERY-MARSHALL        REVEAL BEAUTY PLASTIC SURGERY            REVERE ELECTRIC SUPPLY
MEDICINE PC                              ELIZABETH LEVANT                         8807 187TH STREET
ADDRESS ON FILE                          7191 CAHABA VALLEY ROAD                  MOKENA, IL 60448
                                         SUITE 200
                                         BIRMINGHAM, AL 35242
REVIVAMED                   Case 24-10245-JTD     Doc 219
                                           REVIVE PLASTIC     Filed 03/28/24
                                                          SURGERY               Page 168CONSULTING
                                                                                   REVIVO of 226
BRIDGET B.                                  HODA ASKARI                            VIVEK RAVISANKAR
711 FOURTH AVE                              2828 CORAL WAY, STE 103                3191 CECIL AVE
SUITE 200                                   CORAL GABLES, FL 33145-3214            SANTA CLARA, CA 95050
SAN DIEGO, CA 92101



REYES, MARIELA                              REYNOLDS, JADE                         RGP
ADDRESS ON FILE                             ADDRESS ON FILE                        PO BOX 740909
                                                                                   LOS ANGELES, CA 90074




RHODE ISLAND DEPARTMENT OF BUSINESS         RHODE ISLAND DEPARTMENT OF HEALTH      RHODE ISLAND DEPT OF LABOR AND
REG                                         3 CAPITOL HILL                         TRAINING
1511 PONTIAC AVE                            PROVIDENCE, RI 02908                   1511 PONTIAC AVENUE
CRANSTON, RI 02920                                                                 CRANSTON, RI 02920




RHYTHM SYSTEMS, INC                         RICARDO RODRIGUEZ, LLC                 RICELAND SURGERY CENTER
1111 METROPOLITAN AVE                       VANESSA VASILCHIK                      NAUSHEEN SHEIKH
SUITE 330                                   1300 BELLONA AVE, SUITE C              BEAUMONT, TX 77702
CHARLOTTE, NC 28204                         LUTHERVILLE, MD 21093




RICH LEADERSHIP                             RICHARD A. BARTLETT, M.D.              RICHARD A. K. CHAFFOO, M.D.
412 LUKES WOOD RD                           ADDRESS ON FILE                        ADDRESS ON FILE
SOUTH SALEM, NY 10590




RICHARD BAXTER                              RICHARD FLAIZ, M.D.                    RICHARD H. FRYER, M.D.
ADDRESS ON FILE                             ADDRESS ON FILE                        ADDRESS ON FILE




RICHARD HA, M.D.                            RICHARD HA, MD.                        RICHARD J. HOWARD, M.D.
ADDRESS ON FILE                             ADDRESS ON FILE                        ADDRESS ON FILE




RICHARD L. ZEFF, M.D.                       RICHARD MONTILLA, M.D.                 RICHARD MOUCHANTAT, M.D
ADDRESS ON FILE                             ADDRESS ON FILE                        ADDRESS ON FILE




RICHARD R. ORR, JR., M.D.                   RICHARD SADOVE.                        RICHARD ZIENOWICZ, MD
ADDRESS ON FILE                             ADDRESS ON FILE                        ADDRESS ON FILE




RICHARDS, PETER                             RICHMOND AESTHETIC SURGERY             RICHMOND PLASTIC SURGEONS
ADDRESS ON FILE                             KERRI BROOKS                           14401 SOMMERVILLE COURT
                                            11934 W. BROAD STREET, SUITE 200       MIDLOTHIAN, VA 23113
                                            RICHMOND, VA 23233
                       Case 24-10245-JTD
RIDDLE MEMORIAL HOSPITAL              RIDGES Doc   219CENTER
                                              SURGERY     Filed 03/28/24   Page  169 of MEDICAL
                                                                              RIDGEVIEW 226 CENTER
MATT COWDEN                           JOEL OMAN                               ATTN: ACCOUNTS PAYABLE
PO BOX 12611                          14101 FAIRVIEW DRIVE, SUITE 400         500 S MAPLE ST
WYNNEWOOD, PA 19096                   BURNSVILLE, MN 55337                    WACONIA, MN 55387




RIDGEWOOD INTERMEDIARIES               RIECHERT, LINDA                        RIGHT CLICK INC
PO BOX 11173                           ADDRESS ON FILE                        1221 E DYER RD
FAIRFIELD, NJ 07004                                                           STE 225
                                                                              SANTA ANA, CA 92705




RIGHT CLICK INC                        RIKESH PARIKH, MD                      RIKESH PARIKH, MD
20 CORPORATE PARK                      ADDRESS ON FILE                        ADDRESS ON FILE
STE 400
IRVINE, CA 92606




RINEHART SURGERY CENTER                RIOLO PLASTIC & RECONSTRUCTIVE         RIOS CENTER FOR PLASTIC SURGERY
392 RINEHART RD, STE 1090              SURGERY                                JO ANN ALANIZ
LAKE MARY, FL 32746-2527               MONIQUE MORENO                         2101 CORNERSTONE BLVD
                                       7050 N RECREATION AVE, SUITE 103       EDINBURG, TX 78539-8301
                                       FRESNO, CA 93720



[NAME REDACTED]                        RISING STATS, LLC                      RITA LOUREIRO
ADDRESS ON FILE                        6271 GUAVA AVE                         ADDRESS ON FILE
                                       GOLETA, CA 93117




RITA SADOWSKI, MD                      RITU R CHOPRA, MD, APC                 RITU SAINI, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




RITZ-CARLTON HOTEL COMP LLC            RIVER OAKS HOSPITAL                    RIVER VALLEY AMBULATORY SURGERY
C/O MARRIOTT BUSINESS                  SHEILA ROPER                           CENTER
PO BOX 403003                          PO BOX 5100                            MICHELLE DRAKE
ATLANTA, GA 30384                      FLOWOOD, MS 39296                      45 SALEM TURNPIKE
                                                                              NORWICH, CT 06360



RIVERA, CHRISTINE                      RIVERSIDE HEALTHCARE                   RIVERWOODS SURGERY CENTER
ADDRESS ON FILE                        PETER P. AGUSTIN                       ADAM SHURTZ
                                       2 PARK AVENUE                          320 W. RIVER PARK DR, STE 125
                                       YONKERS, NY 10703                      PROVO, UT 84604




RJS PLASTIC SURGERY                    RKMHD PRODUCTIONS, LLC                 RMC, LLC DBA JUST MECHANICAL
KELSY VU                               4175 S. FREMONT AVE                    16200 W GLENDALE DR
5049 BLUEBONNET BLVD                   SUITE 101                              NEW BERLIN, WI 53151
BATON ROUGE, LA 70809-3084             TUCSON, AZ 85714




RMS                                    ROBBINS PLASTIC SURGERY                ROBERT A. HEIN, M.D.
P.O. BOX 19646                         STEPHANIE BOWLS                        ADDRESS ON FILE
MINNEAPOLIS, MN 55419                  503 SPRUCE STREET
                                       NASHVILLE, TN 37203
ROBERT ANDREW POE         Case 24-10245-JTD
                                         ROBERTDoc 219 M.D.Filed 03/28/24
                                               BONILLAS,                    Page 170 C.
                                                                               ROBERT ofRUSSELL,
                                                                                         226 M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT COHEN, MD                          ROBERT COHEN, MD                     ROBERT D. LEWIS, MD
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT D. WALLACE, MD                     ROBERT E. KEARNEY, M.D.              ROBERT FERNANDEZ, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT G. WIDINER                         ROBERT H IVY PENNSYLVANIA            ROBERT H. SCHNARRS, MD
ADDRESS ON FILE                           PLASTIC SURGERY SOCIETY              ADDRESS ON FILE
                                          400 WINDING CREEK BLVD
                                          MECHANICSBURG, PA 17050




ROBERT HALF TALENT SOLUTIONS              ROBERT HOUSER D.O.                   ROBERT HOUSER D.O.
P.O. BOX 743295                           ADDRESS ON FILE                      ADDRESS ON FILE
LOS ANGELES, CA 90074




ROBERT I. OLIVER, JR., M.D.               ROBERT J. KNOWLING, M.D.             ROBERT J. SPIES, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT JENSEN.                            ROBERT KEARNEY, MD.                  ROBERT L. PETERSON, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT LEE STEELY, M.D.                   ROBERT M. FREUND, M.D.               ROBERT M. JENSEN, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT M. KACHENMEISTER, M.D.             ROBERT NAJERA, M.D.                  ROBERT NAJERA, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




ROBERT POLLACK, M.D.                      [NAME REDACTED]                      ROBERT S. DYE, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE
ROBERT SCHWARTZ, M.D.     Case 24-10245-JTD
                                         ROBERTDoc 219 MD
                                               TORNAMBE, Filed 03/28/24   Page 171 W
                                                                             ROBERT ofBAIRD
                                                                                       226 & CO INC (0547)
ADDRESS ON FILE                          ADDRESS ON FILE                     ATTN CORPORATE ACTIONS
                                                                             777 E WISCONSIN AVE - 9TH FL
                                                                             MILWAUKEE, WI 53202




ROBERT WALD, M.D.                        ROBERT WHEELER MD                   ROBERTO JIMENEZ
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




ROBERTS CALDERON SAFRAN & COLE, P.C.     ROBERTSON, THOMAS                   ROBEY PLASTIC SURGERY
7918 JONES BRANCH DRIVE                  ADDRESS ON FILE                     ATTN: ACCOUNTS PAYABLE
SUITE 500                                                                    12760 MEETING HOUSE RD
MCLEAN, VA 22102                                                             CARMEL, IN 46032-7292




ROBEY PLASTIC SURGERY                    [NAME REDACTED]                     ROBINHOOD SECS, LLC (6769)
HELEN WORKMAN                            ADDRESS ON FILE                     ATT MEHDI TAIFI
11725 N ILLINOIS STREET, SUITE 270                                           500 COLONIAL CTR PKWY 100
CARMEL, IN 46032                                                             LAKE MARY, FL 32746




ROBLEDO-REYES, EVELITZA                  [NAME REDACTED]                     ROCHELLE YOSHIDA
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




ROCHESTER GENERAL HEALTH SYSTEM          ROCHESTER SURGERY CENTER            ROCK TRANSFER & STORAGE, INC
ATTN: ACCOUNTS PAYABLE                   MARY BUSCETTO                       6130 SOUTH 13TH STREET
PO BOC 10759                             360 LINDEN OAKS DR                  MILWAUKEE, WI 53221
ROCHESTER, NY 14610                      ROCHESTER, NY 14625




ROCKSTAR BEAUTY, PC                      ROCKWALL SURGERY CENTER             RODAS, PEDRO
MARISSA SMITH                            SUSAN WEAVER                        ADDRESS ON FILE
462 N. LINDEN DR, SUITE 234              825 W YELLOWJACKET LN
BEVERLY HILLS, CA 90212                  ROCKWALL, TX 75087




RODRIGUEZ, HILIANA                       RODRIGUEZ, MIRIAM                   RODRIGUEZ, SANDRA
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




ROGER FRIEDMAN, MD                       ROGER PEINKOFER                     ROGER T. BRILL, MD
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




ROHIT JAISWAL, MD                        ROHIT JISWAL MD                     ROJAN AMJADI, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE
ROMAN, MERCEDES         Case 24-10245-JTD   Doc 219
                                       ROMANOWSKI,       Filed 03/28/24
                                                   CHRISTINA                  Page 172 of
                                                                                 ROMERO   226
                                                                                        RODRIGUEZ, BEATRIZ
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                         RONAN SOLUTIONS, LLC                     ROO & CO
ADDRESS ON FILE                         3104 E. CAMELBACK RD 562                 C/O COMPUTERSHARE INVESTOR SERVICES
                                        PHOENIX, AZ 85016                        150 ROYALL ST
                                                                                 CANTON, MA 02021




ROPER SAINT FRANCIS HEALTHCARE          [NAME REDACTED]                          [NAME REDACTED]
DENISE WOLBERT                          ADDRESS ON FILE                          ADDRESS ON FILE
316 CALHOUN STREET
CHARLESTON, SC 29401




ROSAS, LISA                             ROSE AL JAZERA CO LTD                    ROSE AL JAZERA CO LTD
ADDRESS ON FILE                         ATTN AHMAD ABDUL HADI                    ATTN AHMAD ABDUL HADI
                                        3378 PRINCE FAWAZ BIN ABDUL AZIZ ST      3378, PRINCE FAWAZ BIN ABDULAZIZ ST
                                        AR RABWAH, RIYADH                        AR RABWAH, RIYADH
                                        SAUDI ARABIA                             SAUDI ARABIA



ROSE MEDICAL CENTER                     ROSE SURGICAL CENTER                     ROSE, MARGIE
KAO LOR (OLD CONTACT)                   KELLY CRUMP                              ADDRESS ON FILE
1151 ENTERPRISE DRIVE, SUITE 100        4700 E. HALE PKWY, SUITE 200
COPPELL, TX 75019                       DENVER, CO 80220




[NAME REDACTED]                         ROSENBERG PLASTIC SURGERY                ROSENBERG PLASTIC SURGERY
ADDRESS ON FILE                         EMILY J.                                 EVY ATHANASAKIS
                                        8907 WILSHIRE BLVD, SUITE 100            145 N ROBERTSON BLVD
                                        BEVERLY HILLS, CA 90211                  BEVERLY HILLS, CA 90211-2103




ROSS E. BUNCH, M.D.                     ROSTAMI OPC                              ROUZBEH K. KORDESTANI, M.D.
ADDRESS ON FILE                         LINDA LOFSTROM                           ADDRESS ON FILE
                                        1860 TOWN CENTER DRIVE, SUITE 250
                                        RESTON, VA 20190




ROXBURY CLINIC & SURGERY CENTER         ROXBURY CLINIC & SURGERY CENTER          ROYCE PLASTIC SURGERY
GENNA X                                 MIKE K                                   DONNA BUTLER
36-953 COOK STREET, SUITE 104           465 NORTH ROXBURY DR,                    357 6TH AVE WEST
PALM DESERT, CA 92211                   STE 1001                                 BRADENTON, FL 34205
                                        BEVERLY HILLS, CA 90210



ROZBEH TORABI, M.D.                     ROZBEH TORABI, M.D.                      RR DONNELLEY & SONS COMPANY
ADDRESS ON FILE                         ADDRESS ON FILE                          35 W WACKER DRIVE
                                                                                 CHICAGO, IL 60601




RSM US LLP                              RSM US LLP                               RTP COMPANY
4650 E 53RD ST                          VICTOR KAO                               580 EAST FRONT ST
DAVENPORT, IA 52807                     4650 E 53RD ST                           WINONA, MN 55987
                                        DAVENPORT, IA 52807
[NAME REDACTED]           Case 24-10245-JTD     Doc 219
                                         RUIZ, GUILLERMINA     Filed 03/28/24   Page 173 ofCENTER
                                                                                   RUNNELS   226
ADDRESS ON FILE                            ADDRESS ON FILE                         ASHLEY LAMBERT
                                                                                   1055 RIVER OAKS BLVD
                                                                                   FLOWOOD, MS 39232




RUSH UNIVERSITY MEDICAL CENTER             RUSH UNIVERSITY MEDICAL CENTER          RUSSELL BABBITT, M.D.
1750 W HARRISON                            KEITH HOOD                              ADDRESS ON FILE
JELKE 769                                  PO BOX 7715
CHICAGO, IL 60612                          CHICAGO, IL 60680




RUSSELL REYNOLDS ASSOCIATES, INC           [NAME REDACTED]                         RUVTECH, INC
277 PARK AVENUE                            ADDRESS ON FILE                         RUVIN AGARONOV
SUITE 3800                                                                         448 NEPTUNE AVE, APT 15P
NEW YORK, NY 10172                                                                 BROOKLYN, NY 11224-4461




RWJ BARNABAS HEALTH                        RWJ BARNABAS HEALTH                     RWJ BARNABAS HEALTH
ISABEL VIANA                               ISABEL VIANA                            JACLYN BENNETT
P.O. BOX 337                               P.O. BOX 337                            P.O. BOX 519
WEST LONG BRANCH, NJ 07764                 WEST LONG BRANCH, NJ 07764-1768         WEST LONG BRANCH, NJ 07764




RYAN E REBOWE, MD                          RYAN KANE                               [NAME REDACTED]
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




RYE AMBULATORY SURGERY CTR                 RYE AMBULATORY SURGERY CTR              S DAKOTA DIVISION OF INS SECURITIES REG
ANTONIO HERNANDEZ                          ATTN: ACCOUNTS PAYABLE                  124 S EUCLID AVE
2700 WESTCHESTER AVE                       800 WESTCHESTER AVE, STE N-715          2ND FLOOR
PURCHASE, NY 10577                         RYE BROOK, NY 10573-1376                PIERRE, SD 57501




S. DANIEL GOLSHANI, M.D., INC.             S3 TECHNOLOGY SOLUTIONS                 SABA MOTAKEF, MD
CAROL CASTILLO                             2966 FERDIG                             ADDRESS ON FILE
9301 WILSHIRE BLVD                         TUSTIN, CA 92782
SUITE 410
BEVERLY HILLS, CA 90210-6133



[NAME REDACTED]                            SAC ATTORNEYS LLP                       SACHIN SHRIDHARANI, M.D.
ADDRESS ON FILE                            1754 TECHNOLOGY DRIVE                   ADDRESS ON FILE
                                           SUITE 122
                                           SAN JOSE, CA 95110




SACRED HEART HOSPITAL                      SADDLEBACK DERMATOLOGY                  SADDLEBACK DERMATOLOGY
SARAH WHITE                                ARTURO GARCIA GONZALEZ                  CHRISTINA ROCK
900 W CLAIREMONT AVE                       24432 MUIRLANDS BLVD, SUITE 219         23832 ROCKFIELD BLVD, SUITE 210
EAU CLAIRE, WI 54701                       LAKE FOREST, CA 92630                   LAKE FOREST, CA 92630




SADEGHI PLASTIC SURGERY                    SADEGHI PLASTIC SURGERY                 SADI ERFANI, M.D.
CHRISTINA DECORTE                          RENEE ROMAIN                            ADDRESS ON FILE
2551 METAIRIE RD, STE 100                  4228 HOUMA BLVD, SUITE 100
METAIRIE, LA 70001                         METAIRIE, LA 70006
SAGE SOFTWARE         Case 24-10245-JTD     Doc 219
                                     [NAME REDACTED]        Filed 03/28/24   Page  174
                                                                                SAID     of 226M.D.
                                                                                     A. SAMRA,
ATTN: CUSTOMER CARE DEPT.            ADDRESS ON FILE                             ADDRESS ON FILE
PO BOX 849887
DALLAS, TX 75284-9887




SAILENDRA ARYAL DBA KEY TALENT PRO    SAILENDRA ARYAL DBA KEY TALENT PRO         SAINT LUKES HOSPITAL
LLC                                   LLC                                        CHAD FURGASON
ADDRESS ON FILE                       ADDRESS ON FILE                            12541 FOSTER STREET SUITE 120
                                                                                 OVERLAND PARK, KS 66213




SAINT LUKES SOUTH SURG CTR            SAINT THOMAS SURGERY CENTER -              SAINT THOMAS SURGERY CENTER -
RYAN KOWALEWSKI                       MIDTOWN                                    MIDTOWN
12541 FOSTER ST, STE 120              LATRICE MASON                              TIMOTHY SHANNON
OVERLAND PARK, KS 66213-2307          2011 CHURCH ST LL PLAZA 1                  2004 HAYES ST, STE 450
                                      NASHVILLE, TN 27203                        NASHVILLE, TN 37203



SALEM PLASTIC SURGERY, INC.           SALEM REGIONAL MEDICAL CENTER              SALESFORCE-COM
JESSICA MCGARTY                       KENNETH STACEY - AP CONTACT                NICHOLE GARDNER
1345 WESTGATE CENTER DRIVE, SUITE A   1995 E STATE ST                            2300 N. FIELD STREET
WINSTON-SALEM, NC 27103               SALEM, OH 44460                            DALLAS, TX 75201




SALESFORCE-COM                        SALESFORCE-COM                             [NAME REDACTED]
NICHOLE GARDNER                       PO BOX 203141                              ADDRESS ON FILE
PO BOX 203141                         DALLAS, TX 75320
DALLAS, TX 75320




SALT LAKE REGIONAL MEDICAL CENTER     SALTZ PLASTIC SURGERY                      SALUS MEDICAL CONSULTANTS, LLC
ALMA MENDOZA                          ANNETTE MONTOYA                            572 JACKSONVILLE DRIVE
10550 E SOUTH TEMPLE                  5445 SOUTH HIGHLAND DRIVE                  JACKSONVILLE BEACH, FL 32250
SALT LAKE CITY, UT 84102              SALT LAKE CITY, UT 84117




SALVINO PLASTIC SURGERY               SAM JEJURIKAR, M.D.                        [NAME REDACTED]
SHANNA BLACK                          ADDRESS ON FILE                            ADDRESS ON FILE
PO BOX 99
HINSDALE, IL 60522




SAMARITAN ALBANY GENERAL HOSPITAL     SAMIMI, ARASH                              SAMIR M. SUKKAR, M.D.
MIKE ARNOLD                           ADDRESS ON FILE                            ADDRESS ON FILE
P.O. BOX 3000
CORVALLIS, OR 97339




SAMUEL J. MUCCI, M.D.                 SAN DIEGO EYELID SPECIALISTS               SAN DIEGO VA MED CENTER
ADDRESS ON FILE                       KRISTINA KNAPP                             PROSTHETICS DEPARTMENT
                                      477 N. EL CAMINO REAL, SUITE A304          3350 LA JOLLA VILLAGE DR
                                      ENCINITAS, CA 92024                        SAN DIEGO, CA 92161




SAN FRANCISCO GENERAL HOSPITAL        SAN FRANCISCO GENERAL HOSPITAL             SAN FRANCISCO TAX COLLECTOR
DANIEL SANCHEZ                        NANCY NG-KONG                              P.O. BOX 7425
1001 POTRERO AVE                      2789 25TH ST                               SAN FRANCISCO, CA 94120
SAN FRANCISCO, CA 94110               SAN FRANCISCO, CA 94110
SAN JUAN PLASTIC SURGERY Case 24-10245-JTD
                                        SAN JUANDoc  219 MEDICAL
                                                 REGIONAL   Filed 03/28/24
                                                                   CENTER    Page
                                                                                SAN175
                                                                                    LUISof 226 SURGERY CENTER
                                                                                        OBISPO
GAYE DUMAS                              MICHAEL CHACON                          ATTN: ACCOUNTS PAYABLE
2300 E 30TH STREET, BLDG B, SUITE 103   801 W. MAPLE STREET                     1304 ELLA ST, SUITE C
FARMINGTON, NM 87401                    FARMINGTON, NM 87401                    SAN LUIS OBISPO, CA 93401




SAN RAMON REGIONAL HOSPITAL             SAN RAMON REGIONAL HOSPITAL             SANCHEZ PLASTIC SURGERY
ATTN: AP DEPARTMENT                     CHRISTINE WOLLASTON                     ATTN: ACCOUNTS PAYABLE
PO BOX 922                              6001 NORRIS CANYON ROAD                 5049 BLUEBONNET BLVD
CHESTERTON, IN 46304                    SAN RAMON, CA 94583                     BATON ROUGE, LA 70809-3084




SANCHEZ PLASTIC SURGERY                 SANCHEZ PLASTIC SURGERY                 SANCTUARY COSMETIC CENTER
CANDACE SCOTT                           JENNIFER MCCARTHY                       LINDA LOFSTROM
6717 PERKINS RD                         10820 HIGHLAND ROAD                     1650 TYSONS BLVD, SUITE 100
BATON ROUGE, LA 70808                   BATON ROUGE, LA 70810                   TYSONS, VA 22102




SANCTUARY PLASTIC SURGERY               [NAME REDACTED]                         SANDEL DUGGAL CENTER
CHERYL HOAGLAND                         ADDRESS ON FILE                         ADDRESS ON FILE
4800 N FEDERAL HWY, STE C101
BOCA RATON, FL 33431




SANDOVAL VAZQUEZ, IVETTE                [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




SANDS PLASTIC SURGERY                   [NAME REDACTED]                         [NAME REDACTED]
ERICA VIGENS                            ADDRESS ON FILE                         ADDRESS ON FILE
3100 GALLERIA DRIVE, SUITE 302
METAIRIE, LA 70001




[NAME REDACTED]                         SANDY CHANG                             SANFORD HEALTH
ADDRESS ON FILE                         ADDRESS ON FILE                         SARAH ANGLIN
                                                                                PO BOX 5066
                                                                                SIOUX FALLS, SD 57117-5006




SANITARY FITTINGS, LLC                  SANJAY GROVER, M.D.                     SANOVA DERMATOLOGY
PO BOX 295                              ADDRESS ON FILE                         KATHY TERRES
MUSKEGO, WI 53150                                                               1601 E PFLUGERVILLE PKWY
                                                                                STE 1201
                                                                                PFLUGERVILLE, TX 78660-6148



SANOVA DERMATOLOGY                      SANSUM CLINIC                           SANTA BARBARA COURTYARD MARRIOTT
VIRGINIA MOULTON                        ATTN: ACCOUNTS PAYABLE                  SBACY
701 METAIRIE RD, SUITE 2A205            PO BOX 1200                             P.O. BOX 741574
METAIRIE, LA 70006                      SANTA BARBARA, CA 93102-1200            ATLANTA, GA 30374-1574
                       CaseLLC
SANTA BARBARA HOTEL LESSEE   24-10245-JTD     Doc 219
                                       SANTA CLARA  VALLEY Filed
                                                           MEDICAL03/28/24
                                                                   CENTER      Page 176CRUZ
                                                                                  SANTA of 226
                                                                                            SURGERY CENTER
DBA HILTON SANTA BARBARA               GENTRY GARCIA                              BARBARA MIGUEL
BEACHFRONT RESORT                      2325 ENBORG LANE, SUITE 380                223A MOUNT HERMON ROAD
633 EAST CABRILLO BLVD                 SAN JOSE, CA 95128                         SCOTTS VALLEY, CA 95066
SANTA BARBARA, CA 93103



SANTA CRUZ SURGERY CENTER               SANTA ROSA MEDICAL CENTER                 SANTIAGO, MAYRA
KATHY KOENIG                            SKY THOMPSON                              ADDRESS ON FILE
3003 PAUL SWEET RD                      6002 BERRYHILL ROAD
SANTA CRUZ, CA 95065                    MILTON, FL 32570




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




SARA R. DICKIE, MD                      [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                           SARAH A. MESS, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




SARAH A. MESS, M.D.                     [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         SARAH HAMMOND, MD                         SARAH HAMMOND, MD
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                         SARAH PAGE                                [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




SARAH SORICE VIRK                       SARATOGA SPRINGS PLASTIC SURGERY, PC      SARATOGA SURGICAL CENTER
ADDRESS ON FILE                         ATTN: ACCOUNTS PAYABLE                    DASHA CRUCE
                                        7 WELLS STREET, 3RD FLOOR                 PO BOX 5886
                                        SARATOGA SPRINGS, NY 12866                EDMOND, OK 73083
SARGENT, CHRISTOPHER   Case 24-10245-JTD     Doc 219
                                      SAUL, SARA         Filed 03/28/24       Page  177REDACTED]
                                                                                 [NAME  of 226
ADDRESS ON FILE                       ADDRESS ON FILE                            ADDRESS ON FILE




SAVANNAH PLASTIC SURGERY              SAXTON, MARK                               SAXTON, MARK
TRACIE THOMAS                         ADDRESS ON FILE                            ADDRESS ON FILE
7208 HODGSON MEMORIAL DRIVE
SAVANNAH, GA 31406




SAY TECHNOLOGIES LLC                  SAYN BEAUTY                                SAYO, ALEC
85 WILLOW ROAD                        AIMEE GONZALEZ                             ADDRESS ON FILE
MENLO PARK, CA 94025                  5301 NW 37TH AVE
                                      MIAMI, FL 33140




SC DEPT OF REVENUE                    SCA HEALTH OUTPATIENT                      SCAFATI, ZACHARY
CORPORATE VOUCHER                     SURGERY CENTER OF LA JOLLA                 ADDRESS ON FILE
PO BOX 100153                         MAURICIO RODRIGUEZ FAUSTO
COLUMBIA, SC 29202                    4120 LA JOLLA VILLAGE DR
                                      LA JOLLA, CA 92037



SCARLETT MADDELEINE                   SCHAFFER PLASTIC SURGERY                   SCHAISON, PHILIPPE
ADDRESS ON FILE                       ANNETTE GREEN                              ADDRESS ON FILE
                                      3595 GRANDVIEW PKWY.
                                      BIRMINGHAM, AL 35243




SCHENK, MIKE                          SCHILLING, ERIC                            SCHINDLER, ERIC
ADDRESS ON FILE                       ADDRESS ON FILE                            ADDRESS ON FILE




SCHLESSINGER EYE AND COSMETIC, PC     SCHMIDT FACIAL PLASTIC SURGERY             SCHMIDT, ANDREW
MARIE LUM                             JOSEF LORENZ                               ADDRESS ON FILE
75 FROEHLICH FARM BLVD.               125 INVERNESS DRIVE, SUITE 250
WOODBURY, NY 11797                    ENGLEWOOD, CO 80112




SCHMIDT, ANDREW                       SCHMIDT, DAINA                             SCHMITZ, KEVIN
ADDRESS ON FILE                       ADDRESS ON FILE                            ADDRESS ON FILE




SCHNECK MEDICAL CENTER                SCHNEIDER & SCHNEIDER MECHANICAL INC.      SCHWEIGER DERMATOLOGY
RITA STUCKWISCH                       S414 CTY HWY W                             ATTN: AP
411 W TIPTON STREET                   MOUNT CALVARY, WI 53057                    27-01 QUEENS PLAZA NORTH, 10TH FLOOR
SEYMOUR, IN 47274                                                                LONG ISLAND CITY, NY 11101




SCL HEALTH SYSTEM / EXEMPLA           SCL HEALTH SYSTEM / EXEMPLA                SCOT A. MARTIN, M.D.
RANDI CARY                            RAYNE GALLEGOS                             ADDRESS ON FILE
2480 W 26TH AVE, SUITE 200B           PO BOX 1010
DENVER, CO 80211                      LAFAYETTE, CO 80026
SCOTIA CAPITAL /CDS (5011)Case 24-10245-JTD     Doc
                                         SCOTT D.    219M.D. Filed
                                                  CHAPIN           03/28/24
                                                             PLASTIC &        Page 178D.of
                                                                                 SCOTT     226 M.D.
                                                                                         CHAPIN,
ATT EVELYN PANDE OR PROXY DEPT           RECONSTRUCTIVE SURGERY                  ADDRESS ON FILE
SCOTIA PLAZA                             253 WEST STATE STREET
40 KING ST W, 23RD FL                    DOYLESTOWN, PA 18901
TORONTO, ON M5H 1H1 CANADA



SCOTT E KASDEN, MD                      SCOTT E KASDEN, MD                       SCOTT MOSSER, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




SCOTT SULENTICH, M.D.                   SCOTT SULENTICH, M.D.                    SCOTT W. BARTTELBORT, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




SCOTT W. MOSSER, MD.                    SCOTT, JOHN                              SCOTTSDALE CENTER FOR PLASTIC
ADDRESS ON FILE                         ADDRESS ON FILE                          SURGERY
                                                                                 5410 N. SCOTTSDALE RD., STE A-500
                                                                                 PARADISE VALLEY, AZ 85253




SCOTTSDALE HEALTHCARE HOSPITALS         SCOTTSDALE HEALTHCARE HOSPITALS          SCOTTSDALE MARRIOTT AT MCDOWELL
COLLEEN ALIMENA                         PATRICIA HOFFMAN                         MOUNTAIN
P.O. BOX 14890                          P.O. BOX 1270                            16770 N PERIMETER DRIVE
SCOTTSDALE, AZ 85251                    SCOTTSDALE, AZ 85252-1270                SCOTTSDALE, AZ 85260




SCOTTSDALE MCCORMICK RANCH              SCOTTSDALE PLASTIC SURGEONS              SCRIPPS HEALTH
SURGICENTER                             AMANDA FRONT                             ATTN: ACCOUNTS PAYABLE
CHRISTINE PERRY                         15757 N. 78TH STREET, SUITE A            PO BOX 2469
8129 N 87TH PL, STE 100                 SCOTTSDALE, AZ 85260                     LA JOLLA, CA 92038
SCOTTSDALE, AZ 85258



SCRIPPS HEALTH                          SCRIPPS MERCY SURGERY PAVILION           SCUPIN, BENJAMIN
CECILE HOZOURI                          SYLVIA DURFLINGER                        ADDRESS ON FILE
4275 CAMPUS POINT CT.                   550 WASHINGTON STREET, SUITE 101
SAN DIEGO, CA 92121                     SAN DIEGO, CA 92103




SD BODY CONTOURING                      SEAGULL SCIENTIFIC, LLC                  SEAN SIMON, MD
ANDREA WILLIAMS                         15325 SE 30TH PLACE, SUITE 100           ADDRESS ON FILE
8690 CENTER DRIVE                       BELLEVUE, WA 98007
SAN DIEGO, CA 91942




SEAN W. DELANEY, MD, PLLC               SEATTLE CHILDRENS HOSPITAL               SEATTLE SKIN & LASER
ADDRESS ON FILE                         ATTN: AP                                 3216 NE 45TH PL STE 203
                                        PO BOX 5371, RC505                       SEATTLE, WA 98105
                                        SEATTLE, WA 98145




SECRETARY OF STATE/DIV OF REVENUE       SECRETARY OF STATE/DIV OF REVENUE        SECURE FIRE & SAFETY LLC
DIVISION OF CORPORATIONS                DIVISION OF CORPORATIONS; FRANCHISE      11905 W. RIPLEY AVENUE
FRANCHISE TAX                           TAX                                      MILWAUKEE, WI 53226
P.O. BOX 898                            JOHN G TOWNSEND BLDG
DOVER, DE 19903                         401 FEDERAL ST, STE 4
                                        DOVER, DE 19901
SECURE GREEN, INC        Case 24-10245-JTD     Doc 219INC Filed 03/28/24
                                        SECURE-CENTRIC                     Page 179 of 226
                                                                              SECURITIES & EXCHANGE COMMISSION
ALLEN PHAM                              PO BOX 8235                           100 F STREET, NE
304 S. JONES BLVD STE 3924              LONG BEACH, CA 90808                  WASHINGTON, DC 20549-5985
LAS VEGAS, NV 89107




SECURITIES & EXCHANGE COMMISSION         SEDULO GROUP, LLC                    SEFAR INC
NEW YORK REGIONAL OFFICE                 1902 CAMPUS PLACE, SUITE 9A          26232 NETWORK PLACE
ATTN: ANDREW CALAMARI, REGIONAL          LOUISVILLE, KY 40299                 CHICAGO, IL 60673
DIRECTOR
BROOKFIELD PLACE 200 VESEY ST, STE 400
NEW YORK, NY 10281-1022


SEI PRIVATE TST CO (2039)                SEI PRIVATE TST CO (2663)            SEIDEL PLASTIC SURGERY
ATT ERIC GREENE OR PROXY MGR             ATT ERIC GREENE OR PROXY MGR         1919 DANLKE DR
ONE FREEDOM VALLEY DR                    ONE FREEDOM VALLEY DR                CULLMAN, AL 35058
OAKS, PA 19456                           OAKS, PA 19456




SEIDNER HANFLING, ARIEL                  SEIDNER, ARIEL                       SEJIN JOO
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




SEKO WORLDWIDE, LLC                      [NAME REDACTED]                      [NAME REDACTED]
1501 E. WOODFIELD ROAD, SUITE 210E       ADDRESS ON FILE                      ADDRESS ON FILE
SCHAUMBURG, IL 60173




SELLEY, BRANDON                          SEMIRA BAYATI, M.D                   SEMM, QUENTIN
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




SENCORPWHITE INC                         SENTARA HEALTH                       SENTARA MARTHA JEFFERSON
400 KIDDS HILL ROAD                      LEAH MILLS                           ADDRESS ON FILE
HYANNIS, MA 02601                        PO BOX 2200
                                         NORFOLK, VA 23501




SENTARA MARTHA JEFFERSON                 SERENITY REJUVENATION CENTER         SERGEY Y. TURIN, MD
ADDRESS ON FILE                          41-148TH AVENUE SE1                  ADDRESS ON FILE
                                         BELLEVUE, WA 98007




SESPRS                                   SESPRS                               SEUNG-JUN O, MD
ATTN: SUSAN RUSSELL                      ATTN: SUSAN RUSSELL                  ADDRESS ON FILE
6300 SAGEWOOD DR, SUITE H-255            6400 GOLDSBORO RD, SUITE 450
PARK CITY, UT 84098                      BETHESDA, MD 20817




SEYFARTH SHAW LLP                        SEYFARTH SHAW LLP                    SFORZO DILLINGHAM ORTHOPEDICS
223 S WACKER DR, STE 8000                3807 COLLECTIONS CENTER DR           KAREN VON DER BAARS
CHICAGO, IL 60606                        CHICAGO, IL 60693                    5831 BEE RIDGE ROAD, SUITE 200
                                                                              SARASOTA, FL 34233
                        Case 24-10245-JTD
SG AMERICAS SECS, LLC (0286)                  Doc 219& PLASTIC
                                       SGK AESTHETICS     FiledSURG
                                                                03/28/24   Page 180 of
                                                                              SHADDIX   226 SURGERY
                                                                                      PLASTIC
ATT PAUL MITSAKOS OR PROXY MGR         CHELSY AP                              FELICIA SHOOTS
1221 AV OF THE AMERICAS                8730 MEMORIAL DR                       5147 N. 9TH AVE., SUITE 203
NEW YORK, NY 10020                     HOUSTON, TX 77024-7011                 PENSACOLA, FL 32504




SHAFER CLINIC                          SHAFER CLINIC                          SHAHIN FAZILAT, M.D.
ERICA ROSA (HAZAN)                     NAZIA BOODRAN                          ADDRESS ON FILE
535 5TH AVE, FL 33                     10 E 53RD STREET
NEW YORK, NY 10017-3665                NEW YORK, NY 10022




SHAHIN M. JAVAHERI, M.D.               SHAHRAM SALEMY, MD, PLLC               SHAHRIAR MABOURAKH
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




SHAHRIAR MABOURAKH, M.D.               SHAHRIAR MABOURAKH.                    [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                        SHAMBLEN, BRITTANY                     SHAMSFALLAH, SIMIN
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                        SHANDS HEALTHCARE                      SHANE FADEM DBA SELECT SURGICAL TECH
ADDRESS ON FILE                        A ROLLE                                ADDRESS ON FILE
                                       PO BOX 100336
                                       GAINESVILLE, FL 32610




SHANE FADEM                            SHANGHAI HOP TRADING CO LTD            SHANKAR LAKSHMAN, M.D.
ADDRESS ON FILE                        ATTN JASON YU                          ADDRESS ON FILE
                                       RM 718 BLD 2, 100 JINYU RD
                                       SHANGHAI
                                       CHINA



SHANNON A. MELTON                      [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE
SHARON GIESE, M.D.        Case 24-10245-JTD    Doc 219 Filed 03/28/24
                                         SHARP HEALTHCARE                      Page 181HEALTHCARE
                                                                                  SHARP of 226
ADDRESS ON FILE                          DOUG WATSON                              LISA FINLEY
                                         8695 SPECTRUM CENTER BLVD                4000 RUFFIN ROAD, SUITE A
                                         SAN DIEGO, CA 92123                      SAN DIEGO, CA 92123




SHASHIDHAR KUSUMA, M.D.                  SHAUNA KRANENDONK, LLC                   SHAW PLASTIC SURGERY, LLC
ADDRESS ON FILE                          LISA TUTTLE                              DIANE ELIAS
                                         224 CHIMNEY CORNER LANE, SUITE 3002      3595 N. WEBB ROAD
                                         JUPITER, FL 33458                        WICHITA, KS 67226




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                          SHAY BYRON DEAN, M.D.                    SHEINFELD, THOMAS
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                          SHELLOCK R & D SERVICES, INC.
ADDRESS ON FILE                          ADDRESS ON FILE                          7751 VERAGUA DRIVE
                                                                                  PLAYA DEL REY, CA 90293




[NAME REDACTED]                          [NAME REDACTED]                          SHERIDAN, ALEXANDER
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




SHERIF M. KHATTAB, M.D.                  [NAME REDACTED]                          SHERYL LEWIN, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




SHETH DERMATOLOGY                        SHIELDS HEALTHCARE GROUP                 [NAME REDACTED]
JEN GECAS                                KIM ROGERS                               ADDRESS ON FILE
9131 W. 151ST STREET                     55 CHRISTYS DR
ORLAND PARK, IL 60462                    BROCKTON, MA 02301-1813




SHIP CONSOLE LLC                         SHIRLEY A. ANAIN, MD                     [NAME REDACTED]
18 PRIDES CIR                            ADDRESS ON FILE                          ADDRESS ON FILE
ANDOVER, MA 01810




SHOALS HOSPITAL                          SHOALS PLASTIC SURGERY                   SHOICHIRO TANAKA, MD
CHRISTINE MATHERS                        KRISTIE OLIVER                           ADDRESS ON FILE
PO BOX 282308                            203 W AVALON AVE, SUITE 300
NASHVILLE, TN 37228                      MUSCLE SHOALS, AL 35661
SHOUTS, MARINA          Case 24-10245-JTD    Doc 219
                                       SHREDRITE           Filed 03/28/24       Page 182 of 226
                                                                                   SHREDRITE
ADDRESS ON FILE                        320 LAMBERT ST STE E                        PO BOX 5329
                                       OXNARD, CA 93036                            VENTURA, CA 93005




SHREWSBURY SURGERY CENTER              SHRINERS CHILDRENS TEXAS                    SHRINERS HOSPITAL
ROBIN WOODS                            CAROL PHARES (FORMER EMPLOYEE)              KIM LAWSON
655 SHREWSBURY AVE                     815 MARKET STREET                           2425 STOCKTON BLVD.
SHREWSBURY, NJ 07702                   GALVESTON, TX 77550                         SACRAMENTO, CA 95817




SHRINERS HOSPITALS CHILDREN--          SHRINERS HOSPITALS FOR CHILDREN             SHRINERS HOSPITALS FOR CHILDREN
CINCINNATI                             BOSTON                                      ATTN: ACCOUNTS PAYABLE
KEITH KIMBER                           KIM MAROLIS                                 3551 N BROAD ST
3229 BURNETT AVENUE                    51 BLOSSOM STREET                           PHILADELPHIA, PA 19140
CINCINNATI, OH 45229                   BOSTON, MA 02114



SHRINERS HOSPITALS FOR CHILDREN        SHUBDIN, INC DBA MICROFILM ENTERPRISES      [NAME REDACTED]
SILVIA CASTILLO                        4610 DAWNGATE LANE                          ADDRESS ON FILE
909 S. FAIR OAKS AVENUE                ROLLING MEADOWS, IL 60008
PASADENA, CA 91105




SIDHBH GALLAGHER, MD                   SIDNEY RABINOWITZ, M.D.                     SIE DE NEUILLY
ADDRESS ON FILE                        ADDRESS ON FILE                             74 RUE CHAVEAU
                                                                                   92521 NEUILLY SUR SEINE
                                                                                   NEUILLY-SUR-SEINE, HD 92521
                                                                                   FRANCE



SIEMENS INDUSTRY SOFTWARE INC          SIENTRA MARKETING                           SIERRA DERM
PO BOX 2168                            TRACY LAWNER                                PAYDEN SMETHERS
CAROL STREAM, IL 60132                 701 W BEECH ST STE 2003                     126 GLASSON WAY
                                       SAN DIEGO, CA 92101                         GRASS VALLEY, CA 95945




SIERRA RIDGE COSMETIC SURGERY          SIERRA VISTA REG MED CENTER                 SIGNATURE PLASTIC & RECONSTRUCTIVE
KATRINA S.                             ATTN: ACCOUNTS PAYABLE                      SURG
201 CLINTON ROAD, SUITE 204            PO BOX 917                                  MONSE LAJARA
JACKSON, CA 95642                      CHESTERTON, IN 46304-0917                   3345 BURNS ROAD, SUITE 101
                                                                                   PALM BEACH GARDENS, FL 33410



SILICON VALLEY BANK                    SILICON VALLEY BANK                         SILICON VALLEY SURGERY CENTER
3003 TASMAN DR                         RONA SMITH                                  ATTN: ACCOUNTS PAYABLE
SANTA CLARA, CA 95054                  3003 TASMAN DRIVE                           3190 S BASCOM AVE, SUITE 140
                                       SANTA CLARA, CA 95054                       SAN JOSE, CA 95124




SILICONE ENGINEERING SOLUTIONS         SIMATRIX, INC                               SIMATRIX, INC
PO BOX 910                             8168 SOLUTIONS CENTER                       JEAN NELSON
LOS OLIVOS, CA 93441                   CHICAGO, IL 60677-8001                      8168 SOLUTIONS CENTER
                                                                                   CHICAGO, IL 60677-8001




SIMI VALLEY HOSPITAL                   SIMI VALLEY HOSPITAL                        SIMIN SHAMSFALLAH
INVOICING                              LIBERTY MCCOMAS                             ADDRESS ON FILE
PO BOX 619085                          2975 N SYCAMORE DR
ROSEVILLE, CA 95661                    SIMI VALLEY, CA 93065
SIMMONS, JASON            Case 24-10245-JTD     Doc 219
                                         SIMON, JEAN        Filed 03/28/24    Page  183 V.ofPAUTLER,
                                                                                 SIMONA      226 M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




SIMPSON, STASHIA                         SINGHAL PLASTIC SURGERY                 SIPERSTEIN DERMATOLOGY
ADDRESS ON FILE                          PAM WINGER                              CHRISTINA COSTANEY
                                         9081 NE 81ST TERRACE                    9897 HAGEN RANCH ROAD
                                         KANSAS CITY, MO 64158                   BOYNTON BEACH, FL 33472




[NAME REDACTED]                          SISK, RONALD                            SITE STAFFING, INC
ADDRESS ON FILE                          ADDRESS ON FILE                         809 W. NATIONAL AVENUE
                                                                                 MILWAUKEE, WI 53204




SIU INSTITUTE FOR PLASTIC SURGERY        SJ PLASTIC SURGERY                      SJ PLASTIC SURGERY
PO BOX 19653                             ATTN: ACCOUNTS PAYABLE                  LIZ GANEY
SPRINGFIELD, IL 62794                    2829 SHORE DR, STE 200                  4660 KENMORE AVE, SITE 220
                                         VIRGINIA BEACH, VA 23451                ALEXANDRIA, VA 22304




SK CLINIC                                SKATTEVERKET                            SKIN THE INSTITUTE OF FACIAL SURGERY
HOLLI RACKSTEIN                          PROVINCE OF JAMTLAND                    MIRANDA STANLEY
528 NAUTILUS ST                          OSTERSUND SE-831 87                     2331 TYLER PARKWAY, SUITE 4
LA JOLLA, CA 92037                       SWEDEN                                  BISMARCK, ND 58503




SKIN CANCER & DERMATOLOGY INSTITUTE      SKIN CANCER SPECIALISTS, PC             SKIN CARE DOCTORS, PA
NOLAN                                    LANIE MORRIS                            KAREN OHEARN
640 W. MOANA LANE                        835 COGBURN AVE NW, SUITE 100           1400 NICOLLET AVE. S., SUITE 304
RENO, NV 89509                           MARIETTA, GA 30060                      BURNSVILLE, MN 55337




SKIN WELLNESS CENTER                     SKINCREDIBLE DERMATOLOGY & SURG         SKINDC
LESLIE CARTER                            ALAN VALDES                             DEB
1920 HUNTINGTON ROAD                     147 MERCER WAY                          1525 WILSON BLVD, STE 125
HOMEWOOD, AL 35209                       COSTA MESA, CA 92627-3797               ARLINGTON, VA 22209-2470




SKINMD SURGICAL MANAGEMENT               SKINNOVATIONS AT PLANO DERMATOLOGY      SKY COSMETICS LLC
MARY HARRINGTON                          DAWN SULLIVAN                           JODI SCHAEFER
2 1ST AVE, STE 123                       6100 WINDHAVEN PKWY.                    3150 SW 38TH AVE, SUITE 800
PEABODY, MA 01960                        PLANO, TX 75093                         MIAMI, FL 33146




SKY RIDGE MEDICAL CENTER                 SKY SURGERY CENTER                      SKYLINE CATERING, INC
GERALD ADAM                              ROBERT DIAZ                             1919 12TH AVENUE
1151 ENTERPRISE DRIVE, SUITE 100         3150 SW 38TH AVE, 88                    SOUTH MILWAUKEE, WI 53172
COPPELL, TX 75019                        MIAMI, FL 33176




SKYLINE PLASTIC SURGERY                  SLIDELL MEMORIAL HOSPITAL               SLR INVESTMENT CORP
JENNIFER TAIB                            TINA TROTTER                            500 PARK AVE, 3RD FLOOR
11900 E. 12 MILE ROAD, SUITE 210         1001 GAUSE BLVD                         NEW YORK, NY 10022
WARREN, MI 48093                         SLIDELL, LA 70458
SMART ERP SOLUTIONS, INCCase 24-10245-JTD     Doc 219
                                       SMART OFFICE       Filed
                                                    INTERIORS,   03/28/24
                                                               INC          Page 184 of 226 INC DBA GOVSPEND
                                                                               SMARTPROCURE,
4683 CHABOT DRIVE, SUITE 380           18 ANACAPA STREET                       P.O. BOX 4968
PLEASANTON, CA 94588                   SANTA BARBARA, CA 93101                 DEERFIELD BEACH, FL 33442




SMARTSHEET INC                         SMITH PLASTIC SURGERY - MN              SNEHA PATEL
PO BOX 7410971                         BECCA STANTON                           ADDRESS ON FILE
CHICAGO, IL 60674                      6545 FRANCE AVE S
                                       SUITE 505
                                       EDINA, MN 55435



SNYDER, ALBERT                         SODERSTROM SKIN INSTITUTE               SOLANO PLASTIC SURGERY
ADDRESS ON FILE                        MICHELLE KORUNA                         JENNIFER DAVERIS
                                       4909 N. GLEN PARK PLACE RD              1001 NUT TREE RD
                                       PEORIA, IL 61614                        SUITE 130
                                                                               VACAVILLE, CA 95687



SOLER PLASTIC & RECONSTRUCTIVE         SOLER PLASTIC & RECONSTRUCTIVE          SOLESTICA PLASTIC SURGERY AND
SURGERY                                SURGERY                                 MEDSPA LLC
PAMELA BAKER                           RUTH JORDAN                             ATTN: ACCOUNTS PAYABLE
13015 W LINEBAUGH AVE, STE 102         4144 N ARMENIA AVE                      6705 S. RED ROAD, SUITE 500
TAMPA, FL 33626-4506                   SUITE 250                               MIAMI, FL 33143
                                       TAMPA, FL 33607


SOLESTICA PLASTIC SURGERY AND          SOM K. PLASTIC SURGERY                  SOMPO INTERNATIONAL INSURANCE
MEDSPA LLC                             CHRISTINA BIGGS                         12222 MERIT DR, STE 950
CRISTY GUERRERO                        8635 W. 3RD STREET, SUITE 880W          DALLAS, TX 75271
JOSERODRIGUEZFELIZMD.COM               LOS ANGELES, CA 90048
MIAMI, FL 33140



SOMPO                                  SONG-NI, ANGELA                         SONITEK CORPORATION
1221 AVENUE OF THE AMERICAS            ADDRESS ON FILE                         84 RESEARCH DRIVE
NEW YORK, NY 10020                                                             MILFORD, CT 06460




SONNTAG COSMETIC SURGERY               SONO BELLO                              SONO BELLO
MARY LARSEN                            MARIA DAVIS                             ORDER CONFIRMATION
10382 S JORDAN GATEWAY                 150 LAKE STREET, SUITE 250              5250 CARILLON PT.
SOUTH JORDAN, UT 84095                 KIRKLAND, WA 98003                      KIRKLAND, WA 98033




SONO BELLO--EAST                       [NAME REDACTED]                         [NAME REDACTED]
MELISSA ANDERSON                       ADDRESS ON FILE                         ADDRESS ON FILE
8525 E. PINNACLE PEAK RD, SUITE 101
SCOTTSDALE, AZ 85255




[NAME REDACTED]                        SOTERA HEALTH LLC                       SOTERA HEALTH LLC
ADDRESS ON FILE                        ATTN GENERAL COUNSEL                    ATTN SALES
                                       9100 S HILLS BLVD, STE 300              2015 SPRING RD, STE 650
                                       BROADVIEW HEIGHTS, OH 44147             OAK BROOK, IL 60523




SOTO-CARTER, CHRISTIAN                 SOUTH BAY MEDICAL CENTER                SOUTH BAY PLASTIC SURGEONS
ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE                  JAMIE DAVIS
                                       393 E WALNUT ST, 4TH FL SOUTH SIDE      3640 LOMITA BLVD, SUITE 306
                                       PASADENA, CA 91188                      TORRANCE, CA 90505
                      Case 24-10245-JTD
SOUTH BAY PLASTIC SURGEONS                  Doc ORTHOPAEDICS
                                     SOUTH BEND  219 Filed 03/28/24            Page 185CAROLINA
                                                                                  SOUTH of 226 DEPARTMENT OF HEALTH
MARY NAVARRO                         KALINA HUDNALL EICHORST                      AND
3440 LOMITA BLVD                     53880 CARMICHAEL DR                          ENVIRONMENTAL CONTROL
SUITE 100                            SOUTH BEND, IN 46635                         2000 HAMPTON ST
TORRANCE, CA 90505                                                                COLUMBIA, SC 29204



SOUTH CAROLINA DEPARTMENT OF HEALTH       SOUTH CAROLINA DEPT OF LABOR,           SOUTH CAROLINA DEPT OF REVENUE
AND                                       LICENSING AND REGULATION                300A OUTLET POINTE BOULEVARD
HUMAN SERVICES                            110 CENTERVIEW DR                       COLUMBIA, SC 29210
P.O. BOX 8206                             COLUMBIA, SC 29210
COLUMBIA, SC 29202-8206



SOUTH CAROLINA SECURITIES                 SOUTH CAROLINA SECURITIES               SOUTH CHARLOTTE PLASTIC & AESTHETIC
PO BOX 11549                              REMBERT DENNIS BUILDING                 SURG
COLUMBIA, SC 29211                        1000 ASSEMBLY ST 1                      COURTNEY NAVEY
                                          COLUMBIA, SC 29201                      1721 EBENEZER RD, STE 115
                                                                                  ROCK HILL, SC 29732



SOUTH COAST DERMATOLOGY                   SOUTH COAST OUTPATIENT SURGERY CTR      SOUTH COAST OUTPATIENT SURGERY CTR
LARREN WRIGHT                             APRIL LEE                               DEBBIE SATRIANO
90 LIBBEY INDUSTRIAL PARKWAY, SUITE 200   SUITE 100                               1101 BAYSIDE DRIVE
WEYMOUTH, MA 02189                        1101 BAYSIDE DRIVE                      CORONA DEL MAR, CA 92625
                                          CORONA DEL MAR, CA 92625



SOUTH COAST PLASTIC SURGERY               SOUTH DAKOTA DEPARTMENT OF HEALTH       SOUTH DAKOTA DEPARTMENT OF LABOR &
CIERRA BROOKS                             600 EAST CAPITOL AVENUE                 REG
4968 BOOTH CIRCLE, SUITE 105              PIERRE, SD 57501-2536                   REEMPLOYMENT & ASSISTANCE DIV
IRVINE, CA 92604                                                                  420 S ROOSEVELT ST, PO BOX 4730
                                                                                  ABERDEEN, SD 57402-4730



SOUTH DAKOTA DEPT OF LABOR &              SOUTH DAKOTA DEPT OF REVENUE            SOUTH KANSAS CITY SURGICENTER
REGULATION                                445 E CAPITOL AVE                       TAMMIE DAVIDSON
123 W MISSOURI AVE                        PIERRE, SD 57501                        10730 NALL AVE, SUITE 100
PIERRE, SD 57501                                                                  OVERLAND PARK, KS 66211




SOUTH NASSAU COMMUNITIES HOSPITAL         SOUTH TAMPA DERMATOLOGY                 SOUTH TEXAS HEALTH SYSTEM
SUZANNE ENGLISH                           JIM FLYNN                               LUPITA SUAREZ
1 HEALTH WAY                              2605 W. SWANN AVE, SUITE 300            1400 W TRENTON RD
OCEANSIDE, NY 11572                       TAMPA, FL 33609                         EDINBURG, TX 78539-3413




SOUTH TULSA PLASTIC SURGERY, LLC          SOUTH WALTON PLASTIC SURGERY            SOUTHEASTERN AESTHETIC SURGERY
ERIN HOLMES                               OFFICE ADMIN                            HOLLY AUSTIN
10131 S. YALE AVE, SUITE B                2048 W COUNTY HWY 30A, UNIT R2108       465 N. BELAIR ROAD, SUITE 3F
TULSA, OK 74137                           SANTA ROSA BEACH, FL 32459              EVANS, GA 30809




SOUTHEASTERN DERMATOLOGY, PA              SOUTHERN CALIFORNIA EDISON COMPANY      SOUTHERN CALIFORNIA HOSPITAL
BROOKE FORD                               PO BOX 300                              AT CULVER CITY
2040 FLEISCHMANN RD                       ROSEMEAD, CA 91772                      JAN BURGESS
TALLAHASSEE, FL 32308                                                             3415 S. SEPULVEDA BLVD, 9TH FLOOR
                                                                                  LOS ANGELES, CA 90034



SOUTHERN CALIFORNIA HOSPITAL              SOUTHERN CALIFORNIA                     SOUTHERN ILLINOIS HEALTHCARE
AT CULVER CITY                            ORTHOPEDIC INSTITUTE, LP                JOSEPH FLETCHER
TALYANA DEKADOKH                          RITA BENAVIDEZ                          PO BOX 3988
10780 SANTA MONICA BLVD, SITE 400         6815 NOBLE AVE, 3RD FLOOR               CARBONDALE, IL 62902
LOS ANGELES, CA 90025                     VAN NUYS, CA 91405
                       CaseSURG
SOUTHERN IN AESTHETIC PLAST  24-10245-JTD
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                                                                                 SOUTHERN  226ENGLAND ENT
JULIE HARCOURT                         JEANIE BARBOUR                            BUSINESS OFFICE
2450 NORTH PARK                        100 MAYFIELD CT.                          1 LONG WHARF DR, STE 302
SUITE B                                DOTHAN, AL 36305                          NEW HAVEN, CT 06511-5591
COLUMBUS, IN 47203



SOUTHERN NEW HAMPSHIRE MEDICAL         SOUTHERN OHIO MEDICAL CENTER            SOUTHERN PLASTIC SURGERY
CENTER                                 BETH MCGRAW                             ANNETTE ROGERS
ATTN: ACCOUNTS PAYABLE                 1248 KINNEYS LANE                       3855 PLEASANT HILL ROAD
22 COTTON RD                           PORTSMOUTH, OH 45662                    SUITE 370
PO BOX 3410                                                                    DULUTH, GA 30096
NASHUA, NH 03061


SOUTHERN UTAH PLASTIC SURGERY          SOUTHERN UTAH PLASTIC SURGERY           SOUTHPORT ENGINEERED SYSTEMS, LLC
ATTN: ACCOUNTS PAYABLE                 KATHLEEN CHANDLER                       1343 S 27TH STREET
PO BOX 30184                           652 S MEDICAL CENTER DR, SUITE 300      CALEDONIA, WI 53108
SALT LAKE CITY, UT 84130               SAINT GEORGE, UT 84790




SOUTHWEST LINCOLN SURGERY CENTER       SOVEREIGN PLASTIC SURGERY               SP PLASTIC SURGERY
JOEY THOMAS                            CHARLENE SHULMAN                        HEATHER GREEN
2222 S 16TH ST, STE 315                1950 ARLINGTON ST. STE 112              2805 CAMPUS DR, STE 485
LINCOLN, NE 68502                      SARASOTA, FL 34239                      PLYMOUTH, MN 55441




SPANN, DIVINE                          SPARKLETTS                              SPARROW HEALTH SYSTEM
ADDRESS ON FILE                        PO BOX 660579                           CAROL INGRHAM
                                       DALLAS, TX 75266                        PO BOX 30480
                                                                               LANSING, MI 48909




SPARROW, NICHOLAS                      SPARTANBURG REG HEALTHCARE SYS          SPARTRONICS STRONGSVILLE, INC.
ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE                  22740 LUNN ROAD
                                       101 E. WOOD STREET                      STRONGSVILLE, OH 44149
                                       SPARTANBURG, SC 29303




SPAULDING RIDGE LLC                    SPEAR, MICHELLE                         SPEARS, MOORE, REBMAN & WILLIAMS, PC
105 W MADISON STE 1000                 ADDRESS ON FILE                         PO BOX 1749
CHICAGO, IL 60602                                                              CHATTANOOGA, TN 37401-1749




SPECIALISTS IN PLASTIC SURGERY PA      SPECIALTY AESTHETIC SURGERY             SPECIALTY OPTICAL SYSTEMS, INC
STACY AZRACK                           LINDSEY NORRITO                         10210 FOREST LINE
3633 HARDEN RD, SUITE 200              925 PARK AVE                            DALLAS, TX 75243
RALEIGH, NC 27607                      NEW YORK, NY 10028




SPECIALTY SURGICAL PRODUCT INC         SPECIALTY SURGICAL PRODUCTS INC         SPECIALTY SURGICAL PRODUCTS INC
1123 NORTH U.S. HWY 93                 1123 US HWY 93 N                        ATTN PRESIDENT
VICTOR, MT 59875                       VICTOR, MT 59875                        1123 US HWY 93 N
                                                                               VICTOR, MT 59875




SPECTRUM BUSINESS                      SPECTRUM BUSINESS                       SPECTRUM ENTERPRISE
1600 DUBLIN RD                         PO BOX 4639                             12405 POWERSCOURT DRIVE
COLUMBUS, OH 43215                     PO BOX 4639                             SAINT LOUIS, MO 63131
                                       CAROL STREAM, IL 60197-4639
SPECTRUM HEALTH           Case 24-10245-JTD    Doc
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                                                                                        PLASTIC & RECON SURGERY
DONNA KING                                ADDRESS ON FILE                          ANGELA BATES
PO BOX A                                                                           2341 CLAY ST, 2ND FL
GRAND RAPIDS, MI 49501                                                             SAN FRANCISCO, CA 94115




SPRING VALUATION ADVISORS                 SPRINGFIELD CLINIC PEORIA HEIGHTS        SPRINGFIELD CLINIC SURGERY CENTER
15642 SAND CANYON AVE, SUITE 53354        BRANDY COX                               DEANA ROGERS
IRVINE, CA 92619                          4616 N PROSPECT RD                       1025 S SIXTH STREET
                                          PEORIA HEIGHTS, IL 61616                 SPRINGFIELD, IL 62703




SPRINGFIELD CLINIC, LLP                   SPRINGFIELD CLINIC, LLP                  SPRINGHILL HOSPITALS, INC.
ATTN: ACCOUNTS PAYABLE                    LINSAY STEFANO                           ELIZABETH PEFFER
1025 S 6TH ST                             2901 GREENBRIAR DRIVE                    PO BOX 8246
SPRINGFIELD, IL 62703                     SPRINGFIELD, IL 62704                    MOBILE, AL 36689




SPROUT SOCIAL, INC                        SPROUT SOCIAL, INC                       SSK PLASTIC SURGERY
131 S DEARBORN ST, SUITE 700              DEPT. CH 17275                           ATTN: ACCOUNTS PAYABLE
CHICAGO, IL 60603                         PALATINE, IL 60055                       21163 NEWPORT COAST DR., SUITE 132
                                                                                   NEWPORT COAST, CA 92657




SSM HEALTH ST. CLARE HOSPITAL             SSM ST. JOSEPH HOSPITAL                  SSM ST. LOUIS UNIVERSITY HOSPITAL
YVETTE BATTLE                             ATTN: ACCOUNTS PAYABLE                   JEANNE BOWLES
PO BOX 410859                             PO BOX 410800                            PO BOX 410887
ST. LOUIS, MO 63141                       ST. LOUIS, MO 63141                      SAINT LOUIS, MO 63141




ST CLAIRE REGIONAL MED CENTER             ST JOHNS HEALTHCARE FOUNDATION           ST LOUIS UNIVERSITY
MARIE ADAMS                               1600 N ROSE AVE                          ONCOLOGIC RECONSTRUCTION COURSE
222 MEDICAL CIR                           OXNARD, CA 93030                         3839 LINDELL BLVD
MOREHEAD, KY 40351-1179                                                            SAINT LOUIS, MO 63103




ST LUCIE MEDICAL CENTER                   ST LUKES HOSPITAL DULUTH                 ST. AGNES MEDICAL CENTER
AMY SYDNOR                                KATELYN JOHNSON                          MOORE- AP MOORE- AP
200 WADSWORTH AVE                         915 E FIRST STREET                       PO BOX 7002
RICHMOND, VA 23236-4526                   DULUTH, MN 55805                         TROY, MI 48007




ST. ALEXIUS MEDICAL CENTER                ST. ANTHONYS EFFINGHAM                   ST. BARNABAS HEALTH SYSTEM
HELEN LIPP                                ATTN: ACCOUNTS PAYABLE                   SONIA GONZALEZ
PO BOX 5510                               PO BOX 3646                              4422 THIRD AVENUE
BISMARCK, ND 58506                        EFFINGHAM, IL 62401                      BRONX, NY 10457




ST. CHARLES HEALTHCARE                    ST. CHARLES SURGICAL HOSPITAL            ST. CHRISTOPHERS HOSP FOR CHILDREN
DIANA GARZA                               JEAN MARKS                               MARY ANDERSON
A/P BOX 5789                              PO BOX 8770                              PO BOX 26968
BEND, OR 97708                            METAIRIE, LA 70011                       PHILADELPHIA, PA 19134-1095




ST. CLAIR MEDICAL GROUP PLASTIC           ST. CLAIR MEDICAL GROUP PLASTIC          ST. CLOUD HOSPITAL
SURGERY                                   SURGERY                                  KARL VANBECKUPH
DENISE KAPP                               PATRICIA REICK                           1406 6TH AVE N
2000 OXFORD DRIVE                         1050 BOWER HILL ROAD                     SAINT CLOUD, MN 56303
SUITE 410                                 SUITE 101
BETHEL PARK, PA 15102                     PITTSBURGH, PA 15243
                         Case
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                                                                                 ST.188 of 226
                                                                                    DOMINIC JACKSON MEMORIAL HOSPITAL
ATTN: ACCOUNTS PAYABLE                   NTSC SC AP                              PRISCILLA WALKER
235 E STATE ST                           1151 ENTERPRISE DR, STE 100             969 LAKELAND DRIVE
SAINT CROIX FALLS, WI 54024              COPPELL, TX 75019                       JACKSON, MS 39216




ST. ELIZABETH HEALTHCARE                ST. ELIZABETH HEALTHCARE                 ST. FRANCIS HOSPITAL - MEMPHIS
BLAIR STEVENS                           SUZANNE BECKMAN                          ATTN: ACCOUNTS PAYABLE
600 WILSON CREEK ROAD                   1 MEDICAL DRIVE                          PO BOX 2054
LAWRENCEBURG, IN 47025                  EDGEWOOD, KY 41017                       CHESTERTON, IN 46304




ST. FRANCIS HOSPITAL - MEMPHIS          ST. FRANCIS HOSPITAL                     ST. FRANCIS HOSPITAL
CATHY WAYNE                             ATTN: ACCOUNTS PAYABLE                   GENNENE SPENCER
5959 PARK AVE                           114 WOODLAND ST.                         PO BOX 282308
MEMPHIS, TN 38119-5200                  HARTFORD, CT 06105                       NASHVILLE, TN 37228




ST. FRANCIS HOSPITAL                    ST. FRANCIS MEDICAL CENTER               ST. JOHNS HOSPITAL
PHYLLIS CRANS                           CECILIA DEVERA                           ATTN: ACCOUNTS PAYABLE
PO BOX 7000                             3630 E. IMPERIAL HWY                     PO BOX 3646
COLUMBUS, GA 31908                      LYNWOOD, CA 90262                        SPRINGFIELD, IL 62708




ST. JOSEPH HEALTH                       ST. JOSEPH HEALTH--ST. JUDE MEDICAL      ST. JOSEPH HEALTH--ST. JUDE MEDICAL
DENNIS GIORDANO                         CNTR                                     CNTR
3345 MICHELSON DRIVE                    ATTN: ACCOUNTS PAYABLE                   ISMAEL CASILLAS
IRVINE, CA 92612                        ATTN: 1000-SJHS ACCOUNTS PAYABLE         3345 MICHELSON DR., SUITE 100
                                        PO BOX 31263                             IRVINE, CA 92612
                                        SALT LAKE CITY, UT 84131


ST. JOSEPH HEALTH--ST. JUDE MEDICAL     ST. JOSEPH HERITAGE HEALTHCARE           ST. JOSEPH HERITAGE HEALTHCARE
CNTR                                    CONNIE FABELA                            RANIA GERGEF
JACQULINE RAMIREZ                       1950 SUNNYCREST DR., SUITE 2300          200 W. CENTER STREET PROMENADE, STE
PO BOX 696431                           FULLERTON, CA 92835                      800
SAN ANTONIO, TX 78269                                                            ANAHEIM, CA 92805



ST. JOSEPH HOSPITAL                     ST. JOSEPH MEDICAL CENTER                ST. JOSEPHS HOSPITAL & HEALTH CENTER
KAREN SANTIN                            LESA KINCHELOE                           ANDREA CIANCI
PO BOX 2013                             1000 CARONDELET DR                       301 PROSEPCT AVE
NASHUA, NH 03061                        KANSAS CITY, MO 64114                    SYRACUSE, NY 13203




ST. JOSEPHS HOSPITAL & HEALTH CENTER    ST. JOSEPHS OUTPATIENT                   ST. JOSEPHS/CANDLER HEALTH
MELISSA HILL                            SURGERY CENTER, LLC                      TONY WILLIAMS
973 JAMES STREET                        ACCOUNTS PAYABLE                         5353 REYNOLDS STREET
SYRACUSE, NY 13203                      240 W. THOMAS RD                         SAVANNAH, GA 31405
                                        PHOENIX, AZ 85013



ST. LOUIS COSMETIC SURGERY              ST. LUKES HOSPITAL                       ST. LUKES HOSPITAL
RHONDA SHRUM                            ATTN: ACCOUNTS PAYABLE                   BRITTANY REVILL
17300 N OUTER FORTY ROAD                DEPT. 9465                               5901 MONCLOVA ROAD
SUITE 300                               121 ST. LUKES CENTER DRIVE               MAUMEE, OH 43537
CHESTERFIELD, MO 63005                  CHESTERFIELD, MO 63017



ST. LUKES REGIONAL HOSPITAL             ST. LUKES SC OF CHESTERFIELD             ST. MARKS HOSPITAL
KATHY SCHNEIDER                         AMY SCHLEUTER                            ARMANDO VARGAS
190 E. BANNOCK STREET                   111 ST. LUKES CENTER DR, STE 500         1151 ENTERPRISE DRIVE, SUITE 100
BOISE, ID 83712                         CHESTERFIELD, MO 63017-3509              COPPELL, TX 75019
ST. MARYS HOSPITAL       Case 24-10245-JTD     Doc
                                        ST. MARYS   219 CENTER
                                                  MEDICAL Filed 03/28/24     Page
                                                                                ST.189 ofSURGICARE
                                                                                   MARYS  226
MARLO COUTURE                            LEANN BECKETT                          VIVIAN BEHAGG-CLOUSE
56 FRANKLIN STREET                       2900 FIRST AVE                         1125 PROFESSIONAL BLVD
WATERBURY, CT 06706                      HUNTINGTON, WV 25702                   EVANSVILLE, IN 47714




ST. MICHAELS MEDICAL CENTER              ST. PETERS HEALTH PS & MA              ST. TAMMANY PARISH HOSPITAL
INVOICES                                 DEBBIE BRAULT                          MOLLYE R PERALTA
111 CENTRAL AVENUE                       2475 BROADWAY ST                       1202 S. TYLER ST
NEWARK, NJ 07102                         HELENA, MT 59601-4928                  COVINGTON, LA 70433




ST. VINCENT MEDICAL CENTER               STACEY FOLK, M.D                       [NAME REDACTED]
SARA TJIOE                               ADDRESS ON FILE                        ADDRESS ON FILE
PO BOX 1248
SAN CARLOS, CA 94070




STACIE SAENZ                             STACY L. PETERSON, M.D.                [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                        ADDRESS ON FILE




STAFF ELECTRIC CO, INC                   STAINLESS STEEL FABRICATORS, INC       STALDER PLASTIC SURGERY
PO BOX 917                               15120 DESMAN RD                        JESS SORGENFREI
BUTLER, WI 53007                         LA MIRADA, CA 90638                    6028 MAGAZINE ST
                                                                                NEW ORLEANS, LA 70118




STANFORD HEALTH CARE - TRI VALLEY        STANFORD HOSPITAL & CLINIC             STANFORD HOSPITAL & CLINIC
CYNDIE CUNNINGHAM                        CAMMY SANTAGATA                        MANALI PARMAR
1111 E STANLEY BLVD                      ACCOUNTS PAYABLE, MAIL CODE 5540,      MAIL CODE 5540, 300 PASTEUR DRIVE
LIVERMORE, CA 94550                      300 PASTEUR DR                         STANFORD, CA 94305-5540
                                         STANFORD, CA 94305-5540



STANFORD UNIVERSITY                      STANISLAUS SURGICAL HOSPITAL           STANLEY CASTOR, M.D
ATTN: CHRISTINA KASSON                   MARIA MUNOZ                            ADDRESS ON FILE
269 CAMPUS DRIVE, ROOM 1115              1421 OAKDALE RD
STANFORD, CA 94305                       MODESTO, CA 95355




STANWIX PLASTIC SURGERY                  STAPLES CREDIT PLAN                    [NAME REDACTED]
DEB ELY                                  DEPT. 51- 7861066727                   ADDRESS ON FILE
12320 W. BROAD STREET, SUITE 205         PO BOX 689020
RICHMOND, VA 23233                       DES MOINES, IA 50368-9020




STATE BOARD OF EQUALIZATION              STATE COMPTROLLER                      STATE COMPTROLLER
SPECIAL TAXES & FEES                     PO BOX 149354                          TEXAS COMPTROLLER OF PUBLIC
PO BOX 942879                            AUSTIN, TX 78714                       ACCOUNTS
SACRAMENTO, CA 94279-6001                                                       P.O. BOX 149348
                                                                                AUSTIN, TX 78714-9348



STATE OF ALABAMA ATTORNEY GENERAL        STATE OF ALABAMA ATTORNEY GENERAL      STATE OF ALASKA ATTORNEY GENERAL
ATTN: STEVE MARSHALL                     ATTN: STEVE MARSHALL                   ATTN: TREG TAYLOR
501 WASHINGTON AVE                       PO BOX 300152                          1031 W 4TH AVE, STE 200
MONTGOMERY, AL 36104                     MONTGOMERY, AL 36130-0152              ANCHORAGE, AK 99501-1994
STATE OF AMERICAN SAMOA Case    24-10245-JTD
                          ATTORNEY        STATE OFDoc  219 SAMOA
                                                    AMERICAN  Filed ATTORNEY
                                                                    03/28/24     Page 190OFofARIZONA
                                                                                    STATE     226 ATTORNEY GENERAL
GENERAL                                   GENERAL                                   ATTN: KRIS MAYES
ATTN FAINU’ULELEI FALEFATU ALA’ILIMA-UTU  DEPT. OF LEGAL AFFAIRS                    2005 NORTH CENTRAL AVENUE
AMERICAN SAMOA GOVT, EXEC OFC BLDG        EXECUTIVE OFFICE BLDG., 3RD FLR           PHOENIX, AZ 85004-2926
UTULEI, TERRITORY OF AMERICAN SAMOA       P.O. BOX 7
PAGO PAGO, AS 96799                       UTULEI, AS 96799


STATE OF ARKANSAS ATTORNEY GENERAL       STATE OF ARKANSAS DEPARTMENT OF            STATE OF CALIFORNIA ATTORNEY GENERAL
ATTN: TIM GRIFFIN                        FINANCE & ADMINISTRATION                   ATTN: ROB BONTA
323 CENTER ST, STE 200                   P.O. BOX 8090                              1300 "I" ST
LITTLE ROCK, AR 72201-2610               LITTLE ROCK, AR 72203-8090                 SACRAMENTO, CA 95814-2919




STATE OF CALIFORNIA ATTORNEY GENERAL     STATE OF CALIFORNIA LABOR AND              STATE OF COLORADO ATTORNEY GENERAL
CONSUMER PROTECTION SECTION              WORKFORCE DEVELOPMENT AGENCY               ATTN: PHIL WEISER
ATTN: BANKRUPTCY NOTICES                 800 CAPITOL MALL                           RALPH L CARR COLORADO JUDICIAL BLDG
455 GOLDEN GATE AVE., STE. 11000         STE 5000 (MIC 55)                          1300 BROADWAY, 10TH FL
SAN FRANCISCO, CA 94102-7004             SACRAMENTO, CA 95814                       DENVER, CO 80203



STATE OF CONNECTICUT ATTORNEY            STATE OF DELAWARE ATTORNEY GENERAL         STATE OF DELAWARE
GENERAL                                  ATTN: KATHY JENNINGS                       DIVISION OF CORPORATIONS
ATTN: WILLIAM TONG                       CARVEL STATE BUILDING                      PO BOX 5509
165 CAPITOL AVENUE                       820 N FRENCH ST                            BINGHAMTON, NY 13902
HARTFORD, CT 06106                       WILMINGTON, DE 19801



STATE OF FLORIDA ATTORNEY GENERAL        STATE OF GEORGIA ATTORNEY GENERAL          STATE OF HAWAII ATTORNEY GENERAL
ATTN: ASHLEY MOODY                       ATTN: CHRIS CARR                           ATTN: ANN E LOPEZ
PL 01 THE CAPITOL                        40 CAPITOL SQUARE, SW                      425 QUEEN ST
TALLAHASSEE, FL 32399-1050               ATLANTA, GA 30334                          HONOLULU, HI 96813




STATE OF IDAHO ATTORNEY GENERAL          STATE OF ILLINOIS ATTORNEY GENERAL         STATE OF INDIANA ATTORNEY GENERAL
ATTN: RAUL R. LABRADOR                   ATTN: KWAME RAOUL                          ATTN: TODD ROKITA
700 W JEFFERSON ST, STE 210              100 W RANDOLPH ST                          INDIANA GOVERNMENT CENTER SOUTH
PO BOX 83720                             CHICAGO, IL 60601                          302 W WASHINGTON ST, 5TH FL
BOISE, ID 83720-0010                                                                INDIANAPOLIS, IN 46204



STATE OF IOWA ATTORNEY GENERAL           STATE OF KANSAS ATTORNEY GENERAL           STATE OF KENTUCKY ATTORNEY GENERAL
ATTN: BRENNA BIRD                        ATTN: KRIS W. KOBACH                       ATTN: DANIEL CAMERON
HOOVER STATE OFFICE BUILDING             120 SW 10TH AVE, 2ND FL                    700 CAPITOL AVE, STE 118
1305 E WALNUT ST                         TOPEKA, KS 66612                           FRANKFORT, KY 40601-3449
DES MOINES, IA 50319



STATE OF LOUISIANA ATTORNEY GENERAL      STATE OF LOUISIANA ATTORNEY GENERAL        STATE OF MAINE ATTORNEY GENERAL
ATTN: JEFF LANDRY                        ATTN: JEFF LANDRY                          ATTN: AARON FREY
1885 N THIRD ST                          PO BOX 94005                               6 STATE HOUSE STATION
BATON ROUGE, LA 70802                    BATON ROUGE, LA 70804                      AUGUSTA, ME 04333




STATE OF MARYLAND ATTORNEY GENERAL       STATE OF MASSACHUSETTS ATTORNEY            STATE OF MICHIGAN ATTORNEY GENERAL
ATTN: ATHONY G. BROWN                    GENERAL                                    ATTN: DANA NESSEL
200 ST PAUL PLACE                        ATTN: ANDREA JOY CAMPBELL                  G. MENNEN WILLIAMS BLDG
BALTIMORE, MD 21202                      1 ASHBURTON PLACE, 20TH FL                 525 W OTTAWA ST - PO BOX 30212
                                         BOSTON, MA 02108-1518                      LANSING, MI 48909



STATE OF MINNESOTA ATTORNEY GENERAL      STATE OF MISSISSIPPI ATTORNEY GENERAL      STATE OF MISSOURI ATTORNEY GENERAL
ATTN: KEITH ELLISON                      ATTN: LYNN FITCH                           ATTN: ANDREW BAILEY
445 MINNESOTA ST STE 1400                PO BOX 220                                 SUPREME CT BLDG, 207 W HIGH ST
ST. PAUL, MN 55101-2131                  JACKSON, MS 39205                          PO BOX 899
                                                                                    JEFFERSON CITY, MO 65102
                      Case
STATE OF MONTANA ATTORNEY   24-10245-JTD
                          GENERAL            Doc
                                      STATE OF     219 ATTORNEY
                                               NEBRASKA  Filed 03/28/24
                                                                 GENERAL    Page 191OFofNEVADA
                                                                               STATE     226 ATTORNEY GENERAL
ATTN: AUSTIN KNUDSEN                  ATTN: MIKE HILGERS                       ATTN: AARON D. FORD
JUSTICE BLDG                          2115 STATE CAPITOL                       100 N CARSON ST
215 N SANDERS ST                      PO BOX 98920                             CARSON CITY, NV 89701
HELENA, MT 59601                      LINCOLN, NE 68509



STATE OF NEW HAMPSHIRE ATTORNEY       STATE OF NEW JERSEY ATTORNEY             STATE OF NEW JERSEY
GENERAL                               GENERAL                                  DEPT OF LABOR & WORKFORCE
ATTN: JOHN M. FORMELLA                ATTN: MATTHEW J. PLATKIN                 DEVELOPMENT
NH DEPT OF JUSTICE                    RJ HUGHES JUSTICE COMPLEX                DIV OF EMPLOYER ACCTS, PO BOX 059
33 CAPITOL ST                         25 MARKET ST - PO BOX 080                TRENTON, NJ 08646
CONCORD, NH 03301                     TRENTON, NJ 08625-0080


STATE OF NEW MEXICO ATTORNEY          STATE OF NEW YORK ATTORNEY GENERAL       STATE OF NORTH CAROLINA ATTORNEY
GENERAL                               ATTN: LETITIA A. JAMES                   GENERAL
ATTN: RAUL TORREZ                     DEPT. OF LAW                             ATTN: JOSH STEIN
408 GALISTEO ST                       THE CAPITOL, 2ND FL                      9001 MAIL SERVICE CTR
VILLAGRA BLDG                         ALBANY, NY 12224-0341                    RALEIGH, NC 27699-9001
SANTA FE, NM 87501


STATE OF NORTH CAROLINA ATTORNEY      STATE OF NORTH DAKOTA ATTORNEY           STATE OF OHIO ATTORNEY GENERAL
GENERAL                               GENERAL                                  ATTN: DAVE YOST
ATTN: JOSH STEIN                      ATTN: DREW WRIGLEY                       30 E BROAD ST, 14TH FL
PO BOX 629                            600 E BOULEVARD AVE                      COLUMBUS, OH 43215
RALEIGH, NC 27602-0629                DEPT 125
                                      BISMARCK, ND 58505


STATE OF OKLAHOMA ATTORNEY GENERAL    STATE OF OREGON ATTORNEY GENERAL         STATE OF PENNSYLVANIA ATTORNEY
ATTN: DONNA HOPE                      ATTN: ELLEN F. ROSENBLUM                 GENERAL
313 NE 21ST ST                        1162 COURT ST, NE                        ATTN: MICHELLE HENRY
OKLAHOMA CITY, OK 73105               SALEM, OR 97301-4096                     STRAWBERRY SQ
                                                                               16TH FLR
                                                                               HARRISBURG, PA 17120


STATE OF RHODE ISLAND ATTORNEY        STATE OF SOUTH CAROLINA ATTORNEY         STATE OF SOUTH CAROLINA ATTORNEY
GENERAL                               GENERAL                                  GENERAL
ATTN: PETER F. NERONHA                ATTN: ALAN WILSON                        ATTN: ALAN WILSON
150 S MAIN ST                         PO BOX 11549                             REMBERT C. DENNIS OFFICE BLDG
PROVIDENCE, RI 02903                  COLUMBIA, SC 29211-1549                  1000 ASSEMBLY ST, ROOM 519
                                                                               COLUMBIA, SC 29201


STATE OF SOUTH DAKOTA ATTORNEY        STATE OF TENNESSEE ATTORNEY GENERAL      STATE OF TEXAS ATTORNEY GENERAL
GENERAL                               ATTN: JONATHAN SKRMETTI                  ATTN: KEN PAXTON
ATTN: MARK JACKLEY                    PO BOX 20207                             300 W 15TH ST
1302 EAST HIGHWAY 14, STE 1           NASHVILLE, TN 37202-0207                 AUSTIN, TX 78701
PIERRE, SD 57501-8501



STATE OF TEXAS ATTORNEY GENERAL       STATE OF UTAH ATTORNEY GENERAL           STATE OF UTAH ATTORNEY GENERAL
ATTN: KEN PAXTON                      ATTN: SEAN D. REYES                      ATTN: SEAN D. REYES
PO BOX 12548                          350 N STATE ST, STE 230                  PO BOX 142320
AUSTIN, TX 78711-2548                 SALT LAKE CITY, UT 84114-2320            SALT LAKE CITY, UT 84114-2320




STATE OF VERMONT ATTORNEY GENERAL     STATE OF VIRGINIA ATTORNEY GENERAL       STATE OF VT-AGENCY OF HUMAN SERVICES
ATTN: CHARITY R. CLARK                ATTN: JASON MIYARES                      280 STATE DRIVE
109 STATE ST                          202 N NINTH ST                           CENTER BUILDING
MONTPELIER, VT 05609-1001             RICHMOND, VA 23219                       WATERBURY, VT 05671




STATE OF WASHINGTON ATTORNEY          STATE OF WASHINGTON ATTORNEY             STATE OF WEST VIRGINIA ATTORNEY
GENERAL                               GENERAL                                  GENERAL
ATTN: BOB FERGUSON                    ATTN: BOB FERGUSON                       ATTN: PATRICK MORRISEY
1125 WASHINGTON ST SE                 PO BOX 40100                             STATE CAPITOL COMPLEX, BLDG 1, ROOM E-
OLYMPIA, WA 98504-0100                OLYMPIA, WA 98504-0100                   26
                                                                               1900 KANAWHA BLVD. E
                                                                               CHARLESTON, WV 25305
                        Case
STATE OF WISCONSIN – CITY      24-10245-JTD
                          OF FRANKLIN           Doc
                                         STATE OF     219 ATTORNEY
                                                  WISCONSIN  Filed 03/28/24
                                                                      GENERAL   Page 192OFofWYOMING
                                                                                   STATE     226 ATTORNEY GENERAL
9229 W. LOOMIS ROAD                      ATTN: JOSH KAUL                           ATTN: BRIDGET HILL
FRANKLIN, WI 53132                       WISCONSIN DEPARTMENT OF JUSTICE           109 STATE CAPITAL
                                         17 PO BOX 7857                            200 W. 24TH ST
                                         MADISON, WI 53703-7857                    CHEYENNE, WY 82002



STATE ST (0997)                          STATEN ISLAND U HOSPITAL                  STEELE PLASTIC SURGERY
ATT PROXY DEPT                           ATTN: ACCOUNTS PAYABLE                    KERI STEELE
1776 HERITAGE DR                         ATTN: ACCOUNTS PAYABLE                    5656 EDWARDS RANCH ROAD, SUITE 202
NORTH QUINCY, MA 02171                   ONE EDGEWATER PLAZA                       FORT WORTH, TX 76109
                                         STATEN ISLAND, NY 10305



[NAME REDACTED]                          [NAME REDACTED]                           STEPHANIE COHEN
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          STEPHANIE FARNUM                          [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




STEPHEN A. MADRY, MD                     STEPHEN BRESNICK, M.D.                    STEPHEN C. GAUTHIER, M.D., P.C.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




STEPHEN D BRESNICK, MD                   STEPHEN DELIA , M.D                       STEPHEN T. GREENBERG, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




STEPHEN U. HARRIS, M.D.                  STERIGENICS US, LLC                       STERIS APPLIED STERILLZATION
ADDRESS ON FILE                          37244 EAGLE WAY                           TECHNOLOGY
                                         CHICAGO, IL 60678                         LOCKBOX 771652
                                                                                   1652 SOLUTIONS CENTER
                                                                                   CHICAGO, IL 60677



STERNZON, JENNIFER                       STEVE MAPULA, MD                          STEVEN CAMP MD PLASTIC SURGERY PLLC
ADDRESS ON FILE                          ADDRESS ON FILE                           BECKY HUSKINS
                                                                                   2928 OWENWOOD DRIVE
                                                                                   FORT WORTH, TX 76109
STEVEN J. ROTTMAN, M.D. Case 24-10245-JTD
                                       STEVENDoc   219M.D. Filed 03/28/24
                                             J. SMITH,                      Page 193 J.ofSMITH,
                                                                               STEVEN     226 MD, PLLC.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




STEVEN K. WHITE, SR., M.D.             STEVEN KIM                              STEVEN L. BROWN, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




STEVEN P SEIDEL, M.D.                  STEVEN R. JACOBSON, M.D.                STEVEN SIGALOVE
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




STEVEN TEITELBAUM, M.D.                STEVENS, NICOLE                         STEVENS, NICOLE
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




STEWARD FAMILY HOSPITAL                STEWARD HEALTH CARE SYSTEMS, LLC        STIFEL NICOLAUS & CO. (0793)
VIRGINIA RENTERIA                      ELENA NESDEKIDIS                        ATT CHRIS WIEGAND/PROXY DEPT
PO BOX 20308                           30 PERWAL ST                            C/O MEDIANT COMMUNCATIONS
PHOENIX, AZ 85036                      WESTWOOD, MA 02090                      501 N. BROADWAY
                                                                               ST. LOUIS, MO 63102



STIFEL, NICOLAUS & COMPANY, INC        STILLWAGON, ROBERT                      STOLTZFUS, RYAN
ATT: ANGELA OCKER                      ADDRESS ON FILE                         ADDRESS ON FILE
501 NORTH BROADWAY
SAINT LOUIS, MO 63102




STONY BROOK MEDICINE                   STONY POINT SURGERY CENTER              STORMONT-VAIL HEALTH CARE
PARAKKAT SATHISS                       BERNARD ARMSTRONG                       ATTN: ACCOUNTS PAYABLE
2000 OCEAN AVE, SUITE 3                8700 STONY POINT PARKWAY                1500 SW TENTH STREET
RONKONKOMA, NY 11779                   SUITE 100                               TOPEKA, KS 66604
                                       RICHMOND, VA 23235



STOTZ, KELLY                           STRATEGIC INFORMATION GROUP             STRATIS GAYNER PLASTIC SURGERY
ADDRESS ON FILE                        1953 SAN ELIJO AVE                      MAUREEN BROUSE
                                       SUITE 201                               10 CAPITAL DR, SUITE 100
                                       CARDIFF BY THE SEA, CA 92007            HARRISBURG, PA 17110




STRINGFELLOW MEMORIAL HOSPITAL         STRUCK PLASTIC SURGERY                  STRZOK, ALEXANDRA
MELISSA FOSTER                         LUPE CORRALES                           ADDRESS ON FILE
PO BOX 38                              3301 EL CAMINO REAL, SUITE 200
ANNISTON, AL 36202-0038                ATHERTON, CA 94027




STUART A. LINDER, M.D.                 STUART GLASSER, M.D.                    SUBBIO CENTER FOR PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                         GAIL MCARDLE
                                                                               8734 WEST CHESTER PIKE
                                                                               NEWTOWN SQUARE, PA 19073
                       Case
SUBBIO CENTER FOR PLASTIC    24-10245-JTD
                          SURGERY             Doc
                                       SUBURBAN    219 Filed 03/28/24
                                                 HOSPITAL               Page 194 of 226
                                                                           SUCHARSKI, WENDY
JILLIAN                                CAROL BAKER                         ADDRESS ON FILE
3734 WEST CHESTER PIKE                 8600 OLD GEORGETOWN RD
NEWTOWN SQUARE, PA 19073               BETHESDA, MD 20814




SUDARSKY, MD, LLC                    SUDDARTH, BRIAN                       SUFFOLK PLASTIC SURGEONS, PC
ADDRESS ON FILE                      ADDRESS ON FILE                       ALLISON DUNCAN
                                                                           179 BELLE MEADE RD, SUITE 1
                                                                           EAST SETAUKET, NY 11733




SUHAIL KANCHWALA                     SUK, ALEXANDRIA                       SUKAL SKIN INSTITUTE
ADDRESS ON FILE                      ADDRESS ON FILE                       MINTRA SUKAL
                                                                           2900 N MILITARY TRAIL, SUITE 100
                                                                           BOCA RATON, FL 33431




SULJAK, WENDY                        SULLIVAN & CROMWELL LLP               SULLIVAN & CROMWELL LLP
ADDRESS ON FILE                      125 BROAD STREET                      ARI BLAUT & BENJAMIN BELLER
                                     ATTN: TREASURY DEPT / RM 2021         125 BROAD STREET
                                     NEW YORK, NY 10004-2498               NEW YORK, NY 10004-2498




SULLIVAN, KEITH                      SULLIVAN, WILLIAM                     SUMMER HANSON
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




SUMMERLIN HOSPITAL MED CENTER        SUMMIT MEDICAL CENTER                 SUMMIT MEDICAL GROUP
ATTN: ACCOUNTS PAYABLE               ATTN: AP                              ATTN: ACCOUNTS PAYABLE
657 TOWN CENTER DRIVE                6350 E. 2ND STREET                    150 FLORAL AVE
LAS VEGAS, NV 89144                  CASPER, WY 82609                      NEW PROVIDENCE, NJ 07974




SUMMIT PLASTIC SURGERY &             SUMMIT RISER SYSTEMS INC              SUMMIT SURGERY CENTER PENSACOLA
DERMATOLOGY                          15235 ALTON PARKWAY SUITE 100         HALEY HANSEN
LAURA WOODCOCK                       IRVINE, CA 92618                      1890 SUMMIT BLVD, STE 210
1717 SHIPYARD BLVD, STE 100                                                PENSACOLA, FL 32503
WILMINGTON, NC 28403



SUMMIT SURGERY CENTER                SUMMIT SURGERY CENTER                 SUMMIT SURGICAL CENTER
JENA ALCANTAR                        JENA ALCANTAR                         DEBBIE KRAWCZYK
18653 WEDGE PKWY, STE 170            18653 WEDGE PKWY, STE 170             416 N BEDFORD DR, SUITE 400B
RENO, NV 86511                       RENO, NV 89511                        BEVERLY HILLS, CA 90210




SUMNER A. SLAVIN, M.D.               SUNFLOWER DERMATOLOGY                 [NAME REDACTED]
ADDRESS ON FILE                      ELLIE X                               ADDRESS ON FILE
                                     1805 NW PLATTE ROAD, SUITE 120
                                     RIVERSIDE, MO 64150




[NAME REDACTED]                      SUNY HEALTH SCIENCE CENTER            SUNY UPSTATE MEDICAL UNIVERSITY
ADDRESS ON FILE                      ANGELA REYES                          SANDRA DELANE
                                     450 CLARKSON AVE, BOX 54              750 E. ADAMS AVENUE
                                     BROOKLYN, NY 11203                    SYRACUSE, NY 13210
SUPERCLEANMKE LLC      Case 24-10245-JTD    Doc
                                      SUPERIOR    219 INC
                                               PRINTING Filed 03/28/24         Page 195 of
                                                                                  SUPRIYA   226
                                                                                          DERMATOLOGY
ADDRESS ON FILE                        DBA SUPERIOR PRESS                         MARY MCLOGAN
                                       9440 NORWALK BLVD                          1411 N FLAGLER DR, STE 3900
                                       SANTA FE SPRINGS, CA 90670                 WEST PALM BEACH, FL 33401-3400




SURFACE SKIN SPA (NATAN YAKER, M.D)    SURGCENTER OF TOWSON                       SURG-ELITE PC
4100 W. 15TH STREET, SUITE 106         AMY IRVING                                 SANDRA STUDER
PLANO, TX 75093                        1609 E JAPPA RD                            101 OLD SHORT HILLS ROAD, SUITE 501
                                       TOWSON, MD 21286-2122                      WEST ORANGE, NJ 07052




SURGERY CENTER AT CORAL SPRINGS        SURGERY CENTER AT CORAL SPRINGS            SURGERY CENTER AT TANASBOURNE
ATTN: ACCOUNTS PAYABLE                 BEVERLY HAMLIN                             RACHEL MACKEY- AP
3100 CORAL HILLS DRIVE                 967 UNIVERSITY DRIVE                       10690 NE CORNELL RD, SUITE 110
SUITE 201                              CORAL SPRINGS, FL 33071                    HILLSBORO, OR 97124
CORAL SPRINGS, FL 33065



SURGERY CENTER CEDAR RAPIDS            SURGERY CENTER OF CHESAPEAKE LLC           SURGERY CENTER OF OKLAHOMA
JAYNE HILDEBRAND                       TAMMY LLOYD                                ATTN: ACCOUNTS PAYABLE
1075 1ST AVE SE                        844 BATTLEFIELD BLVD N                     9500 BROADWAY EXTENSION
CEDAR RAPIDS, IA 52402                 CHESAPEAKE, VA 23320                       OKLAHOMA CITY, OK 73114




SURGERY CENTER OF PINEHURST            SURGERY CENTER OF TEXAS                    SURGERY CENTER OF THE PACIFIC
MARTHA GRANT                           ELLEN BALLON                               SONYA THOMAS
10 FIRST VILLAGE DR                    6020 W PLANO PKWY                          2121 WILSHIRE BLVD, STE 201
PINEHURST, NC 28374                    PLANO, TX 75093                            SANTA MONICA, CA 90403




SURGERY CENTER OF THE SOUTH BAY        SURGERY CENTER OF VOLUSIA                  SURGICAL CENTER OF SAN DIEGO, LLC
KEISHA PASSMORE                        AMANDA RHODAMER                            ATTN: ACCOUNTS PAYABLE
235000 MADISON ST                      3635 CLYDE MORRIS BLVD, SUITE 500          4910 DIRECTORS PL, SUITE 100
TORRANCE, CA 90505                     PORT ORANGE, FL 32129                      SAN DIEGO, CA 92121




SURGICAL INSTITUTE                     SURGICAL STUDIOS, LLC                      SURGICAL SUITES AT THE WALL CENTER
KIM X                                  DIANA GRASSO                               8600 FERN AVE.
3613 HIGHWAY 33                        199 MULLICA HILL RD                        SHREVEPORT, LA 71105
NEPTUNE, NJ 07753                      MULLICA HILL, NJ 08062-2655




SURGICAL SUITES AT THE WALL CENTER     SURGICAL SUITES AT THE WALL CENTER.        SURGICAL SUITES AT WALL CENTER
ADDRESS ON FILE                        ADDRESS ON FILE                            KIM STYVE
                                                                                  8600 FERN AVE
                                                                                  SHREVEPORT, LA 71105




SURGICARE ARTS & AESTHETICS            SURGICARE OF HAWAII                        SURGICARE OF JACKSON
STACEY MURRAY                          ATTN: ACCOUNTS PAYABLE                     JAN LEWIS
367 ATHENS HWY, STE 100A               500 ALA MOANA BLVD, TOWER 1, SUITE 1B      760 LAKELAND DR.
LOGANVILLE, GA 30052-2204              HONOLULU, HI 96813                         JACKSON, MS 39216-4610




SURGICENTER OF BALTIMORE               SURGICENTER OF PALO ALTO                   SURGICENTER OF PALO ALTO
LORI GOLER                             ATTN: ACCOUNTS PAYABLE                     DON MACKENZIE
23 CROSSROADS DR, STE 100              PO BOX 619110                              795 EL CAMINO REAL
OWINGS MILLS, MD 21117                 ROSEVILLE, CA 95611                        PALO ALTO, CA 94301
SUSAN J. HEGSTAD, M.D.   Case 24-10245-JTD    Doc 219M.D. Filed 03/28/24
                                        SUSAN KAWESKI,                      Page  196REDACTED]
                                                                               [NAME  of 226
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                          SUTTER AUBURN FAITH HOSPITAL          SUTTER HEALTH
ADDRESS ON FILE                          S3 BUYER SURGICAL TEAM                ANGELA MANZO
                                         11815 EDUCATION ST                    PO BOX 619110
                                         AUBURN, CA 95603                      ROSEVILLE, CA 95661




SUTTER MEDICAL CENTER                    SUTTER SURGICAL HOSPITAL NORTH        SUZAN, MARCK
SUTTER ORDER CONFIRMATIONS               ATTN: AP                              ADDRESS ON FILE
PO BOX 619110                            PO BOX 619110
ROSEVILLE, CA 95816                      ROSEVILLE, CA 95661




[NAME REDACTED]                          [NAME REDACTED]                       SUZANNE M. QUARDT, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE




[NAME REDACTED]                          SUZANNE TROTT, M.D.                   [NAME REDACTED]
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE




SVMG PLASTIC AND RECONSTRUCTIVE          SWEDISH EDMONDS                       SWEDISH EDMONDS
SURGERY                                  ATTN: ACCOUNTS PAYABLE                WENDY NELSON
HOLLY ACOSTA                             PO BOX 696430                         21601 76TH AVE W
8402 HARCOURT ROAD                       SAN ANTONIO, TX 78269                 EDMONDS, WA 98026
INDIANPOLIS, IN 46260



SWEDISH HEALTH SERVICES                  SWEDISH HEALTH SERVICES               SWEDISH MEDICAL CENTER
AP PAYMENT SPECIALIST                    REBECCA DACANAY                       RONI DEYCE
PO BOX 31263                             747 BROADWAY                          1151 ENTERPRISE DRIVE, SUITE 100
SALT LAKE CITY, UT 84131                 SEATTLE, WA 98122                     COPPELL, TX 75019




SWEDISH PLASTICS & AESTHETICS            SWEETGRASS PLASTIC SURGERY            SWINYER WOSETH DERMATOLOGY
HEATHER ATTWOOD                          TASHA BROOKS                          MUHAMMED SOMUNCU
901 BOREN AVENUE, SUITE 1650             102 W. 8TH NORTH STREET, SUITE B      1548 EAST 4500 SOUTH, SUITE 202
SEATTLE, WA 98104                        SUMMERVILLE, SC 29483                 SALT LAKE CITY, UT 84117




SYLVIA GRAY, M.D.                        SYNDAVERX INC                         SYNTERACT, INC
ADDRESS ON FILE                          8507 BENJAMIN RD SUITE A              5909 SEA OTTER PLACE
                                         TAMPA, FL 33634                       CARLSBAD, CA 92010




SYNTERACT, INC                           SYNTERACT, INC                        SYOSSET SURGICENTER
C/O SYNEOS HEALTH, LLC                   SHAHBAZ SIDDIQUE                      ATTN: ACCOUNTS PAYABLE
PO BOX 415914                            5909 SEA OTTER PLACE                  400 ENDO BLVD
BOSTON, MA 02241                         CARLSBAD, CA 92010                    GARDEN CITY, NY 11530-6723
                      CaseCENTER
SYRINGA OUTPATIENT SURGERY    24-10245-JTD      DocIP,219
                                        T.Y. STEVEN    M.D.    Filed 03/28/24   Page
                                                                                   T.Y.197  of 226
                                                                                        STEVEN IP, M.D.
CRAIG WILCOX                            ADDRESS ON FILE                             ADDRESS ON FILE
1209 N SUMMERBROOK AVE, STE 110
MERIDIAN, ID 83642




TAKE SHAPE PLASTIC SURGERY                TALAL A. MUNASIFI, M.D.                   [NAME REDACTED]
RAQUEL CARVAJAL                           ADDRESS ON FILE                           ADDRESS ON FILE
4161 NW 5TH STREET
SUITE 100
PLANTATION, FL 33317



[NAME REDACTED]                           [NAME REDACTED]                           TAMPA GENERAL HOSPITAL
ADDRESS ON FILE                           ADDRESS ON FILE                           JENNIFER ONEILL
                                                                                    PO BOX 1289
                                                                                    TAMPA, FL 33601




TAMPA OUTPATIENT SURGICAL FACILITY        TAMPOPRINT INTERNATIONAL                  TANASBOURNE PLASTIC SURGERY
MARISON RIOS RODRIGUEZ                    CORPORATION                               JANEL JAMES
5013 N ARMENIA AVE                        1400 26TH STREET                          10690 NE CORNELL RD, SUITE 324
TAMPA, FL 33603                           VERO BEACH, FL 32960                      HILLSBORO, OR 97124-9224




TANASBOURNE PLASTIC SURGERY               TANI, LLAMBI                              TANI, MIMOZA
MELODY LANDON                             ADDRESS ON FILE                           ADDRESS ON FILE
18650 NW CORNELL RD, SUITE 324
HILLSBORO, OR 97124




TANNAN PLASTIC SURGERY                    TANNAN PLASTIC SURGERY                    TANYA JUDGE, MD
JOLIE                                     MAEGHAN SUTTON                            ADDRESS ON FILE
10208 CERNY STREET, SUITE 202             10208 CERNY STREET, SUITE 204
RALEIGH, NC 27617                         RALEIGH, NC 27617




[NAME REDACTED]                           [NAME REDACTED]                           [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




[NAME REDACTED]                           TARIK HUSAIN, MD                          TAROLA PLASTIC SURGERY
ADDRESS ON FILE                           ADDRESS ON FILE                           AUBREY PRESTON
                                                                                    811 S. CHURCH STREET
                                                                                    MURFREESBORO, TN 37130




TARRANT PLASTIC SURGERY, PA               TASSE, ASHLEY                             TAURUS ENGINEERING AND
1870 KELLER PARKWAY, SUITE 100            ADDRESS ON FILE                           MANUFACTURING INC
KELLER, TX 76248                                                                    1375 WILLOW LAKE BLVD 101
                                                                                    SAINT PAUL, MN 55110




TAVARES, FRANK                            TAYFUR AYALP, M.D                         TAYLOR & SULLIVAN PLASTIC SURGERY
ADDRESS ON FILE                           ADDRESS ON FILE                           JANE CULTRERA
                                                                                    300 MOUNT AUBURN STREET, SUITE 304
                                                                                    CAMBRIDGE, MA 02138
[NAME REDACTED]          Case 24-10245-JTD     Doc 219
                                        [NAME REDACTED]      Filed 03/28/24   Page  198REDACTED]
                                                                                 [NAME  of 226
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




TAYLOR OSULLIVAN DBA TAOS FILM, INC      [NAME REDACTED]                         TD AMERITRADE CLEARING (0188)
ADDRESS ON FILE                          ADDRESS ON FILE                         ATT MANDI FOSTER OR PROXY MGR
                                                                                 200 S. 108TH AVE
                                                                                 OMAHA, NE 68154




TDWATERHOUSE CANADA/CDS (5036)           TECHCARE, LLC                           TECHNIPAQ, INC.
ATT YOUSUF AHMED OR PROXY MGR            33 TWILIGHT DRIVE                       7717 S. RT 31
77 BLOOR ST WEST                         MADISON, CT 06443                       CRYSTAL LAKE, IL 60014
3RD FL
TORONTO, ON M4Y 2T1 CANADA



TECHNIPAQ, INC.                          TEHRANI PLASTIC SURGERY                 TEKSCAN INC
975 LUTTER DR                            ATTN: AP                                333 PROVIDENCE HWY.
CRYSTAL LAKE, IL 60014                   18064 WIKA RD, STE 103                  NORWOOD, MA 02062
                                         APPLE VALLEY, CA 92307-2182




TELEOS PLASTIC SURGERY A MEDICAL         TELEVOX, INC                            TELEVOX, INC
CORP                                     11650 MIRACLE HILLS DRIVE               P.O. BOX 74007064
P.O. BOX 1526                            SUITE 400                               CHICAGO, IL 60674
SOUTH PASADENA, CA 91031                 OMAHA, NE 68154




TEMPLETON SURGERY CENTER                 TEMPUS                                  TENET HEALTHCARE
BRENDA GRAY                              2001 ANCHOR CT STE B                    ATTN: ACCOUNTS PAYABLE
1310 LAS TABLAS RD, SUITE 104            NEWBURY PARK, CA 91320                  PO BOX 2395
TEMPLETON, CA 93465                                                              CHESTERTON, IN 46304




TENET HEALTHCARE                         TENNESSEE DEPARTMENT OF HEALTH          TENNESSEE DEPARTMENT OF LABOR
YVONNE HOANG                             710 JAMES ROBERTSON PARKWAY             AND WORKFORCE DEVELOPMENT
4660 COMMUNICATION AVENUE                NASHVILLE, TN 37243                     EMPLOYER ACCTS-REPORT AUDIT,
SUITE 100                                                                        2200 FRENCH LANDING DR
BOCA RATON, FL 33431                                                             NASHVILLE, TN 37243-1002



TENNESSEE DEPT OF COMMERCE &             TENNESSEE DEPT OF LABOR AND             TENNESSEE DEPT OF REVENUE
INSURANCE                                WORKFORCE DEVELOPMENT                   500 DEADERICK ST
SECURITIES DIVISION                      220 FRENCH LANDING DRIVE                NASHVILLE, TN 37242
500 JAMES ROBERTSON PKWY                 NASHVILLE, TX 37243
10TH FL
NASHVILLE, TN 37243


TENNESSEE DEPT OF REVENUE                TENTEGUE, YAWO                          TERRA UNIVERSAL, INC
ANDREW JACKSON ST OFFICE BLDG            ADDRESS ON FILE                         800 S. RAYMOND AVE
500 DEADERICK ST                                                                 FULLERTON, CA 92831
NASHVILLE, TN 37242




TERRENCE P. MURPHY, M.D.                 TERRENCE P. MURPHY, M.D.                TERRY J. ZIMMERMAN, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE
TERRY J. ZIMMERMAN, M.D. Case 24-10245-JTD
                                        TERRY J.Doc  219 Filed
                                                 ZIMMERMAN, MD 03/28/24     Page 199SOLUTIONS,
                                                                               TERSO of 226 INC
ADDRESS ON FILE                         ADDRESS ON FILE                        2920 COMMERCE PARK DRIVE
                                                                               FITCHBURG, WI 53719




TERSO SOLUTIONS, INC                  TESSLER PLASTIC SURGERY                  TESSLER PLASTIC SURGERY
5540 RESEARCH PARK DRIVE              3219 E CAMELBACK RD                      SHANNON MCCORMICK
MADISON, WI 53711                     PO BOX 581                               7301 E 2ND AVE, STE 202
                                      PHOENIX, AZ 85018-2037                   SCOTTSDALE, AZ 85251-5810




TEXAS COMPTROLLER OF PUBLIC           TEXAS DEPARTMENT OF STATE HEALTH         TEXAS DEPARTMENT OF STATE HEALTH
ACCOUNTS                              SERV                                     SERV
LYNDON B JOHNSON STATE OFFICE BLDG    1100 WEST 49TH STREET                    P.O. BOX 149347
111 E 17TH ST                         AUSTIN, TX 78756-3199                    AUSTIN, TX 78714-9347
AUSTIN, TX 78774



TEXAS DERMATOLOGY AND LASER           TEXAS FACIAL AESTHETICS                  TEXAS HEALTH AND HUMAN SERVICES
SPECIALISTS                           LARISSA MONTANA                          NORTH AUSTIN COMPLEX
ATTN: ACCOUNTS PAYABLE                6371 PRESTON RD, SUITE 100               4601 W GUADALUPE ST
3320 OAKWELL CT.                      FRISCO, TX 75034                         AUSTIN, TX 78751-3146
SAN ANTONIO, TX 78218



TEXAS HEALTH AND HUMAN SERVICES       TEXAS HEALTH CENTER FOR DIAGNOSTICS      TEXAS HEALTH HARRIS METHODIST
PO BOX 13247                          & SURGERY                                HOSPITAL
AUSTIN, TX 78711-3247                 AP INVOICES                              - SOUTHLAKE
                                      612 E. LAMAR BLVD, SUITE 650             AP INVOICES
                                      ARLINGTON, TX 76011                      14131 MIDWAY RD, SUITE 1050
                                                                               ADDISON, TX 75001


TEXAS HEALTH HARRIS METHODIST         TEXAS HEALTH RESOURCES                   TEXAS HEALTH RESOURCES
HOSPITAL                              ATTN: ACCOUNTS PAYABLE                   SHELLY LOGAN
- SOUTHLAKE                           612 E.LAMAR BLVD, 6TH FLOOR              612 E.LAMAR BLVD, SUITE 650
STEPHAN PARKER                        ARLINGTON, TX 76011                      ARLINGTON, TX 76011
612 E. LAMAR BLVD.
ARLINGTON, TX 76011


TEXAS HEALTH SC - CLEBURNE            TEXAS HEALTH SURGERY CENTER DALLAS       TEXAS SOCIETY OF PLASTIC SURGEONS
KASEY BUMP                            AMANDA CRAWFORD                          ATTN: SYLVIA HALL
2010 W KATHERINE P. RAINES BLVD       7150 GREENVILLE AVE., SUITE 200          401 W. 15TH ST., STE 100
CLEBURNE, TX 76033-7435               DALLAS, TX 75231                         AUSTIN, TX 78701




TEXAS STATE SECURITIES BOARD          TEXAS TREASURY SFKPG (2622)              TEXAS WORKFORCE COMMISSION
THOMAS JEFFERSON RUSK STATE OFFICE    ATT JANIE DOMINGUEZ/PROXY MGR            101 E 15TH ST
BDLG                                  208 E. 10TH ST                           AUSTIN, TX 78778
208 E 10TH ST                         ROOM 410
AUSTIN, TX 78701                      AUSTIN, TX 78701



TEXAS WORKFORCE COMMISSION            TEXTURE TECHNOLOGIES CORP                TFORCE FREIGHT
PO BOX 149137                         6 PATTON DRIVE                           TFORCE FREIGHT, INC. 10804
AUSTIN, TX 78714-9137                 HAMILTON, MA 01982                       PO BOX 7410804
                                                                               CHICAGO, IL 60674




[NAME REDACTED]                       THAXTON PLASTIC SURGERY                  THBR4 LLC
ADDRESS ON FILE                       HANNAH CASTO                             8 THE GRN STE B
                                      4415 MACCORKLE AVE SE                    DOVER, DE 19901
                                      CHARLESTON, WV 25304
THE ADVANCED CENTER FOR  Case   24-10245-JTD
                            SURGERY               Doc 219
                                          THE AESTHETIC CENTERFiled
                                                                FOR 03/28/24
                                                                     PLASTIC   Page
                                                                                  THE200 of 226INSTITUTE OF CHICAGO
                                                                                      AESTHETIC
DONNA HABERSTROH                          SURGERY                                 ATTN: ACCOUNTS PAYABLE
3955 INDIAN RIVER BLVD, STE 220           ANGELA DAM                              601 W. RANDOLPH STREET
VERO BEACH, FL 32960                      12727 KIMBERLY LANE, SUITE 300          CHICAGO, IL 60661
                                          HOUSTON, TX 77024



THE AESTHETIC SOCIETY                    THE AESTHETIC SOCIETY                    THE AESTHETICS GROUP
11081 WINNERS CIRCLE                     11262 MONARCH STREET                     ISMERY CAPOTE
SUITE 200                                GARDEN GROVE, CA 92841                   550 BILTMORE WAY, SUITE 120
LOS ALAMITOS, CA 90720                                                            CORAL GABLES, FL 33134




THE ARTISAN CENTER FOR PLASTIC           THE ASSISTANTS                           THE BENGTSON CENTER FOR AESTHETICS
SURGERY                                  ATTN: TOM W                              & PLASTIC SURGERY
DANA GRIMES                              10 PRINCETON COURT                       LISA LISA
24022 CINCO VILLAGE CENTER BLVD, STE     EASTON, PA 18040                         2155 E. PARIS AVE SE, SUITE 100
250                                                                               GRAND RAPIDS, MI 49546
KATY, TX 77494


THE BOSTON CONSULTING GROUP, INC.        THE BREASTIES INC                        THE BROOKLYN HOSPITAL CENTER
200 PIER 4 BLVD.                         PO BOX 427                               ATTN: ACCOUNTS PAYABLE
BOSTON, MA 02210                         360 MAIN STREET                          121 DEKALB AVE
                                         METUCHEN, NJ 08840                       BROOKLYN, NY 11201




THE BUILD FELLOWSHIP, LLC                THE CARLE FOUNDATION HOSPITAL            THE CENTER FOR ADVANCED
640 AXMINISTER                           LORI HENDERSON                           DERMATOLOGY
FENTON, MO 63026                         611 WEST PARK STREET                     CHRISTINE LIDSTER
                                         URBANA, IL 61801                         4530 E. SHEA BLVD, SUITE 101
                                                                                  PHOENIX, AZ 85028



THE CENTER FOR ADVANCED FACIAL           THE CENTER FOR ENT                       THE CENTER FOR OUT PATIENT SURGERY
PLASTIC SURGERY                          CESAR ANDINO                             CARLA BURKHARDT
CHLOE BELTEAU                            4191 BELLAIRE BLVD, STE 200              1 EXECUTIVE DR
9401 WILSHIRE BLVD, SUITE 650            HOUSTON, TX 77025-1016                   TINDON FALLS, NJ 07701
BEVERLY HILLS, CA 90212



THE CENTER FOR OUT PATIENT SURGERY       THE CENTER FOR PLASTIC &                 THE CENTER FOR PLASTIC SURGERY, P.A.
CAROLINE BARONE                          RECONSTRUCTIVE                           PHYLLIS ALEXANDER
535 SYCAMORE AVE                         SURGERY AT ST. LUKES                     631 SW HORNE STREET, SUITE 400
SHREWSBURY, NJ 07704                     PAM BUDA                                 TOPEKA, KS 66606
                                         PO BOX 5345
                                         BETHLEHEM, PA 18015


THE CENTRE FOR PLASTIC SURGERY           THE CEO MAGAZINE NORTH AMERICA           THE CITY OF COLORADO SPRINGS
NINA WANG                                9TH FLOOR                                THE CITY OF COLORADO SPRINGS
1869 N. WATERMAN AVENUE                  15 WEST 38TH STREET                      DENVER, CO 80256
SAN BERNARDINO, CA 92404                 NEW YORK, NY 10018




THE CNTR PLASTIC SURGERY AT              THE CONTINETAL INSURANCE CO              THE COSMETIC SURGICAL CENTER
METRODERM                                CONTINENTAL CASUALTY COMPANY / CNA       BROOKE PATINO
MACQUELLE X                              FERNANDO MENDOZA                         6328 FAIRMONT AVENUE, SUITE 100
875 JOHNSON FERRY RD NE, SUITE 300       4150 DRINKWATER BLVD. STE 410            EL CERRITO, CA 94530
ATLANTA, GA 30342                        SCOTTSDALE, AZ 85251



THE CRANIOFACIAL AND                     THE DAS GROUP, LLC                       THE EXHIBIT COMPANY, INC
PLASTIC SURGERY CNTR                     DONNA CHASE                              TAMARA TIMMONS
SHEILA NOURI                             2335 S. MICHIGAN AVENUE                  239 OLD NEW BRUNSWICK ROAD
929 GESSNER RD, STE 2250                 CHICAGO, IL 60616                        PISCATAWAY, NJ 08854
HOUSTON, TX 77024
                      Case 24-10245-JTD
THE GLOW PLASTIC SURGERY                    Doc CLINIC
                                     THE GUTHRIE  219        Filed 03/28/24     Page
                                                                                   THE201 of COSMETIC
                                                                                       HAGUE 226      CENTER
JOVEN BANKS                          JUDITH WRIGHT                                 GAIL DENOBREGA
5408 GREEN GLEN LN                   1 GUTHRIE SQ                                  400 W BRAMBLETON AVENUE
ALEXANDRIA, VA 22315                 SAYRE, PA 18840                               SUITE 300
                                                                                   NORFOLK, VA 23510



THE HOWARD G HINZ COMPANY, INC          THE KROCHMAL CENTER FOR PLASTIC            THE LA JOLLA INSTITUTE OF PLASTIC SURG
DBA HINZ COMPANY, INC                   SURGERY                                    8929 UNIVERSITY CENTER LANE
9930 S FRANKLIN DRIVE                   JAMIE ALESSI                               SUITE 102
FRANKLIN, WI 53132                      401 N WABASH AVE, UNIT 69B                 SAN DIEGO, CA 92122
                                        CHICAGO, IL 60611-3893



THE LIND INSTITUTE OF PLASTIC SURGERY   THE LIND INSTITUTE OF PLASTIC SURGERY      THE LIVINGSTON SURGERY CENTER
HILLARY THOMAS                          TAYLOR GREEN                               ATTN: ACCOUNTS PAYABLE
9595 SIX PINES DRIVE, SUITE 6250        3592 HARMONY COMMONS DR                    PO BOX 4229
THE WOODLANDS, TX 77380                 SPRING, TX 77386                           PORTLAND, OR 97208




THE MICHAEL HORN CNTR FOR COSMETIC      THE NADERI CENTER                          THE NADERI CENTER
SURG                                    ATTN: AP DEPARTMENT                        AVA NAJAFABADI
MONICA ILEA                             1850 TOWN CENTER PKWY, STE 551             297 HERNDON PARKWAY, SUITE 101
60 EAST DELAWARE PLACE                  RESTON, VA 20190-3300                      HERNDON, VA 20170
15TH FLOOR
CHICAGO, IL 60611


THE NEW YORK EYE & EAR INFIRMARY        THE OHIO STATE UNIVERSITY                  THE OREGON CLINIC
KAREN MORALES                           2020 BLANKENSHIP HALL                      ALISON STOLIN
310 E 14TH ST                           901 WOODY HAYES DRIVE                      9155 SW BARNES RD, SUITE 532
NEW YORK, NY 10003                      COLUMBUS, OH 43210                         PORTLAND, OR 97225




THE OREGON CLINIC                       THE OREGON CLINIC                          THE PARK CLINIC
ATTN: ACCOUNTS PAYABLE                  JUDY POSEY                                 HOLLY HARVEY
541 NE 20TH AVE STE 225                 847 NE 19TH AVE, SUITE 300                 3153 DAUPHIN STREET
PORTLAND, OR 97232                      PORTLAND, OR 97232                         MOBILE, AL 36606




THE PHOENICIAN                          THE PINK DAISY PROJECT                     THE PINNACLE HEALTH GROUP INC
ATTN: FRANK LOCOCO ACCOUNT DIRECTOR     15600 NE 8TH ST, STEB 632                  382 OXFORD VALLEY ROAD
6000 EAST CAMELBACK ROAD                BELLEVUE, WA 98008                         SUITE 322
SCOTTSDALE, AZ 85251                                                               YARDLEY, PA 19067




THE PLASTIC SUR                         THE PLASTIC SURG GRP OF ROCHESTER          THE PLASTIC SURGERY CENTER -
5600 WEST                               GAIL EDWARDS                               ASHEVILLE
DALLAS, TX 75209                        360 LINDEN OAKS, STE 310                   BRYNN WALKER
                                        ROCHESTER, NY 14625-2814                   5 LIVINGSTON STREET
                                                                                   ASHEVILLE, NC 28801



THE PLASTIC SURGERY CENTER              THE PLASTIC SURGERY CENTER                 THE PLASTIC SURGERY CHANNEL
CINDY PHARM                             KELLY OWEN                                 6901 SNIDER PLAZA
535 SYCAMORE AVENUE                     95 SCRIPPS DRIVE                           SUITE 120
SHREWSBURY, NJ 07702                    SACRAMENTO, CA 95825                       DALLAS, TX 75205




THE PLASTIC SURGERY CTR OF MD           THE PLASTIC SURGERY FOUNDATION             THE PLASTIC SURGERY FOUNDATION
JAMES PETERS                            BREAST RECON. AWARENESS FUND               PO BOX 734964
25 MANSEL DR                            444 E ALGONQUIN ROAD                       CHICAGO, IL 60673
REISTERSTOWN, MD 21136                  ARLINGTON HEIGHTS, IL 60005
                       Case 24-10245-JTD
THE PLASTIC SURGERY GROUP                     Doc SURGERY
                                      THE PLASTIC   219 Filed
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                                                                                         PLASTIC SURGERY GROUP MEMPHIS
CHATTANOOGA                           CHATTANOOGA                                    ERIC GIBSON
ALEXANDRA HENEGAR                     SHERRIE ROGERS                                 80 HUMPHREYS CENTER DRIVE, SUITE 100
901 RIVERFRONT PKWY, SUITE 100        979 E. THIRD STREET, SUITE C-920               MEMPHIS, TN 38120
CHATTANOOGA, TN 37402                 CHATTANOOGA, TN 37403



THE PLASTIC SURGERY GROUP               THE PLASTIC SURGERY GROUP                    THE PLASTIC SURGERY GROUP, INC.
KENDRA MCLOUGHLIN                       RICH SALVIA                                  AMY AYERS
455 PATROON CREEK BLVD, SUITE 101       37 N FULLERTON AVENUE                        4030 SMITH RD, STE 350
ALBANY, NY 12206                        MONTCLAIR, NJ 07042                          CINCINNATI, OH 45209




THE PLASTIC SURGERY GROUP, INC.         THE PLASTIC SURGERY INSTITUTE OF MIAMI.      THE POLYCLINIC BROADWAY
BONNIE WELLS                            550 BILTMORE WAY STE 120                     HEATHER JACKSON
4850 RED BANK EXPRESSWAY                CORAL GABLES, FL 33134                       PO BOX 22608
CINCINNATI, OH 45227                                                                 SEATTLE, WA 98122




THE QUEENS MEDICAL CENTER               THE RECOVERY SHOP                            THE REGENTS OF THE UNIV OF CALIFORNIA
CANDICE CHING                           SAMEER SHARAF                                420 S. FAIRVIEW AVE., SUITE 200-B
PO BOX 4010                             297 E CENTER ST                              GOLETA, CA 93117
HONOLULU, HI 96812                      MANCHESTER, CT 06040




THE REGENTS OF THE UNIVERSITY OF CA     THE REGENTS OF THE UNIVERSITY OF CA          The Regents of the University of California
SHARMA/PO548748                         UCSF MAIN DEPOSITORY                         Calli Price, Business & Fin. Services
UCSF MAIN DEPOSITORY PO BOX 748872      PO BOX 748872                                3201 Student Affaits and
LOS ANGELES, CA 90074-4872              LOS ANGELES, CA 90074                        Administrative Services Bldg.
                                                                                     Santa Barbara, CA 93106



THE RITZ-CARLTON BACARA, SANTA          THE RITZ-CARLTON CHICAGO                     THE RITZ-CARLTON, DALLAS
BARBARA                                 160 E PEARSON STREET                         2121 MCKINNEY AVE
8301 HOLLISTER AVE.                     CHICAGO, IL 60611                            DALLAS, TX 75201
GOLETA, CA 93117




THE ROSE CLINIC                         THE ROSE                                     THE RUTH GROUP INC.
320 W RIVER PARK DR                     12700 NORTH FEATHERWOOD DR,                  757 THIRD AVE 22ND FLOOR
SUITE 245                               STE 260                                      ATTN: K. ROBINSON/ ACCOUNTING
PROVO, UT 84604                         HOUSTON, TX 77034                            NEW YORK, NY 10017




THE SANDEL DUGGAL CENTER FOR PLASTIC    THE SARATOGA HOSPITAL                        THE SKIN WELLNESS CENTER
SURGERY                                 DIANE VERSOCKI                               GEORGE SMITH
ADDRESS ON FILE                         PO BOX 31234                                 10215 KINGSTON PIKE
                                        SALT LAKE CITY, UT 84131                     KNOXVILLE, TN 37922




THE STAMFORD HOSPITAL                   THE SURGERY CENTER LLC                       THE SURGERY CENTER OF FT. LAUDERDALE
MARY MARMANIDES                         CHRISTOPHER HENDON                           ELAINE BAKER
PO BOX 9317                             2466 FLOWOOD DRIVE, SUITE A                  4485 N STATE ROAD 7
STAMFORD, CT 06902                      FLOWOOD, MS 39232                            LAUDERDALE LAKES, FL 33319




THE SURGICAL CENTER AT SADDLEBACK       THE SURGICAL CENTER OF MOREHEAD CITY         THE UNITY HOSPITAL OF ROCHESTER
DREA COATY                              KIM GLAINE                                   PAM VINCI
24012 CALLE DE LA PLATA, SUITE 110      3714 GUARDIAN AVE, SUITE W                   95 CANAL LANDING BLVD
LAGUNA HILLS, CA 92653                  MOREHEAD CITY, NC 28557                      ROCHESTER, NY 14626
                        Case 24-10245-JTD
THE UNITY HOSPITAL OF ROCHESTER               Doc 219
                                       THE UNIVERSITY      Filed 03/28/24
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                                                                                     UNIVERSITY
TWANDA ROBINSON                        DBA MD ANDERSON CANCER CENTER             DBA MD ANDERSON CANCER CENTER
PO BOX 10460                           MD ANDERSON CANCER CENTER                 MD ANDERSON CANCER CENTER
ROCHESTER, NY 14610                    1515 HOLCOMBE BLVD, UNIT 1676             7007 BERTNER AVE, 1MC7.2105
                                       HOUSTON, TX 77030-3907                    HOUSTON, TX 77030-3907



THE VALLEY HOSPITAL                    THE VOLLRATH COMPANY, LLC                 THE VU CENTER FOR PLASTIC & HAND
JOLAINE GALANO                         1236 NORTH 18T STREET                     SURGERY
PO BOX 31246                           SHEBOYGAN, WI 53081                       TO HA
SALT LAKE CITY, UT 84131                                                         15390 NW CORNELL ROAD, SUITE 225
                                                                                 BEAVERTON, OR 97006



THE WALDORF CENTER FOR PLASTIC         THE WALDORF CENTER FOR PLASTIC            THE WALL STREET TRANSCRIPT
SURGERY                                SURGERY                                   622 THIRD AVE, 34TH FLOOR
ATTN: ACCOUNTS PAYABLE                 JOSH COBB                                 NEW YORK, NY 10017
801 YORK ST                            9775 SW WILSHIRE STREET, SUITE 200
MANITOWOC, WI 54220                    PORTLAND, OR 97225



THE WALTZMAN INSTITUTE                 THE WEBSTAURANT STORE, INC                THE WOMENS HOSPITAL
LIZ TORRES                             40 CITATION LANE                          CHERYL STUTEVILLE
3828 SCHAUFELE AVE, SUITE 360          LITITZ, PA 17543                          4199 GATEWAY BLVD
LONG BEACH, CA 90808                                                             NEWBURGH, IN 47630




THE WOODLANDS SKIN SURGERY CENTER      THEATRE SURGICAL ARTS OBSPC               THEDACARE, INC.
CHRISTY BRUMMETT                       LIDA LOGUERCIO                            ATTN: ACCOUNTS PAYABLE
8850 SIX PINES DRIVE, SUITE 100        994 W. JERICHO TURNPIKE, SUITE 102        PO BOX 8025
THE WOODLANDS, TX 77380                SMITHTOWN, NY 11787                       APPLETON, WI 54912




THEDACARE, INC.                        THEODORE DIKTABAN, M.D                    THEODORE KUNG, MD
CHERYL ERICKSON                        ADDRESS ON FILE                           ADDRESS ON FILE
2400 WITZEL AVE, SUITE C
OSHKOSH, WI 54904




THERMO ELECTRON NORTH AMERICA LLC      THIBODAUX REGIONAL MEDICAL CENTER         THOMAS BUTZ CONSULTING, LLC
1400 NORTHPOINT PARKWAY, SUITE 10      STEPHANIE RODRIGUE                        2115 9TH AVE NE
WEST PALM BEACH, FL 33407              PO BOX 1118                               ROCHESTER, MN 55906
                                       THIBODAUX, LA 70301-1118




THOMAS C. WIENER, M.D.                 THOMAS EYE GROUP                          THOMAS G. FIALA, M.D.
ADDRESS ON FILE                        LAKISHA HILTON                            ADDRESS ON FILE
                                       5901 A PEACHTREE-DUNWOODY RD., SUITE
                                       500
                                       ATLANTA, GA 30328



THOMAS G. LISZKA, M.D.                 THOMAS HESTER MD                          THOMAS J. HUBBARD, M.D.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




THOMAS MUSTOE, M.D.                    THOMAS SCIENTIFIC                         THOMAS STERRY, MD
ADDRESS ON FILE                        1654 HIGH HILL ROAD                       ADDRESS ON FILE
                                       SWEDESBORO, NJ 08085
THOMAS TAYLOR, M.D.       Case 24-10245-JTD    DocCENTER
                                         THOMPSON  219 FOR
                                                         Filed 03/28/24
                                                            PLASTIC SURGERY Page 204 of 226
                                                                               THOMPSON, MIKA
ADDRESS ON FILE                           RISA CURTIS                          ADDRESS ON FILE
                                          5 PROFESSIONAL CIRCLE, SUITE 107
                                          COLTS NECK, NJ 07722




THORNWELL H. PARKER III, MD               [NAME REDACTED]                      [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                           TIERNEY PLASTIC SURGERY, PLC         TIERNEY PLASTIC SURGERY, PLC
ADDRESS ON FILE                           CLAUDIA LAGACY                       MARINA SLEDGE
                                          2011 CHURCH STREET, SUITE 805        2004 HAYES ST, STE 315
                                          NASHVILLE, TN 37203                  NASHVILLE, TN 37203




TIFFANY GRUNWALD, M.D.                    TIFFANY GRUNWALD, MD                 [NAME REDACTED]
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




[NAME REDACTED]                           TIM MATATOV, MD                      TIM R. LOVE, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




TIM R. LOVE, M.D.                         TIMOTHY CONNALL, MD                  TIMOTHY FEE MD
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




TIMOTHY JANIGA, M.D.                      TIMOTHY W. KING                      TIMPANOGOS REGIONAL HOSPITAL
ADDRESS ON FILE                           ADDRESS ON FILE                      ATTN: ACCOUNTS PAYABLE
                                                                               1151 ENTERPRISE DRIVE, SUITE 100
                                                                               COPPELL, TX 75019




TIMPVIEW ASC                              [NAME REDACTED]                      [NAME REDACTED]
ASHLEY WIECHMANN                          ADDRESS ON FILE                      ADDRESS ON FILE
1175 E. 50 S, STE 101
AMERICAN FORK, UT 84003




TINSTMAN, DENISE                          TIPPMANN INDUSTRIAL PRODUCTS, INC    TISSERAND, JODIE
ADDRESS ON FILE                           3518 ADAMS CENTER ROAD               ADDRESS ON FILE
                                          FORT WAYNE, IN 46806




TOBY G. MAYER, MD, APC                    TOBY R. MELTZER, M.D., P.C.          TODD C. RAU, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE
TODD M. GERLACH, M.D.   Case 24-10245-JTD     DocSURGERY
                                       TOFT FACIAL 219 Filed 03/28/24    Page 205 of 226
                                                                            TOGORUN
ADDRESS ON FILE                        DANA BALZER                          ADDRESS ON FILE
                                       959 RESERVE DRIVE
                                       ROSEVILLE, CA 95678




TOLEDO, TINA                           TOLSON, BRADLEY                      TOM J. POUSTI, MD
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




TOMAS E VASQUEZ JR                     TOMBALL REGIONAL MEDICAL CENTER      TOMBALL REGIONAL MEDICAL CENTER
ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE               CRYSTAL KOHUTEK
                                       13500 MEDICAL COMPLEX DR             605 HOLDERRIETH BLVD
                                       TOMBALL, TX 77375-6545               TOMBALL, TX 77535




TOMS RIVER SURGERY CENTER              TONE KAO                             [NAME REDACTED]
MICHELLE MCLEOD                        ADDRESS ON FILE                      ADDRESS ON FILE
1430 HOOPER AVE, STE 301
TOMS RIVER, NJ 08753




TONY WEAVER, D.O.                      [NAME REDACTED]                      TOOLRITE MFG CO, INC
ADDRESS ON FILE                        ADDRESS ON FILE                      16400 W LINCOLN AVENUE
                                                                            NEW BERLIN, WI 53151




TOP AESTHETICS                         TOP QUALITY RECRUITMENT INC          TOPPI, ANTHONY
GABRIEL PALLADINO                      2285 DUNWIN DR. UNIT 8               ADDRESS ON FILE
7132 MARIANA CT.                       MISSISSAUGA, ON L5L 3S3
BOCA RATON, FL 33433                   CANADA




TOPS DANIELLE ANDRY, M.D., PLLC        TOPS SURGICAL SPECIALTY HOSP         [NAME REDACTED]
ADDRESS ON FILE                        GRACE HERNANDEZ                      ADDRESS ON FILE
                                       17080 RED OAK DRIVE
                                       HOUSTON, TX 77090




TORRANCE MEMORIAL MEDICAL CENTER       TORRES, ANGELO                       TOTAL MECHANICAL, INC
FRANK CASTILLO                         ADDRESS ON FILE                      W234 N2830 PAUL ROAD
3330 LOMITA BLVD                                                            PEWAUKEE, WI 53072
TORRANCE, CA 90505




TOTAL SHREDDING, LLC                   TOTAL SKIN AND BEAUTY                TOUCHMD
PO BOX 660187                          PATTY GREEN                          99 N MAIN ST, SUITE 7
ARCADIA, CA 91066                      2100 16TH AVE. S.,, SUITE 202        CEDAR CITY, UT 84720
                                       BIRMINGHAM, AL 35205




TOURO INFIRMARY                        TOW, ASHLEY                          TOWER OUTPATIENT SURGERY CENTER
THOMAS LAGASSE                         ADDRESS ON FILE                      MANUEL GARCIA
1401 FOUCHER STREET                                                         8635 W 3RD STREET
NEW ORLEANS, LA 70115                                                       1090
                                                                            LOS ANGELES, CA 90048
TPS, LLC               Case 24-10245-JTD
                                      TRACEYDoc  219 MD,
                                            H. STOKES, Filed
                                                         PA 03/28/24      Page  206REDACTED]
                                                                             [NAME  of 226
2821 OLD ROUTE 15                     ADDRESS ON FILE                        ADDRESS ON FILE
NEW COLUMBIA, PA 17856




[NAME REDACTED]                      TRACY EVANS, M.D.                       [NAME REDACTED]
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




TRACY M. PFEIFER, M.D.               TRACY M. PFEIFER, M.D.                  [NAME REDACTED]
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




TRADESTATION SECS (0271)             TRANSACTION TAX RESOURCES, INC          TRANSFORMATIONS PLASTIC SURGERY
ATT CORPORATE ACTIONS                3850 NE THREE MILE LANE                 LINEDY GOODRICH
8050 SW 10TH ST, STE 2000            MCMINNVILLE, OR 97128                   5995 SPRING CREEK ROAD
PLANTATION, FL 33324                                                         ROCKFORD, IL 61114




TRANSGLOBAL CONCESSIONS, LLC         TRANSIMPACT, LLC                        TRANSWORLD SYSTEM INC
1007 GOLDEN OAK COURT                ADDRESS ON FILE                         P.O. BOX 15618
ORLANDO, FL 32806                                                            WILMINGTON, DE 19850




TRAVIS C. HOLCOMBE, M.D.             TRAVIS C. HOLCOMBE, M.D.                TREALOFF, LAUREN
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




TREECE, EVAN                         TRENTON JONES, MD                       TRESCAL, INC
ADDRESS ON FILE                      ADDRESS ON FILE                         PO BOX 559
                                                                             HARTLAND, MI 48353-0559




TRI HEALTH PHARMACY                  TRI HEALTH                              TRI VALLEY SURGERY CENTER
KEITH ALLEN                          KRISTINE WILSON                         TANYA DENEGRI
379 DIXMYTH AVE, 6TH FLOOR           4750 WESLEY AVENUE                      11860 DUBLIN BLVD
CINCINATI, OH 45220                  CINCINATI, OH 45212                     DUBLIN, CA 94568




TRI VALLEY SURGERY CENTER            TRIAD SCIENTIFIC INC.                   TRIANGLE COSMETIC SURGERY BY HKB
TANYA DENEGRI                        SIX STOCKTON LAKE BLVD.                 ATTN: ACCOUNTS PAYABLE
11860 DUBLIN BLVD                    MANASQUAN, NJ 08736                     55 VILCOM CIRCLE, SUITE 310
DUBLIN, CA 94568                                                             CHAPEL HILL, NC 27514




TRIAX TECHNOLOGIES, INC              TRIBECA AESTHETICS & MEDICAL, PLLC      TRI-CITY MEDICAL CENTER
18 MARSHALL STREET, SUITE 340        MARYELLEN JURGENSEN                     ARCHIE LLORCA
NORWALK, CT 06854                    497 GREENWICH ST                        4002 VISTA WAY
                                     NEW YORK, NY 10013                      OCEANSIDE, CA 92056
                        Case 24-10245-JTD
TRI-COUNTY LOCKSMITHS, INC                    Doc
                                       TRIHEALTH    219 Filed
                                                  COSMETIC       03/28/24
                                                            SURGERY CENTER    Page  207 of
                                                                                 TRILLIUM   226 SURGERY
                                                                                          PLASTIC
300 PINE AVE                           KELLY KEITH                               BRITTANY BRACCO
GOLETA, CA 93117                       6200 PFEIFFER RD, STE 350                 9239 PARK WEST BLVD, SUITE 202
                                       CINCINNATI, OH 45242-5861                 KNOXVILLE, TN 37923




TRILOGY MEDICAL CENTER                  TRINITAS HOSPITAL                        [NAME REDACTED]
CYNDI PERGROSSI                         EDNA MUNOZ                               ADDRESS ON FILE
7001 S 900 E, SUITE 100                 225 WILLIAMSON ST.
MIDVALE, UT 84047                       ELIZABETH, NJ 07202




TRINITY CONSULTANTS, INC                TRINITY HEALTH EAST                      TRINITY HEALTH EAST
12700 PARK CENTRAL DRIVE, SUITE 2100    ALISON KRAUSE                            MANDY MCKENZIE
DALLAS, TX 75251                        300 STAFFORD STREET, SUITEE 256          PO BOX 7052
                                        SPRINGFIELD, MA 01104                    TROY, MI 48007




TRINITY HEALTH EAST                     TRINITY HEALTH ST. MARYS HEALTHCARE      TRI-PHASE AUTOMATION, LLC
SUZANNE VOSS                            MARIA ANG                                1251 E. WISCONSIN AVE.
PO BOX 7007                             PO BOX 7007                              PEWAUKEE, WI 53072
TROY, MI 48007                          TROY, MI 48007




[NAME REDACTED]                         [NAME REDACTED]                          TRISURA SPECIALTY INSURANCE
ADDRESS ON FILE                         ADDRESS ON FILE                          CRC GROUP
                                                                                 SHAWNA BOULINGY
                                                                                 50 CALIFORNIA STREET, SUITE 2000
                                                                                 SAN FRANCISCO, CA 94111



TROY CALLAHAN, MD                       TROY CALLAHAN, MD                        TROY J. ANDREASEN, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




TROY J. ANDREASEN, MD                   TROY J. ANDREASEN, MD.                   TROY PITTMAN MD
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




TROY PITTMAN, MD                        TRUE BEAUTY SAN DIEGO                    TRUESDALE FACIAL PLASTIC SURGERY
ADDRESS ON FILE                         MARYANN PEKRAS                           MARIA CARLSSON
                                        7746 HERSCHEL AVE.                       150 S RODEO DR, STE 360
                                        LA JOLLA, CA 92037                       BEVERLY HILLS, CA 90212




TRUEVERT, INC                           TUALITY COMMUNITY HOSPITAL               TUCSON MEDICAL CENTER
2929 OCEANSIDE BLVD SUITE A             ATTN: ACCOUNTS PAYABLE                   ATTN: ACCOUNTS PAYABLE
OCEANSIDE, CA 92054                     PO BOX 309                               PO BOX 30400
                                        HILLSBORO, OR 97123                      TUCSON, AZ 85751




TUCSON SURGERY CENTER                   TUFTS MEDICAL CENTER                     TUFTS MEDICAL CENTER
ATTN: ACCOUNTS PAYABLE                  ANNETTE CERULLI                          JULIA WILSON
6180 N CORONA RD, STE 102               PO BOX 9001                              750 WASHINGTON ST
TUCSON, AZ 85704                        STONEHAM, MA 02180                       BOSTON, MA 02111
                      Case 24-10245-JTD
TULSA DERMATOLOGY CLINIC                     Doc AND
                                     TULSA SPINE  219SPECIALTY
                                                        Filed 03/28/24
                                                               HOSPITAL       Page 208 ofNEREIDA
                                                                                 TURCIOS,  226
JILL HOPPER                          TAMMY PEA                                   ADDRESS ON FILE
2121 E. 21ST STREET                  6901 S OLYMPIA AVE
TULSA, OK 74114                      TULSA, OK 74132




TURIN PLASTIC SURGERY LLC              TURNER, KRIS                              TUTELA PLASTIC SURGERY
7301 E 2ND ST 202                      ADDRESS ON FILE                           MEGAN MAGUIRE
SCOTTSDALE, AZ 85251                                                             200 S ORANGE AVE, STE 170
                                                                                 LIVINGSTON, NJ 07039




TWENTY FOUR 7 MOVING SPECIALISTS INC   TWIN CITIES COMMUNITY HOSPITAL            TWIN CITIES COMMUNITY HOSPITAL
130 S. PATTERSON, 998                  ATTN: ACCOUNTS PAYABLE                    KEN PEARSON
SANTA BARBARA, CA 93110                PO BOX 916                                PO BOX 81289
                                       CHESTERTON, AZ 46304                      PHOENIX, AZ 85069




TWO RIVERS SURGERY CENTER              TYLER STREET, M.D.                        TYNE, RAYMOND
KELLI LANE                             ADDRESS ON FILE                           ADDRESS ON FILE
194 RTE 35-S
RED BANK, NJ 07701




U OF VIRGINIA MEDICAL CENTER           U PLASTIC SURGERY                         U. MED. CTR. PRINCETON
ATTN: ACCOUNTS RECEIVABLE              AMANDA ELIE                               LUCAS PARTRIDGE
P.O. BOX 31260                         25 CROSSROADS DR SUITE 420                213 N CENTER DRIVE
SALT LAKE CITY, UT 84131               OWINGS MILLS, MD 21117-5421               NORTH BRUNSWICK, NJ 08902




U.S VIRGIN ISLANDS ATTORNEY GENERAL    U.S VIRGIN ISLANDS ATTORNEY GENERAL       U.S. DEPT HEALTH & HUMAN SERVICES
ATTN: ARIEL SMITH                      ATTN: ARIEL SMITH                         200 INDEPENDENCE AVE, SW
213 ESTATE LA REINE                    3438 KRONDPRINDSENS GADE                  WASHINGTON, DC 20201
6151 RR1                               GERS BUILDING,2ND FLOOR
ST. CROIX, VI 00850                    ST. THOMAS, VI 00802



U.S. DEPT OF STATE                     U.S. BANCORP INVEST (0280)                U.S. BANK N.A. (2803)
DIRECTORATE OF DEFENCE TRADE           ATT KEVIN BROWN OR PROXY MGR              ATT PAUL KUXHAUS OR PROXY MGR
CONTROLS                               60 LIVINGSTON AVE                         1555 N. RIVER CTR DR
COMPLIANCE & REGISTRATION DIV          ST. PAUL, MN 55107-1419                   STE 302
2401 E STREET NW, SA-1, RM H1200                                                 MILWAUKEE, WI 53212
WASHINGTON, DC 20522-0112


U.S. BANK                              U.S. DEPARTMENT OF HOMELAND SECURITY      U.S. DEPARTMENT OF HOMELAND SECURITY
STEVEN G. KRENIK                       245 MURRAY LANE, SW                       OFFICE OF THE GENERAL COUNSEL
4100 NEWPORT PLACE DRIVE               WASHINGTON, DC 20528                      MS 0485 DEPARTMENT OF HOMELAND
9TH FLOOR                                                                        SECURITY
NEWPORT BEACH, CA 92660                                                          2707 MARTIN LUTHER KING JR AVE SE
                                                                                 WASHINGTON, DC 20525-0525


U.S. DEPARTMENT OF JUSTICE             U.S. DEPARTMENT OF LABOR                  U.S. DERMATOLOGY PARTNERS
950 PENNSYLVANIA AVENUE, NW            S-2521                                    MARSHA GACKLE
WASHINGTON, DC 20530-0001              200 CONSITUTION AVE, NW                   5310 HARVEST HILL ROAD, SUITE 290
                                       WASHINGTON, DC 20210                      DALLAS, TX 75230




U.S. ENVIRONMENTAL PROTECTION AGENCY   U.S. FOOD & DRUG ADMINISTRATION           U.S. FOOD AND DRUG ADMINISTRATION
OFFICE OF GENERAL COUNSEL 2310A        PO BOX 979033                             10903 NEW HAMPSHIRE AVE
1200 PENNSYLVANIA AVENUE, NW           SAINT LOUIS, MO 63195                     SILVER SPRING, MD 20993-0002
WASHINGTON, DC 20460
UAB MEDICAL WEST          Case 24-10245-JTD     Doc OF
                                         UBC DIVISION 219   Filed
                                                        PLASTIC    03/28/24
                                                                SURGERY         Page
                                                                                   UBS209  of 226
                                                                                       AG (2507)
PAULINE BARKER                             BURNS, TRAUMA & HIGH ACUITY UNIT        ATT MICHAEL HALLET/PROXY MGR
995 9TH AVENUE SOUTH                       JIM PATTISON PAVILION                   PROXY DEPT
BESSEMER, AL 35022                         VANCOUVER, BC V5Z 1M9                   315 DEADRICK ST
                                           CANADA                                  NASHVILLE, TN 37238



UBS FIN SVCS LLC (0221)                    UBS SECS LLC (0642)                     UC DAVIS MEDICAL CENTER
ATT PROXY DEPT - JANE FLOOD                ATT MICHAEL HALLET/PROXY MGR            IRENE SINGH
1000 HARBOR BLVD                           PROXY DEPT                              PO BOX 168016
WEEHAWKEN, NJ 07086                        315 DEADRICK ST                         SACRAMENTO, CA 95817
                                           NASHVILLE, TN 37238



UC DAVIS MEDICAL CENTER                    UC HEALTH                               UC IRVINE MED CTR
KARA MULIN                                 GENIA HUFF                              EUGENE CHEN
2521 STOCKTON BLVD, RM 7200                3200 BURNETT AVENUE                     PO BOX C-11917
SACRAMENTO, CA 95817-2207                  CINCINNATI, OH 45229                    SANTA ANA, CA 92711




UC REGENTS                                 UC REGENTS                              UCHEALTH LONGS PEAK HOSPITAL
UCSF OFFICE OF CME                         UCSF, CONTINUING MEDICAL EDUCATION      ATTN: ACCOUNTS PAYABLE
ATTN: DURGA PISHARAM                       BOX 0742                                2400 S PEORIA ST, STE 211
490 ILLINOIS STREET, FLOOR 8               SAN FRANCISCO, CA 94143-0742            AURORA, CO 80014
SAN FRANCISCO, CA 94143



UCLA HEALTHCARE                            UCLA PLASTIC SURGERY                    UCLA PLASTIC SURGERY
ZORAIDA FISCHER                            BRYAN CARRIGAN                          DANICA BUENAVENTURA
PO BOX 951676                              10920 WILSHIRE BLVD, 5TH FLOOR          200 UCLA MEDICAL PLAZA, SUITE 465
LOS ANGELES, CA 90095                      LOS ANGELES, CA 90024                   LOS ANGELES, CA 90095




UCSD DEPT OF PLASTIC SURGERY               UCSD DEPT OF PLASTIC SURGERY            UCSD HEALTH SYSTEM
PAT STRAVALEXIS-WASHINGTON                 TANYA GARCIA                            ATTN: ACCOUNTS PAYABLE
4510 EXECUTIVE DR, SUITE 103               4520 EXECUTIVE DR, STE 101              PO BOX 33268
SAN DIEGO, CA 92121                        SAN DIEGO, CA 92121-3019                SAN DIEGO, CA 92163




UCSF BENIF CHILDRENS HOSPITAL OAKLAND      UCSF MEDICAL CENTER                     UCSF MEDICAL CENTER
ATTN: ACCOUNTS PAYABLE                     INVOICING                               JEANNE DURRANT
BCHO ACCOUNTS PAYABLE                      BOX 0816, 1855 FOLSOM STREET            2300 HARRISON STREET
747 52ND ST                                SAN FRANCISCO, CA 94143                 SAN FRANCISCO, CA 94143
OAKLAND, CA 94609



UCSF MEDICAL CENTER                        UDERM, PLLC                             UFP MILWAUKEE, LLC DBA PAK-RITE
LINA BANDERA                               BETH HEHN                               2395 S BURREL
1600 DIVISADERO                            5243 LITTLE DEBBIE PKWY, STE 111        MILWAUKEE, WI 53207
SAN FRANCISCO, CA 94115                    OOLTEWAH, TN 37363-4515




UFP TECHNOLOGIES, INC                      UGAM SOLUTIONS, INC                     UL LLC
3831 PATTERSON AVE SE                      300 E 59TH ST APT 1902                  333 PFINGSTEN ROAD
GRAND RAPIDS, MI 49512                     NEW YORK, NY 10022                      NORTHBROOK, IL 60062




ULINE (DEACTIVATED 8/5/21)                 ULINE (DEACTIVATED 9/1/21)              ULINE, INC
PO BOX 88741                               ATTN: ACCOUNTS RECEIVABLE               PO BOX 88741
CHICAGO, IL 60680                          2200 S. LAKESIDE DRIVE                  CHICAGO, IL 60680-1741
                                           WAUKEGAN, IL 60085
                       Case
ULTIMATE HEALTH SERVICES, INC. 24-10245-JTD     DocCORPORATION
                                         ULTRA SEAL   219 Filed 03/28/24      Page 210MEHTA
                                                                                 UMANG of 226
                                                                                            FACIAL PLASTIC SURGERY
WADE MARTIN                              521 MAIN STREET                         SUSAN META
5170 US RT 60 EAST                       NEW PALTZ, NY 12561                     3351 EL CAMINO REAL, SUITE 205
HUNTINGTON, WV 25705                                                             ATHERTON, CA 94027




UMANSKY MED CTR FOR PLAST SURG         UMBAREEN MAHMOOD, MD                      UNC REX HEALTHCARE
MARGIE TAVAREZ                         ADDRESS ON FILE                           MONZER MEREBY
4150 REGENTS PARK ROW                                                            4400 EMPEROR BLVD, SUITE 100
SUITE 260                                                                        DURHAM, NC 27703
LA JOLLA, CA 92037



UNICLEAN CLEANROOM SERVICES            UNICLEAN CLEANROOM SERVICES               UNITED HEALTH SERVICES HOSPITALS
P.O. BOX 650481                        PO BOX 650481                             DEBBIE TROICKE
DALLAS, TX 75265                       DALLAS, TX 75265                          PO BOX 5215
                                                                                 BIMGHAMTON, NY 13902




UNITED STATES PLASTIC CORP             UNITED STATES TREASURY                    UNITRANS INTERNATIONAL LOGISTICS
1390 NEUBRECHT RD                      OFFICE OF THE TREASURER                   709 HINDRY AVENUE
LIMA, OH 45801                         1500 PENNSYLVANIA AVENUE, NW              INGLEWOOD, CA 90301
                                       ROOM 2134
                                       WASHINGTON, DC 20220



UNITY POINT HEALTH                     UNITY POINT HEALTH                        UNIV OF ALABAMA HOSPITAL AT
BARBARA CARYL                          STEVEN CHURCH                             BIRMINGHAM
PO BOX 3026                            PO BOX 5048                               SEAN CURTIS
CEDAR RAPIDS, IA 52406                 ROCK ISLAND, IA 61204                     1720 2ND AVE SOUTH
                                                                                 BIRMINGHAM, AL 35294



UNIV OF CHICAGO MEDICINE               UNIV OF CHICAGO MEDICINE                  UNIV OF CHICAGO MEDICINE
JACQUELINE ENTZMINGER                  SUSAN HOADLEY                             YOLANDA NALLS
150 HARVESTER DRIVE, SITE 300          PO BOX 1017                               SECTION OF PLASTIC & RECON SURGERY
BURR RIDGE, IL 60527                   SOUTH BEND, IN 46624-1017                 5841 S MARYLAND AVE, MC 6035, RM J641
                                                                                 CHICAGO, IL 60637



UNIV OF KANSAS - INDIAN CREEK          UNIV OF KENTUCKY PLASTICS CLINIC          UNIV OF KENTUCKY PLASTICS CLINIC
PAMELA CRAWFORD                        KATY PERDUE                               KIM CARTER
P. O. BOX 3160                         2195 HARRODSBURG RD, 2ND FL               740 S LIMESTONE, K-451
KANSAS CITY, KS 66103                  LEXINGTON, KY 40504-3516                  LEXINGTON, KY 40536-0001




UNIV OF NEBRASKA MEDICAL CENTER        UNIVERSAL RESOURCES, LLC                  UNIVERSITY AMBULATORY SURGERY
JANET BOND                             2340 2ND STREET                           CENTER
17617 BURKE ST                         KENOSHA, WI 53140                         ANA CLARK
OMAHA, NE 68118                                                                  8929 UNIVERSITY CENTER LANE, SUITE 103
                                                                                 SAN DIEGO, CA 92122



UNIVERSITY CALIFORNIA IRVINE           UNIVERSITY DERMATOLOGY                    UNIVERSITY HEALTH CARE SYSTEMS
UC REGENTS KATHRINA MUNOZ,             TERRI WALLACE                             RHEA MORGAN
DEPT OF SURGERY                        3006 BAUCOM ROAD                          1350 WALTON WAY
200 S MANCHESTER AVE, STE 650          CHARLOTTE, NC 28269                       AUGUSTA, GA 30901
ORANGE, CA 92868



UNIVERSITY HEALTH                      UNIVERSITY HEALTH                         UNIVERSITY HOSPITAL AND MEDICAL
SHEILA MOORE                           SHERRY DAVIS                              CENTER
1541 KINGS HWY                         7300 NW TIFFANY SPRINGS PARKWAY, 2ND      JENNIFER RODRIGUEZ
SHREVEPORT, LA 71103                   FL                                        7201 N UNIVERSITY DR
                                       KANSAS CITY, MO 64153                     TAMARAC, FL 33321-2913
UNIVERSITY HOSPITALS    Case 24-10245-JTD    DocMEDICAL
                                       UNIVERSITY 219 CENTER
                                                        Filed 03/28/24
                                                               OF EL PASO Page 211 of 226
                                                                             UNIVERSITY MEDICAL CENTER OF
LISA DINARDO                             ROSA AQUINO                           PRINCETON
PO BOX 201430                            PO BOX 9159                           AT PLAINSBORO
CLEVELAND, OH 44120                      EL PASO, TX 79995                     FAITH LAVENDER
                                                                               1 PLAINSBORO ROAD
                                                                               PLAINSBORO, NJ 08536


UNIVERSITY MEDICAL CENTER                UNIVERSITY OF CHICAGO HOSPITAL        UNIVERSITY OF CHICAGO MED CENTER
JESSICA SORGENFREI                       SUSAN HOADLEY                         ATTN: EVE KUZMA
PO BOX 57209                             PO BOX 1017                           5841 S MARYLAND AVE MC6035
NEW ORLEANS, LA 70157                    SOUTH BEND, IN 46624-1017             CHICAGO, IL 60637




UNIVERSITY OF COLORADO HOSPITAL -        UNIVERSITY OF COLORADO HOSPITAL       UNIVERSITY OF FLORIDA
HIGHLANDS RANCH                          JANIECE WELLS                         CONTINUING MEDICAL EDUCATION
DUSTIN RITTENHOUSE                       2400 S. PEORIA STREET, SUITE 211      PO BOX 100233
1500 PARK CENTRAL DR                     AURORA, CO 80014                      GAINESVILLE, FL 32610
HIGHLANDS PARK, CO 80129



UNIVERSITY OF IOWA                       UNIVERSITY OF KANSAS - CAMBRIDGE      UNIVERSITY OF KANSAS - MAIN CAMPUS
DANI WEBER                               NANCY MCCONELL                        ATTN: ACCOUNTS PAYABLE
202 PCO                                  P. O. BOX 3160                        P. O. BOX 3160
IOWA CITY, IA 52442                      KANSAS CITY, KS 66103                 KANSAS CITY, KS 66103-0160




UNIVERSITY OF KANSAS - SHAWNEE           UNIVERSITY OF KANSAS HOSPITAL         UNIVERSITY OF KENTUCKY HOSPITAL
ATTN: ACCOUNTS PAYABLE                   AUTHORITY                             AMANDA SILVA
P. O. BOX 3160                           MISTY GALLAGHER                       PO BOX 31247
KANSAS CITY, KS 66103                    3901 RAINBOW BLVD                     SALT LAKE CITY, UT 84131
                                         KANSAS CITY, KS 66160



UNIVERSITY OF KENTUCKY HOSPITAL          UNIVERSITY OF KENTUCKY                UNIVERSITY OF LOUISVILLE HOSPITAL
PATRICK COX                              KENTUCKY CHILDRENS HOSPITAL,          KEN MARSHALL
1000 S. LIMESTONE                        DIVISION OF PLASTIC SURGERY           530 S JACKSON ST
LEXINGTON, KY 40536                      210 MALABU DRIVE, SUITE 200           LOUISVILLE, KY 40202
                                         LEXINGTON, KY 40502



UNIVERSITY OF LOUISVILLE HOSPITAL        UNIVERSITY OF LOUISVILLE PHYSICIANS   UNIVERSITY OF MARYLAND MED SYSTEM
TONYA BUCKNER                            ATTN: ACCOUNTS PAYABLE                SARA GLAZER
530 S. JACKSON STREET                    PO BOX 909                            PO BOX 31243
LOUISVILLE, KY 40202                     LOUISVILLE, KY 40201                  SALT LAKE CITY, UT 84131




UNIVERSITY OF MARYLAND MED SYSTEM        UNIVERSITY OF MARYLAND SURGICAL       UNIVERSITY OF MIAMI HOSPITAL
TATIANA FOAGUEGUE                        ASSOC                                 DAVID SMITH
PO BOX 6545                              NIGEL GREENE                          200 WADSWORTH DR
PORTLAND, OR 97228                       29 S GREENE ST, STE 502               RICHMOND, VA 23236
                                         BALTIMORE, MD 21201



UNIVERSITY OF MIAMI                      UNIVERSITY OF MIAMI                   UNIVERSITY OF MICHIGAN
E. LIAUWAPAU                             IVONE LUNA                            FACIAL COSMETIC SURGERY
9675 NW 117TH AVE, STE 310               PO BOX 248066                         LORINA BRIGHT-HOLMES
MIAMI, FL 33136                          CORAL GABLES, FL 33124                3003 S. STATE STREET
                                                                               ANN ARBOR, MI 48109



UNIVERSITY OF MISSISSIPPI MEDICAL        UNIVERSITY OF MISSISSIPPI MEDICAL     UNIVERSITY OF TORONTO
CENTER                                   CENTER                                ATTN: ACCOUNTS RECEIVABLE
BENJAMIN MCINTYRE MD,                    LOUANN WOODWARD                       215 HURON STREET, 2ND FLOOR
DIV OF PLASTIC SURGERY                   2500 N STATE ST                       TORONTO, ON M5S 1A2
2500 NORTH STATE STREET                  JACKSON, MS 39216                     CANADA
JACKSON, MS 39216
UNIVERSITY OF TORONTO Case 24-10245-JTD     DocOF219
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                                                                               UNIVERSITY PARK DERMATOLOGY
FACULTY OF MEDICINE                  LISA WOODS                                MARINA REID
500 UNIVERISTY AVE, 6TH FLOOR        PO BOX 2790                               8451 SHADE AVE, SUITE 205
TORONTO, ON M5G1V7                   SALT LAKE CITY, UT 84110                  SARASOTA, FL 34243
CANADA



UNIVERSITY PLASTIC SURGEONS            UNIVERSITY PLASTIC SURGEONS             UNIVERSITY SUBURBAN HEALTH CENTER
JOANIE KECK                            MARQUITTA ROBINSON                      JOANNE MOLICA
1611 SOUTH GREEN ROAD, SUITE 238       1068 CRESTHAVEN ROAD, SUITE 500         1611 S. GREEN ROAD, SUITE 124
SOUTH EUCLID, OH 44121                 MEMPHIS, TN 38119                       SOUTH EUCLID, OH 44121




UNM HOSPITALS                          UNUM INSURANCE COMPANY                  UNUM INSURANCE COMPANY
MARIO BENAVIDEZ                        1 FOUNTAIN SQUARE                       GROUP BENEFITS, UNUM LIFE INS CO
PO BOX 80600                           CHATTANOOGA, TN 37402                   OF AMERICA
ALBUQUERQUE, NM 87198                                                          PO BOX 406946
                                                                               ATLANTA, GA 30374



UPMC ALTOONA                           UPMC HEALTH SYSTEM                      UPMC PLASTIC & RECON SURGERY - YORK
APRIL NEFF                             WENDY MOSQUEDA                          ATTN: ACCOUNTS PAYABLE
620 HOWARD AVE                         PO BOX 4909                             PO BOX 4909
ALTOONA, PA 16601                      PORTLAND, OR 97208                      PORTLAND, OR 97208




UPS FREIGHT INC.                       UPS SUPPLY CHAIN SOLUTION INC           UPS
P.O. BOX 650690                        28013 NETWORK PLACE                     28013 NETWORK PLACE
DALLAS, TX 75265                       CHICAGO, IL 60673-1280                  CHICAGO, IL 60673




UPS                                    UPSTATE PLASTIC SURGERY                 URBANIAK PLASTIC SURGERY
PO BOX 894820                          KIMBERLY GARFIELD                       EDDIE PORTER
LOS ANGELES, CA 90189-4820             301 THE PARKWAY                         609 LAKEVIEW ROAD
                                       GREER, SC 29650                         CLEARWATER, FL 33756




URBANIAK PLASTIC SURGERY               [NAME REDACTED]                         US HEALTH PARTNERS
JENNIFER ANDERSEN                      ADDRESS ON FILE                         ROSE REYES
13201 WALSHINGHAM RD, STE 200                                                  4801 BISSONNET ST
LARGO, FL 33774-3515                                                           BELLAIRE, TX 77401-4028




US LEGALIZATION                        US VIRGIN ISLANDS DEPT OF HEALTH        US VIRGIN ISLANDS DEPT OF HEALTH
1615 BAY HEAD RD                       1303 HOSPITAL GROUND, STE 10            CHARLES HARWOOD COMPELX
ANNAPOLIS, MD 21409                    CHARLOTTE AMALIE                        3500 EST RICHMOND
                                       ST THOMAS, VI 00802                     CHRISTIANSTED, VI 00820




USA HEALTH UNIVERSITY HOSPITAL         USA WASTE OF CALIFORNIA, INC            USC UNIVERSITY HOSPITAL
MONICA BUTLER                          800 CAPITOL ST. SUITE 3000              CLARENCE FINLEY
PO BOX 41090                           HOUSTON, TX 77002                       PO BOX 33227
MOBILE, AL 36640                                                               LOS ANGELES, CA 90033




USCALIBRATION INCORPORATED             USF MEDICAL SERVICES SUPPORT CORP.      USHA A. RAJAGOPAL, M.D.
17922 SKY PARK CIRCLE, STE.P           (NOW TAMPA GENERAL)                     ADDRESS ON FILE
IRVINE, CA 92617                       TERA CHANCE
                                       12901 BRUCE B DOWNS BLVD
                                       TAMPA, FL 33612
                       Case 24-10245-JTD
USMD HOSPITAL AT ARLINGTON                   Doc 219 MEDICAL
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                                                                              UT 213 of 226 MEDICAL CENTER
                                                                                 SOUTHWESTERN
HUGO CACERES                          DIANA RHODES                            PHYLLIS STRAUSS
801 INTERSTATE HWY 20 WEST            1909 HARRY HINES BLVD                   5323 HARRY HINES BLVD
ARLINGTON, TX 07601                   DALLAS, TX 75390                        DALLAS, TX 75390-9028




UT SOUTHWESTERN PLASTIC SURG           UTAH COSMETIC SURGERY                  UTAH DEPARTMENT OF HEALTH & HUMAN
ATTN: ACCOUNTS PAYABLE                 HEATHER NELSON                         SERV
5323 HARRY HINES BLVD                  5292 S COLLEGE DR, SUITE 302           195 NORTH 1950 WEST
DALLAS, TX 75390                       SALT LAKE CITY, UT 84123               SALT LAKE CITY, UT 84116




UTAH DIVISION OF SECURITIES            UTAH LABOR COMMISSION                  UTAH STATE TAX COMMISSION (USPS)
PO BOX 146760                          160 EAST 300 SOUTH                     210 N 1950 W
SALT LAKE CITY, UT 84114-6760          3RD FLOOR                              SALT LAKE CITY, UT 84134
                                       SALT LAKE CITY, UT 84111




UTAH STATE TAX COMMISSION              UTAH SURGICAL ASSOCIATES               UTMB HEALTH
210 NORTH 1950 WEST                    JERICCA REDD                           PABLO PADILLA
SALT LAKE CITY, UT 84134               1248 E 90 N SUITE 103                  301 UNIVERSITY BLVD.
                                       AMERICAN FORK, UT 84003                GALVESTON, TX 77555




UVM MEDICAL CENTER                     UW HEALTH                              UW MEDICAL CENTER
INVOICES                               DELIGHT HENSLER                        SUE GRENDALL
P.O. BOX 1870                          PO BOX 5448                            PO BOX 50014
BURLINGTON, WA 05402                   MADISON, WI 53705                      SEATTLE, WA 98145




UW MEDICAL CENTER                      V3 PRINTING CORPORATION                VA HEALTHCARE - LONG BCH, CA
THUY HUYNH                             200 NORTH ELEVAR STREET                KEVIN WICHAYA
1959 NE PACIFIC STREET                 OXNARD, CA 93030                       5901 E 7TH ST, BLDG 149
SEATTLE, WA 98195                                                             LONG BEACH, CA 90822




VA MEDICAL CENTER                      VAIL HEALTH HOSPITAL                   VAISALA INC
ATTN: AP                               GLENYS FROHREICH                       194 SOUTH TAYLOR AVE.
1011 HONOR HEIGHTS DRIVE               PO BOX 40000                           LOUISVILLE, CO 80027
MUSKOGEE, OK 74401                     VAIL, CO 81658




VALDIVIA, MARITZA                      VALERIE BARRETT                        VALLADOLID PLASTIC SURGERY
ADDRESS ON FILE                        ADDRESS ON FILE                        ATTN: ACCOUNTS PAYABLE
                                                                              18325 N ALLIED WAY, STE 120
                                                                              SCOTTSDALE, AZ 85054




VALLADOLID PLASTIC SURGERY             VALLE, JENNIFER                        VALLEY BAPTIST MEDICAL CENTER
GABY QUINTANA                          ADDRESS ON FILE                        HARLINGEN
6116 E ARBOR AVE, STE 102                                                     LUZ HERNANDEZ
MESA, AZ 85206-6103                                                           PO BOX 2588
                                                                              HARLINGEN, TX 78550



VALLEY MEDICAL CENTER                  VALLEY MEDICAL CENTER                  VALLEY PRESBYTERIAN HOSPITAL
ATTN: AP                               JEANNINE GRINNELL                      ELLA BOCHKOVSKY
PO BOX 50010                           PO BOX 31253                           15107 VANOWEN ST
RENTON, WA 98058                       SALT LAKE CITY, UT 84131               PO BOX 9102
                                                                              VAN NUYS, CA 91409
VALLEY TRACK LLC        Case 24-10245-JTD
                                       VAN DERDoc  219MICHAEL
                                               LINDEN,    Filed 03/28/24       Page
                                                                                  VAN214 ofCAROLINE
                                                                                      HOVE, 226
PO BOX 41058                            ADDRESS ON FILE                           ADDRESS ON FILE
SAN JOSE, CA 95160




VAN VOORST, JENNIFER                    VANDERBILT UNIVERSITY MEDICAL CENTER      VANDERBILT WILSON COUNTY HOSPITAL
ADDRESS ON FILE                         3322 WEST END AVENUE                      KAILAS DESAI
                                        SUITE 900                                 60 ATHLETES WAY N, STE 200
                                        NASHVILLE, TN 37203                       MT. JULIET, TN 37122




[NAME REDACTED]                         VANGUARD MARKETING CORP (0062)            VANGUARD PRINTING
ADDRESS ON FILE                         ATT BEN BEGUIN OR PROXY MGR               220 BERNOULLI CIRCLE
                                        14321 N. NORTHSIGHT BLVD                  OXNARD, CA 93030
                                        SCOTTSDALE, AZ 85260




VASPS                                   VASPS                                     VASQUEZ, TOM
444 E. ALGONQUIN ROAD                   PO BOX 734963                             ADDRESS ON FILE
ARLINGTON HEIGHTS, IL 60005             CHICAGO, IL 60673




VAZQUEZ DE SANDOVAL, LAURA              VCU HEALTH SYSTEMS                        VEA NEWPORT BEACH, A MARRIOTT REST &
ADDRESS ON FILE                         ATTN: ACCOUNTS PAYABLE                    SPA
                                        PO BOX 980648                             900 NEWPORT CENTER DRIVE
                                        RICHMOND, VA 23298                        NEWPORT BEACH, CA 92660




VEEVA SYSTEMS INC                       VEIN ATLANTA                              VELOCITY CLEARING (0294)
4280 HACIENDA DRIVE                     TERRIA "TERRY-UH" BROWN                   ALFRED PENNISI OR PROXY MGR
PLEASANTON, CA 94588                    1100 JOHNSON FERRY RD NE, SUITE 165       100 WALL ST
                                        ATLANTA, GA 30342                         26TH FL
                                                                                  NEW YORK, NY 10005



VELOX CLEARING LLC (3856)               VENATOR PERFORMA                          VENDORMATE
ATT PROXY MGR                           250 S. WACKER DRIVE, STE 510              3445 PEACHTREE RD NE
2400 E. KATELLA AVE                     CHICAGO, IL 60606                         SUITE 300
STE 725                                                                           ATLANTA, GA 30326
ANAHEIM, CA 92806



VENDORMATE                              VENTANA SURGICAL CENTER                   VERANEX, INC
PO BOX 101018                           DEETTA BALLOW                             5420 WADE PARK BLVD, SUITE 204
ATLANTA, GA 30392                       18133 VENTURA BLVD, STE 400               RALEIGH, NC 27607
                                        TARZANA, CA 91356-3645




VERANEX, INC                            VERDUGO HILLS HOSPITAL                    VERIFIED FIRST LLC
SEAN ATWILL                             ATTN: ACCOUNTS PAYABLE                    1120 SOUTH RACKHAM WAY SUITE 300
5420 WADE PARK BLVD, SUITE 204          1812 VERDUGO BLVD                         MERIDIAN, ID 83642
RALEIGH, NC 27607                       GLENDALE, CA 91208




VERIFIED FIRST LLC                      VERITIV CORPORATION                       VERMONT DEPARTMENT OF HEALTH
PO BOX 246                              1000 ABERNATHY ROAD NE                    108 CHERRY STREET
SPOKANE, WA 99210                       BLDG 400, SUITE 1700                      BURLINGTON, VT 05402
                                        ATLANTA, GA 30328
VERMONT DEPT OF LABOR Case 24-10245-JTD
                                     VERMONTDoc   219 Filed
                                               SECURITIES        03/28/24
                                                          DIVISION              Page  215REDACTED]
                                                                                   [NAME  of 226
5 GREEN MOUNTAIN DRIVE               89 MAIN STREET                                ADDRESS ON FILE
PO BOX 488                           MONTPELIER, VT 05602
MONTPELIER, VT 05601-0488




VERTIV CORPORATION                      VESTA INTERMEDIATE FUNDING INC             VESTA INTERMEDIATE FUNDING, INC.
1050 DEARBORN DRIVE                     1131 N US HWY 93                           9900 SOUTH 57TH STREET
COLUMBUS, OH 43085                      VICTOR, MT 59875                           FRANKLIN, WI 53132




VESTA INTERMEDIATE FUNDING, INC.        VESTA INTERMEDIATE FUNDING, INC.           VESTA, INC
C/O LUBRIZOL ADVANCED MATERIALS, INC.   C/O LUBRIZOL ADVANCED MATERIALS, INC.      JEAN BERG
9911 BRECKSVILLE ROAD                   ATTENTION: GENERAL COUNSEL                 8168 SOLUTIONS CENTER
CLEVELAND, OH 44141                     29400 LAKELAND BOULEVARD                   CHICAGO, IL 60677
                                        WICKLIFFE, OH 44092



VHS ACQUISITION SUBSIDIARY NUMBER 7,    VHS ACQUISITION SUBSIDIARY NUMBER 7,       VIANT ELKHORN, INC
INC                                     INC                                        248 W CENTRALIA ST.
JACKIE LACROIX-COSTELLO                 SIMA DYMERETS                              ELKHORN, WI 53121
100 NICKERSON ROAD                      PO BOX 704
MARLBOROUGH, MA 01752                   NATICK, MA 01702



VICTOR CIMINO, M.D.                     VICTOR M. PEREZ, MD                        VICTOR PEREZ, M.D.
ADDRESS ON FILE                         ADDRESS ON FILE                            ADDRESS ON FILE




VICTOR PEREZ, M.D.                      VICTOR VALLEY GLOBAL MED CTR               VICTORIA TRAN, M.D.
ADDRESS ON FILE                         TRISH MCNEIL                               ADDRESS ON FILE
                                        1301 N TUSTIN AVE
                                        SANTA ANA, CA 92705-8619




VIJAY BINDINGNAVELE, M.D.               VIKRAM MEHTA                               VILLAGE INSTITUTE OF PLASTIC SURGERY
ADDRESS ON FILE                         ADDRESS ON FILE                            CARRIE X
                                                                                   607 CO RD 466A
                                                                                   FRUITLAND PARK, FL 37431




VILLAGE PLASTIC SURGERY                 VINAS PLASTIC SURGERY                      VINCENT SURGICAL ARTS
ATTN: ACCOUNTS PAYABLE                  MATTHEW VINAS                              JESSIE JENKINS
75 OAK STREET                           550 S. QUADRILLE BLVD.                     6710 BLACKSTONE ROAD, SUITE 201
RIDGEWOOD, NJ 07450                     WEST PALM BEACH, FL 33401                  COTTONWOOD HEIGHTS, UT 84121




VINCENT, CAITLIN                        VIP PLASTIC SURGERY                        VIP PLASTIC SURGERY, LLC
ADDRESS ON FILE                         2779 SUNRIDGE HEIGHTS PKWY, SUITE 100      107 MONMOUTH ROAD SUITE 201
                                        HENDERSON, NV 89052                        WEST LONG BRANCH, NJ 07764




VIP SURGICARE                           VIRGIN ISLANDS DEPT OF LABOR               VIRGIN ISLANDS DEPT OF LABOR
RIO MCGEE                               2353 KRONPRINDSENS GADE                    4401 SION FARM
15047 LOS GATOS BLVD, STE 150           ST THOMAS, VI 00802                        STE 1
LOS GATOS, CA 95032-2054                                                           ST CROIX, VI 00820-4245
VIRGINIA BEACH AMBULATORYCase 24-10245-JTD
                           SURGERY      VIRGINIADoc  219 Filed
                                                 DEPARTMENT      03/28/24
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                                                                               VIRGINIA   226
                                                                                        DEPARTMENT OF HEALTH
CENTER                                  109 GOVERNOR ST                        PO BOX 2448
MARY SALMON                             RICHMOND, VA 23219                     RICHMOND, VA 23218-2448
1700 WILL O WISP DRIVE
VIRGINIA BEACH, VA 23454



VIRGINIA DEPT OF TAXATION              VIRGINIA DEPT OF TAXATION               VIRGINIA DIVISION OF LABOR AND INDUSTRY
1957 WESTMORELAND STREET               PO BOX 1777                             MAIN STREET CENTRE
RICHMOND, VA 23230                     RICHMOND, VA 23218                      600 E MAIN ST
                                                                               STE 207
                                                                               RICHMOND, VA 23219



VIRGINIA DIVISION OF SECURITIES &      VIRGINIA HOSPITAL CENTER                VIRGINIA MASON MEDISPA
RETAIL FRANCHISING                     KIM NGUYEN                              ANA CORTEZ
PO BOX 1197                            1701 N GEORGE MASON DR                  1100 NINTH AVENUE
RICHMOND, VA 23218                     ARLINGTON, VA 22205                     SEATTLE, WA 98101




VIRGINIA PLASTIC SURGERY               VIRTU COSMETIC                          VIRTUA HEALTH, INC
JOY MORBIA                             STEPHANIE MCCUTCHEN                     CHARMALE HOSKINS
1037 CHAMPIONS WAY, STE 600            700 GERVAIS ST, STE 150                 PO BOX 388
SUFFOLK, VA 23435-3767                 COLUMBIA, SC 29201                      MARLTON, NJ 08053




VISION FIN MKTS LLC (0595)             VISTA PLASTIC SURGERY                   VISTRA INTL EXPANSION (USA)
ATT OPS DEPT                           300 BEARDSLEY LN, STE C101              MAIL CODE 7959
120 LONG RIDGE RD, 3 NORTH             AUSTIN, TX 78746                        PO BOX 7247
STAMFORD, CT 06902                                                             PHILADELPHIA, PA 19170




VITA NEEDLE COMPANY, INC               VITALSKIN DERMATOLOGY                   VIVIAN TING, M.D
919 GREAT PLAIN AVENUE                 MARY FORTUNE                            ADDRESS ON FILE
NEEDHAM JCT, MA 02492                  1111 W KENYON RD
                                       URBANA, IL 61801-1010




VIVIAN TING, M.D                       VIVIFY PLASTIC SURGERY, LLC             VIZIENT (CAPTIS)
ADDRESS ON FILE                        DBA DALLAS BUCHANAN                     290 E JOHN CARPENTER FREEWAY
                                       1000 W. KENNEDY BLVD, SUITE 202         IRVING, TX 75062
                                       TAMPA, FL 33606




VIZIENT (GPO)                          VIZIENT (INTERMOUNTAIN)                 VIZIENT (MSS)
290 E JOHN CARPENTER FREEWAY           290 E JOHN CARPENTER FREEWAY            290 E JOHN CARPENTER FREEWAY
IRVING, TX 75062                       IRVING, TX 75062                        IRVING, TX 75062




VIZIENT (SCA)                          [NAME REDACTED]                         VON BERGE, CLAIRE
290 E JOHN CARPENTER FREEWAY           ADDRESS ON FILE                         ADDRESS ON FILE
IRVING, TX 75062




VONG, ELLEN MAY LIAN                   VONG, MAY                               VORTEX INDUSTRIES, INC.
ADDRESS ON FILE                        ADDRESS ON FILE                         1801 W. OLYMPIC BLVD.
                                                                               PASADENA, CA 91199
VTECHNOLOGIES             Case 24-10245-JTD
                                         VUE, MAIDoc
                                                  SUE 219     Filed 03/28/24   Page 217
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                                                                                      FUNDING, INC DBA VWR
10 MCKEE PLACE                            ADDRESS ON FILE                         INTERNATIONAL
CHESHIRE, CT 06410                                                                BUILDING ONE, STE 200
                                                                                  PO BOX 6660, 100 MATSONFORD RD
                                                                                  RADNOR, PA 19087-8660



W NASHVILLE                               W. COSMETIC SURGERY                     W. GRANT STEVENS, MD, INC..
300 12TH AVENUE SOUTH                     CAROL WULC                              4560 ADMIRALTY WAY, SUITE 256
NASHVILLE, TN 37203                       610 W. GERMANTOWN PIKE, SUITE 161       MARINA DEL REY, CA 90292
                                          PLYMOUTH MEETING, PA 19462




W.W. GRAINGER INC.                        WA DEPT OF LABOR & INDUSTRIES           WA STATE DEPT OF LABOR & IND
DEPT. 886826382                           PO BOX 34974                            PO BOX 34974
PALATINE, IL 60038-0001                   SEATTLE, WA 98124                       SEATTLE, WA 98124-1022




WADE, GRIFFIN                             WAGNER AND ASSOCIATES                   WAGNER AND ASSOCIATES
ADDRESS ON FILE                           KARA COUCH                              MARY ADMIN
                                          8040 CLEARVISTA PKWY                    8040 CLEARVISTA PKWY
                                          SUITE 570                               SUITE 570
                                          INDIANAPOLIS, IN 46256                  INDIANAPOLIS, IN 46256



WAHHAB, SALMA                             WAKE FOREST BAPTIST MEDICAL CENTER      WAKE FOREST BAPTIST MEDICAL CENTER
ADDRESS ON FILE                           ATTN: AP                                JEANETTE MCCLAM
                                          PO BOX 516                              ATTN: NCBH A/P
                                          ELMSFORD, NY 10523                      MEDICAL CENTER BLVD
                                                                                  WINSTON-SALEM, NC 27157



WAKE PLASTIC SURGERY                      WAKEMED HEALTH & HOSPITALS              WAKEMED HEALTH & HOSPITALS
LISA YEPEZ                                AMANDA CRISP                            JACKIE MCVEY
111 RIDGEVIEW DRIVE                       ATTN: ACCOUNTS PAYABLE                  PO BOX 14549
CARY, NC 27511                            3000 NEW BERN AVE                       RALEIGH, NC 27620-4549
                                          RALEIGH, NC 27610



WALDMAN SCHANTZ PLASTIC SURGERY           [NAME REDACTED]                         WALKER, ADELLE
CENTER                                    ADDRESS ON FILE                         ADDRESS ON FILE
EMILIE ANDERSON
3288 EAGLE VIEW LN, SUITE 300
LEXINGTON, KY 40509



WALKER, ADELLE                            WALLER, JOHN                            WALLY HOSN, M.D.
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




WALPOLE & CO, LLP                         WALTER JOSEPH, MD                       WALTERS, JOSEPH
70 SANTA FELICIA                          ADDRESS ON FILE                         ADDRESS ON FILE
GOLETA, CA 93117




WARD MD                                   WAREHOUSE ANYWHERE LLC                  WAREHOUSE ANYWHERE LLC
ADDRESS ON FILE                           8 LOS ROBLES STREET                     VICTORIA RAJEWSKI
                                          BUFFALO, NY 14221                       8 LOS ROBLES STREET
                                                                                  BUFFALO, NY 14221
WARR, CONAN            Case 24-10245-JTD
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                                                                                     SCHUTTE,
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




WARREN, WILLIE                         WARWICK, MATT                          WASHINGTON DEPT OF FINANCIAL
ADDRESS ON FILE                        ADDRESS ON FILE                        INSTITUTION
                                                                              SECURITIES DIVISION
                                                                              PO BOX 9033
                                                                              OLYMPIA, WA 98504-1200



WASHINGTON DEPT OF LABOR AND           WASHINGTON DEPT OF LABOR AND           WASHINGTON OUTPATIENT SURGERY
INDUSTRIES                             INDUSTRIES                             CENTER
7273 LINDERSON WAY SW                  PO BOX 44000                           MATHA GARCIA
TUMWATER, WA 98501                     OLYMPIA, WA 98504-4000                 2299 MOWRY AVE, 1ST FLOOR
                                                                              FREMONT, CA 94538



WASHINGTON SOCIETY OF PLASTIC          WASHINGTON STATE DEPT OF REVENUE       WASHINGTON STATE DEPT OF REVENUE
SURGEONS                               2101 4TH AVE, STE 1400                 EXECUTIVE OFFICE
WSPS                                   SEATTLE, WA 98121                      PO BOX 47450
2001 6TH AVE SUITE 2700                                                       OLYMPIA, WA 98504-7450
SEATTLE, WA 98102



WASHINGTON STATE HEALTHCARE            WASHINGTON UNIVERSITY IN ST LOUIS      WASHINGTON UNIVERSITY
AUTHORITY                              700-ROSEDALE AVE, BOX 1084             FACIAL PLASTIC SURG
CHERRY STREET PLAZA                    SAINT LOUIS, MO 63112                  CFU APSCANNER
626 8TH AVENUE SE                                                             1044 N MASON RD
OLYMPIA, WA 98501                                                             CREVE COEUR, MO 63141



WASHINGTON UNIVERSITY                  WASTE MANAGEMENT OF WI, INC            WASTE MANAGEMENT OF WI, INC
MSC 1082, ONE BROOKINGS DRIVE          C/O JACQUOLYN MILLS                    WM CORPORATE SERVICES, INC.
SAINT LOUIS, MO 63130                  800 CAPITOL ST, STE 3000               AS PAYMENT AGENT, PO BOX 4648
                                       HOUSTON, TX 77002                      CAROL STREAM, IL 60197-4648




WATAUGA MEDICAL CENTER                 WATERBURY HOSPITAL                     WATERS TECHNOLOGIES CORP.
MONICA WOOD                            LUCILLE DESANTIS                       DBA TA INSTRUMENTS - WAT
155 FURMAN DR, STE 202                 PO BOX 10016                           159 LUKENS DRIVE
BOONE, NC 28607                        WATERBURY, CT 06725                    NEW CASTLE, DE 19720




WATSON CLINIC LLP                      WATSON CLINIC LLP                      WCG IRB, INC
JACLYN DEAN                            LISA HICKERNELL                        DEPT 106091 PO BOX 150434
1430 LAKELAND HILLS BLVD               1600 LAKELAND HILLS BLVD               HARTFORD, CT 06115
LAKELAND, FL 33805                     LAKELAND, FL 33805




WE KONNECT, INC                        WEATHERFORD REGIONAL MEDICAL           WEAVER, MISTI
9151 ATLANTA AVE, UNIT 7706            CENTER                                 ADDRESS ON FILE
HUNTINGTON BEACH, CA 92615             KRISTY OAKES
                                       713 E ANDERSON ST
                                       WEATHERFORD, TX 76086



WEBER, SCOTT                           WEBMD LLC                              WEBSITE PIPELINE, INC.
ADDRESS ON FILE                        12186 COLLECTIONS CENTER DRIVE         555 N PLEASANTBURG DR.
                                       CHICAGO, IL 60693                      SUITE 214
                                                                              GREENVILLE, SC 29607
WEDBUSH MORGAN SECS INC   Case    24-10245-JTD
                             (0103)         WEDBUSH Doc  219
                                                      SECS       Filed
                                                           INC./P3 (8199)03/28/24   Page 219 ofASHA
                                                                                       WEHELIYE, 226
ATT ALAN FERREIRA OR PROXY MGR              ATT ALAN FERREIRA OR PROXY MGR             ADDRESS ON FILE
1000 WILSHIRE BLVD., STE 850                1000 WILSHIRE BLVD., STE 850
LOS ANGELES, CA 90030                       LOS ANGELES, CA 90017




WEILER PLASTIC SURGERY                      WEILER PLASTIC SURGERY                     WEILL CORNELL OTOLARYNGOLOGY
CHRISTY NUCCIO                              THERESA SMITH                              STEVE PETRO
2545 VETERANS AVE                           42078 VETERANS AVE                         1305 YORK AVENUE, 5TH FLOOR
HAMMOND, LA 70403                           HAMMOND, LA 70403                          NEW YORK, NY 10021




WEINBERGER, TIA                             WELLESLEY COSMETIC SURGERY                 WELLESLEY COSMETIC SURGERY
ADDRESS ON FILE                             DIANE COHEN                                DIANE WELLESLEY COSMETIC
                                            332 WASHINGTON STREET                      170 WORCESTER ST
                                            SUITE 340                                  WELLESLEY, MA 02481
                                            WELLESLEY, MA 02481



WELLESLEY COSMETIC SURGERY.                 WELLINGTON REGIONAL MEDICAL CENTER         WELLS FARGO ASSET MANAGEMENT
332 WASHINGTON ST., STE 340                 WANDA BAEZ                                 CAITLIN J. CRONIN
WELLESLEY, MA 02481                         10101 FOREST HILL BLVD                     280 PARK AVENUE - 27W
                                            WELLINGTON, FL 33414-6103                  NEW YORK, NY 10017




WELLS FARGO BANK NA/SIG (2072)              WELLS FARGO BANK, NA                       WELLS FARGO CLEARING (141)
ATT SCOTT NELLIS OR PROXY MGR               DBA WELLS FARGO EQUIPMENT FINANCE          ATTN PROXY DEPARTMENT
1525 W T HARRIS BLVD                        9377 W.HIGGINS ROAD, SUITE 550             ONE NORTH JEFFERSON AVE
1ST FL                                      ROSEMONT, IL 60018                         ST. LOUIS, MO 63103
CHARLOTTE, NC 28262-8522



WELLS FARGO OPERATING ACCOUNTS              WELLS FARGO VENDOR FINANCIAL               WELLS, OSCAR
ROGER W. WHITENHILL                         SERVICES                                   ADDRESS ON FILE
4141 INLAND EMPIRE BLVD.                    P.O. BOX 030310
SUITE 350                                   LOS ANGELES, CA 90030
ONTARIO, CA 91764



WELLSPRING HEALTH AND AESTHETICS,           WELLSPRING PLASTIC SURGERY                 WELLSTAR HEALTH SYSTEM
PLLC                                        RACHION UNCE                               JIMMY SWARTZ
KIRSTEN ROGERS                              911 W. 38TH STREET, SUITE 101              P.O. BOX 669217
500 W BROADWAY ST, FL 4                     AUSTIN, TX 78705                           MARIETTA, GA 30066
MISSOULA, MT 59802



WENDELL FUNK, M.D.                          WENDY R. GOTTLIEB, MD                      WENDY WONG PLASTIC SURGERY CORP
ADDRESS ON FILE                             ADDRESS ON FILE                            HOLLY SIEGEL
                                                                                       910 MAJOR SHERMAN LANE, SUITE 305
                                                                                       MONTEREY, CA 93940




[NAME REDACTED]                             WENIGER PLASTIC SURGERY                    WENINGER, JOHN
ADDRESS ON FILE                             JULIANA CORTEZ                             ADDRESS ON FILE
                                            350 FORDING ISLAND, SUITE 200
                                            BLUFFTON, SC 29910




WENTWORTH SURGERY CENTER                    WERNER, NANCY                              WESCO DISTRIBUTION,INC DBA CONNEY
AHNMARIE DAY                                ADDRESS ON FILE                            SAFETY PRODUCTS,LLC
6 WORKS WAY                                                                            3202 LATHAM DRIVE
SOMERSWORTH, NH 03878-1638                                                             MADISON, WI 53713
WESLEY MEDICAL CENTER Case 24-10245-JTD
                                     WESLEYDoc  219 M.D.
                                           SCHOOLER, Filed 03/28/24       Page 220 WILSON,
                                                                             WESLEY of 226 M.D.
ATTN: ACCOUNTS PAYABLE               ADDRESS ON FILE                         ADDRESS ON FILE
1151 ENTERPRISE DRIVE, SUITE 100
COPPELL, TX 75019




WEST COAST PLASTIC SURGERY            WEST COAST PLASTIC SURGERY             WEST COSMETIC & RECONSTRUCTIVE
BRITTANY LAMBIRIS                     KRISTA STURGILL                        SURGERY
2677 S TAMIAMI TRAIL SUITE 3          2677 S TAMIAMI TRL, 3                  ATTN: ACCOUNTS PAYABLE
SARASOTA, FL 34239                    SARASOTA, FL 34239                     7945 WOLF RIVER BLVD
                                                                             GERMANTOWN, TN 38138



WEST COUNTY PLASTIC SURGEONS OF       WEST COUNTY PLASTIC SURGEONS OF        WEST COUNTY PLASTIC SURGEONS OF
WASHINGTON UNIVERSITY                 WASHINGTON UNIVERSITY                  WASHINGTON UNIVERSITY
CARRIE SCHLEMMER                      JENNIFER MCGOOGAN                      LISA SCHAEFER
700 ROSEDALE AVE, CAMPUS BOX 1056     660 S EUCLID AVE                       1020 N MASON RD STE 110
SAINT LOUIS, MO 63112                 SAINT LOUIS, MO 63110                  SAINT LOUIS, MO 63141



WEST DERMATOLOGY (DR. SILVERBERG)     WEST DERMATOLOGY (DR. SILVERBERG)      WEST END PLASTIC SURGERY
DAVID DELGADO                         DAVIS HERNANDEZ                        DENISE LASCAR
680 NEWPORT CENTER DR STE 150         1401 AVOCADO AVENUE, SUITE 703         SUITE 200
NEWPORT BEACH, CA 92660               NEWPORT BEACH, CA 92660                2440 M STREET NW
                                                                             WASHINGTON, DC 20037



WEST FLORIDA HOSPITAL                 WEST HEALTH SURGERY CENTER             WEST MAGNOLIA PLASTIC SURGERY PA
ELAINE GIMLIN                         WENDY SLEYPEN                          ASHLEY OCHOA
8383 N. DAVIS HWY                     2855 CAMPUS DR, STE 200                1200 WEST MAGNOLIA
PENSACOLA, FL 32514                   PLYMOUTH, MN 55441                     SUITE 110
                                                                             FORT WORTH, TX 76104



WEST MAGNOLIA PLASTIC SURGERY PA      WEST MICHIGAN PLASTIC SURGERY          WEST SHORE SURGERY CENTER LTD
BECCA FULLER                          KRISTIN L                              KATHY LEO
1200 WEST MAGNOLIA                    8175 CREEKSIDE DRIVE, SUITE 100        2015 TECHNOLOGY PKWY
SUITE 110                             PORTAGE, MI 49024                      MECHANICSBURG, PA 17050
FORT WORTH, TX 76104



WEST TENNESSEE HEALTHCARE             WEST TENNESSEE HEALTHCARE              WEST TORRANCE PODIATRISTS GROUP, IN.C
BRITTANY MCGEE                        JERRI AUSTIN                           ANNA ARREGUIN
700 WEST FOREST AVE                   620 SKYLINE DRIVE                      2780 SKYPARK DRIVE, SUITE 100
JACKSON, TN 38301                     JACKSON, TN 38301                      TORRANCE, CA 90505




WEST TX COSMETIC SURGERY ASSOCIATES   WEST VALLEY MEDICAL CENTER             WEST VIRGINIA DIVISION OF LABOR
BETTY JEAN                            PHILIP RUIZ                            1900 KANAWHA BLVD EAST
5664 N MESA                           1151 ENTERPRISE DR                     STATE CAPITAL COMPLEX
EL PASO, TX 79912                     COPPELL, TX 75019                      BLDG 3, RM 200
                                                                             CHARLESTON, WV 25305



WEST VIRGINIA SECURITIES COMMISSION   WEST VIRGINIA STATE TAX DEPT           WEST VIRGINIA UNIVERSITY HOSPITALS
1900 KANAWHA BLVD EAST                1001 LEE ST EAST                       ATTN: ACCOUNTS PAYABLE
STATE CAPITOL COMPLEX                 CHARLESTON, WV 25301                   PO BOX 8030
BUILDING 1 ROOM W-100                                                        MORGANTOWN, WV 26506
CHARLESTON, WV 25305



WESTCHESTER MEDICAL CENTER            WESTERN EXTERMINATOR COMPANY           WESTERN MARYLAND HEALTH SYSTEM
KATHY ACUT                            RENTOKIL NORTH AMERICA, INC            MICKEY FAGAN
100 WOODS ROAD                        P.O. BOX 16350                         PO BOX 539
VALHALLA, NY 10595                    READING, PA 19612                      CUMBERLAND, MD 21502
WESTERN REGIONAL MEDICALCase  24-10245-JTD
                           CENTER, LLC          DocPLASTIC
                                        WESTFIELD    219 SURGERY
                                                           Filed 03/28/24
                                                                    CENTER   Page 221 KIERLAND
                                                                                WESTIN of 226 RESORT & SPA
ATTN: ACCOUNTS PAYABLE                  SANDY LEONARD                           6902 E GREENWAY PKWY
14200 W CELEBRATE LIFE WAY              9900 NICHOLAS STREET, SUITE 300         SCOTTSDALE, AZ 85254
GOODYEAR, AZ 85338                      OMAHA, NE 68114




WESTLAKE DERMATOLOGY                    WESTLAKE HOSPITAL                       WESTLAKE PLASTIC SURGERY
SCOTT CHRISTNER                         MARIBEL RAMOS                           CHERRI HILL
8825 BEE CAVES ROAD                     5656 BEE CAVES RD, SUITE M302           4407 BEE CAVES ROAD, SUITE 303
AUSTIN, TX 78746                        AUSTIN, TX 78746                        AUSTIN, TX 78746




WESTMED MEDICAL GROUP                   WESTMINSTER DERMATOLOGY                 WESTMORELAND DERMATOLOGY &
DAWN CONNOLLY                           NATALIE SCHNEIDER                       SURGERY CNTER
800 WESTCHESTER AVE, STE N-715          532 BALTIMORE BLVD, SUITE 211           KAREN VICKERS
RYE BROOK, NY 10573-1354                WESTMINISTER, MD 21157                  2110 5TH STREET N
                                                                                COLUMBUS, MS 39705



WESTON CENTER FOR PLASTIC SURGERY       WESTON CENTER FOR PLASTIC SURGERY       WESTON COSMETIC SURGERY
NATHAN EBERLE                           SHIRLEY OCSIR                           CAT ALLOY
17160 ROYAL PALM BLVD. SUITE 4          17160 ROYAL PALM BLVD, SUITE 4          2823 EXECUTIVE PARK DRIVE
WESTON, FL 33326                        WESTON, FL 33326                        FORT LAUDERDALE, FL 33331




WESTON PLASTIC SURGERY                  WESTROCK COMPANY DBA WESTROCK           WHITE PLAINS HOSPITAL EID 104268120
BEVERLY STENMARK                        CONVERTING                              KAREN SANTOS
2300 N. COMMERCE PARKWAY                1000 ABERNATHY ROAD, NE                 41 EAST POST ROAD
SUITE 202                               BLDG. 400, SUITE 125                    WHITE PLAINS, NY 10601
WESTON, FL 33326                        ATLANTA, GA 30328



WHITE PLAINS HOSPITAL EID 104268120     WHITE, CHERYL                           WHITEFISH PLASTIC SURGERY
SHAZAR CHAN                             ADDRESS ON FILE                         JANELLE X
PO BOX 31217                                                                    PO BOX 5360
SALT LAKE CITY, UT 84131                                                        WHITEFISH, MT 59937




WHITEFISH PLASTIC SURGERY               WHITLOCK COSMETIC CENTER                [NAME REDACTED]
KELSEY DELEON                           TAMI THOMPSON                           ADDRESS ON FILE
5850 US HIGHWAY 93 SOUTH                3319 E 46TH ST
WHITEFISH, MT 59937                     TULSA, OK 74135




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




[NAME REDACTED]                         [NAME REDACTED]                         WI DEPARTMENT OF FINANCIAL INSTIUTIONS
ADDRESS ON FILE                         ADDRESS ON FILE                         4822 MADISON YARDS WAY,
                                                                                NORTH TOWER
                                                                                MADISON, WI 53705




WI SUPPORT COLLECTIONS TRUST FUND       WICHITA DERMATOLOGY & AESTHETICS        WIEMILLER, JOSEPH
BOX 7440                                SARAH HISS                              ADDRESS ON FILE
MILWAUKEE, WI 53274                     1911 N. WEBB ROAD
                                        WICHITA, KS 67206
WILKINS, DAVID           Case 24-10245-JTD      Doc 219
                                        WILLA INC               Filed 03/28/24   Page  222 of 226
                                                                                    WILLAMETTE VALLEY MEDICAL CENTER
ADDRESS ON FILE                          263 SHUMAN BLVD                            KRISTI AMERSON
                                         SUITE 145                                  2700 SE STRATUS AVE
                                         NAPERVILLE, IL 60563                       MCMINNVILLE, OR 97128




WILLARD, JOSHUA                          WILLIAM A DANOFF                           WILLIAM AUSTEN
ADDRESS ON FILE                          ADDRESS ON FILE                            ADDRESS ON FILE




WILLIAM BRUNO PLASTIC SURGERY            WILLIAM HEDDEN, M.D.                       WILLIAM PETER ADAMS, JR., M.D.
MARISOL GUZMAN                           ADDRESS ON FILE                            ADDRESS ON FILE
9201 SUNSET BLVD, SUITE 707
WEST HOLLYWOOD, CA 90069




WILLIAM THOMAS MCCLELLAN, MD             WILLIAM W BACKUS HOSP                      WILLIAM W BACKUS HOSP
ADDRESS ON FILE                          JULIE BAUM                                 PAUL MAGER
                                         PO BOX 5037                                326 WASHINGTON ST
                                         HARTFORD, CT 06102                         NORWICH, CT 06360




WILLIAM WILSON , M.D                     WILLIAM, MALAVIKA                          WILLIAMS CENTER
ADDRESS ON FILE                          ADDRESS ON FILE                            SUSAN SULLIVAN
                                                                                    1072 TROY-SCHENECTADY ROAD
                                                                                    LATHAM, NY 12110




WILLIAMS PLASTIC & RECON SURG PC         WILLIAMS PLASTIC & RECON SURG PC           WILLIAMS, LESLI
CHRIS WILLIAMS                           LAUREN OWENS                               ADDRESS ON FILE
1506 PROFESSIONAL COURT                  PO BOX 1708
DALTON, GA 30720                         DALTON, GA 30722




WILLIAMS, NICK                           WILLIAMS, TREVOR                           WILLIAMSON COSMETIC CENTER
ADDRESS ON FILE                          ADDRESS ON FILE                            SHELLY ESNARD
                                                                                    8150 JEFFERSON HWY
                                                                                    BATON ROUGE, LA 70809




WILLIAMSON MEDICAL CENTER                WILLIAMSON MEDICAL CENTER                  WILLOW CREEK WOMENS HOSPITAL
CLAIRE CHRISTIAN                         KIM BELLAMY                                JUDY HUDSON
PO BOX 681600                            4321 CAROTHERS PARKWAY                     PO BOY 2045
FRANKLIN, TN 37068-1600                  FRANKLIN, TN 37067                         SPRINGDALL, AR 72765




WILSHIRE SURGERY CENTER                  WILSON, GREGG                              [NAME REDACTED]
ATTN: ACCOUNTS PAYABLE                   ADDRESS ON FILE                            ADDRESS ON FILE
9775 SW WILSHIRE ST, STE 250
PORTLAND, OR 97225-5068




WINDSOR MILL SURGERY CENTER              WINDWARD SURGERY CENTER                    WINSTON & STRAWN, LLP
ALISON LOMBEL                            BRITT AKIU - DO NOT USE                    333 S. GRAND AVE.
2373 N. ROLLING ROAD                     642 ULUKAHIKI STREET, SUITE 200            LOS ANGELES, CA 90071
WINDSOR MILL, MD 21244                   KAILUA, HI 96734
WINSTON & STRAWN, LLP    Case 24-10245-JTD    Doc
                                        WINSTON     219 LLP
                                                & STRAWN, Filed 03/28/24    Page 223 of& STRAWN,
                                                                               WINSTON   226 LLP
LAURA PETROFF                            LAURA PETROFF                         PO BOX 36235
35 W. WACKER DRIVE                       PO BOX 36235                          CHICAGO, IL 60694
CHICAGO, IL 60601-9703                   CHICAGO, IL 60694




WINTHROP UNIVERSITY HOSPITAL             WINTHROP UNIVERSITY HOSPITAL          WIS IVS, LLC (FKA RGIS, LLC)
KAILAH BROWN                             MARIA REIS                            2000 E TAYLOR RD
PO BOX 517                               700 HICKSVILLE ROAD, SUITE 205        SUITE 200
ELMSFORD, NY 10523                       BETHPAGE, NY 11714                    AUBURN HILLS, MI 48326




WISCONSIN DEPARTMENT OF HEALTH           WISCONSIN DEPARTMENT OF REVENUE       WISCONSIN DEPARTMENT OF REVENUE
SERVICES                                 PO BOX 3028                           PO BOX 930208
1 WEST WILSON ST                         MILWAUKEE, WI 53201                   MILWAUKEE, WI 53293
MADISON, WI 53703




WISCONSIN DEPT OF REVENUE                WISCONSIN DEPT OF WORKFORCE           WISCONSIN DEPT OF WORKFORCE
2135 RIMROCK RD                          DEVELOPMENT                           DEVELOPMENT
MADISON, WI 53713                        201 E WASHINGTON AVENUE               PO BOX 7946
                                         MADISON, WI 53703                     MADISON, WI 53707




WISCONSIN DIVISION OF SECURITIES         WISCONSIN ELECTRIC POWER COMPANY      WISCONSIN ELECTRIC POWER COMPANY
PO BOX 1768                              DBA WE ENERGIES                       DBA WE ENERGIES
MADISON, WI 53701-1768                   231 W MICHIGAN ST                     WM CORPORATE SERVICES,INC
                                         MILWAUKEE, WI 53201                   AS PAYMENT AGENT
                                                                               CAROL STREAM, IL 60197-4648



WISCONSIN LIFT TRUCK CORP                WISERMD                               W-K PIERREMONT HOSPITAL
DBA WOLTER POWER SYSTEMS                 TISA ROSETTE                          NANCY WILBURN
3125 INTERTECH DR                        535 FTH AVE FL33                      PO BOX 32600
BROOKFIELD, WI 53045                     NEW YORK, NY 10017-3665               SHREVEPORT, LA 71130-2600




WOLF REGULATORY CONSULTING LLC           WOLTERS KLUWER HEALTH, INC            WOMANS HOSPITAL OF TEXAS
PO BOX 1038                              16705 COLLECTION CENTER DRIVE         CINDY BARTLETT
TWIN FALLS, ID 83303                     CHICAGO, IL 60693                     PO BOX 5010
                                                                               SUGAR LAND, TX 77487




WOMANS HOSPITAL                          WOMENS SPECIALTY SURGERY CTR          WOODCLIFF LAKE OPTHALMOLOGY
ATTN: ACCOUNTS PAYABLE                   GENA ROSS                             CAITLYN R
PO BOX 95009                             8230 WALNUT HILL LN, STE 101          21 ARROWHEAD LANE
BATON ROUGE, LA 70895                    DALLAS, TX 75231-4444                 SADDLE RIVER, NJ 07458




WOODCLIFF LAKE OPTHALMOLOGY              WOODCLIFF LAKE OPTHALMOLOGY           WOODRING, SUE
LEIDA OSORIO                             MEGHAN BUDINGER                       ADDRESS ON FILE
21 ARROWHEAD LN                          577 CHESTNUT RIDGE ROAD
SADDLE RIVER, NJ 07458                   WOODCLIFF LAKE, NJ 07677




WOODS, MAURICE                           WOODWARD COLEMAN, M.D.                WOODWARD COLEMAN, M.D.
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE
WOOLFSON EYE INSTITUTE Case 24-10245-JTD     DocUSA
                                      WPP GROUP    219     Filed
                                                      INC. DBA GCI03/28/24
                                                                   HEALTH          Page 224 of
                                                                                      WRIGHT,   226
                                                                                              ALPHONSO
SARAH DAUNHAUER                       P.O. BOX 101880                                 ADDRESS ON FILE
800 MT. VERNON HWY NE, SUITE 120      ATLANTA, GA 30392
ATLANTA, GA 30328




WRIGHT, CYNTHIA                           WRNMMC                                      WV DEPT OF HEALTH & HUMAN RESOURCES
ADDRESS ON FILE                           LORI SMITH                                  BUREAU FOR PUBLIC HEALTH
                                          8901 WISCONSIN AVE, BLDG 54                 ROOM 702, 350 CAPITOL ST
                                          BETHESDA, MD 20889                          CHARLESTON, WV 25301




WVU - JEFFERSON MEDICAL CENTER            WYATT SURGERY CENTER                        WYOMING COMPLIANCE DIVISION
ATTN: ACCOUNTS PAYABLE                    CARLIE MANKEL                               HERSCHLER BUILDING EAST
PO BOX 8264                               2424 N WYATT DR, STE 160                    122 W 25TH ST
MORGANTOWN, WV 25438                      TUCSON, AZ 85712-6119                       STE 100
                                                                                      CHEYENNE, WY 82002



WYOMING DEPARTMENT OF HEALTH              WYOMING DEPT OF REVENUE                     WYOMING DEPT OF WORKFORCE SERVICES
401 HATHAWAY BUILDING                     122 WEST 25TH ST, STE E301                  5221 YELLOWSTONE RD
CHEYENNE, WY 82002                        HERSCHLER BUILDING EAST                     CHEYENNE, WY 82002
                                          CHEYENNE, WY 82002-0110




XACT DATA DISCOVERY                       XACT DATA DISCOVERY                         [NAME REDACTED]
5800 FOXRIDGE DR SUITE 406                PO BOX 714800                               ADDRESS ON FILE
MISSION, KS 66202                         CINCINNATI, OH 45271




XL PROFESSIONAL INSURANCE                 XL SPECIALTY INSRUANCE COMPANY              XL SPECIALTY INSURANCE COMPANY
100 CONSTITUTION PLAZA, 13TH FL           70 SEAVIEW AVE                              XL PROFESSIONAL AXA XL A DIVISION OF
HARTFORD, CT                              STAMFORD, CT                                AXA
                                                                                      JENNA EPSTEIN
                                                                                      100 CONSTITUTION PLAZA, 17TH FLOOR
                                                                                      HARTFORD, CT 06103


XL SPECIALTY                              XL SPECIALTY                                [NAME REDACTED]
505 EAGLEVIEW BLVD.                       70 SEAVIEW AVENUE                           ADDRESS ON FILE
SUITE 100                                 STAMFORD, CT 06902
EXTON, PA 19341




XPO LOGISTICS FREIGHT, INC                XPRESSCREEN, INC                            YACOUB, KEVIN
2211 OLD EARHART RD.                      930 BURKE STREET, SUITE A                   ADDRESS ON FILE
ANN ARBOR TWP, MI 48105                   WINSTON SALEM, NC 27101




YADAV, SANDEEP                            YALE NEW HAVEN HEALTH                       YANKEE ALLIANCE SUPPLY CHAIN
ADDRESS ON FILE                           AMBER BURTON                                SOLUTIONS
                                          P.O. BOX 1001                               138 RIVER ROAD
                                          NEW HAVEN, CT 06504                         ANDOVER, MA 01810




YARROW BAY PLASTIC SURGERY                YAVAPAI REGIONAL MEDICAL CENTER - EAST      YEAROUT, KAYLA
ALEX HAGEN                                DEANNA BRAMLET                              ADDRESS ON FILE
5209 LAKE WASHINGTON BLVD NE, SUITE 115   7700 E FLORENTINE RD
KIRKLAND, WA 98033                        PRESCOTT VALLEY, AZ 86314
                        Case 24-10245-JTD
YEH FACIAL PLASTIC SURGERY                     Doc 219 LLC
                                       YELLOWTELESCOPE  Filed 03/28/24      Page  225REDACTED]
                                                                               [NAME  of 226
JANETTE JACKSON                        78 SW 7TH ST                            ADDRESS ON FILE
24331 EL TORO ROAD, SUITE 350          MIAMI, FL 33130
LAGUNA WOODS, CA 92637




YONATAN MAHLLER, M.D.                 YONICK PLASTIC SURGERY & AESTHETIC       YORK HOSPITAL
ADDRESS ON FILE                       CTR                                      CHERI CLARK
                                      KAREN YONICK                             15 HOSPITAL DRIVE
                                      900 W WACKERLY ST,                       YORK, ME 03909
                                      MIDLAND, MI 48640-2700



YORK J. YATES, M.D.                   YOUNG MEDICAL SPA                        YOUNGER LLC
ADDRESS ON FILE                       ATTN: AP                                 CAMERON RICH
                                      4025 W. HOPEWELL ROAD                    11760 CENTRAL AVE, STE 100
                                      CENTER VALLEY, PA 18034                  CHINO, CA 91710




YRC INC                               YRD CATERING LLC DBA EMANUEL LUXURY      YURCHAK, RACHEL
PO BOX 100129                         VEN                                      ADDRESS ON FILE
PASADENA, CA 91189                    8819 STIRLING RD
                                      COOPER CITY, FL 33328




ZACHARY HURWITZ, MD                   ZAK MEDICAL CORP                         ZAMUDIO, RAEANNE
ADDRESS ON FILE                       LISA MCGEE                               ADDRESS ON FILE
                                      73710 ALESSANDRO DR. SUITE A1
                                      PALM DESERT, CA 92260-3638




ZANNIS CENTER FOR PLASTIC SURGERY     ZANNIS CENTER FOR PLASTIC SURGERY        ZANNIS CENTER FOR PLASTIC SURGERY
2021 NEUSE BLVD                       ATTN: ACCOUNTS PAYABLE                   VERONICA PURVIS
NEW BERN, NC 28560                    2098 MAYHEW DR                           2021 NEUSE BLVD
                                      NEW BERN, NC 28560                       NEW BERN, NC 28560




ZAROFF, ZACHARY                       ZAXIS, INC                               ZELKO AESTHETICS
ADDRESS ON FILE                       2442 SOUTH 2570 WEST                     BRITTANY TRIPP
                                      WEST VALLEY CITY, UT 84119               8585 W. FOREST HOME AVE, SUITE 125
                                                                               GREENFIELD, WI 53228




ZENA MEDICAL                          ZIEG PLASTIC SURGERY                     ZINSSER PLASTIC SURGERY
LORRAINE GRASSMANN                    GABBY ADMIN                              ROBIN ZINSSER
359 SAN MIGUEL DRIVE, SUITE 300       401 METRO AVENUE                         1501 MAPLE AVENUE, SUITE 101B
NEWPORT BEACH, CA 92660               EVANSVILLE, IN 47715                     RICHMOND, VA 23226




ZOOM VIDEO COMMUNICATIONS, INC        ZORAN POTPARIC, M.D.                     ZORN COMPRESSOR & EQUIPMENT, INC
55 ALMADEN BLVD, 6TH FLOOR            ADDRESS ON FILE                          1335 E WISCONSIN AVE
SAN JOSE, CA 95113                                                             PEWAUKEE, WI 53072




ZROC DERMATOLOGY                      ZSA ZSA LAKER                            [NAME REDACTED]
JONATHAN DULUC                        ADDRESS ON FILE                          ADDRESS ON FILE
2838 E. OAKLAND PARK BLVD.
FORT LAUDERDALE, FL 33306
ZUNIGA, ANGELICA   Case 24-10245-JTD   Doc 219   Filed 03/28/24   Page 226 of 226
ADDRESS ON FILE




Total: 6751
